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                                       EXHIBIT A

                 Chapter 11 Plan of Reorganization of LTL Management LLC




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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
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     In re:                                                        Chapter 11
     LTL MANAGEMENT LLC, 1                                         Case No.: 23-12825 (MBK)
                               Debtor.                             Judge: Michael B. Kaplan


          CHAPTER 11 PLAN OF REORGANIZATION OF LTL MANAGEMENT LLC



 THE PLAN PROVIDES, AMONG OTHER THINGS, FOR THE ISSUANCE OF AN
 INJUNCTION PURSUANT TO SECTIONS 524(g) AND 105(a) OF THE BANKRUPTCY
 CODE THAT CHANNELS ALL CLASS 4 TALC PERSONAL INJURY CLAIMS AGAINST
 THE DEBTOR AND THE PROTECTED PARTIES (AS DEFINED HEREIN) TO A TRUST, AS
 WELL AS OTHER INJUNCTIONS DESCRIBED IN ARTICLE XI OF THE PLAN.




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        The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
        Street, New Brunswick, New Jersey 08933.


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                           EXHIBITS AND SCHEDULES TO PLAN

 Exhibit A          Amended Articles of Organization of the Reorganized Debtor*

 Exhibit B          Amended Operating Agreement of the Reorganized Debtor*

 Exhibit C          Cash Contributions**

 Exhibit D          Cash Contributions Parent Guarantee**

 Exhibit E          Cooperation Agreement*

 Exhibit F          Governmental Claims*

 Exhibit G          Retained Rights of Action*

 Exhibit H          Talc Insurance Policies*

 Exhibit I          Talc Insurance Settlement Agreements*

 Exhibit J          Talc Personal Injury Trust Agreement*

 Exhibit K          Talc PI Note*

 Exhibit L          Talc PI Pledge Agreement*

 Exhibit M          Trust Distribution Procedures**

 Exhibit N          Executory Contracts and Unexpired Leases to Be Rejected*

 Exhibit O          Officers and Managers of the Reorganized Debtor*

 Schedule 1         Imerys/Cyprus Parties**

 Schedule 2         LTL Corporate Parties**

 Schedule 3         Retailers and Indemnified Parties**




 *       To be attached to the Plan Supplement

 **      Attached hereto



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                                         INTRODUCTION

        LTL Management LLC, the debtor and debtor-in-possession in the above captioned
 Chapter 11 Case, respectfully proposes the following chapter 11 plan of reorganization. Unless
 otherwise indicated, capitalized terms shall have the meanings ascribed to them in Section 1.1.

         The following chapter 11 plan of reorganization contains the terms described in plan
 support agreements that the Debtor, J&J, and Holdco have entered into with law firms representing
 certain holders of Talc Personal Injury Claims, as those agreements have been modified, amended,
 and supplemented, and has been negotiated, and is being filed, by the Debtor pursuant to its
 commitments under such agreements.

         Nothing in the Plan Documents constitutes an admission by the Debtor as to the existence,
 merits, or amount of the Debtor’s actual present or future liability on account of any Claim or
 demand (including any Talc Personal Injury Demand) except to the extent that such liability is
 specifically provided for in the Plan or the other Plan Documents in accordance with the
 Confirmation Order effective as of the Effective Date.

        Reference is made to the Disclosure Statement distributed contemporaneously herewith
 for, among other things, a discussion of the history, business, results of operations, and assets of
 the Debtor, and risks associated with the Plan. The Disclosure Statement also provides a summary
 of the Plan. YOU ARE URGED TO READ THE DISCLOSURE STATEMENT AND THE
 PLAN WITH CARE IN EVALUATING HOW THE PLAN WILL AFFECT YOUR CLAIM(S)
 BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

                                     ARTICLE I
                     DEFINITIONS AND RULES OF INTERPRETATION

         1.1      Terms. The capitalized terms used herein have the respective meanings set forth
 below. Any term that is not otherwise defined in this Section 1.1, but that is defined elsewhere in
 the Plan or in the Bankruptcy Code or Bankruptcy Rules, shall have the meaning given to that term
 in the Plan, the Bankruptcy Code, or Bankruptcy Rules, as applicable. For the avoidance of doubt,
 the uncapitalized terms “affiliate,” “claim,” “demand,” “entity,” “governmental unit,” and “lien”
 have the meanings given to them in sections 101(2), 101(5), 524(g)(5), 101(15), 101(27), and
 101(37) of the Bankruptcy Code, respectively.

                1.1.1     “2021 Chapter 11 Case” means the chapter 11 case of the Debtor that
         was commenced in the Bankruptcy Court on October 14, 2021 and subsequently dismissed
         by the Bankruptcy Court on April 4, 2023.

                 1.1.2      “2021 Corporate Restructuring” means, the internal corporate
         restructuring of Old JJCI that was completed on October 12, 2021, by which Old JJCI
         ceased to exist and the Debtor and Holdco were formed.

                1.1.3       “Administrative Claim” means any Claim for any cost or expense of
         administration of the Chapter 11 Case under section 503(b) of the Bankruptcy Code,
         including (a) any actual and necessary post-petition cost or expense of preserving the Estate
         or operating the business of the Debtor, (b) Cure Amount Claims, (c) post-petition costs,
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         indebtedness or contractual obligations duly and validly incurred or assumed by the Debtor
         in the ordinary course of business, (d) any Fee Claim, including any Claim for
         compensation or reimbursement of expenses of Professionals to the extent allowed by the
         Bankruptcy Court under sections 327, 328, 330(a), 331, or 503(b) of the Bankruptcy Code
         or the provisions of the Plan, (e) any fee or charge assessed against the Estate under
         28 U.S.C. § 1930(6), and (f) any Claim of the Information Officer and/or counsel for the
         Information Officer.

                 1.1.4      “Administrative Claims Bar Date” means the applicable deadline for
         filing requests for payment of Administrative Claims (other than Fee Claims and Cure
         Amount Claims) and shall be the Business Day that is sixty (60) days after the Effective
         Date.

                  1.1.5       “Affiliate” means, with respect to any specified entity: (a) an
         “affiliate,” as defined in section 101(2) of the Bankruptcy Code, of such specified entity;
         or (b) any other Person that, directly or indirectly through one or more intermediaries or
         otherwise, controls, is controlled by or is under common control with the specified entity.
         As used in clause (b) of the prior sentence, “control” shall include the possession, directly
         or indirectly, of the power to direct or cause the direction of the management or policies of
         the specified entity (whether through the ownership of equity, by contract or otherwise).

                 1.1.6     “AHC of Supporting Counsel” means the Ad Hoc Committee of
         Supporting Counsel formed to advance the common interests of the law firms representing
         certain holders of Talc Personal Injury Claims that have entered into plan support
         agreements with the Debtor, J&J and Holdco.

                 1.1.7      “Allowed” means, with respect to Non-Talc Claims, and including
         applicable premiums and penalties to the extent allowable: (a) any Claim proof of which
         is timely filed by the applicable Claims Bar Date; (b) any Claim that is listed in the
         Schedules as neither contingent, unliquidated, nor disputed, and for which no Proof of
         Claim has been timely filed; or (c) any Claim that is allowed pursuant to the Plan; provided,
         however, that with respect to any Claim described in clauses (a) and (b) above, such Claim
         shall be considered Allowed only if and to the extent that no objection to the allowance of
         such Claim has been filed within the applicable period of time fixed by the Plan, the
         Bankruptcy Code, the Bankruptcy Rules or the Bankruptcy Court, or such an objection is
         filed and the Claim shall have been allowed by a Final Order.

                1.1.8       “Allowed Amount” means, with respect to any Non-Talc Claim, the
         amount for which that Claim is Allowed, denominated in U.S. dollars, Canadian dollars,
         or Euros, as applicable.

                 1.1.9       “Amended Articles of Organization” means, the amended and
         restated articles of organization of the Reorganized Debtor, in substantially the form of
         Exhibit A.

                 1.1.10     “Amended Charter Documents” means, collectively, the Amended
         Articles of Organization and the Amended Operating Agreement.

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                1.1.11    “Amended Operating Agreement” means, the amended and restated
         operating agreement of the Reorganized Debtor, in substantially the form of Exhibit B.

                 1.1.12     “Bankruptcy Code” means title 11 of the United States Code, as in
         effect on the Petition Date or thereafter amended with retroactive applicability to the
         Chapter 11 Case.

                 1.1.13     “Bankruptcy Court” means the United States Bankruptcy Court for the
         District of New Jersey having jurisdiction over the Chapter 11 Case.

                1.1.14     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
         as promulgated by the United States Supreme Court under section 2075 of Title 28 of the
         United States Code and any local rules of the Bankruptcy Court, as in effect on the Petition
         Date, together with any and all amendments and modifications thereto that were
         subsequently made applicable to the Chapter 11 Case.

                 1.1.15    “Business Day” means any day other than a Saturday, a Sunday, or any
         other day on which banking institutions in New York, NY are authorized or required by
         law or executive order to close.

                 1.1.16     “Canadian Claims” shall mean (a) Talc Personal Injury Claims of
         individuals exposed in Canada or who were resident in Canada at the time such claims are
         filed and (b) Talc Personal Injury Claims brought, threatened, or pursued in any court in
         Canada.

              1.1.17      “Canadian Court” means the Ontario Superior Court of Justice
         (Commercial List).

                1.1.18     “Canadian Proceeding” means the proceeding commenced by the
         Debtor before the Canadian Court pursuant to the Companies Creditors Arrangement Act
         (Canada) R.S.C. 1985, c. C-36, as amended.

                1.1.19      “Cash” means lawful currency of the United States of America and its
         equivalents.

                1.1.20     “Cash Contributions” means contributions of Cash to the Talc
         Personal Injury Governmental Action Claims Sub-Trust and the Talc Personal Injury Tort
         Claims Sub-Trust in the amounts and on the dates set forth on Exhibit C.

                 1.1.21      “Cash Contributions Parent Guarantee” means the parent guarantee,
         in substantially the form of Exhibit D, to be executed and delivered by J&J and Holdco for
         the benefit of the Talc Personal Injury Trust, pursuant to which each of J&J and Holdco
         will guarantee the timely delivery of the Cash Contributions.

                 1.1.22     “Channeling Injunction” means the permanent injunction provided for
         in Section 11.3.1 with respect to Talc Personal Injury Claims against the Protected Parties
         to be issued pursuant to the Confirmation Order.


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                1.1.23    “Chapter 11 Case” means the chapter 11 case of the Debtor pending in
         the Bankruptcy Court.

                 1.1.24    “Claim” shall have the meaning ascribed to such term in section 101(5)
         of the Bankruptcy Code as it pertains to “claims” against the Debtor.

                  1.1.25    “Claims Agent” means Epiq Corporate Restructuring, LLC.

                1.1.26     “Claims Bar Date” means any deadline for filing a Proof of Claim that
         may be specifically fixed by an order of the Bankruptcy Court with respect to certain
         Claims.

                1.1.27      “Claims Objection Bar Date” means the deadline for objecting to Non-
         Talc Claims (other than Administrative Claims, including Fee Claims and Cure Amount
         Claims) set forth in Section 7.3.2 which shall be one hundred and twenty (120) days after
         the Effective Date, unless extended by operation of the Bankruptcy Rules or order of the
         Bankruptcy Court prior to the expiration of such period.

                 1.1.28      “Claims Register” means the register of Claims filed against the Debtor
         in the Chapter 11 Case maintained by the Claims Agent as such register is updated from
         time to time to reflect, among other things, Claims that have been Allowed or Disallowed.

                 1.1.29     “Class” means a category of holders of Claims or Interests described in
         Article III.

                  1.1.30    “Clerk” means the clerk of the Bankruptcy Court.

                1.1.31     “Compensation Procedures Order” means that certain Order
         Establishing Procedures for Interim Compensation and Reimbursement of Retained
         Professionals [Dkt. []].

                1.1.32      “Confirmation” means the entry of the Confirmation Order on the
         docket of the District Court.

                1.1.33     “Confirmation Date” means the date on which the District Court enters
         the Confirmation Order on its docket.

                1.1.34     “Confirmation Hearing” means, collectively, the hearing or hearings
         held by the Bankruptcy Court or the District Court on Confirmation of the Plan, as such
         hearing or hearings may be continued from time to time.

                 1.1.35      “Confirmation Order” means the order of the Bankruptcy Court and
         the District Court acting jointly or the order of the District Court affirming an order entered
         separately by the Bankruptcy Court, in either case which order confirms the Plan pursuant
         to section 1129 of the Bankruptcy Code.

                1.1.36   “Contribution Claim” means any and all rights of a non-Settling Talc
         Insurance Company, whether legal, equitable, contractual, or otherwise, of contribution,

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         indemnity, reimbursement, subrogation, or other similar claims directly or indirectly
         arising out of or in any way relating to such insurer’s payment of loss on behalf of the
         Debtor in connection with any Talc Personal Injury Claim.

                1.1.37     “Cooperation Agreement” means that certain Cooperation Agreement
         among the Reorganized Debtor, J&J, and the Talc Personal Injury Trust, in substantially
         the form of Exhibit E.

                1.1.38     “Cure Amount Claim” means a Claim based on the Debtor’s defaults
         pursuant to an Executory Contract or Unexpired Lease at the time such contract or lease is
         assumed by the Debtor under section 365 of the Bankruptcy Code.

                  1.1.39   “Debtor” means LTL Management LLC.

                1.1.40     “Deficiency Claim” means, with respect to any Non-Talc Claim, an
         Unsecured Claim for the difference between (a) the aggregate amount of an Allowed Claim
         and (b) the value received on account of the portion of such Allowed Claim that is a
         Secured Claim.

                1.1.41      “Disallowed” means any Non-Talc Claim that (a) is denied, dismissed,
         expunged, overruled, or disallowed in whole or in part (but solely to the extent of the
         disallowance) by Final Order or under the Plan, (b) has been listed in the Schedules at an
         amount of $0.00 or as contingent, disputed, or unliquidated and as to which a Claims Bar
         Date has been established but no Proof of Claim has been timely filed or deemed filed with
         the Bankruptcy Court or the Claims Agent pursuant to any order establishing a Claims Bar
         Date or otherwise deemed timely filed under applicable law, or (c) has been withdrawn, in
         whole or in part (but solely to the extent of such withdrawal).

                1.1.42      “Disbursing Agent” means the Reorganized Debtor, or such other
         Person or Persons chosen by the Debtor or the Reorganized Debtor to make or facilitate
         Distributions pursuant to the Plan.

                1.1.43      “Discharge Injunction” means the injunction issued in accordance
         with sections 524 and 1141 of the Bankruptcy Code and contained in Section 11.1.2.

                 1.1.44     “Disclosure Statement” means the Disclosure Statement for
         Chapter 11 Plan of Reorganization of LTL Management LLC, dated [], 2023, including
         all exhibits and schedules thereto and references therein that relate to the Plan, approved
         by order of the Bankruptcy Court as containing adequate information, and distributed in
         accordance with such order of approval, as such disclosure statement and supplemental
         disclosure documents may be amended, modified, or supplemented from time to time.

                1.1.45       “Disputed” means any Non-Talc Claim, or any portion thereof, that has
         not been Allowed or Disallowed pursuant to the Plan or a Final Order of the Bankruptcy
         Court, or that is contingent or unliquidated.

                 1.1.46     “Distributions” means Cash, property, or interest in property to be paid
         or delivered hereunder to holders of Allowed Non-Talc Claims under the terms of the Plan.
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                  1.1.47     “Distribution Date” means the date which is as soon as reasonably
         practicable after the later of (a) the Effective Date, or (b) in the case of a Non-Talc Claim
         that is not yet Allowed as of the Effective Date, the date that such Claim becomes Allowed.

                 1.1.48    “Distribution Record Date” means the record date for determining an
         entitlement to receive Distributions under the Plan on account of Allowed Non-Talc
         Claims, which shall be the Confirmation Date.

               1.1.49       “District Court” means the United States District Court for the District
         of New Jersey.

                  1.1.50    “Docket” means the docket in the Chapter 11 Case maintained by the
         Clerk.

                1.1.51      “Effective Date” means the Business Day upon which all of the
         conditions precedent to the occurrence of the Effective Date contained in Section 8.2 have
         been satisfied or waived pursuant to Section 8.3.

                 1.1.52     “Encumbrance” means, with respect to any property (whether real or
         personal, tangible or intangible), any mortgage, lien, pledge, charge, security interest,
         assignment or encumbrance of any kind or nature in respect of such property (including
         any conditional sale or other title retention agreement, any security agreement, and the
         filing of, or agreement to give, any financing statement under the Uniform Commercial
         Code or comparable law of any jurisdiction) to secure payment of a debt or performance
         of an obligation.

                1.1.53      “Equity Interests of the Debtor” means the Interests issued by the
         Debtor.

                 1.1.54     “Estate” means the estate created in the Chapter 11 Case under
         section 541 of the Bankruptcy Code.

                 1.1.55      “Exculpated Parties” means, collectively, (a) the Debtor’s officers and
         managers who served during any time, whether before, on, or after the Petition Date, prior
         to the Effective Date of the Plan (each solely in their capacity as such); (b) the Debtor; (c)
         the TCC and each of the members thereof, solely in his or her capacity as such; (d) the
         FCR, solely in her capacity as such; (e) the Retained Professionals, and (f) solely as to
         conduct found by a court of competent jurisdiction to have been undertaken while acting
         as a fiduciary of the Debtor or the Estate, the employees of the Debtor or other individuals
         providing similar services to the Debtor (other than the Debtor’s officers and managers),
         and the employees of the Retained Professionals, each solely in their capacities as such;
         and counsel to the individual members of the TCC, each solely in their capacity as such,
         provided, however that the Bankruptcy Court is not determining the fiduciary status of any
         employees of the Debtor or other individuals providing similar services to the Debtor (other
         than the Debtor’s officers and managers), or any employees of any of the Retained
         Professionals or counsel to the individual members of the TCC. Nothing herein shall shift
         the burden of the employees of the Debtor or other individuals providing similar services
         to the Debtor (other than the Debtor’s officers and managers), and the employees of the
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         Retained Professionals or counsel to the individual members of the TCC, to establish that
         they were fiduciaries of the Debtor or the Estate prior to the Effective Date of the Plan.

                   1.1.56   “Exculpation Injunction” means the injunction described in Section
         11.6.1.

                1.1.57     “Executory Contract” means any executory contract as to which the
         Debtor is a party and that is subject to assumption or rejection under section 365 of the
         Bankruptcy Code.

                 1.1.58     “FCR” means Randi S. Ellis (or any Bankruptcy Court-appointed
         successor), in her capacity as the legal representative for any and all persons who may
         assert Talc Personal Injury Demands in the future, but who are currently unknown. “FCR”
         stands for Future Claimants’ Representative.

                 1.1.59     “Fee Claim” means any Claim of a (a) Professional for allowance of
         compensation and reimbursement of costs and expenses and (b) member of the TCC for
         reimbursement of costs and expenses, in each case incurred in the Chapter 11 Case on or
         before the Effective Date.

                1.1.60     “Fee Examiner” means [Robert J. Keach, Esq.] (or any Bankruptcy
         Court-appointed successor), in his capacity as the fee examiner appointed pursuant to the
         Fee Examiner Order.

               1.1.61    “Fee Examiner Order” means the Order Appointing an Independent
         Fee Examiner and Establishing Procedures [Dkt. []].

                  1.1.62     “Final Order” means, as applicable, an order or judgment of the
         Bankruptcy Court or other court of competent jurisdiction with respect to the relevant
         subject matter, which has not been reversed, vacated, stayed, modified or amended, and as
         to which the time to appeal, seek certiorari, or move for a new trial, reargument, or
         rehearing has expired and no appeal, petition for certiorari, or other proceedings for a new
         trial, reargument, or rehearing shall then be pending, or, if an appeal, writ of certiorari, new
         trial, reargument, or rehearing thereof has been sought, such order or judgment of the
         Bankruptcy Court or other court of competent jurisdiction shall have been affirmed by the
         highest court to which the order or judgment was appealed or certiorari shall have been
         denied or a new trial, reargument, or rehearing shall have been denied with prejudice or
         resulted in no modification of such order or judgment or has otherwise been dismissed with
         prejudice, and the time to take any further appeal, petition for certiorari, or move for a new
         trial, reargument, or rehearing shall have expired; provided, however, that the possibility
         that a motion pursuant to section 502(j) or 1144 of the Bankruptcy Code or under Rule 59
         or 60 of the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy
         Rules, may be filed with respect to such order shall not cause such order to not be a Final
         Order.

                 1.1.63     “Funding Agreement” means that certain Funding Agreement, dated
         April 4, 2023, by and between Holdco, as payor, and the Debtor, as payee.

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                 1.1.64      “Governmental Action Claims” means any and all claims asserted or
         assertable against the Debtor or any other Protected Party by any governmental unit, or by
         any other Person pursuant to any private right of action, under any federal, state,
         international, or foreign rule, statute, or regulation, directly or indirectly arising out of or
         in any way relating to the presence of or exposure of individuals to talc or talc-containing
         products based on the alleged pre-Effective Date acts or omissions of the Debtor, Old JJCI,
         or any other Person for whose conduct the Debtor has, or is alleged to have, liability,
         whether by assumption of such liability from such other Person, by agreement to
         indemnify, defend, or hold harmless such other Person from and against such liability, or
         otherwise, including any such claims directly or indirectly arising out of or in any way
         relating to: (a) any products previously mined, processed, manufactured, designed,
         marketed, fabricated, constructed, sold, supplied, produced, installed, maintained,
         serviced, specified, selected, repaired, removed, replaced, released, distributed, and/or in
         any other way made available by the Debtor or any other Person; (b) any materials present
         at any premises owned, leased, occupied, or operated by any Person; or (c) any talc in any
         way connected to the Debtor alleged to contain asbestos or other constituent. For the
         avoidance of doubt, Governmental Action Claims shall include such claims that are listed
         or described on Exhibit F. For the avoidance of doubt, Governmental Action Claims shall
         not include any claim for or otherwise relating to death, injury, or damages caused by talc
         or a product or material containing talc that is asserted by or on behalf of any injured
         individual, the estate, legal counsel, relative, assignee, or other representative of any
         injured individual, or an individual who claims injury or damages as a result of the injury
         or death of another individual caused by talc or a product or material containing talc
         regardless of whether such claim is seeking compensatory, special, economic, non-
         economic, punitive, exemplary, administrative, or any other costs or damages, or any legal,
         equitable or other relief whatsoever, including pursuant to a settlement, judgment, or
         verdict. By way of illustration and not limitation, a Governmental Action Claim shall not
         include any claim for loss of consortium, loss of companionship, services and society, or
         wrongful death.

                1.1.65     “Holdco” means Johnson & Johnson Holdco (NA) Inc., a New Jersey
         corporation that was formerly named Johnson & Johnson Consumer Inc.

                 1.1.66      “Imerys/Cyprus Agreements” means those contracts and/or
         agreements setting forth certain Imerys/Cyprus Related Rights, including as applicable: (a)
         that certain Agreement, between Cyprus Mines Corporation and Johnson & Johnson, dated
         as of January 6, 1989; (b) that certain Talc Supply Agreement, between Windsor Minerals
         Inc. and Johnson & Johnson Baby Products Company, a division of Johnson & Johnson
         Consumer Products, Inc., dated as of January 6, 1989; (c) that certain Supply Agreement
         between Johnson & Johnson Consumer Companies, Inc. and Luzenac America, Inc., dated
         as of April 15, 2001; (d) that certain Material Purchase Agreement, between Johnson &
         Johnson Consumer Companies, Inc. and Luzenac America, Inc., dated as of January 1,
         2010; (e) that certain Material Purchase Agreement, between Johnson & Johnson
         Consumer Companies, Inc. and Luzenac America, Inc., dated as of January 1, 2011; and/or
         (f) any other applicable agreement, order, or law.



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                 1.1.67      “Imerys/Cyprus Defenses” means any and all rights and defenses that
         any Imerys/Cyprus Party may have under any Imerys/Cyprus Agreement or applicable law
         with respect to a claim for contribution, reimbursement, subrogation, or indemnification in
         respect of Talc Personal Injury Claims, but Imerys/Cyprus Defenses do not include (a) any
         defense that the Plan or any other Plan Document does not comply with the Bankruptcy
         Code or (b) any defense that the transfer and assignment of the Imerys/Cyprus Related
         Rights by the Reorganized Debtor to the Talc Personal Injury Trust pursuant to
         Section 4.9.3, or any other action contemplated by Section 4.9.3, is prohibited by the
         Imerys/Cyprus Agreements or applicable non-bankruptcy law.

                  1.1.68    “Imerys/Cyprus Parties” means all Persons listed on Schedule 1.

                1.1.69     “Imerys/Cyprus Related Rights” means any and all rights of
         contribution, reimbursement, subrogation, or indemnification that the Debtor or any
         Protected Party has against any Imerys/Cyprus Party in respect of Talc Personal Injury
         Claims under any Imerys/Cyprus Agreement or applicable law.

               1.1.70     “Impaired” means a Claim or Interest that is impaired within the
         meaning of Section 1124 of the Bankruptcy Code.

                 1.1.71       “Indirect Talc Personal Injury Claim” means (a) a Talc Personal
         Injury Claim for contribution, reimbursement, subrogation, or indemnity (as those terms
         are defined by applicable non-bankruptcy law of the relevant jurisdiction), whether
         contractual or implied by law, and any other derivative Talc Personal Injury Claim, whether
         in the nature of or sounding in contract, tort, warranty, or other theory of law, including a
         Talc Personal Injury Claim of Imerys/Cyprus Party for contribution, reimbursement,
         subrogation, or indemnity under any Imerys/Cyprus Agreement or otherwise, or (b) a
         Governmental Action Claim. For the avoidance of doubt, an Indirect Talc Personal Injury
         Claim shall not include (i) any claim for or otherwise relating to death, injury, or damages
         caused by talc or a product or material containing talc that is asserted by or on behalf of
         any injured individual, the estate, legal counsel, relative, assignee, or other representative
         of any injured individual, or an individual who claims injury or damages as a result of the
         injury or death of another individual caused by talc or a product or material containing talc
         regardless of whether such claim is seeking compensatory, special, economic, non-
         economic, punitive, exemplary, administrative, or any other costs or damages, or any legal,
         equitable or other relief whatsoever, including pursuant to a settlement, judgment, or
         verdict or (ii) any claim against any Imerys/Cyprus Party based on, arising out of, or in any
         way relating to the Imerys/Cyprus Related Rights. By way of illustration and not limitation
         of claims contemplated by the foregoing clause (i), an Indirect Talc Personal Injury Claim
         shall not include any claim for loss of consortium, loss of companionship, services and
         society, or wrongful death.

                1.1.72     “Information Officer” means any Person (current and former), in its
         capacity as the information officer appointed by the Canadian Court in the Canadian
         Proceeding.



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                 1.1.73     “Injunctions” means the Discharge Injunction, the Channeling
         Injunction, the Insurance Entity Injunction, the Release Injunction, the Exculpation
         Injunction, and any other injunctions entered by the Bankruptcy Court or the District Court
         in connection with Confirmation of the Plan.

                1.1.74      “Insurance Entity Injunction” means the injunction described in
         Section 11.3.2.

                  1.1.75     “Intercompany Claim” means any Claim (including Claims related to
         setoff rights) held against the Debtor by any Affiliate of the Debtor.

                  1.1.76      “Interest” means the rights of any holder of the equity of the Debtor
         and the rights of any Person to purchase or demand the issuance of any equity of the Debtor,
         including: (a) redemption, conversion, exchange, voting, participation, and distribution
         rights; (b) liquidation preferences; and (c) any option and warrant rights.

                 1.1.77     “Internal Revenue Code” or “Tax Code” means title 26 of the United
         States Code, 26 U.S.C. §§ 1 et seq., as in effect on the Petition Date, together with all
         amendments, modifications, and replacements of the foregoing as the same may exist on
         any relevant date to the extent applicable to the Chapter 11 Case.

               1.1.78       “IRS” means the Internal Revenue Service of the United States of
         America.

                  1.1.79    “J&J” means Johnson & Johnson, a New Jersey corporation.

                 1.1.80     “Judgment” means a final and binding judicial determination or
         arbitration award.

                 1.1.81      “LTL Corporate Parties” means J&J and all of its current and former
         Affiliates other than the Debtor, including all Persons listed on Schedule 2, each of which
         are or were Affiliates of J&J.

                  1.1.82    “Non-Talc Claim” means any Claim that is not a Talc Personal Injury
         Claim.

                 1.1.83     “Old JJCI” means the former Texas limited liability company named
         Chenango Zero LLC (successor-by-merger to Johnson & Johnson Consumer Inc., a New
         Jersey corporation, and predecessor to the Debtor and Holdco), which ceased to exist as of
         the completion of the 2021 Corporate Restructuring (including all former names and
         historical forms).

                1.1.84     “Ordinary Course Professionals Order” means the Order
         Authorizing the Retention and Compensation of Professionals Utilized by the Debtor in the
         Ordinary Course of Business [DKT.[●]].




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                  1.1.85     “Person” means an individual, corporation, partnership, joint venture,
         association, joint stock company, limited liability company, limited liability partnership,
         trust, estate, unincorporated organization, governmental unit, or other entity.

                  1.1.86    “Petition Date” means April 4, 2023.

                1.1.87     “PI/Stay Order” means the Order (I) Declaring that Automatic Stay
         Applies to Certain Actions Against Non-Debtors and (II) Preliminarily Enjoining Certain
         Actions [Adv. 23-[]; Dkt. []].

                1.1.88     “PI/Stay Order Claims” means any and all claims enjoined or
         otherwise stayed by the PI/Stay Order.

                 1.1.89     “Plan” means this Chapter 11 Plan of Reorganization of LTL
         Management LLC, as the same may be amended or modified from time to time pursuant to
         section 1127 of the Bankruptcy Code.

                 1.1.90      “Plan Documents” means the Plan, the Disclosure Statement, the Plan
         Supplement, and all of the exhibits and schedules attached to any of the foregoing
         (including, for the avoidance of doubt, the Talc Personal Injury Trust Documents and the
         Cooperation Agreement).

                  1.1.91     “Plan Supplement” means the compilation of documents and forms of
         documents, schedules, and exhibits to the Plan to be filed by the Debtor at least fourteen
         (14) days prior to the deadline for objecting to Confirmation of the Plan, as the same may
         be amended, modified, or supplemented before the Effective Date, including the following:
         (a) the Amended Articles of Organization of the Reorganized Debtor (Exhibit A to the
         Plan), (b) the Amended Operating Agreement of the Reorganized Debtor (Exhibit B to the
         Plan), (c) the Cooperation Agreement (Exhibit E to the Plan), (d) a list or description of
         Governmental Claims (Exhibit F to the Plan), (e) a list or description of Retained Rights
         of Action (Exhibit G to the Plan), (f) a list of Talc Insurance Policies (Exhibit H to the
         Plan), (g) a list of Talc Insurance Settlement Agreements (Exhibit I to the Plan), (h) the
         Talc Personal Injury Trust Agreement (Exhibit J to the Plan), (i) the Talc PI Note
         (Exhibit K to the Plan), (j) the Talc PI Pledge Agreement (Exhibit L to the Plan), (k) the
         list of Executory Contracts and Unexpired Leases to be rejected by the Debtor (Exhibit N
         to the Plan), and (l) the list of officers and manager of the Reorganized Debtor (Exhibit O
         to the Plan); provided, however, that the Plan Document listed in clause (k) will be revised
         as needed to take into account any additional Executory Contracts and Unexpired Leases
         to be rejected in accordance with Article V. The Plan Supplement will be served only on
         those parties that have requested notice in the Chapter 11 Case pursuant to Bankruptcy
         Rule 2002 and any party in interest who requests in writing a copy from counsel for the
         Debtor. Once the Plan Supplement is filed, a copy will also be available for review on the
         Claims Agent’s website free of charge at https://dm.epiq11.com/case/ltl/dockets.

                 1.1.92      “Postpetition Interest” means, for the period following the Petition
         Date: (a) interest at the rate set forth in the contract or other applicable document between
         the holder of a Claim and the Debtor giving rise to such holder’s Claim, but excluding, for

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         the avoidance of doubt, interest at any default rate; (b) if no such rate exists, interest at the
         federal judgment rate; or (c) such interest, if any, as otherwise agreed to by the holder of a
         Claim and the Debtor.

                 1.1.93     “Prepetition Funding Agreement Modifications” means the
         transactions contemplated by that certain Termination and Substitution Agreement, dated
         April 4, 2023, by and among J&J, Holdco, and the Debtor.

                 1.1.94     “Priority Non-Tax Claim” means any Claim entitled to priority
         pursuant to section 507(a) of the Bankruptcy Code, other than an Administrative Claim or
         a Priority Tax Claim.

                 1.1.95     “Priority Tax Claim” means any Claim entitled to priority pursuant to
         section 507(a)(8) of the Bankruptcy Code.

                1.1.96     “Professional” means any Person retained or to be compensated
         pursuant to sections 327, 328, 330, 503(b), 524(g)(4)(B)(i), or 1103 of the Bankruptcy
         Code, including any professional retained by the TCC, the AHC of Supporting Counsel, or
         the FCR.

                1.1.97     “Proof of Claim” means any proof of claim filed with the Bankruptcy
         Court or the Claims Agent pursuant to section 501 of the Bankruptcy Code and Bankruptcy
         Rules 3001 or 3002 that asserts a Claim against the Debtor.

                  1.1.98         “Protected Party” means any of the following:

                           (a)      the Debtor and its Representatives;

                           (b)      the Reorganized Debtor and its Representatives;

                           (c)      the LTL Corporate Parties and their respective Representatives;

                           (d)      the Settling Talc Insurance Companies;

                          (e)    all Persons listed on Schedule 3, each of which is a third party
         retailer that sold Old JJCI’s talc-containing products or a third party to which the Debtor
         has contractual indemnification obligations relating to Old JJCI’s talc-containing products;

                         (f)    Imerys/Cyprus Parties; provided, however, that the Imerys/Cyprus
         Parties shall only be Protected Parties if, at least fourteen (14) days prior to the deadline
         for objecting to Confirmation of the Plan, either (i) a settlement agreement, acceptable in
         form and substance to the Debtor, J&J, and the AHC of Supporting Counsel, is entered into
         by and between Imerys Talc America, Inc. and the Debtor or (ii) the Debtor, J&J, and the
         AHC of Supporting Counsel jointly determine that the Imerys/Cyprus Parties shall be
         Protected Parties absent such a settlement agreement;

                       (g)     Persons that, pursuant to the Plan or on or after the Effective Date,
         become a direct or indirect transferee of, or successor to, any assets of the Debtor or the

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         Reorganized Debtor, or the Talc Personal Injury Trust, but only to the extent that liability
         is asserted to exist by reason of such Person becoming such a transferee or successor;

                         (h)     Persons that, pursuant to the Plan or on or after the Effective Date,
         make a loan to the Debtor or the Reorganized Debtor, or the Talc Personal Injury Trust, or
         to a successor to, or transferee of, any assets of the Debtor or the Reorganized Debtor, or
         the Talc Personal Injury Trust, but only to the extent that liability is asserted to exist by
         reason of it becoming such a lender; and

                        (i)    Persons that are alleged to be directly or indirectly liable for the
         conduct of, claims against or demands on the Debtor or the Reorganized Debtor, or the
         Talc Personal Injury Trust, to the extent that such alleged liability arises by reason of one
         or more of the following:

                               (i)     such Person’s ownership of a financial interest in the
                        Debtor or the Reorganized Debtor, a past or present affiliate of a Debtor or
                        Reorganized Debtor, or a predecessor in interest of a Debtor or Reorganized
                        Debtor (including Old JJCI);

                                (ii)   such Person’s involvement in the management of the
                        Debtor or the Reorganized Debtor or a predecessor in interest of the Debtor
                        or the Reorganized Debtor (including Old JJCI);

                                (iii)   such Person’s service as an officer, manager, or employee
                        of the Debtor or the Reorganized Debtor, a past or present affiliate of the
                        Debtor or the Reorganized Debtor, a predecessor in interest of the Debtor
                        or the Reorganized Debtor (including Old JJCI), or a Person that owns or at
                        any time has owned a financial interest in the Debtor or the Reorganized
                        Debtor, a past or present affiliate of the Debtor or the Reorganized Debtor,
                        or a predecessor in interest of the Debtor or the Reorganized Debtor
                        (including Old JJCI); and

                                (iv)     such Person’s involvement in a transaction changing the
                        corporate structure (including the 2021 Corporate Restructuring), or in a
                        loan or other financial transaction affecting the financial condition, of the
                        Debtor or the Reorganized Debtor, a past or present affiliate of the Debtor
                        or the Reorganized Debtor, a predecessor in interest of the Debtor or the
                        Reorganized Debtor (including Old JJCI), or a Person that owns or at any
                        time has owned a financial interest in the Debtor or the Reorganized Debtor,
                        a past or present affiliate of the Debtor or the Reorganized Debtor, or a
                        predecessor in interest of the Debtor or the Reorganized Debtor (including
                        Old JJCI), including (x) involvement in providing financing (debt or equity)
                        or advice to a Person involved in such a transaction or (y) acquiring or
                        selling a financial interest in any Person as a part of such transaction.

                 1.1.99    “Recovery Actions” means, collectively and individually, preference
         actions, fraudulent conveyance actions, and other claims or causes of action under

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         sections 510, 544, 547, 548, 549, 550, and 553(b) of the Bankruptcy Code and other similar
         state law claims and causes of action.

                 1.1.100   “Reinstated” or “Reinstatement” means the treatment of a Claim or
         Interest, at the Reorganized Debtor’s sole discretion, in accordance with one of the
         following:

                          (a)     the legal, equitable, and contractual rights to which such Claim or
         Interest entitles the holder will be unaltered; or

                         (b)     notwithstanding any contractual provision or applicable law that
         entitles the holder of such Claim or Interest to demand or receive accelerated payment of
         such Claim or Interest after the occurrence of a default:

                                   (i)    any such default that occurred before the Petition Date,
                            other than a default of a kind specified in section 365(b)(2) of the
                            Bankruptcy Code, will be cured;

                                    (ii)    the maturity of such Claim or Interest as such maturity
                            existed before such default will be reinstated;

                                   (iii)   the holder of such Claim or Interest will be compensated for
                            any damages incurred as a result of any reasonable reliance by such holder
                            on such contractual provision or such applicable law; and

                                   (iv)     the legal, equitable, or contractual rights to which such
                            Claim or Interest entitles the holder of such Claim or Interest will not
                            otherwise be altered.

                  1.1.101      “Release Injunction” means the injunction described in Section 11.3.3.

                1.1.102     “Released Parties” means each of: (a) the Debtor, (b) the Reorganized
         Debtor, (c) the LTL Corporate Parties; and (d) to the fullest extent permitted by applicable
         law, with respect to each of the foregoing Persons in clauses (a)-(c), each such Person’s
         Representatives.

                  1.1.103    “Releasing Claim Holder” means, collectively: (a) all holders of
         Claims that vote to accept the Plan; (b) all holders of Claims that are presumed to accept
         the Plan and fail to timely object to the releases provided for in the Plan; (c) all holders of
         Claims entitled to vote on the Plan and who vote against the Plan and do not opt out of the
         releases provided for in the Plan; and (d) all holders of Claims entitled to vote for or against
         the Plan who do not vote for or against the Plan and do not opt out of the releases provided
         for in the Plan.

                  1.1.104      “Reorganized Debtor” means the Debtor on and after the Effective
         Date.



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               1.1.105    “Reorganized Debtor Payment Default” means the failure by the
         Reorganized Debtor to pay when due any amount owed under the Talc PI Note.

                1.1.106    “Reorganized Debtor Payment Event of Default” means a
         Reorganized Debtor Payment Default that is not remedied within thirty (30) days after the
         Reorganized Debtor has received written notice of such Reorganized Debtor Payment
         Default from the Talc Personal Injury Trust.

                 1.1.107     “Representatives” means, with respect to any Person, such Person’s
         current and former (a) officers, directors, managers, employees, agents, and nominees and
         (b) financial advisors, attorneys, accountants, investment bankers, consultants, experts, and
         other professionals, in each case solely in their capacity as such.

                1.1.108     “Retained Professionals” means the professionals retained in the
         Chapter 11 Case by the Debtor, the TCC, or the FCR, including financial advisors,
         attorneys, accountants, investment bankers, and consultants.

                 1.1.109     “Retained Rights of Action” means any claims, demands, rights, and
         causes of action that the Debtor or its Estate may hold against any Person that are not
         transferred or assigned under the Plan to the Talc Personal Injury Trust, including (a) any
         Recovery Actions, (b) any right of contribution, reimbursement, subrogation, or
         indemnification, or similar rights, that the Debtor has against any Person in respect of Talc
         Personal Injury Claims under contract or applicable law (other than the Imerys/Cyprus
         Related Rights), and (c) the causes of action listed or described on Exhibit G.

                 1.1.110    “Schedules” means the schedules of assets and liabilities and the
         statements of financial affairs of the Debtor as filed on the Docket in accordance with
         section 521 of the Bankruptcy Code, as such schedules and statements may be amended or
         supplemented from time to time.

               1.1.111     “Secondment Agreement” means that certain Amended and Restated
         Secondment Agreement, dated as of October 12, 2021, between the Debtor and Johnson &
         Johnson Services, Inc., a New Jersey corporation.

                 1.1.112    “Secured Claim” means a Claim, or any portion thereof: (a) secured
         by a lien on property in which the Estate has an interest, which lien is valid, perfected, and
         enforceable pursuant to applicable law or by reason of a Final Order, to the extent of the
         value of the creditor’s interest in the Estate’s interest in such property as determined
         pursuant to section 506(a) of the Bankruptcy Code, (b) subject to setoff pursuant to
         section 553 of the Bankruptcy Code, to the extent of the amount subject to setoff as
         determined pursuant to section 506(a) of the Bankruptcy Code, or (c) Allowed as secured
         pursuant to the Plan or any Final Order as a secured Claim.

                1.1.113     “Settled Talc Insurance Policy” means any Talc Insurance Policy as
         to which the Talc Insurance Rights thereunder have been released pursuant to a Talc
         Insurance Settlement Agreement or will be deemed settled, released, and extinguished
         pursuant to Section 11.2.1.

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                 1.1.114    “Settling Talc Insurance Company” means, solely with respect to
         Settled Talc Insurance Policies:

                        (a)     any Talc Insurance Company that contributes funds, proceeds, or
         other consideration in respect of Talc Personal Injury Claims or will be deemed released
         pursuant to Section 11.3.1 and is designated, with the consent of the Debtor, in the
         Confirmation Order as a Settling Talc Insurance Company; and

                         (b)     any Talc Insurance Company that contributes funds, proceeds, or
         other consideration in respect of Talc Personal Injury Claims and is designated as a Settling
         Talc Insurance Company by the Talc Personal Injury Trust (acting through the Reorganized
         Debtor, as its agent and subrogee having the exclusive right to negotiate and enter into Talc
         Insurance Settlement Agreements, pursuant to the Cooperation Agreement) on or after the
         Effective Date; provided, however, that any addition to the list of Protected Parties on or
         after the Effective Date does not become effective until entry of a Final Order approving
         the addition.

                 1.1.115     “Support Agreement” means that certain Support Agreement, dated
         April 4, 2023, by and among J&J, Holdco, and the Debtor, approved pursuant to that
         certain [Insert Title of Order][Dkt.[●]] entered by the Bankruptcy Court on [●], 2023.

                 1.1.116     “Talc In-Place Insurance Coverage” means all of the Talc Insurance
         Rights under any Talc Insurance Policy that is not a Settled Talc Insurance Policy,
         including the right to payment or reimbursement of liability, indemnity, or defense costs
         arising out of or in any way relating to Talc Personal Injury Claims.

                 1.1.117    “Talc Insurance Action” means any claim, cause of action, or right of
         the Debtor under the laws of any jurisdiction against any Talc Insurance Company with
         respect to any Talc Personal Injury Claim based on, arising out of, or in any way relating
         to: (a) any such Talc Insurance Company’s failure to provide coverage or otherwise pay
         in respect of Talc In-Place Insurance Coverage; (b) the refusal of any Talc Insurance
         Company to compromise and settle any Talc Personal Injury Claim under or pursuant to
         any Talc Insurance Policy; (c) the interpretation or enforcement of the terms of any Talc
         Insurance Policy with respect to any Talc Personal Injury Claim; (d) any conduct by a Talc
         Insurance Company constituting “bad faith,” conduct that could give rise to extra-
         contractual damages, or other wrongful conduct under applicable law; or (e) any other
         dispute under, arising out of, or in any way relating to Talc In-Place Insurance Coverage
         or other Talc Insurance Rights.

                 1.1.118    “Talc Insurance Assets” means (a) all Talc In-Place Insurance
         Coverage, (b) all Talc Insurance Actions, (c) all Talc Insurance Recoveries, and (d) all Talc
         Insurance Settlement Agreements. For the avoidance of doubt, Talc Insurance Assets do
         not include Talc Insurance Policies themselves or any rights thereunder that are not related
         to the Debtor’s coverage or rights to coverage for Talc Personal Injury Claims.




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                1.1.119     “Talc Insurance Company” means any insurance company, insurance
         syndicate, coverholder, insurance broker or syndicate insurance broker, guaranty
         association, or any other Person that may have liability under a Talc Insurance Policy.

                 1.1.120    “Talc Insurance Policy” means any insurance policy, currently or
         previously in effect at any time on or before the Effective Date, as to which the Debtor has
         rights as an insured, additional insured, successor, beneficiary, or otherwise, solely to the
         extent such policy provides the Debtor with coverage or a right to coverage for Talc
         Personal Injury Claims, including the policies listed on Exhibit H. For the avoidance of
         doubt, Talc Insurance Policies shall not include any policy providing reinsurance to any
         Settling Talc Insurance Company.

                 1.1.121    “Talc Insurance Recoveries” means (a) the right to receive proceeds
         of Talc In-Place Insurance Coverage (including any receivables), (b) the right to receive
         the proceeds or benefits of any Talc Insurance Action, and (c) the right to receive amounts
         payable pursuant to any Talc Insurance Settlement Agreement.

                1.1.122     “Talc Insurance Rights” means all rights of the Debtor to make claims
         under the Talc Insurance Policies.

                 1.1.123     “Talc Insurance Settlement Agreement” means any settlement
         agreement entered into after the Petition Date by and between (a) any Talc Insurance
         Company, on the one hand, and (b) on or prior to the Confirmation Date, the Debtor or, on
         or after the Effective Date, the Talc Personal Injury Trust (acting through the Reorganized
         Debtor, as its agent and subrogee having the exclusive right to negotiate and enter into Talc
         Insurance Settlement Agreements, pursuant to the Cooperation Agreement), on the other
         hand, pursuant to which Talc Insurance Rights thereunder are released, including the
         settlement agreements listed on Exhibit I.

                1.1.124      “Talc Insurer Coverage Defense” means all rights and defenses that
         any Talc Insurance Company may have under any Talc Insurance Policy and applicable
         law with respect to a claim seeking insurance coverage for a Talc Personal Injury Claim or
         to a Talc Insurance Action, but Talc Insurer Coverage Defenses do not include (a) any
         defense that the Plan or any other Plan Document does not comply with the Bankruptcy
         Code or (b) any defense that the transfer and assignment of the Talc Insurance Assets to
         the Talc Personal Injury Trust pursuant to Section 4.9.4, or any other action contemplated
         by Section 4.9.4, is prohibited by the Talc Insurance Policies or applicable non-bankruptcy
         law.

                1.1.125     “Talc Personal Injury Claim” means any claim or Talc Personal Injury
         Demand against the Debtor, Old JJCI, or any other Protected Party, whether known or
         unknown, including with respect to any manner of alleged bodily injury, death, sickness,
         disease, emotional distress, fear of cancer, medical monitoring, or any other alleged
         personal injuries (whether physical, emotional, or otherwise), directly or indirectly arising
         out of or in any way relating to the presence of or exposure to talc or talc-containing
         products based on the alleged pre-Effective Date acts or omissions of the Debtor, Old JJCI,
         or any other Person for whose conduct the Debtor has, or is alleged to have, liability,

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         whether by assumption of such liability from such other Person, by agreement to
         indemnify, defend, or hold harmless such other Person from and against such liability, or
         otherwise, including any such claims and Talc Personal Injury Demands directly or
         indirectly arising out of or in any way relating to: (a) any products previously mined,
         processed, manufactured, designed, marketed, fabricated, constructed, sold, supplied,
         produced, installed, maintained, serviced, specified, selected, repaired, removed, replaced,
         released, distributed, and/or in any other way made available by the Debtor or any other
         Person; (b) any materials present at any premises owned, leased, occupied, or operated by
         any Person; or (c) any talc in any way connected to the Debtor alleged to contain asbestos
         or other constituent. Talc Personal Injury Claims include all such claims and Talc Personal
         Injury Demands, whether: (i) in tort, contract, warranty, restitution, conspiracy,
         contribution, indemnity, guarantee, subrogation, reimbursement, or any other theory of
         law, equity or admiralty, whether brought, threatened, or pursued in any United States court
         or other court anywhere in the world, including Canada; (ii) liquidated or unliquidated,
         fixed or contingent, direct or indirect, disputed or undisputed, matured or unmatured,
         known or unknown, foreseen or unforeseen, now existing or hereafter arising, in law,
         equity, or otherwise (including under piercing the corporate veil, agency, alter ego,
         successor liability, fraudulent conveyance, conspiracy, enterprise liability, market share,
         joint venture, or any other legal or equitable theory); (iii) seeking compensatory, special,
         economic, non-economic, punitive, exemplary, administrative, or any other costs, fees,
         injunctive, or similar relief, or any other measure of damages; (iv) seeking any legal,
         equitable, or other relief of any kind whatsoever, including, for the avoidance of doubt, any
         claims and Talc Personal Injury Demands arising out of or in any way relating to the
         presence of or exposure to talc or talc-containing products assertable against the Debtor or
         any other Protected Party; or (v) held by Persons residing within the United States or in a
         foreign jurisdiction, including Canada. Talc Personal Injury Claims also include any such
         claims that have been resolved or are subject to resolution pursuant to any agreement, or
         any such claims that are based on a judgment or verdict. Talc Personal Injury Claims do
         not include any claim or demand by any present or former employee of a predecessor or
         Affiliate of the Debtor for benefits under a policy of workers’ compensation insurance or
         for benefits under any state or federal workers’ compensation statute or other statute
         providing compensation to an employee from an employer. For the avoidance of doubt,
         Talc Personal Injury Claims include: (A) all claims, demands, debts, obligations, or
         liabilities for compensatory damages (such as, without limitation, loss of consortium,
         medical monitoring, personal or bodily injury, wrongful death, survivorship, proximate,
         consequential, general, and special damages) and punitive damages; (B) PI/Stay Order
         Claims; (C) Indirect Talc Personal Injury Claims; and (D) Canadian Claims.
         Notwithstanding the foregoing, Talc Personal Injury Claims do not include any claim that
         a Settling Talc Insurance Company may have against its reinsurers and/or retrocessionaires
         in their capacities as such, and nothing in the Plan, the Plan Documents, or the
         Confirmation Order shall impair or otherwise affect the ability of a Settling Talc Insurance
         Company to assert any such claim against its reinsurers and/or retrocessionaires in their
         capacities as such. For the avoidance of doubt, Talc Personal Injury Claims do not include
         any claim against any Imerys/Cyprus Party based on, arising out of, or in any way relating
         to the Imerys/Cyprus Related Rights.


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                 1.1.126     “Talc Personal Injury Demand” means a demand for payment, present
         or future, against the Debtor or any other Protected Party that: (a) falls within the meaning
         of “demand” in section 524(g) of the Bankruptcy Code; (b) is in respect of an injury that
         manifests after the Effective Date; and (c) would have otherwise been a Claim that is a
         Talc Personal Injury Claim if such injury had manifested on or before the Effective Date.
         For the avoidance of doubt, Talc Personal Injury Demands do not include any demand for
         payment against any Imerys/Cyprus Party based on, arising out of, or in any way relating
         to the Imerys/Cyprus Related Rights.

                1.1.127    “Talc Personal Injury Governmental Action Claims Sub-Trust”
         means the sub-trust of the Talc Personal Injury Trust established pursuant to the Talc
         Personal Injury Trust Agreement to resolve and satisfy Governmental Action Claims.

                1.1.128    “Talc Personal Injury Governmental Action Claims Sub-Trust
         Funds” means collectively, (a) Cash Contributions delivered to the Talc Personal Injury
         Governmental Action Claims Sub-Trust pursuant to Section 4.9.1(a) and all earnings
         thereon, and (b) proceeds of the recoveries on any of the Talc Personal Injury Trust
         Defenses regarding Governmental Action Claims deposited in the Talc Personal Injury
         Governmental Action Claims Sub-Trust pursuant to Section 4.8 and all earnings thereon.

                1.1.129    “Talc Personal Injury Tort Claims Sub-Trust” means the sub-trust
         of the Talc Personal Injury Trust established pursuant to the Talc Personal Injury Trust
         Agreement to resolve and satisfy Talc Personal Injury Claims other than Governmental
         Action Claims, which sub-trust is a “qualified settlement fund” within the meaning of
         Treasury Regulations issued under Section 468B of the Internal Revenue Code.

                 1.1.130     “Talc Personal Injury Tort Claims Sub-Trust Funds” means
         collectively, (a) Cash Contributions delivered to the Talc Personal Injury Tort Claims Sub-
         Trust pursuant to Section 4.9.1(a) and all earnings thereon, (b) principal and interest
         payments made to the Talc Personal Injury Tort Claims Sub-Trust pursuant to the Talc PI
         Note and all earnings thereon, (c) proceeds of the recoveries on any of the Talc Personal
         Injury Trust Defenses regarding Talc Personal Injury Claims other than Governmental
         Action Claims deposited in the Talc Personal Injury Tort Claims Sub-Trust pursuant to
         Section 4.8 and all earning thereon, and (d) proceeds of the recoveries on any
         Imerys/Cyprus Related Rights deposited in the Talc Personal Injury Tort Claims Sub-Trust
         pursuant to Section 4.9.3(b) and all earnings thereon.

                 1.1.131    “Talc Personal Injury Trust” means the LTL Talc Personal Injury
         Trust established pursuant to the Talc Personal Injury Trust Agreement and comprised of
         the Talc Personal Injury Governmental Action Claims Sub-Trust and the Talc Personal
         Injury Tort Claims Sub-Trust.

               1.1.132     “Talc Personal Injury Trust Agreement” means that certain trust
         agreement, substantially in the form of Exhibit J.

                 1.1.133     “Talc Personal Injury Trust Defenses” means all defenses, cross-
         claims, offsets, and recoupments regarding Talc Personal Injury Claims that the Debtor or

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         the Reorganized Debtor has (or would have had absent the assumption by the Talc Personal
         Injury Trust of liabilities, obligations, and responsibilities for the Talc Personal Injury
         Claims as contemplated by Section 4.7.1) against any Person under applicable law;
         provided, however, that the Talc Personal Injury Trust Defenses shall not include (a) any
         defenses, cross-claims, offsets, or recoupments against any Protected Party or any Talc
         Insurance Company, (b) any Retained Rights of Action, or (c) any Imerys/Cyprus Related
         Rights.

                 1.1.134     “Talc Personal Injury Trust Documents” means the Talc Personal
         Injury Trust Agreement, the Trust Distribution Procedures, the Cooperation Agreement,
         and all other agreements, instruments, and documents governing the establishment,
         administration, and operation of the Talc Personal Injury Trust, which shall be substantially
         in the form set forth as exhibits hereto or in the Plan Supplement, as they may be amended
         or modified from time to time in accordance with their terms and the Plan.

                 1.1.135   “Talc Personal Injury Trust Expenses” means any liabilities, costs,
         or expenses of, or imposed upon, or in respect of, the Talc Personal Injury Trust once
         established (except for payments to holders of Talc Personal Injury Claims on account of
         such Claims). Talc Personal Injury Trust Expenses shall also expressly include the
         reasonable documented costs and expenses incurred by the Reorganized Debtor or any
         Non-Debtor Affiliate in taking any action on behalf of or at the direction of the Talc
         Personal Injury Trust, if any.

                1.1.136     “Talc PI Note” means the note to be executed and delivered by the
         Reorganized Debtor in favor of the Talc Personal Injury Trust, in substantially the form of
         Exhibit K, in the principal amount of $400,000,000.00.

                 1.1.137     “Talc PI Pledge” means the pledge by Holdco of all of the membership
         interests of the Reorganized Debtor pursuant to the Talc PI Pledge Agreement.

                1.1.138      “Talc PI Pledge Agreement” means the Pledge Agreement,
         substantially in the form of Exhibit L, to be executed and delivered by Holdco pursuant to
         which the Talc PI Pledge will be granted as security for payment of the Talc PI Note.

                 1.1.139     “Talc Trust Advisory Committee” means the committee appointed
         and serving in accordance with Section 4.4, and having the powers, duties and obligations
         set forth in the Talc Personal Injury Trust Agreement.

                1.1.140    “Talc Trust Advisory Committee Member” means any member of the
         Talc Trust Advisory Committee.

                1.1.141     “Talc Trust Claims Administrator” means (a) the individual who,
         pursuant to Section 4.4.1, is appointed by the Bankruptcy Court to serve as the initial claims
         administrator of the Talc Personal Injury Trust or (b) any individual who is subsequently
         appointed to serve in such capacity pursuant to the terms of the Talc Personal Injury Trust
         Agreement.


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                 1.1.142    “Talc Trust Liens Resolution Administrator” means (a) the Person
         who, pursuant to Section 4.4.2, is appointed by the Bankruptcy Court to serve as the initial
         liens resolution administrator of the Talc Personal Injury Trust or (b) any Person who is
         subsequently appointed to serve in such capacity pursuant to the terms of the Talc Personal
         Injury Trust Agreement.

                 1.1.143     “Talc Trustee” means (a) any individual who, pursuant to Section 4.3,
         is appointed by the Bankruptcy Court to serve as an initial trustee of the Talc Personal
         Injury Trust or (b) any individual who is subsequently appointed to serve in such capacity
         pursuant to the terms of the Talc Personal Injury Trust Agreement.

                1.1.144    “TCC” means the official committee of talc claimants appointed in the
         Chapter 11 Case, as such committee is reconstituted from time to time.

                1.1.145    “Trust Distribution Procedures” means the Talc Personal Injury Trust
         Distribution Procedures, substantially in the form of Exhibit M.

                 1.1.146   “Unexpired Lease” means a lease to which the Debtor is a party that is
         subject to assumption or rejection under section 365 of the Bankruptcy Code.

                1.1.147     “Unimpaired” means a Claim, or a Class of Claims, that is not Impaired
         under the Plan.

                 1.1.148   “United States Trustee” means the United States Trustee appointed
         under section 581 of title 28 of the United States Code to serve in the District of New
         Jersey.

                1.1.149    “Unsecured Claim” means a Claim against the Debtor that is not an
         Administrative Claim, a Cure Amount Claim, a Priority Non-Tax Claim, a Priority Tax
         Claim, a Secured Claim, a Talc Personal Injury Claim, or an Intercompany Claim,
         including any Deficiency Claim.

         1.2    Interpretation; Application of Definitions; Rules of Construction; and Computation
 of Time. The headings in the Plan are for convenience of reference only and shall not limit or
 otherwise affect the provisions hereof. Wherever from the context it appears appropriate, each
 term stated in either the singular or the plural will include both the singular and the plural, and
 pronouns stated in the masculine, feminine, or neuter gender will include the masculine, feminine,
 and neuter. Unless otherwise specified, all Article, Section, Exhibit, or Schedule references in the
 Plan are to the respective article or section of, or schedule or exhibit to, the Plan. The words
 “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar meaning refer to the Plan as
 a whole and not to any particular article, section, subsection, or clause contained in the Plan. The
 rules of construction contained in section 102 of the Bankruptcy Code will apply to the
 construction of the Plan. Unless otherwise stated herein, all references to dollars mean U.S.
 dollars. In computing any period of time prescribed or allowed by the Plan, unless otherwise
 expressly provided, the provisions of Bankruptcy Rule 9006(a) will apply. The words “including”
 or “includes” shall be without limitation.


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        1.3    Exhibits. All exhibits and schedules to the Plan, to the extent not annexed hereto,
 and any agreements referred to herein and therein will be available for review following their filing
 with the Bankruptcy Court on (a) the Court’s website: www.njb.uscourts.gov, and (b) the website
 maintained by the Claims Agent at https://dm.epiq11.com/case/ltl/dockets.

         1.4     Ancillary Documents. Each of the exhibits and schedules to the Plan (whether
 annexed hereto or included in the Plan Supplement), the Disclosure Statement and supplements
 thereto, and the exhibits and schedules to the Disclosure Statement and the supplements thereto
 are an integral part of the Plan, and are hereby incorporated by reference and made a part of the
 Plan, including the Talc Personal Injury Trust Agreement, the Trust Distribution Procedures, the
 Cooperation Agreement, the Amended Charter Documents, and the other Plan Documents.

                            ARTICLE II
     TREATMENT OF ADMINISTRATIVE CLAIMS AND PRIORITY TAX CLAIMS

         2.1      Administrative Claims.

                 2.1.1       Allowed Administrative Claims. Holders of Allowed Administrative
         Claims (other than Fee Claims, which are governed by Section 2.2, and Cure Amount
         Claims, which are governed by Section 5.4) shall receive Cash equal to the unpaid portion
         of such Allowed Administrative Claims on the Distribution Date, in full satisfaction,
         settlement, release, and discharge of and in exchange for such Claims, or such other
         amounts and on such other terms as may be agreed to by the holders of such Claims and
         the Debtor or the Reorganized Debtor, as the case may be; provided, however, that (a)
         Allowed Administrative Claims representing liabilities incurred on or after the Petition
         Date in the ordinary course of business by the Debtor shall be paid by the Debtor or the
         Reorganized Debtor, as the case may be, in accordance with the terms and conditions of
         the particular transactions and agreements relating to such liabilities without any further
         action by the holders of such Claims or further approval of the Bankruptcy Court and (b)
         holders of such Administrative Claims shall not be required to comply with the
         requirements set forth in Section 2.1.2.

                 2.1.2       Administrative Claims Bar Date. Except as otherwise provided in this
         Article II, requests for payment of Administrative Claims (other than Fee Claims and Cure
         Amount Claims) must be filed and served on the Reorganized Debtor pursuant to the
         procedures specified in the Confirmation Order no later than sixty (60) days after the
         Effective Date. Holders of Administrative Claims that are required to, but do not, file and
         serve a request for payment of such Administrative Claims by the Administrative Claims
         Bar Date shall be forever barred, estopped, and enjoined from asserting such
         Administrative Claims against, as applicable, the Debtor or the Reorganized Debtor, or
         their property, and such Administrative Claims shall be deemed discharged as of the
         Effective Date. Objections to such requests, if any, must be filed and served on the
         Reorganized Debtor and the requesting party, as applicable, no later than ninety (90) days
         after the Effective Date, unless otherwise authorized by the Bankruptcy Rules or
         Bankruptcy Court. Notwithstanding the foregoing, no request for payment of an
         Administrative Claim need be filed with respect to an Administrative Claim previously


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         Allowed by Final Order, including all Administrative Claims expressly Allowed under the
         Plan.

                 2.1.3     Disputed Administrative Claims. If a Disputed Administrative Claim is
         thereafter Allowed in whole or in part, the Disbursing Agent shall (at such time as
         determined to be practicable by the Reorganized Debtor) distribute to the holder of such
         Administrative Claim, the Cash that such holder would have received on account of such
         Claim if such Administrative Claim had been an Allowed Administrative Claim on the
         Effective Date.

         2.2      Fee Claims.

                  2.2.1      All final fee requests for compensation or reimbursement of Fee Claims
         pursuant to sections 327, 328, 329, 330, 331, 503(b), or 1103 of the Bankruptcy Code for
         services rendered to the Debtor, the TCC, the AHC of Supporting Counsel, or the FCR, all
         Fee Claims of members of the TCC for reimbursement of expenses, and all requests or
         Claims under section 503(b)(4) of the Bankruptcy Code, must be filed and served on the
         Reorganized Debtor and other parties required to be served by the Compensation
         Procedures Order no later than forty-five (45) days after the Effective Date, unless
         otherwise ordered by the Bankruptcy Court; provided, however, that the AHC of
         Supporting Counsel shall be deemed to have substantially contributed to the Chapter 11
         Case and shall not be required to make any further showing under section 503(b)(3)(D) of
         the Bankruptcy Code. Any objections to a final Fee Claim or any requests or claims under
         section 503(b)(4) of the Bankruptcy Code must be filed no later than twenty (20) days after
         the filing of such Claim. The terms of the Compensation Procedures Order shall govern
         the allowance and payment of any final Fee Claims submitted in accordance with this
         Section 2.2. The Fee Examiner appointed under the Fee Examiner Order shall continue to
         act in this appointed capacity unless and until all final Fee Claims have been approved by
         order of the Bankruptcy Court, and the Reorganized Debtor shall be responsible for the
         payment of the fees and expenses incurred by the Fee Examiner in rendering services after
         the Effective Date.

                 2.2.2      The amount of the Fee Claims owing to the Professionals on and after
         the Effective Date shall be paid by the Reorganized Debtor in Cash to such Professionals
         as soon as reasonably practicable after such Claims are Allowed by a Bankruptcy Court
         order. Upon the Effective Date, any requirement that Professionals and Ordinary Course
         Professionals of the Reorganized Debtor comply with sections 327 through 331 and 1103
         of the Bankruptcy Code, the Compensation Procedures Order, the Fee Examiner Order, or
         the Ordinary Course Professionals Order in seeking retention or compensation for services
         rendered after such date will terminate, and the Reorganized Debtor may employ and pay
         any Professional or Ordinary Course Professional in the ordinary course of business
         without any further notice to or action, order or approval of the Bankruptcy Court.

         2.3    Payment of Statutory Fees. All fees payable under section 1930 of title 28 of the
 United States Code, as determined at the Confirmation Hearing by the Bankruptcy Court or the
 District Court, as applicable, shall be paid on or before the Effective Date. The Reorganized


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 Debtor shall pay all such fees that arise after the Effective Date, but before the closing of the
 Chapter 11 Case, and shall comply with all applicable statutory reporting requirements.

         2.4     Allowed Priority Tax Claims. On the Distribution Date, holders of Allowed
 Priority Tax Claims shall receive Cash equal to the amount of such Allowed Priority Tax Claims,
 plus Postpetition Interest, if any, in full satisfaction, settlement, release, and discharge of and in
 exchange for such Claims unless the holder of such Claim agrees to an alternative treatment.
 Notwithstanding the provisions of this Section 2.4, any Claim on account of any penalty arising
 with respect to or in connection with an Allowed Priority Tax Claim that does not compensate the
 holder for actual pecuniary loss shall be treated as a Class 3 Claim, and the holder (other than as
 the holder of a Class 3 Claim) may not assess or attempt to collect such penalty from the
 Reorganized Debtor or its property.

                                  ARTICLE III
                  TREATMENT OF CLASSIFIED CLAIMS AND INTERESTS

         3.1     Claims and Interests Classified. For purposes of organization, voting, and all Plan
 confirmation matters, all Claims (other than Administrative Claims and Priority Tax Claims)
 against and Equity Interests of the Debtor are classified as set forth in this Article III. In
 accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims and Priority
 Tax Claims, as described in Article II, have not been classified and are excluded from the following
 Classes. A Claim or Interest is classified in a particular Class only to the extent that the Claim or
 Interest falls within the description of such Class, and is classified in another Class or Classes to
 the extent that any remainder of the Claim or Interest falls within the description of such other
 Class or Classes. Notwithstanding anything to the contrary contained in the Plan, no Distribution
 shall be made on account of any Non-Talc Claim that is not an Allowed Claim for distribution
 purposes.

         3.2   Treatment and Classification of Claims and Interests. For purposes of all Plan
 confirmation matters, including voting on, Confirmation of, and Distributions under, the Plan, all
 Claims (other than Administrative Claims and Priority Tax Claims, which are not classified)
 against and Equity Interests of the Debtor shall be classified and treated in the manner set forth
 below.

 Class      Designation    Treatment Entitlement to Vote                 Estimated Recovery

                                            Not Entitled to
           Priority Non-
  1                        Unimpaired      Vote (Presumed to                     100%
           Tax Claims
                                                Accept)

                                            Not Entitled to
           Secured
  2                        Unimpaired      Vote (Presumed to                     100%
           Claims
                                                Accept)




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 Class      Designation          Treatment Entitlement to Vote             Estimated Recovery

                                               Not Entitled to
           Unsecured
  3                              Unimpaired   Vote (Presumed to                     100%
           Claims
                                                   Accept)

           Talc Personal
  4                               Impaired     Entitled to Vote                     100%
           Injury Claims

                                               Not Entitled to
           Intercompany
  5                              Unimpaired   Vote (Presumed to                  Reinstated
           Claims
                                                   Accept)

           Equity
                                                                                Reinstated
  6        Interests of           Impaired     Entitled to Vote
                                                                         Subject to Talc PI Pledge
           the Debtor

                  3.2.1          Class 1 – Priority Non-Tax Claims

                        (a)         Classification: Class 1 consists of all Priority Non-Tax Claims
         against the Debtor.

                         (b)    Treatment: On the Distribution Date, each holder of an Allowed
         Class 1 Priority Non-Tax Claim shall receive Cash equal to the Allowed Amount of such
         Priority Non-Tax Claim plus Postpetition Interest thereon, unless the holder of such Claim,
         agrees to less favorable treatment.

                        (c)   Voting: Class 1 is Unimpaired and each holder of an Allowed Claim
         in Class 1 is presumed to accept the Plan pursuant to section 1126(f) of the Bankruptcy
         Code. No holder of an Allowed Claim in Class 1 is entitled to vote to accept or reject the
         Plan.

                  3.2.2          Class 2 – Secured Claims

                           (a)      Classification: Class 2 consists of all Secured Claims against the
         Debtor.

                         (b)      Treatment: On the Distribution Date, unless otherwise agreed to by
         the holder of an Allowed Secured Claim in Class 2 and the Debtor or Reorganized Debtor,
         each holder of an Allowed Class 2 Claim, at the option of the Debtor or Reorganized
         Debtor, shall either (i) be paid in full in Cash, plus Postpetition Interest thereon, or (ii) have
         its Allowed Class 2 Claim Reinstated. Any Allowed Deficiency Claim of a holder of an
         Allowed Secured Claim shall be entitled to treatment as an Allowed Class 3 Claim.

                        (c)   Voting: Class 2 is Unimpaired and each holder of an Allowed Claim
         in Class 2 is presumed to accept the Plan pursuant to section 1126(f) of the Bankruptcy


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         Code. No holder of an Allowed Claim in Class 2 is entitled to vote to accept or reject the
         Plan.

                  3.2.3         Class 3 – Unsecured Claims

                          (a)      Classification: Class 3 consists of all Unsecured Claims against the
         Debtor.

                         (b)    Treatment: Each holder of an Allowed Unsecured Claim against the
         Debtor shall be paid the Allowed Amount of its Unsecured Claim on the Distribution Date.
         Such payment shall be (i) in full, in Cash, plus Postpetition Interest, or (ii) upon such other
         less favorable terms as may be mutually agreed upon between the holder of such Unsecured
         Claim and the Debtor or Reorganized Debtor.

                        (c)   Voting: Class 3 is Unimpaired and each holder of an Allowed Claim
         in Class 3 is presumed to accept the Plan pursuant to section 1126(f) of the Bankruptcy
         Code. No holder of an Allowed Claim in Class 3 is entitled to vote to accept or reject the
         Plan.

                  3.2.4         Class 4 – Talc Personal Injury Claims

                          (a)      Classification: Class 4 consists of all Talc Personal Injury Claims.

                         (b)    Treatment: On the Effective Date, liability for all Talc Personal
         Injury Claims shall be channeled to and assumed by the Talc Personal Injury Trust without
         further act or deed and shall be resolved in accordance with the Talc Personal Injury Trust
         Documents. Pursuant to the Plan and Trust Distribution Procedures, each holder of a Talc
         Personal Injury Claim shall have its Claim permanently channeled to the Talc Personal
         Injury Trust, and such Claim shall thereafter be resolved in accordance with the Talc
         Personal Injury Trust Documents.

                        (c)    Voting: Class 4 is Impaired and each holder of a Talc Personal
         Injury Claim in Class 4 is entitled to vote to accept or reject the Plan.

                  3.2.5         Class 5 – Intercompany Claims

                          (a)      Classification: Class 5 consists of all Intercompany Claims.

                        (b)        Treatment: On the Effective Date, each Allowed Claim in Class 5
         shall be Reinstated.

                         (c)    Voting: Class 5 is Unimpaired and each holder of an Allowed Claim
         in Class 5 is conclusively deemed to have accepted the Plan pursuant to section 1126(f) of
         the Bankruptcy Code. No holder of a Claim in Class 5 is entitled to accept or reject the
         Plan.




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                  3.2.6         Class 6 – Equity Interests of the Debtor

                          (a)      Classification: Class 6 consists of all Equity Interests of the Debtor.

                        (b)     Treatment: On the Effective Date, Equity Interests of the Debtor
         shall be Reinstated, and the holder of such Interests shall retain such Interests, subject to
         the Talc PI Pledge.

                        (c)     Voting: Class 6 is Impaired and each holder of an Equity Interest of
         the Debtor in Class 6 is entitled to vote to accept or reject the Plan.

         3.3     Debtor’s Rights with Respect to Unimpaired Claims. Nothing under the Plan shall
 affect the rights of the Debtor or the Reorganized Debtor with respect to any Unimpaired Claims,
 including all rights with respect to legal and equitable defenses to, or setoffs or recoupments
 against, any such Unimpaired Claims.

         3.4    Elimination of Vacant Classes. Any Class of Claims against or Interests in the
 Debtor that, as of the commencement of the Confirmation Hearing, does not have at least one
 holder of a Claim or Interest that is Allowed in an amount greater than $0.00 for voting purposes
 shall be considered vacant, deemed eliminated from the Plan for purposes of voting to accept or
 reject the Plan, and disregarded for purposes of determining whether the Plan satisfies section
 1129(a)(8) of the Bankruptcy Code with respect to such Class.

                                          ARTICLE IV
                                THE TALC PERSONAL INJURY TRUST

         4.1    Establishment. On the first Business Day following the Confirmation Date, the
 Talc Personal Injury Trust, and the Talc Personal Injury Governmental Action Claims Sub-Trust
 and the Talc Personal Injury Tort Claims Sub-Trust comprising the Talc Personal Injury Trust,
 shall be created in accordance with the Plan Documents. The Talc Personal Injury Tort Claims
 Sub-Trust shall be a “qualified settlement fund” within the meaning of the Treasury Regulations
 issued under Section 468B of the Tax Code. The Talc Trustees shall segregate, and separately
 account for the use of, Talc Personal Injury Governmental Action Claims Sub-Trust Funds, on the
 one hand, and Talc Personal Injury Tort Claims Sub-Trust Funds, on the other hand.

         4.2     Purpose. The purposes of the Talc Personal Injury Trust shall be to assume all Talc
 Personal Injury Claims and, among other things: (a) to preserve, hold, manage, and maximize the
 assets of the Talc Personal Injury Trust; and (b) to direct the processing, liquidation, and payment
 of all compensable Talc Personal Injury Claims in accordance with the Talc Personal Injury Trust
 Documents. The Talc Personal Injury Trust will resolve Talc Personal Injury Claims in accordance
 with the Talc Personal Injury Trust Documents in such a way that holders of Talc Personal Injury
 Claims are treated fairly and equitably, and otherwise comply in all respects with the requirements
 of section 524(g)(2)(B)(i) of the Bankruptcy Code. In the event of a conflict between the terms or
 provisions of the Plan and the Talc Personal Injury Trust Documents, the terms of the Plan shall
 control.

        4.3     Initial Talc Trustees. There shall be two initial Talc Trustees. The initial Talc
 Trustees of the Talc Personal Injury Trust shall be [•] and [•]. All successor Talc Trustees shall
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 be appointed in accordance with the terms of the Talc Personal Injury Trust Agreement. For
 purposes of performing his or her duties and fulfilling his or her obligations under the Talc Personal
 Injury Trust Agreement and the Plan, each Talc Trustee shall be deemed to be (and the
 Confirmation Order shall provide that it is) a “party in interest” within the meaning of
 section 1109(b) of the Bankruptcy Code. A Talc Trustee shall be designated as the “administrator”
 of the Talc Personal Injury Trust Claims Sub-Trust as such term is used in Treasury Regulation
 Section 1.468B-2(k)(3).

         4.4      Initial Talc Trust Advisory Committee and FCR.

                  4.4.1      Initial Talc Trust Advisory Committee. The Talc Trust Advisory
         Committee shall be established pursuant to the Talc Personal Injury Trust Agreement. The
         initial Talc Trust Advisory Committee Members shall include: [●]. Each of the Talc Trust
         Advisory Committee Members shall serve in accordance with the terms and conditions
         contained in the Talc Personal Injury Trust Agreement. Successor Talc Trust Advisory
         Committee Members shall be appointed pursuant to the terms of the Talc Personal Injury
         Trust Agreement. For purposes of performing his or her duties and fulfilling his or her
         obligations under the Talc Personal Injury Trust Agreement and the Plan, each Talc Trust
         Advisory Committee Member shall be deemed to be (and the Confirmation Order shall
         provide that he or she is) a “party in interest” within the meaning of section 1109(b) of the
         Bankruptcy Code.

                  4.4.2      Initial FCR. The Talc Personal Injury Trust Agreement shall provide
         for the continuation of an FCR to represent any and all persons who may assert Talc
         Personal Injury Demands in the future, but who are currently unknown. The initial FCR
         under the Talc Personal Injury Trust Agreement shall be []. Any successor FCR under
         the Talc Personal Injury Trust shall be appointed in accordance with the terms of the Talc
         Personal Injury Trust Agreement. For purposes of performing his or her duties and
         fulfilling his or her obligations under the Talc Personal Injury Trust Agreement and the
         Plan, the FCR under the Talc Personal Injury Trust shall be deemed to be (and the
         Confirmation Order shall provide that he or she is) a “party in interest” within the meaning
         of section 1109(b) of the Bankruptcy Code.

         4.5      Initial Talc Trust Administrators.

                   4.5.1       Initial Talc Trust Claims Administrator. The initial Talc Trust Claims
         Administrator of the Talc Personal Injury Trust shall be [●]. All successor Talc Trust
         Claims Administrators shall be appointed in accordance with the terms of the Talc Personal
         Injury Trust Agreement. For purposes of performing his or her duties and fulfilling his or
         her obligations under the Talc Personal Injury Trust Agreement and the Plan, the Talc Trust
         Claims Administrator shall be deemed to be (and the Confirmation Order shall provide that
         it is) a “party in interest” within the meaning of section 1109(b) of the Bankruptcy Code.

                 4.5.2     Initial Talc Trust Liens Resolution Administrator. The initial Talc Trust
         Liens Resolution Administrator of the Talc Personal Injury Trust shall be [•]. All successor
         Talc Trust Liens Resolution Administrators shall be appointed in accordance with the terms
         of the Talc Personal Injury Trust Agreement. For purposes of performing its duties and

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         fulfilling its obligations under the Talc Personal Injury Trust Agreement and the Plan, the
         Talc Trust Lien Resolution Administrator shall be deemed to be (and the Confirmation
         Order shall provide that it is) a “party in interest” within the meaning of section 1109(b) of
         the Bankruptcy Code.

         4.6    Payment of Talc Personal Injury Trust Expenses Prior to the Effective Date. From
 and after the Confirmation Date until the earlier of (a) the Effective Date and (b) such time as the
 Confirmation Order is vacated by the Bankruptcy Court, the Reorganized Debtor shall pay all
 reasonable and documented Talc Personal Injury Trust Expenses. For the avoidance of doubt, Talc
 Personal Injury Trust Expenses do not include payments to holders of Talc Personal Injury Claims
 on account of such Claims. All Cash necessary for the Reorganized Debtor to fund such Talc
 Personal Injury Trust Expenses shall be obtained through (a) the Debtor’s Cash balances or (b) the
 Funding Agreement.

         4.7    Trust Distribution Procedures. On the Effective Date, the Talc Personal Injury
 Trust shall implement the Trust Distribution Procedures in accordance with the terms of the Talc
 Personal Injury Trust Agreement. From and after the Effective Date, the Talc Trustees shall have
 the authority to administer, amend, supplement, and modify the Trust Distribution Procedures
 solely in accordance with the terms thereof and of the Talc Personal Injury Trust Agreement.

         4.8      Assumption of Liability for Trust Personal Injury Claims.

                 4.8.1       Assumption of Liability Generally. In consideration for the assets
         delivered, transferred, and assigned to the Talc Personal Injury Trust pursuant to this
         Article IV, and in furtherance of the purposes of the Talc Personal Injury Trust and the
         Plan, on the Effective Date, and without further action of any Person, subject to Section
         4.8.4(a), the Talc Personal Injury Trust shall assume all liabilities, obligations, and
         responsibilities of the Debtor and the other Protected Parties for all Talc Personal Injury
         Claims, financial or otherwise, including Governmental Action Claims, Indirect Talc
         Personal Injury Claims, Talc Personal Injury Demands, and claims of any Imerys/Cyprus
         Party against the Debtor or any Protected Party under any Imerys/Cyprus Agreement or
         applicable law. This assumption shall not affect (a) the application of the Discharge
         Injunction and the Channeling Injunction to the Debtor; (b) any Talc Insurance Company’s
         obligation under any Talc Insurance Policy; or (c) the Imerys/Cyprus Related Rights. From
         and after the Effective Date, the Debtor, the Reorganized Debtor, and the other Protected
         Parties shall have no liability, obligation, or responsibility, financial or otherwise, for any
         Talc Personal Injury Claim.

                  4.8.2        Defenses. Upon the assumption by the Talc Personal Injury Trust of
         liabilities, obligations, and responsibilities for Talc Personal Injury Claims as contemplated
         by Section 4.8.1, subject to Section 4.8.4(b) the Talc Personal Injury Trust Defenses shall
         be transferred to the Talc Personal Injury Trust. The transfer of the Talc Personal Injury
         Trust Defenses to the Talc Personal Injury Trust pursuant to this Section 4.8.2 shall not
         impair, affect, alter, or modify the right of any Person (including the Imerys/Cyprus
         Parties), against whom the Talc Personal Injury Trust may exercise Talc Personal Injury
         Trust Defenses to assert each and every defense or basis for claim reduction such Person
         could have asserted against the Debtor prior to the Effective Date, provided, however, for

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         the avoidance of doubt, that no such Person may assert, as a defense or basis for claim
         reduction, that the Plan or any of the other Plan Documents does not comply with the
         Bankruptcy Code or that the transfer of the Talc Personal Injury Trust Defenses to the Talc
         Personal Injury Trust pursuant to this Section 4.8.2, or any other action contemplated by
         this Section 4.8.2, is prohibited by applicable non-bankruptcy law.

                 4.8.3       Enforcement of Defenses and Other Related Rights. From and after the
         Effective Date: (a) the Talc Personal Injury Trust shall have control over the Talc Personal
         Injury Trust Defenses and the Talc Personal Injury Trust shall thereby become the estate
         representative pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with the
         exclusive right to enforce each of the Talc Personal Injury Trust Defenses; and (b) subject
         to Section 4.8.4(c), the proceeds of the recoveries on any of the Talc Personal Injury Trust
         Defenses shall be deposited in and become the property of the Talc Personal Injury Trust
         and the Talc Personal Injury Trust shall have the right to enforce the Plan and any of the
         other Plan Documents (including the Cooperation Agreement) according to their respective
         term. Notwithstanding the provisions of Section 4.8.2 and this Section 4.8.3, (i) the Talc
         Personal Injury Trust shall have no rights against the Reorganized Debtor or the other
         Protected Parties except to enforce the Plan and the other Plan Documents, (ii) the Talc
         Personal Injury Trust Defenses transferred to the Talc Personal Injury Trust shall not
         include any claims fully and finally released, enjoined, compromised, or settled pursuant
         to the Plan, and (iii) for the avoidance of doubt, the Talc Personal Injury Trust Defenses
         transferred to the Talc Personal Injury Trust shall not include any rights of the Debtor, the
         Reorganized Debtor, or the other Protected Parties arising under the Channeling Injunction
         or any of the other injunctions or releases, or the discharge, granted under the Plan and the
         Confirmation Order.

                4.8.4       Effects of the Sub-Trusts. For the avoidance of doubt, notwithstanding
         anything to the contrary contained in this Article IV:

                        (a)     under Section 4.8.1, (i) the Talc Personal Injury Governmental
         Action Claims Sub-Trust shall assume the liabilities, obligations, and responsibilities for
         all Governmental Action Claims and (ii) the Talc Personal Injury Tort Claims Sub-Trust
         shall assume all liabilities, obligations, and responsibilities for all Talc Personal Injury
         Claims other than Governmental Action Claims;

                         (b)     under Section 4.8.2, (i) the Talc Personal Injury Trust Defenses
         regarding Governmental Action Claims shall be transferred to the Talc Personal Injury
         Governmental Action Claims Sub-Trust and (ii) the Talc Personal Injury Trust Defenses
         regarding Talc Personal Injury Claims other than Governmental Action Claims shall be
         transferred to the Talc Personal Injury Tort Claims Sub-Trust; and

                        (c)   under Section 4.8.3, (i) the proceeds of the recoveries on any of the
         Talc Personal Injury Trust Defenses regarding Governmental Action Claims shall be
         deposited in and become the property of the Talc Personal Injury Governmental Action
         Claims Sub-Trust and (ii) the proceeds of the recoveries on any of the Talc Personal Injury
         Trust Defenses regarding Talc Personal Injury Claims other than Governmental Action


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         Claims shall be deposited in and become the property of the Talc Personal Injury Tort
         Claims Sub-Trust.

                4.8.5       No Common Benefit Fund Obligation. Notwithstanding anything to the
         contrary contained in the Plan, neither the Reorganized Debtor nor the Talc Personal Injury
         Trust shall have any obligation under Case Management Order No. 7(A) entered by the
         United States District Court for the District of New Jersey in the multidistrict litigation In
         re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices and
         Products Liability Litigation, Civil Action No. 3:16-md-02738, to withhold any amounts
         from payments made by it under the Plan or any other Plan Document, including the Trust
         Distribution Procedures, in respect of Talc Personal Injury Claims to account for any
         common benefit assessments thereunder or to make any payment to the common benefit
         fund account established pursuant thereto.

         4.9      Contribution of Certain Assets.

                  4.9.1      Cash Contributions.

                        (a)    The Reorganized Debtor shall deliver, or cause to be delivered, to
         the Talc Personal Injury Governmental Action Claims Sub-Trust and the Talc Personal
         Injury Tort Claims Sub-Trust the Cash Contributions in accordance with Exhibit C.

                         (b)    All Cash Contributions to be made by the Reorganized Debtor
         pursuant to the Plan and the Talc Personal Injury Trust Documents shall be funded by the
         Reorganized Debtor. All Cash necessary for the Reorganized Debtor to fund such Cash
         Contributions pursuant to the Plan and the Talc Personal Injury Trust Documents shall be
         obtained through (a) the Reorganized Debtor’s Cash balances, (b) the Funding Agreement
         and, if such funding is not provided to the Reorganized Debtor under the Funding
         Agreement as required pursuant thereto, the Support Agreement, or (c) such other means
         of financing or funding as determined by the board of managers of the Reorganized Debtor.

                        (c)     On the Effective Date, J&J and Holdco shall execute and deliver to
         the Talc Personal Injury Trust the Cash Contributions Parent Guarantee. For the avoidance
         of doubt, nothing contained in this Section 4.9.1 shall in any way affect the obligations of
         J&J and Holdco under the Cash Contributions Parent Guarantee.

                  4.9.2      Talc PI Note and Related Talc PI Pledge.

                         (a)    On the Effective Date, (i) the Reorganized Debtor shall execute and
         deliver to the Talc Personal Injury Tort Claims Sub-Trust the Talc PI Note and (ii) Holdco
         shall execute and deliver to the Talc Personal Injury Trust the Talc PI Pledge Agreement.

                        (b)     The Talc PI Note shall: (i) bear no interest; (ii) mature on the first
         anniversary of the Effective Date; (iii) be secured by the Talc PI Pledge; and (iv) provide
         for payment in full of the principal amount of the PI Talc Note on or before its maturity
         date.


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                         (c)    A Reorganized Debtor Payment Event of Default shall not provide
         a basis for the Talc Personal Injury Trust or any other Person to contend that a material
         breach of the Plan has occurred or that any Protected Party is no longer entitled to the
         protections provided to such Protected Party pursuant to the Plan, including the protections
         of the Channeling Injunction and related indemnification by the Talc Personal Injury Trust.
         If a Reorganized Debtor Payment Event of Default occurs, the Talc Personal Injury Trust
         may, upon five (5) days’ written notice to the Reorganized Debtor and Holdco, foreclose
         upon the Talc PI Pledge.

                  4.9.3     Imerys/Cyprus Related Rights.

                        (a)     On the Effective Date, the Reorganized Debtor and J&J shall (and
         J&J shall cause any other LTL Corporate Party that has Imerys/Cyprus Related Rights to)
         transfer and assign to the Talc Personal Injury Trust the Imerys/Cyprus Related Rights.
         The transfer and assignment of the Imerys/Cyprus Related Rights to the Talc Personal
         Injury Trust pursuant to this Section 4.9.3 shall not impair, alter, or modify the right of any
         Imerys/Cyprus Party against whom the Talc Personal Injury Trust may exercise the
         Imerys/Cyprus Related Rights to assert each and every defense or basis for claim reduction
         such Person could have asserted against the Debtor prior to the Effective Date; provided,
         however, for the avoidance of doubt, that no such Person may assert, as a defense or basis
         for claim reduction, that the Plan or any of the other Plan Documents does not comply with
         the Bankruptcy Code or that the transfer and assignment of the Imerys/Cyprus Related
         Rights to the Talc Personal Injury Trust pursuant to this Section 4.9.3, or any other action
         contemplated by this Section 4.9.3, is prohibited by applicable non-bankruptcy law.

                         (b)     From and after the Effective Date: (a) the Talc Personal Injury Trust
         shall have control over the Imerys/Cyprus Related Rights and the Talc Personal Injury
         Trust shall be the estate representative pursuant to section 1123(b)(3)(B) of the Bankruptcy
         Code with the exclusive right to enforce the Imerys/Cyprus Related Rights; and (b) the
         proceeds of the recoveries on any Imerys/Cyprus Related Rights shall be deposited in and
         become the property of Talc Personal Injury Tort Claims Sub-Trust.

                         (c)    From and after the Effective Date, pursuant to the Cooperation
         Agreement: (i) the Reorganized Debtor, J&J, and the Talc Trustees shall cooperate and
         use their respective commercially reasonably efforts to take, or cause to be taken, all actions
         and to do, or cause to be done, all things that are reasonably necessary or appropriate to
         effectuate the transfer and assignment of the Imerys/Cyprus Related Rights to the Talc
         Personal Injury Trust in accordance with this Section 4.9.3; and (ii) without limiting the
         generality of the foregoing clause (i), the Reorganized Debtor and J&J shall provide the
         Talc Personal Injury Trust with copies of the Imerys/Cyprus Agreements and such other
         information within the possession and control of the Reorganized Debtor and J&J as the
         Reorganized Debtor and J&J may determine to be necessary or appropriate in their
         respective sole discretion. Pursuant to the Plan and the Confirmation Order, to the extent
         the Reorganized Debtor or J&J provides to the Talc Personal Injury Trust privileged
         information pursuant to the provisions of this Section 4.9.3 or the Cooperation Agreement,
         such provision of information shall not result in the destruction or waiver of any applicable
         privileges pertaining to such information.

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                  4.9.4     Talc Insurance Assets.

                        (a)     Subject to the provisions of this Section 4.9.4 and the Cooperation
         Agreement, on the Effective Date, the Reorganized Debtor shall transfer and assign to the
         Talc Personal Injury Trust the Talc Insurance Assets; provided, however, that, for the
         avoidance of doubt, the Reorganized Debtor shall not transfer and assign to the Talc
         Personal Injury Trust, and shall retain, (i) all proceeds of Talc In-Place Insurance Coverage
         received by the Debtor on or prior to the Effective Date, (ii) all proceeds or benefits of any
         Talc Insurance Action received by the Debtor on or prior to the Effective Date, and (iii) all
         amounts payable pursuant to any Talc Insurance Settlement Agreement received by the
         Debtor on or prior to the Effective Date.

                         (b)    From and after the Effective Date, in consideration of the
         Reorganized Debtor’s obligations under Section 4.9.1, Section 4.9.2, and Section 4.9.3,
         (i) the Reorganized Debtor, as the agent for and subrogee of the Talc Personal Injury Trust,
         shall have the exclusive right (A) to pursue and resolve any Talc In-Place Insurance
         Coverage, (B) to pursue and resolve any Talc Insurance Action, (C) to pursue and obtain
         any Talc Insurance Recoveries, and (D) to negotiate and enter into any Talc Insurance
         Settlement Agreement and (ii) any of the following received by the Talc Personal Injury
         Trust shall be delivered to, and retained by, the Reorganized Debtor, which may thereafter
         use the same as it may determine in its sole discretion: (A) all proceeds of Talc In-Place
         Insurance Coverage; (B) all proceeds or benefits of any Talc Insurance Action; and (C) all
         amounts payable pursuant to any Talc Insurance Settlement Agreement. Subject to the
         provisions of the Cooperation Agreement, the Reorganized Debtors shall pay, and bear sole
         responsibility with respect to the payment of, all costs and expenses, including attorneys’
         fees and expenses and other out-of-pocket fees and expenses, incurred by the Reorganized
         Debtor acting as agent for and subrogee of the Talc Personal Injury Trust pursuant to this
         Section 4.9.4(b). For the avoidance of doubt, nothing in the Plan, the Plan Documents, or
         the Confirmation Order shall impair or otherwise affect any rights that any LTL Corporate
         Party may have under any Talc Insurance Policy or Talc Insurance Settlement Agreement.

                         (c)    From and after the Effective Date, pursuant to the Cooperation
         Agreement: (i) the Reorganized Debtor, J&J, and the Talc Trustee shall cooperate and use
         their respective commercially reasonably efforts to take, or cause to be taken, all actions
         and to do, or cause to be done, all things that are reasonably necessary or appropriate to
         effectuate the transfer and assignment of the Talc Insurance Assets to the Talc Personal
         Injury Trust in accordance with this Section 4.9.4; and (ii) without limiting the generality
         of the foregoing clause (i), the Reorganized Debtor and J&J shall provide the Talc Personal
         Injury Trust with copies of the Talc Insurance Policies and Talc Insurance Settlement
         Agreements and such other information within the possession and control of the
         Reorganized Debtor and J&J as the Reorganized Debtor and J&J may determine to be
         necessary or appropriate in their respective sole discretion. Pursuant to the Plan and the
         Confirmation Order, to the extent the Reorganized Debtor or J&J provides to the Talc
         Personal Injury Trust privileged information pursuant to the provisions of this Section 4.9.4
         or the Cooperation Agreement, such provision of information shall not result in the
         destruction or waiver of any applicable privileges pertaining to such information.


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                         (d)    If, notwithstanding the provisions of the Plan and Confirmation
         Order, the transfer and assignment of any of the Talc Insurance Assets is determined by
         any court of competent jurisdiction to be invalid under, or to violate the provisions of, any
         Talc Insurance Policy, then, notwithstanding anything to the contrary in the Plan, solely
         with respect to such Talc Insurance Asset, (i) the Reorganized Debtor will be deemed to
         have retained such Talc Insurance Asset and (ii) each provision of the Plan that provides
         or contemplates that the Talc Personal Injury Trust shall act through the Reorganized
         Debtor, or that the Reorganized Debtor shall act, as the agent for and subrogee of the Talc
         Personal Injury Trust with respect to such Talc Insurance Asset shall be deemed to instead
         provide or contemplate that the Reorganized Debtor will act for the benefit of the Talc
         Personal Injury Trust with respect to such Talc Insurance Asset. For the avoidance of
         doubt, nothing in this Section 4.9.4(d) shall affect clause (ii) of Section 4.9.4(b).

          4.10 Payment of Talc Personal Injury Trust Expenses From and After the Effective Date.
 Subject to Section 4.6, (a) the Talc Personal Injury Trust shall pay all Talc Personal Injury Trust
 Expenses from the assets of the Talc Personal Injury Trust and (b) the Talc Personal Injury Trust
 shall bear sole responsibility with respect to the payment of the Talc Personal Injury Trust
 Expenses. Subject to Section 4.9.4(b) and the provisions of the Cooperation Agreement, the Talc
 Personal Injury Trust shall promptly pay all reasonable and documented Talc Personal Injury Trust
 Expenses incurred by the Reorganized Debtor or any Non-Debtor Affiliate for any and all
 liabilities, costs, or expenses as a result of taking action on behalf of or at the direction of the Talc
 Personal Injury Trust. The Talc Trustees shall cause (i) all Talc Personal Injury Trust Expenses
 related to Governmental Action Claims to be paid using Talc Personal Injury Governmental Action
 Claims Sub-Trust Funds and (ii) all Talc Personal Injury Trust Expenses related to Talc Personal
 Injury Claims other than Governmental Action Claims to be paid using Talc Personal Injury Tort
 Claims Sub-Trust Funds.

         4.11 Treatment of Remainder Assets. To the extent there are any assets of the Talc
 Personal Injury Governmental Action Claims Sub-Trust remaining at such time as the Talc
 Personal Injury Governmental Action Claims Sub-Trust is dissolved, such remaining assets shall
 be transferred to the Talc Personal Injury Tort Claims Sub-Trust. To the extent there are any assets
 of the Talc Personal Injury Tort Claims Sub-Trust remaining at such time as the Talc Personal
 Injury Tort Claims Sub-Trust is dissolved, such remaining assets shall be transferred to a charity
 or charities for such charitable purposes as the Talc Trustees, in their reasonable discretion, shall
 determine.

         4.12 Dissolution. The Talc Personal Injury Trust shall be dissolved upon satisfaction of
 the purposes of the Talc Personal Injury Trust pursuant to the Talc Personal Injury Trust
 Documents. Upon dissolution of the Talc Personal Injury Trust, the Talc Trustees, the Talc Trust
 Advisory Committee Members, the FCR under the Talc Personal Injury Trust Agreement, the Talc
 Trust Claim Administrator, and the Talc Trust Liens Resolution Administrator shall be released
 and discharged from all further authority, duties, responsibilities, and obligations relating to and
 arising from and in connection with the Chapter 11 Case.

         4.13 Funds and Investment Guidelines. All monies held in the Talc Personal Injury
 Trust, whether held in the Talc Personal Injury Governmental Action Claims Sub-Trust or the Talc


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 Personal Injury Tort Claims Sub-Trust, shall be invested, subject to the investment limitations and
 provisions enumerated in the Talc Personal Injury Trust Agreement.

         4.14 Compliance with QSF Regulations. The Debtor and the Reorganized Debtor shall
 take all actions required of them as “transferor,” and the designated Talc Trustee shall take all
 actions required of him or her as “administrator,” with respect to the Talc Personal Injury Tort
 Claims Sub-Trust pursuant to Treasury Regulations promulgated under section 468B of the
 Internal Revenue Code. Pursuant to such Treasury Regulations, the Talc Trustee designated as
 “administrator” shall be responsible for all tax reporting and withholding requirements in respect
 of distributions made from the Talc Personal Injury Tort Claims Sub-Trust. Any issue of
 interpretation of the Plan, the Talc Personal Injury Trust Agreement or other Talc Personal Injury
 Trust Documents, or the Confirmation Order shall be resolved in favor of an interpretation that
 conforms to the requirements of section 468B of the Internal Revenue Code and the Treasury
 Regulations promulgated thereunder.

        4.15 Cooperation Agreement. On the Effective Date, the Reorganized Debtor, J&J, and
 the Talc Personal Injury Trust shall enter into the Cooperation Agreement. The parties to the
 Cooperation Agreement shall be bound by the terms thereof. The provision of information by the
 Reorganized Debtor or J&J to the Talc Personal Injury Trust pursuant to the Cooperation
 Agreement shall not result in the destruction or waiver of any applicable privileges pertaining to
 such information.

          4.16 Indemnification and Reimbursement of the Protected Parties. From and after the
 Effective Date, the Talc Personal Injury Trust shall indemnify, defend, and hold harmless, to the
 fullest extent permitted by applicable law, each of the Reorganized Debtor and the other Protected
 Parties (other than the Imerys/Cyprus Parties, if they are Protected Parties, for claims based on,
 arising out of, or in any way relating to the Imerys/Cyprus Related Rights) from and against any
 and all claims, demands, disputes, suits, damages, remedies, losses, awards, judgments,
 settlements, liabilities, expenses, costs, fees (including attorneys’ fees), and other charges
 whatsoever suffered or incurred by it subsequent to the Effective Date arising out of or in any way
 relating to any Talc Personal Injury Claim. Without limiting the generality of the foregoing, from
 and after the Effective Date, the Talc Personal Injury Trust shall promptly reimburse each
 Protected Party (other than the Imerys/Cyprus Parties, if they are Protected Parties, for claims
 based on, arising out of, or in any way relating to the Imerys/Cyprus Related Rights) for any and
 all out-of-pocket damages, remedies, losses, awards, judgments, liabilities, expenses, costs, fees
 (including attorneys’ fees), and other charges whatsoever actually incurred by such Protected Party
 subsequent to the Effective Date attributable to the defense of any Talc Personal Injury Claim in
 the event that the holder of such Talc Personal Injury Claim seeks to hold such Protected Party
 liable for such Talc Personal Injury Claim in violation of the Plan and the Channeling Injunction.
 For the avoidance of doubt, notwithstanding the foregoing, under this Section 4.16, (a) the Talc
 Personal Injury Governmental Action Claims Sub-Trust shall indemnify, defend, and hold
 harmless such Persons from against such items arising out of or in any way relating to any
 Governmental Action Claim and (b) the Talc Personal Injury Tort Claim Sub-Trust shall
 indemnify, defend, and hold harmless such Persons from and against any such items arising out of
 or in any way relating to any Talc Personal Injury Claim other than Governmental Action Claims.



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         4.17 Exculpation of the Protected Parties. None of the Protected Parties shall have or
 incur any liability to any Person for any act or omission taken or to be taken in connection with,
 arising out of, or in any way relating to the administration or operation of the Talc Personal Injury
 Trust, including (a) the management of the assets of the Talc Personal Injury Trust and (b) the
 processing, liquidation, and payment of Talc Personal Injury Claims in accordance with the Talc
 Personal Injury Trust Documents.

                             ARTICLE V
        TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          5.1     General Treatment. Except as otherwise provided in the Plan or in any contract,
 instrument, release, or other agreement or document entered into in connection with the Plan, on
 the Effective Date, pursuant to section 365 of the Bankruptcy Code, the Debtor or the Reorganized
 Debtor shall assume each of its Executory Contracts and Unexpired Leases other than those listed
 on Exhibit N; provided, however, that the Debtor reserves the right, at any time prior to the
 Effective Date, to amend Exhibit N to: (a) delete any Executory Contract or Unexpired Lease
 listed therein, thus providing for its assumption pursuant hereto; or (b) add any Executory Contract
 or Unexpired Lease to Exhibit N, thus providing for its rejection pursuant to Section 5.5. The
 Debtor shall provide notice of any amendments to Exhibit N to the parties to the Executory
 Contracts or Unexpired Leases affected thereby and to the parties on the then-applicable service
 list in the Chapter 11 Case. Nothing herein shall constitute an admission by the Debtor or the
 Reorganized Debtor that any contract or lease is an Executory Contract or Unexpired Lease or that
 the Debtor or the Reorganized Debtor has any liability thereunder.

         5.2      Assumption and Assignment.

                 5.2.1       Assumption. Unless otherwise provided in the Plan, each Executory
         Contract or Unexpired Lease that is assumed shall include all modifications, amendments,
         supplements, restatements, or other agreements that in any manner affect such Executory
         Contract or Unexpired Lease, and all Executory Contracts and Unexpired Leases related
         thereto, if any, including all easements, licenses, permits, rights, privileges, immunities,
         options, rights of first refusal, and any other interests, unless any of the foregoing
         agreements has been previously rejected or repudiated, or is rejected or repudiated under
         the Plan.

                 5.2.2      Postpetition Amendments. Modifications, amendments, supplements,
         and restatements to prepetition Executory Contracts and Unexpired Leases that have been
         executed by the Debtor during the Chapter 11 Case shall not be deemed to alter the
         prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority,
         or amount of any Claims that may arise in connection therewith.

                 5.2.3      Assignment. Each assumed Executory Contract or Unexpired Lease
         shall be a contract or lease of the Reorganized Debtor unless an assignee is identified in
         accordance with the procedures in Section 5.3.




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         5.3      Approval of Assumptions and Assignments and Related Procedures.

                 5.3.1      Effect of Assumption. Assumption of any Executory Contract or
         Unexpired Lease pursuant to the Plan or otherwise shall result in the full release and
         satisfaction of any Claims or defaults, whether monetary or nonmonetary, including
         defaults of provisions restricting the change in control or ownership interest composition
         or other bankruptcy-related defaults, arising under any assumed Executory Contract or
         Unexpired Lease at any time before the effective date of the assumption.

                 5.3.2      Approval and Related Procedures. The Confirmation Order shall
         constitute an order of the Bankruptcy Court approving the assumptions described in
         Section 5.1, pursuant to section 365 of the Bankruptcy Code, as of the Effective Date. The
         procedures for assumption or assumption and assignment of an Executory Contract or
         Unexpired Lease are as follows:

                         (a)     After the entry of the Confirmation Order, the Debtor shall serve
         upon each party to an Executory Contract or Unexpired Lease being assumed pursuant to
         the Plan notice of: (i) the contract or lease being assumed or assumed and assigned and, if
         applicable, any assignee; (ii) the Cure Amount Claim, if any, that the Debtor believes
         would be payable in connection with such assumption; and (iii) the procedures for such
         party to object to the assumption or assumption and assignment of the applicable contract
         or lease or the amount of the proposed Cure Amount Claim.

                        (b)    Any Person wishing to object to (i) the proposed assumption or
         assumption and assignment of an Executory Contract or Unexpired Lease under the Plan
         or (ii) the proposed amount of the related Cure Amount Claim must file and serve on
         counsel to the Debtor or the Reorganized Debtor a written objection setting forth the basis
         for the objection within twenty (20) days of service of the notice described in
         Section 5.3.2(a).

                         (c)     If no objection to the proposed assumption or assumption and
         assignment or the proposed amount of the Cure Amount Claim is properly filed and served
         prior to the objection deadline with respect to an Executory Contract or Unexpired Lease:
         (i) the proposed assumption or assumption and assignment of the Executory Contract or
         Unexpired Lease shall be approved in accordance with the Plan and the Confirmation
         Order, effective as of the Effective Date, without further action of the Bankruptcy Court;
         and (ii) the Cure Amount Claim identified by the Debtor in the notice shall be fixed and
         shall be paid in accordance with the Plan on or after the Effective Date, without further
         action of the Bankruptcy Court, to the appropriate contract or lease party identified on the
         notice.

                         (d)     If an objection to the proposed assumption or assumption and
         assignment or the proposed amount of the Cure Amount Claim is properly filed and served
         prior to the objection deadline with respect to an Executory Contract or Unexpired Lease,
         the Debtor or the Reorganized Debtor, as applicable, and the objecting party may resolve
         such objection by stipulation, without further action of the Bankruptcy Court.


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                         (e)     If an objection to the proposed assumption or assumption and
         assignment or the proposed amount of the Cure Amount Claim is properly filed and served
         prior to the objection deadline with respect to an Executory Contract or Unexpired Lease
         and the parties are unable to resolve such objection: (i) the Debtor or the Reorganized
         Debtor, as applicable, may file a reply to such objection no later than thirty (30) days after
         the filing and service of such objection and ask the Bankruptcy Court to schedule a hearing
         on the particular objection and the related reply at an appropriate time; or (ii) the Debtor or
         the Reorganized Debtor, as applicable, may designate the Executory Contract or Unexpired
         Lease underlying such objection for rejection pursuant to Section 5.5 and amend Exhibit N
         accordingly.

         5.4      Payments Related to Assumption.

                 5.4.1      Payment Options. To the extent that such Claims constitute monetary
         defaults, the Cure Amount Claims associated with each Executory Contract and Unexpired
         Lease to be assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1)
         of the Bankruptcy Code, at the option of the Debtor or the Reorganized Debtor assuming
         such contract or lease or the assignee of the Debtor or the Reorganized Debtor, if any: (a)
         by payment of the Cure Amount Claim in Cash on the Effective Date or as promptly as
         reasonably practicable after the Cure Amount Claim is allowed or (b) on such other terms
         as are agreed to by the parties to such Executory Contract or Unexpired Lease.

                 5.4.2        Disputes. Pursuant to section 365(b)(2)(D) of the Bankruptcy Code, no
         Cure Amount Claim shall be allowed for a penalty rate or other form of default rate of
         interest. If there is a dispute regarding (a) the amount of any Cure Amount Claim, (b) the
         ability of the Reorganized Debtor or any assignee to provide “adequate assurance of future
         performance” (within the meaning of section 365 of the Bankruptcy Code) under the
         contract or lease to be assumed, or (c) any other matter pertaining to assumption of such
         contract or lease, the payment of any Cure Amount Claim required by section 365(b)(1) of
         the Bankruptcy Code shall be made following the entry of a Final Order resolving the
         dispute and approving the assumption.

         5.5      Executory Contracts and Unexpired Leases to Be Rejected and Rejection
                  Procedures.

                 5.5.1      Rejection Generally. On the Effective Date, each Executory Contract
         and Unexpired Lease listed on Exhibit N shall be rejected pursuant to section 365 of the
         Bankruptcy Code. Each contract and lease listed on Exhibit N shall be rejected only to the
         extent that any such contract or lease constitutes an Executory Contract or Unexpired
         Lease. Listing a contract or lease on Exhibit N shall not constitute an admission by the
         Debtor or the Reorganized Debtor that such contract or lease is an Executory Contract or
         Unexpired Lease or that the Debtor or the Reorganized Debtor has any liability thereunder.
         The Confirmation Order shall constitute an order of the Bankruptcy Court approving such
         rejections, pursuant to section 365 of the Bankruptcy Code, as of the Effective Date.

                5.5.2     Rejection Procedures. The procedures for rejection of an Executory
         Contract or Unexpired Lease are as follows:

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                        (a)     After the entry of the Confirmation Order, the Debtor shall serve
         upon each party to an Executory Contract or Unexpired Lease being rejected pursuant to
         the Plan notice of such proposed rejection. For the avoidance of doubt, additional notices
         may be served upon any amendment to Exhibit N (including pursuant to Section 5.3.2(e)).

                        (b)    Any Person wishing to object to the proposed rejection of an
         Executory Contract or Unexpired Lease under the Plan must file and serve on counsel to
         the Debtor or the Reorganized Debtor a written objection setting forth the basis for the
         objection within twenty (20) days of service of the notice described in Section 5.5.2(a).

                         (c)     If no objection to the proposed rejection is properly filed and served
         prior to the objection deadline with respect to an Executory Contract or Unexpired Lease,
         the proposed rejection of the applicable Executory Contract or Unexpired Lease shall be
         approved in accordance with the Plan and the Confirmation Order, effective as of the
         Effective Date, without further action of the Bankruptcy Court.

                         (d)     If an objection to the proposed rejection is properly filed and served
         prior to the objection deadline with respect to an Executory Contract or Unexpired Lease,
         the Debtor or the Reorganized Debtor, as applicable, and the objecting party may resolve
         such objection by stipulation, without further action of the Bankruptcy Court.

                         (e)    If an objection to the proposed rejection is properly filed and served
         prior to the objection deadline with respect to an Executory Contract or Unexpired Lease
         and the parties are unable to resolve such objection, the Debtor or the Reorganized Debtor,
         as applicable, may file a reply to such objection no later than 30 days after the filing and
         service of such objection and ask the Bankruptcy Court to schedule a hearing on the
         particular objection and the related reply at an appropriate time.

         5.6      Claims Based on Rejection.

                 5.6.1       Proof of Claim Required. If the rejection or deemed rejection of an
         Executory Contract or Unexpired Lease by the Debtor results in damages to the other party
         or parties to such Executory Contract or Unexpired Lease, a Claim for such damages shall
         be forever barred and shall not be enforceable against the Debtor, the Reorganized Debtor,
         any assignee, or their properties, whether by way of setoff, recoupment, or otherwise,
         unless a Proof of Claim is filed with the Claims Agent and served upon counsel for the
         Debtor or the Reorganized Debtor by the later of (a) thirty (30) days after service of the
         notice described in Section 5.5.1(a), and (b) thirty (30) days after service of notice of entry
         of a Final Order rejecting such Executory Contract or Unexpired Lease, which notice, in
         each case, will set forth such deadline.

                 5.6.2       Classification of Claims. Any Claims arising from the rejection of an
         Executory Contract or Unexpired Lease not filed with the Bankruptcy Court within such
         time period provided in Section 5.6.1 will be automatically disallowed, forever barred from
         assertion, and unenforceable, without the need for any objection, or further notice to, or
         action, order, or approval of the Bankruptcy Court. All Allowed Claims arising from the


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         rejection of an Executory Contract or Unexpired Lease shall be classified as a Class 3
         Unsecured Claim and shall be treated in accordance with Section 3.2.3.

         5.7    Contracts and Leases Entered Into After the Petition Date. Notwithstanding any
 other provision of the Plan, contracts and leases entered into after the Petition Date by the Debtor,
 including any Executory Contracts and Unexpired Leases assumed by the Debtor, shall be
 performed by the Debtor or the Reorganized Debtor in accordance with the terms and conditions
 of such contracts and leases in the ordinary course of its business. Accordingly, such contracts
 and leases and other obligations (including any assumed Executory Contracts and Unexpired
 Leases) shall survive and remain unaffected by entry of the Confirmation Order.

          5.8    Reservation of Rights. Neither the exclusion nor inclusion of any Executory
 Contract or Unexpired Lease on the list of the Executory Contracts and Unexpired Leases to be
 rejected by the Debtor, or anything contained in the Plan or Plan Supplement, shall constitute an
 admission by the Debtor that any such contract or lease is in fact an Executory Contract or
 Unexpired Lease or that the Reorganized Debtor, or any assignee has any liability thereunder. If
 there is a dispute regarding whether a contract or lease is or was executory or unexpired at the time
 of assumption or rejection, the Debtor, the Reorganized Debtor, or any assignee, as applicable,
 shall have thirty (30) days following entry of a Final Order resolving such dispute to alter their
 treatment of such contract or lease.

          5.9     Imerys/Cyprus Agreements. Notwithstanding any other provision of this Plan, this
 Article V shall not apply to the Imerys/Cyprus Agreements. To the extent that the Imerys/Cyprus
 Agreements are considered to be executory contracts, the Plan shall constitute a motion to assume
 and assign the Imerys/Cyprus Agreements to the Talc Personal Injury Trust in accordance with
 Section 4.9.3, and, subject to the occurrence of the Effective Date, the entry of the Confirmation
 Order shall constitute approval of such assumption and assignment pursuant to section 365(a) of
 the Bankruptcy Code and a finding by the Bankruptcy Court that such assumption and assignment
 is in the best interest of the Debtor, the Debtor’s Estate, and all parties in interest in the Chapter 11
 Case. Unless otherwise determined by the Bankruptcy Court pursuant to a Final Order or agreed
 by the parties thereto prior to the Effective Date, no payments are required to cure any defaults of
 the Debtor existing as of the Confirmation Date with respect to any Imerys/Cyprus Agreements.
 The Imerys/Cyprus Agreements shall be assigned by the Reorganized Debtor and J&J (and other
 applicable LTL Corporate Parties) to the Talc Personal Injury Trust as of the Effective Date to
 effect the assignment of the Imerys/Cyprus Related Rights in accordance with Section 4.9.3.

         5.10 Talc Insurance Assets. Notwithstanding any other provision of this Plan, this
 Article V shall not apply to the Talc Insurance Assets. To the extent that the Talc Insurance Assets
 are considered to be executory contracts, the Plan shall constitute a motion to assume and assign
 the Talc Insurance Assets to the Talc Personal Injury Trust in accordance with Section 4.9.4, and,
 subject to the occurrence of the Effective Date, the entry of the Confirmation Order shall constitute
 approval of such assumption and assignment pursuant to section 365(a) of the Bankruptcy Code
 and a finding by the Bankruptcy Court that such assumption and assignment is in the best interest
 of the Debtor, the Debtor’s Estate, and all parties in interest in the Chapter 11 Case. Unless
 otherwise determined by the Bankruptcy Court pursuant to a Final Order or agreed by the parties
 thereto prior to the Effective Date, no payments are required to cure any defaults of the Debtor
 existing as of the Confirmation Date with respect to any Talc Insurance Asset. The Talc Insurance

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 Assets shall be assigned by the Reorganized Debtor to the Talc Personal Injury Trust in accordance
 with Section 4.9.4 as of the Effective Date.

                              ARTICLE VI
     DISTRIBUTIONS UNDER THE PLAN ON ACCOUNT OF NON-TALC CLAIMS

         6.1     Distributions. Distributions on account of Allowed Non-Talc Claims shall be made
 on or after the Distribution Date as provided in this Article VI. This Article VI shall not apply to
 Talc Personal Injury Claims. All Talc Personal Injury Claims shall be liquidated and, as
 appropriate, paid, or otherwise resolved, by the Talc Personal Injury Trust pursuant to and in
 accordance with the Talc Personal Injury Trust Documents.

         6.2      Timing and Calculation of Amounts to be Distributed.

                 6.2.1       General. On the Effective Date or as soon as reasonably practicable
         thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the date that
         such a Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter),
         each holder of an Allowed Non-Talc Claim shall receive the full amount of the Distribution
         that the Plan provides for such Allowed Claim in the applicable Class and in the manner
         provided herein. In the event that any payment or act under the Plan is required to be made
         or performed on a date that is not a Business Day, then the making of such payment or the
         performance of such act may be completed on the next succeeding Business Day, but shall
         be deemed to have been completed as of the required date. Any Distribution to be made
         pursuant to the Plan shall be deemed to have been timely made if made within sixty (60)
         days after the time therefor specified in the Plan. No interest shall accrue or be paid with
         respect to any Distribution as a consequence of such Distribution not having been made on
         the Effective Date.

               6.2.2       Disputed Non-Talc Claims. If and to the extent that there are Disputed
         Non-Talc Claims, Distributions on account of any such Disputed Non-Talc Claims shall
         be made pursuant to the provisions set forth in this Article VI.

         6.3    Designation of Disbursing Agent. All Distributions under the Plan shall be made
 by the Disbursing Agent. The Reorganized Debtor, or any such other Person or Persons designated
 by the Reorganized Debtor, shall serve as Disbursing Agent for all Non-Talc Claims.

         6.4      Rights and Powers of Disbursing Agent.

                 6.4.1      General. The Disbursing Agent shall be empowered to: (a) effect all
         actions and execute all agreements, instruments, and other documents necessary to perform
         its duties under the Plan; (b) make all Distributions contemplated hereby; (c) employ
         professionals to represent it with respect to its responsibilities; and (d) exercise such other
         powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court,
         pursuant to the Plan, or as deemed by the Disbursing Agent to be necessary and proper to
         implement the provisions thereof.

                 6.4.2     Fees and Expenses. Except as otherwise ordered by the Bankruptcy
         Court, the amount of any reasonable fees and expenses incurred by the Disbursing Agent
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         on or after the Effective Date (including taxes) and any reasonable compensation and
         expense reimbursement claims (including reasonable attorney fees and expenses) made by
         the Disbursing Agent shall be paid in Cash by the Reorganized Debtor.

         6.5    Distributions on Account of Claims Allowed After the Effective Date.
 Notwithstanding any other provision of the Plan, no Distributions shall be made under the Plan on
 account of any Disputed Non-Talc Claim, unless and until such Disputed Non-Talc Claim becomes
 an Allowed Non-Talc Claim. Distributions made after the Effective Date to holders of Disputed
 Non-Talc Claims that are not Allowed Non-Talc Claims as of the Effective Date but which later
 become Allowed Non-Talc Claims shall be made as if such Claim had been an Allowed Claim on
 the Effective Date. Except as otherwise may be agreed to by the Debtor or the Reorganized Debtor,
 on the one hand, and the holder of a Disputed Non-Talc Claim, on the other hand, and
 notwithstanding any provision otherwise in the Plan, no partial payments and no partial
 Distributions shall be made with respect to any Disputed Non-Talc Claim until all Disputed Non-
 Talc Claims held by the holder of such Disputed Non-Talc Claim have become Allowed Non-Talc
 Claims or have otherwise been resolved by settlement or Final Order.

         6.6      Delivery of Distributions and Undeliverable or Unclaimed Distributions.

                 6.6.1      Delivery of Distributions to Holders of Non-Talc Claims. Distributions
         to holders of Allowed Non-Talc Claims shall be made to holders of record as of the
         Distribution Record Date by the Disbursing Agent: (a) to the signatory set forth on any of
         the Proof of Claim filed by such holder or other representative identified therein (or at the
         last known addresses of such holder if no Proof of Claim is filed or if the Debtor has been
         notified in writing of a change of address); (b) at the addresses set forth in any written
         notices of address changes delivered to the Disbursing Agent after the date of any related
         Proof of Claim; or (c) at the addresses reflected in the Schedules if no Proof of Claim has
         been filed and the Disbursing Agent has not received a written notice of a change of
         address.

                 6.6.2      Full Benefit of Distributions. Distributions under the Plan on account
         of Non-Talc Claims shall not be subject to levy, garnishment, attachment, or similar legal
         process, so that each holder of an Allowed Non-Talc Claim shall have and receive the
         benefit of the Distributions in the manner set forth in the Plan. None of the Debtor, the
         Reorganized Debtor, or the applicable Disbursing Agent shall incur any liability
         whatsoever on account of any Distributions under the Plan except where such Distributions
         are found by Final Order to have been made with gross negligence, willful misconduct, or
         fraud.

                 6.6.3      Undeliverable Distributions and Unclaimed Property. In the event that
         any Distribution to any holder of an Allowed Non-Talc Claim is returned as undeliverable,
         no further Distribution to such holder shall be made unless and until the Disbursing Agent
         has determined the then current address of such holder, at which time such Distribution
         shall be made as soon as practicable after such Distribution has become deliverable to such
         holder without interest; provided, however, that such Distributions shall be deemed
         unclaimed property under section 347(b) of the Bankruptcy Code and forfeited at the
         expiration of three (3) months from the applicable Distribution Date. After such date, all

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         “unclaimed property” or interests in property in respect of the Reorganized Debtor shall
         revert to the Reorganized Debtor, notwithstanding any applicable federal or state escheat,
         abandoned, or unclaimed property laws to the contrary. The claim of any holder to such
         property or interest in property shall be discharged and forever barred. Nothing contained
         in the Plan shall require the Debtor, the Reorganized Debtor, or the Disbursing Agent to
         attempt to locate any holder of an Allowed Claim.

         6.7    Time Bar to Cash Payments. Checks issued by the Disbursing Agent in respect of
 Allowed Non-Talc Claims shall be null and void if not cashed within one hundred and eighty (180)
 days of the date of issuance thereof. The holder of the Allowed Non-Talc Claim with respect to
 which such check originally was issued may make a request for re-issuance of any check directly
 to the Disbursing Agent; provided, however, that any such request for re-issuance of a check shall
 be made on or before the twelve (12) month anniversary of the Distribution Date. After such date,
 all Non-Talc Claims in respect of void checks shall be discharged and forever barred.

         6.8     Record Date for Holders of Claims. Except as otherwise provided in an order of
 the Bankruptcy Court that is not subject to any stay, the transferees of Claims that are transferred
 pursuant to Bankruptcy Rule 3001, on or prior to the Distribution Record Date, shall be treated as
 the holders of such Claims for all purposes, notwithstanding that any period provided by
 Bankruptcy Rule 3001 for objecting to such transfer has not expired by the Distribution Record
 Date. If there is any dispute regarding the identity of the Person entitled to receive a Distribution
 in respect of a Claim under the Plan, no Distribution need be made in respect of such Claim until
 such dispute has been resolved.

         6.9      Compliance with Tax Requirements and Allocations.

                 6.9.1       General. In connection with the Plan and all Distributions hereunder,
         the Disbursing Agent shall comply with all tax withholding and reporting requirements
         imposed on them by any federal, state, or local taxing authority, and all Distributions
         pursuant to the Plan shall be subject to such withholding and reporting requirements.
         Notwithstanding any provision in the Plan to the contrary, the Disbursing Agent shall be
         authorized to take all actions necessary or appropriate to comply with such withholding
         and reporting requirements, including liquidating a portion of the Distribution to be made
         under the Plan if necessary to generate sufficient funds to pay applicable withholding taxes,
         withholding Distributions pending receipt of information necessary to facilitate such
         Distributions including tax certification forms, or establishing any other reasonable
         mechanisms it believes are necessary or appropriate. To the extent that any Claim holder
         fails to submit appropriate tax certification forms required by a Disbursing Agent or to
         comply with any other mechanism established by a Disbursing Agent to comply with such
         withholding and reporting requirements, such Claim holder’s Distribution may, in such
         Disbursing Agent’s reasonable discretion, be deemed “unclaimed property” subject to
         Section 6.6.3.

                 6.9.2       Tax Withholding. Without limiting the generality of the foregoing, in
         accordance with the Internal Revenue Code’s backup withholding rules, a holder of a
         Claim may be subject to backup withholding with respect to Distributions made pursuant
         to the Plan, unless the holder (a) comes within certain exempt categories (which generally

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         include corporations) and, when required, demonstrates this fact; or (b) provides at the
         applicable Disbursing Agent’s request a completed IRS Form W-9 (or substitute therefor)
         on which the holder includes a correct taxpayer identification number and certifies under
         penalty of perjury that the taxpayer identification number is correct and that the taxpayer
         is not subject to backup withholding because of a failure to report all dividend and interest
         income. Among other things, to receive any Postpetition Interest, if requested by a
         Disbursing Agent, a holder of an Allowed Claim shall be required to establish an exemption
         from backup withholding or to make arrangements with respect to the payment of backup
         withholding. Non-U.S. Allowed Claim holders may be required by the applicable
         Disbursing Agent to provide a completed IRS Form W-8BEN or W-8BEN-E, as applicable
         (or other applicable Form W-8 or successor form) to establish an exemption from or a
         treaty-reduced rate of withholding on interest distributed pursuant to the Plan. Unless a
         Disbursing Agent, in its discretion, determines otherwise, no Distributions on account of
         Postpetition Interest shall be made to a holder of an Allowed Claim until such time as the
         holder of such Claim establishes exemption from withholding or provides the applicable
         IRS Form.

                6.9.3       Obligations of Distribution Recipients. Notwithstanding any other
         provision of the Plan, each Person receiving a Distribution pursuant to the Plan shall have
         sole and exclusive responsibility for the satisfaction and payment of any tax obligations
         imposed on it by any governmental unit on account of such Distribution, including income,
         withholding, and other tax obligations.

                 6.9.4       Tax Allocations. For tax purposes, Distributions in full or partial
         satisfaction of Allowed Claims shall be allocated first to the principal amount of Allowed
         Claims, with any excess allocated to unpaid interest that accrued on such Claims.

         6.10 Transfers of Claims. In the event that the holder of any Non-Talc Claim shall
 transfer such Claim after the Distribution Record Date, it shall immediately advise the Reorganized
 Debtor in writing of such transfer and file a notice of the transfer with the Bankruptcy Court. The
 Reorganized Debtor shall be entitled to assume that no transfer of any Claim has been made by
 any holder unless and until written notice of a transfer has been actually received by the
 Reorganized Debtor. Each transferee of any Non-Talc Claim shall take such Claim subject to the
 provisions of the Plan, and, except as provided in a notice of transfer, the Reorganized Debtor shall
 be entitled to assume conclusively that the transferee named in any notice of transfer shall
 thereafter be vested with all rights and powers of the transferor of such Claim.

         6.11 Setoffs. The Debtor and the Reorganized Debtor may, pursuant to the applicable
 provisions of the Bankruptcy Code, or applicable non-bankruptcy law, set off against any
 applicable Allowed Claim (before any Distribution is made on account of such Claim) any and all
 claims, rights, causes of action, debts, or liabilities of any nature that the Debtor or the Reorganized
 Debtor may hold against the holder of such Allowed Claim; provided, however, that the failure to
 effect such a setoff shall not constitute a waiver or release of any such claims, rights, causes of
 action, debts, or liabilities.




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                                   ARTICLE VII
                    RESOLUTION OF DISPUTED CLAIMS OTHER THAN
                          TALC PERSONAL INJURY CLAIMS

         7.1    Disputed Claims. This Article VII shall apply to all Disputed Claims against the
 Debtor, other than Talc Personal Injury Claims and Administrative Claims (including Fee Claims
 and Cure Amount Claims). This Article VII shall not apply to Talc Personal Injury Claims or
 Administrative Claims (including Fee Claims and Cure Amount Claims). All Talc Personal Injury
 Claims shall be resolved by the Talc Personal Injury Trust in accordance with the Talc Personal
 Injury Trust Documents as indicated in Section 7.2.2. All Administrative Claims (including Fee
 Claims and Cure Amount Claims) shall be resolved as provided in Article II and Article V as
 indicated in Section 7.2.2.

         7.2      Prosecution of Claims Generally.

                7.2.1       No Approval or Notice Required Generally. Subject to the provisions
         contained herein, after the Effective Date, only the Reorganized Debtor may object to the
         allowance of any Non-Talc Claim. After the Effective Date, the Reorganized Debtor shall
         be accorded the power and authority to allow or settle and compromise any Non-Talc
         Claim without notice to any other party or approval of or notice to the Bankruptcy Court.

                 7.2.2      Procedures for Specified Claims. Notwithstanding anything to the
         contrary in this Article VII, (a) resolution of Talc Personal Injury Claims shall be handled
         exclusively by the Talc Personal Injury Trust in accordance with the Talc Personal Injury
         Trust Documents, (b) objections to Administrative Claims (excluding Fee Claims and Cure
         Amount Claims) shall be handled in accordance with Section 2.1, (c) objections to Fee
         Claims shall be handled in accordance with the Compensation Procedures Order, subject
         to Section 2.2, and (d) resolution of Cure Amount Claims shall be handled in accordance
         with Section 5.3 and Section 5.4.

         7.3      Prosecution of Disputed Non-Talc Claims and Claims Objection Deadline.

                 7.3.1      Right to Litigate. The Reorganized Debtor shall have the right, after the
         Effective Date, to file objections to Non-Talc Claims that have not already been Allowed
         by Final Order, agreement, or the Plan, and litigate to judgment, settle, or withdraw such
         objections to Disputed Non-Talc Claims. Without limiting the foregoing, the Reorganized
         Debtor shall have the right to litigate any Disputed Non-Talc Claim either in the
         Bankruptcy Court or in any court of competent jurisdiction.

                7.3.2        Claims Objection Deadline.     Unless otherwise ordered by the
         Bankruptcy Court, objections to Non-Talc Claims (other than Administrative Claims,
         including Fee Claims and Cure Amount Claims) shall be filed with the Bankruptcy Court
         and served upon the holders of each such Non-Talc Claim to which objections are made
         on or before the Claims Objection Bar Date, unless extended by order of the Bankruptcy
         Court prior to the expiration of such period.

         7.4    Distributions on Account of Disputed Claims. At such time as determined to be
 practicable by the Reorganized Debtor, the Disbursing Agent will make Distributions on account
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 of any Disputed Claim that has become Allowed. Such Distributions will be made pursuant to the
 applicable provisions of Article VI.

        7.5     No Distributions Pending Allowance. No Distributions or other consideration shall
 be paid with respect to any Claim that is a Disputed Claim unless and until all objections to such
 Disputed Claim are resolved by agreement or Final Order and such Disputed Claim becomes an
 Allowed Claim.

         7.6    Authority to Amend Schedules. The Debtor or the Reorganized Debtor shall have
 the authority to amend the Schedules with respect to any Non-Talc Claim and to make
 Distributions based on such amended Schedules without approval of the Bankruptcy Court. If any
 such amendment to the Schedules reduces the amount of a Claim or changes the nature or priority
 of a Claim, the Debtor or the Reorganized Debtor shall provide the holder of such Claim with
 notice of such amendment and such holder shall have twenty (20) days to file an objection to such
 amendment with the Bankruptcy Court. If no such objection is filed, the Debtor or the Reorganized
 Debtor may proceed with Distributions based on such amended Schedules without approval of the
 Bankruptcy Court.

                                  ARTICLE VIII
                     CONDITIONS PRECEDENT TO CONFIRMATION
                        AND CONSUMMATION OF THE PLAN

         8.1    Conditions Precedent to the Confirmation of the Plan. Confirmation of the Plan
 shall not occur unless each of the following conditions has been satisfied or waived pursuant to
 Section 8.3:

                       (a)     The Bankruptcy Court shall have entered an order, acceptable in
         form and substance to the Debtor, J&J, and the AHC of Supporting Counsel approving the
         Disclosure Statement as containing adequate information within the meaning of section
         1125 of the Bankruptcy Code.

                         (b)    Class 4 shall have voted in requisite numbers and amounts in favor
         of the Plan as required by sections 524(g), 1126, and 1129 of the Bankruptcy Code.

                        (c)    The Plan and the Plan Supplement, including any schedules,
         documents, supplements, and exhibits thereto, shall be in form and substance acceptable to
         the Debtor, J&J, and the AHC of Supporting Counsel and shall be consistent with (i)
         section 524(g) of the Bankruptcy Code, as applicable, and (ii) the other provisions of the
         Plan.

                       (d)     The Confirmation Order shall:

                              (i)      have been entered by the Bankruptcy Court and the District
                       Court acting jointly, or by the District Court affirming an order entered
                       separately by the Bankruptcy Court;

                              (ii)    be reasonably acceptable in form and substance to the
                       Debtor, J&J, and the AHC of Supporting Counsel; and
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                              (iii)    provide for the Injunctions in form and substance
                       acceptable to the Debtor, J&J, and the AHC of Supporting Counsel.

                        (e)    The Bankruptcy Court and the District Court acting jointly or the
         Bankruptcy Court acting separately but affirmed by the District Court shall have made the
         following findings, each of which shall be contained in the Confirmation Order:

                               (i)     The Channeling Injunction and the Insurance Entity
                       Injunction are to be implemented in connection with the Plan and the Talc
                       Personal Injury Trust.

                               (ii)     (A) As of the Effective Date, the Talc Personal Injury Trust
                       shall assume all liability and responsibility, financial and otherwise, for all
                       Talc Personal Injury Claims and (B) subject to the delivery, transfer, or
                       assignment, as applicable, to the Talc Personal Injury Trust of the Cash
                       Contributions, Talc PI Note, Talc Pledge Agreement, Imerys/Cyprus
                       Related Rights, and Talc Insurance Assets pursuant to Section 4.9, from and
                       after the Effective Date, no Protected Party (other than any Imerys/Cyprus
                       Party, if the Imerys/Cyrus Parties are Protected Parties, for claims based on,
                       arising out of, or in any way relating to the Imerys/Cyprus Related Rights,
                       as applicable) shall have any liability or responsibility, financial or
                       otherwise, for any Talc Personal Injury Claims.

                              (iii)    As of the Petition Date, the Debtor had been named as a
                       defendant in personal injury or wrongful death actions seeking recovery for
                       damages allegedly caused by the presence of, or exposure to, asbestos or
                       asbestos-containing products.

                               (iv)     The Talc Personal Injury Trust shall be funded in whole or
                       in part by securities of the Reorganized Debtor and by the obligation of the
                       Reorganized Debtor to make future payments.

                               (v)     The Talc Personal Injury Trust, by the exercise of rights
                       granted under the Plan, would be entitled to own, if specified contingencies
                       occur, a majority of the voting shares of the Reorganized Debtor.

                             (vi)   The Talc Personal Injury Trust shall use its assets or income
                       to pay Talc Personal Injury Claims, including Talc Personal Injury
                       Demands.

                               (vii)   As to Talc Personal Injury Demands:

                                       (A)    The Debtor is likely to be subject to substantial future
                               Talc Personal Injury Demands for payment arising out of the same
                               or similar conduct or events that gave rise to the Talc Personal Injury
                               Claims that are addressed by the Channeling Injunction and the
                               Insurance Entity Injunction.

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                                  (B)     The actual amounts, numbers, and timing of future
                           Talc Personal Injury Demands cannot be determined.

                                  (C)     Pursuit of Talc Personal Injury Demands outside the
                           procedures prescribed by the Plan and the Plan Documents,
                           including the Trust Distribution Procedures, is likely to threaten the
                           Plan’s purpose to deal equitably with Talc Personal Injury Claims
                           and Talc Personal Injury Demands.

                            (viii) The terms of the Channeling Injunction and the Insurance
                    Entity Injunction, including any provisions barring actions against third
                    parties pursuant to section 524(g)(4)(A) of the Bankruptcy Code, are set out
                    in the Plan and in the Disclosure Statement.

                            (ix)     The Plan establishes a separate class of the claimants whose
                    claims are to be addressed by the Talc Personal Injury Trust which class has
                    voted, by at least 75% of those voting, in favor of the Plan.

                            (x)     Pursuant to court orders or otherwise, the Talc Personal
                    Injury Trust shall operate through mechanisms, such as structured, periodic,
                    or supplemental payments, pro rata distributions, matrices, or periodic
                    review of estimates of the numbers and values of Talc Personal Injury
                    Claims, or other comparable mechanisms, that provide reasonable
                    assurance that the Talc Personal Injury Trust shall value, and be in a
                    financial position to pay, Talc Personal Injury Claims, including Talc
                    Personal Injury Demands, that involve similar claims in substantially the
                    same manner.

                           (xi)     Each Protected Party is:

                                   (A)     identifiable from the terms of the Channeling
                           Injunction and the Insurance Entity Injunction by name or as part of
                           an identifiable group and is or may be alleged to be directly or
                           indirectly liable for the conduct of, claims against, or demands on
                           the Debtor to the extent that such alleged liability arises by reason
                           of one or more of the following:

                                           (I)     such Person’s ownership of a financial
                                   interest in the Debtor or the Reorganized Debtor, a past or
                                   present affiliate of the Debtor or the Reorganized Debtor,
                                   or a predecessor in interest of the Debtor or the
                                   Reorganized Debtor (including Old JJCI);

                                          (II)    such Person’s involvement in the
                                   management of the Debtor or the Reorganized Debtor or a
                                   predecessor in interest of the Debtor or the Reorganized
                                   Debtor (including Old JJCI);

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                                           (III) such Person’s service as an officer, director,
                                   manager, or employee of the Debtor or the Reorganized
                                   Debtor, a past or present affiliate of the Debtor or the
                                   Reorganized Debtor, a predecessor in interest of the Debtor
                                   or the Reorganized Debtor (including Old JJCI), or a
                                   Person that owns or at any time has owned a financial
                                   interest in the Debtor or the Reorganized Debtor, a past or
                                   present affiliate of the Debtor or the Reorganized Debtor or
                                   a predecessor in interest of the Debtor or the Reorganized
                                   Debtor (including Old JJCI);

                                            (IV) such Person’s provision of insurance to the
                                   Debtor or the Reorganized Debtor, a past or present
                                   affiliate of the Debtor or the Reorganized Debtor, a
                                   predecessor in interest of the Debtor or the Reorganized
                                   Debtor (including Old JJCI), or a Person that owns or at
                                   any time has owned a financial interest in the Debtor or the
                                   Reorganized Debtor, a past or present affiliate of the
                                   Debtor or the Reorganized Debtor, or a predecessor in
                                   interest of the Debtor or the Reorganized Debtor (including
                                   Old JJCI); or

                                            (V)     such Person’s involvement in a transaction
                                   changing the corporate structure, or in a loan or other
                                   financial transaction affecting the financial condition, of the
                                   Debtor or the Reorganized Debtor, a past or present
                                   affiliate of the Debtor or the Reorganized Debtor, a
                                   predecessor in interest of the Debtor or the Reorganized
                                   Debtor (including Old JJCI), or any Person that owns or at
                                   any time has owned a financial interest in the Debtor or the
                                   Reorganized Debtor, a past or present affiliate of the
                                   Debtor or the Reorganized Debtor, or a predecessor in
                                   interest of the Debtor or the Reorganized Debtor (including
                                   Old JJCI), including (I) involvement in providing financing
                                   (debt or equity) or advice to a Person involved in such a
                                   transaction or (II) acquiring or selling a financial interest in
                                   any Person as part of such transaction; and/or

                                  (B)     otherwise entitled to the Channeling Injunction
                           pursuant to section 105(a) of the Bankruptcy Code.

                            (xii)    The FCR was appointed as part of the proceedings leading
                    to issuance of the Channeling Injunction and the Insurance Entity Injunction
                    for the purpose of protecting the rights of all Persons, whether known or
                    unknown, that might subsequently assert, directly or indirectly, against the
                    Debtor a Talc Personal Injury Demand that is addressed in the Channeling


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                    Injunction and the Insurance Entity Injunction and channeled to the Talc
                    Personal Injury Trust.

                            (xiii) Identifying each Protected Party (by name or as part of an
                    identifiable group, as applicable) in the Channeling Injunction and the
                    Insurance Entity Injunction is fair and equitable with respect to individuals
                    that might assert Talc Personal Injury Demands against each such Protected
                    Party, in light of the benefits provided, or to be provided, to the Talc
                    Personal Injury Trust by or on behalf of any such Protected Party.

                           (xiv) The Plan and the Plan Documents comply with section
                    524(g) of the Bankruptcy Code in all respects, and the Talc Personal Injury
                    Trust Documents are fully consistent with the Plan.

                           (xv)     The Plan, including the Channeling Injunction and the
                    Insurance Entity Injunction, and the other Plan Documents are a fair,
                    equitable, and reasonable resolution of the liability of the Debtor for the
                    Talc Personal Injury Claims, including Talc Personal Injury Demands.

                            (xvi) The FCR has adequately and completely fulfilled her
                    duties, responsibilities, and obligations as the representative for any and all
                    persons who may assert Talc Personal Injury Demands in the future, but
                    who are currently unknown, in accordance with section 524(g) of the
                    Bankruptcy Code.

                            (xvii) Adequate and sufficient notice of the Plan and the
                    Confirmation Hearing, as well as all deadlines for objecting to the Plan, has
                    been given to: (A) all known creditors and holders of Interests; (B) parties
                    that requested notice in accordance with Bankruptcy Rule 2002 (including
                    the TCC and the FCR); (C) all parties to Unexpired Leases and Executory
                    Contracts with the Debtor; (D) all taxing authorities listed on the Debtor’s
                    Schedules or in the Debtor’s Claims database; (E) the Department of the
                    Treasury by service upon the District Director of the IRS; (F) state attorneys
                    general and state departments of revenue for states in which the Debtor has
                    conducted business; and (G) the Securities and Exchange Commission; in
                    each case, (I) in accordance with the solicitation procedures governing such
                    service and (II) in substantial compliance with Bankruptcy Rules 2002(b),
                    3017, and 3020(b). Such transmittal and service were adequate and
                    sufficient to bind, among other parties, each holder of a Talc Personal Injury
                    Claim, and each party represented by the FCR, and no other or further notice
                    is or shall be required.

                            (xviii) Each holder of a Talc Personal Injury Claim and each party
                    represented by the TCC or the FCR has been afforded due process based on
                    the notice referenced in clause (xvii) above, the appointment of the TCC
                    and the FCR, and the Plan’s compliance with section 524(g) of the
                    Bankruptcy Code.

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                               (xix) The Bankruptcy Code authorizes the transfer and
                       assignment of the Imerys/Cyprus Related Rights by the Reorganized Debtor
                       to the Talc Personal Injury Trust pursuant to Section 4.9.4, and from and
                       after the transfer and assignment of the Imerys/Cyprus Related Rights by
                       the Reorganized Debtor to the Talc Personal Injury Trust, no Imerys/Cyprus
                       Party may assert under any Imerys/Cyprus Agreement or otherwise (i) any
                       defense that the Plan or any other Plan Document does not comply with the
                       Bankruptcy Code or (ii) any defense that the transfer and assignment of the
                       Imerys/Cyprus Related Rights by the Reorganized Debtor to the Talc
                       Personal Injury Trust pursuant to Section 4.9.3, or any other action
                       contemplated by Section 4.9.3, is prohibited by any Imerys/Cyprus
                       Agreement or by applicable non-bankruptcy law.

                               (xx)    The Bankruptcy Code authorizes the transfer and
                       assignment of the Talc Insurance Assets by the Reorganized Debtor to the
                       Talc Personal Injury Trust pursuant to Section 4.9.4, and from and after the
                       transfer and assignment of the Talc Insurance Assets to the Talc Personal
                       Injury Trust pursuant to Section 4.9.4, no Talc Insurance Company may
                       assert under any Talc Insurance Policy or Talc Insurance Settlement
                       Agreement (i) any defense that the Plan or any other Plan Document does
                       not comply with the Bankruptcy Code or (ii) any defense that the transfer
                       and assignment of the Talc Insurance Assets by the Reorganized Debtor to
                       the Talc Personal Injury Trust pursuant to Section 4.9.4, or any other action
                       contemplated by Section 4.9.4, is prohibited by any Talc Insurance Policy
                       or Talc Insurance Settlement Agreement or by applicable non-bankruptcy
                       law.

                               (xxi) Neither the Plan nor any other Plan Document, including
                       the Trust Distribution Procedures, creates any obligation under Case
                       Management Order No. 7(A) entered by the United States District Court for
                       the District of New Jersey in the multidistrict litigation In re: Johnson &
                       Johnson Talcum Powder Products Marketing, Sales Practices and Products
                       Liability Litigation, Civil Action No. 3:16-md-02738, that would require
                       the Reorganized Debtor or the Talc Personal Injury Trust to withhold any
                       amounts from payments made by it under the Plan or any other Plan
                       Document, including the Trust Distribution Procedures, in respect of Talc
                       Personal Injury Claims to account for any common benefit assessments
                       thereunder or to make any payment to the common benefit fund account
                       established pursuant thereto.

                        (f)    The Bankruptcy Court and the District Court, as required, shall have
         entered an order approving the Channeling Injunction and the Insurance Entity Injunction,
         which order may be included in the Confirmation Order and which order shall be in form
         and substance acceptable to the Debtor, J&J, and the AHC of Supporting Counsel.

        8.2     Conditions Precedent to the Effective Date of the Plan. Notwithstanding any other
 provision of the Plan or the Confirmation Order, the Effective Date of the Plan shall occur on the

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 first Business Day on which each of the following conditions has been satisfied or waived pursuant
 to Section 8.3:

                         (a)   The Confirmation Order in form and substance reasonably
         acceptable to the Debtor, J&J, and the AHC of Supporting Counsel shall have been entered
         by the Bankruptcy Court and the District Court acting jointly or by the District Court
         affirming an order entered separately by the Bankruptcy Court, and shall have become a
         Final Order.

                        (b)     An order shall have been entered by the Bankruptcy Court and the
         District Court acting jointly or by the District Court affirming an order entered separately
         by the Bankruptcy Court approving the Channeling Injunction and the Insurance Entity
         Injunction and authorizing the Debtor and the Reorganized Debtor to implement the Plan,
         which order may be included in the Confirmation Order and which order shall be in form
         and substance acceptable to the Debtor, J&J, and the AHC of Supporting Counsel.

                        (c)    The Confirmation Order, the Channeling Injunction, and the
         Insurance Entity Injunction shall be in full force and effect, and no order shall be in effect
         staying or enjoining the implementation or enforcement of the Plan, the Confirmation
         Order, the Channeling Injunction, or the Insurance Entity Injunction.

                        (d)    No request for revocation of the Confirmation Order under
         section 1144 of the Bankruptcy Code shall be pending.

                        (e)    The Talc Personal Injury Trust Defenses, initial Cash Contribution,
         Talc PI Note, Talc PI Pledge Agreement, Imerys/Cyprus Related Rights, and Trust
         Insurance Assets shall, simultaneously with the occurrence of the Effective Date or as
         otherwise provided herein, be delivered, transferred, and assigned, as applicable, to the
         Talc Personal Injury Trust in accordance with Article IV.

                        (f)     The Talc Personal Injury Trust Agreement (and related documents),
         and the other applicable Plan Documents (including those attached to the Plan Supplement)
         necessary or appropriate to implement the Plan shall have been executed, delivered, and,
         where applicable, filed with the appropriate governmental units in form and substance
         acceptable to the Debtor, J&J, and the AHC of Supporting Counsel, and shall be fully
         enforceable in accordance with their terms.

                       (g)       The fees of the United States Trustee then owing by the Debtor shall
         have been paid in full.

                        (h)   The Canadian Court shall have entered an order in the Canadian
         Proceeding recognizing the Confirmation Order in its entirety and ordering the
         Confirmation Order and the Plan to be implemented and effective in Canada in accordance
         with their terms.

 The Effective Date shall occur as of 12:01 a.m., prevailing Eastern Time, on the date that the
 Debtor or Reorganized Debtor files a notice with the Bankruptcy Court stating that the Effective

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 Date has occurred because each of the conditions to the Effective Date has been satisfied or waived
 in accordance with the Plan.

         8.3     Waiver of Conditions Precedent. To the greatest extent permitted by law, each of
 the conditions precedent in this Article VIII may be waived or modified, in whole or in part, by
 the Debtor (with the consent of (a) in the event such waiver or modification affects the rights of
 J&J expressly contained herein, J&J and (b) in the event such waiver or modification affects the
 rights of the AHC of Supporting Counsel expressly contained herein, the AHC of Supporting
 Counsel). Any waiver or modification of a condition precedent under this Section 8.3 may be
 effected at any time, without notice, without leave or order of the Bankruptcy Court or District
 Court, and without any other formal action. Confirmation and the Effective Date shall occur
 irrespective of whether any Claims allowance process or related litigation has been completed.

         8.4    Notice of Effective Date. The Debtor shall file with the Bankruptcy Court a notice
 of the occurrence of the Effective Date within five (5) Business Days thereafter, which notice shall
 confirm that the foregoing conditions have been satisfied or waived.

         8.5     Effect of Nonoccurrence of Conditions Precedent to the Effective Date of the Plan.
 If any of the conditions precedent to the Effective Date of the Plan set forth in Section 8.2 has not
 been satisfied or duly waived in accordance with Section 8.3, then, upon motion by the Debtor
 made before the time that each of such conditions precedent has been satisfied or duly waived and
 upon notice to such parties in interest as the Bankruptcy Court may direct, the Confirmation Order
 shall be vacated by the Bankruptcy Court; provided, however, that, notwithstanding the filing of
 such motion, the Confirmation Order may not be vacated if each of the conditions precedent set
 forth in Section 8.2 is either satisfied or duly waived before the Bankruptcy Court enters an order
 granting such motion. If the Confirmation Order is vacated pursuant to this Section 8.5: (a) the
 Plan shall be null and void in all respects, including with respect to the discharge of Claims; and
 (b) nothing contained in the Plan shall (i) constitute a waiver or release of any Claims by or against,
 or any Interest in, the Debtor or (ii) prejudice in any manner the rights, including any claims or
 defenses, of the Debtor or any other Person.

                                   ARTICLE IX
                      MEANS FOR IMPLEMENTATION OF THE PLAN

         9.1    General. On or after the Confirmation Date, the Debtor shall be empowered and
 authorized to take or cause to be taken, prior to the Effective Date, all actions necessary or
 appropriate to achieve the Effective Date and enable the Reorganized Debtor to implement
 effectively the provisions of the Plan, the Talc Personal Injury Trust Documents, and the
 Confirmation Order, including the creation of the Talc Personal Injury Trust and the preparations
 for the delivery, transfer, and assignment of assets to the Talc Personal Injury Trust pursuant to
 Article IV.

        9.2     Operations of the Debtor Prior to the Effective Date. The Debtor shall continue to
 operate as debtor and debtor-in-possession through and until the Effective Date.

         9.3   Articles of Organization and Operating Agreement. From and after the Effective
 Date, the Reorganized Debtor shall be governed pursuant to the Amended Charter Documents.

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 The Amended Articles of Organization and the Amended Operating Agreement shall contain such
 provisions as are necessary to satisfy the provisions of the Plan and, to the extent necessary to
 prohibit the issuance of non-voting equity securities as required by section 1123(a)(6) of the
 Bankruptcy Code, subject to further amendment of the Amended Charter Documents after the
 Effective Date, as permitted by applicable law.

         9.4     Corporate Action. On the Effective Date, the matters under the Plan involving or
 requiring corporate action of the Debtor or Reorganized Debtor, including actions requiring a vote
 of the board of managers and execution of all documentation incident to the Plan, shall be deemed
 to have been authorized by the Confirmation Order and to have occurred and be in effect from and
 after the Effective Date without any further action by the Bankruptcy Court or the officers or
 managers of the Debtor or Reorganized Debtor.

         9.5     Authority of Officers. Each officer of the Debtor and the Reorganized Debtor shall
 be authorized and empowered to execute, deliver, file, or record such contracts, instruments,
 releases, and other agreements and documents and take such other actions as may be necessary or
 appropriate to effect and implement the provisions of the Plan. The secretary or any assistant
 secretary of the Debtor or the Reorganized Debtor shall be authorized to certify or attest to any of
 the actions taken pursuant to this Section 9.5.

         9.6      Post-Effective Date Governance; Continued Existence of the Reorganized Debtor.

                 9.6.1      General. The Reorganized Debtor shall continue its existence as a
         separate entity after the Effective Date, with all the powers thereof, pursuant to the
         applicable law in the jurisdiction in which the Reorganized Debtor is formed and pursuant
         to the Amended Charter Documents and any other formation documents in effect following
         the Effective Date, and such documents are deemed to be adopted pursuant to the Plan and
         require no further action or approval.

                9.6.2     Officers and Managers. On the Effective Date, the officers and
         managers of the Reorganized Debtor shall consist of the individuals that will be identified
         in Exhibit O.

                  9.6.3      Property and Operations. On the Effective Date, all property of the
          Debtor’s Estate other than the assets delivered, transferred, or assigned to the Talc Personal
          Injury Trust pursuant to Article IV, including any property acquired by the Debtor or the
          Reorganized Debtor pursuant to the Plan, shall vest in the Reorganized Debtor, free and
          clear of all Claims, interests, liens, other Encumbrances, and liabilities of any kind. On
          and after the Effective Date, the Reorganized Debtor may operate its business and may
          use, acquire, or dispose of property and compromise or settle any claims, interests, or
          Retained Rights of Action, without supervision or approval by the Bankruptcy Court, or
          notice to any other Person, and free of any restrictions of the Bankruptcy Code or
          Bankruptcy Rules.

         9.7    Arrangements of the Reorganized Debtor with Managers, Officers and Employees.
 As of the Effective Date, the Reorganized Debtor shall be authorized to: (a) maintain, amend, or
 revise existing indemnification and other arrangements with its active and retired managers and

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 officers, subject to the terms and conditions of any such agreement, or enter into new
 indemnification and other arrangements with its active and retired managers and officers; and (b)
 maintain, amend, cancel, or revise the Secondment Agreement or enter into new employee
 secondment arrangements with its Affiliates; all as determined by the board of managers of the
 Reorganized Debtor.

        9.8     Good Faith Compromise and Settlement. The Plan, the other Plan Documents, and
 the Confirmation Order constitute a good faith compromise and settlement of Claims and
 controversies based on the unique circumstances of this Chapter 11 Case, and none of the foregoing
 documents, the Disclosure Statement, or any other papers filed in furtherance of Plan
 Confirmation, nor any drafts of such documents, may be offered into evidence or deemed as an
 admission in any context whatsoever beyond the purposes of the Plan, in any other litigation or
 proceeding, except as necessary, and as admissible in such context, to enforce their terms before
 the Bankruptcy Court or any other court of competent jurisdiction.

          9.9     Resolution of Talc Personal Injury Claims. Talc Personal Injury Claims shall be
 channeled to and resolved by the Talc Personal Injury Trust in accordance with the Talc Personal
 Injury Trust Documents, subject to: (a) the right of any Talc Insurance Company to raise any valid
 Talc Insurer Coverage Defense in response to any claim, cause of action, or right asserted by the
 Talc Personal Injury Trust (acting through the Reorganized Debtor, as its agent and subrogee
 having the exclusive right to right (i) to pursue and resolve any Talc In-Place Insurance Coverage,
 (ii) to pursue and resolve any Talc Insurance Action, (iii) to pursue and obtain any Talc Insurance
 Recoveries, and (iv) to negotiate and enter into any Talc Insurance Settlement Agreement, pursuant
 to the Cooperation Agreement) in respect of any Talc Insurance Assets; and (b) the right of any
 Imerys/Cyprus Party to raise any valid Imerys/Cyprus Defense in response to any claim, cause of
 action, or right asserted by the Talc Personal Injury Trust in respect of any Imerys/Cyprus Related
 Rights.

         9.10 Cash for Cash Contributions, Distributions, and Other Payments Pursuant to the
 Plan. All Cash for the payment of Cash Contributions, Distributions, and other Cash payments to
 be made by the Reorganized Debtor pursuant to the Plan and the Talc Personal Injury Trust
 Documents shall be funded by the Reorganized Debtor. All Cash necessary for the Reorganized
 Debtor to fund the payment of such Cash Contributions, Distributions, and other Cash payments
 pursuant to the Plan and the Talc Personal Injury Trust Documents shall be obtained through (a)
 the Reorganized Debtor’s Cash balances, (b) the Funding Agreement and, if such funding is not
 provided to the Reorganized Debtor under the Funding Agreement as required pursuant thereto,
 the Support Agreement, or (c) such other means of financing or funding as determined by the board
 of managers of the Reorganized Debtor. On the Effective Date, J&J and Holdco shall execute and
 deliver to the Talc Personal Injury Trust the Cash Contributions Parent Guarantee as provided in
 Section 4.9.1(c). For the avoidance of doubt, nothing contained in this Section 9.10 shall in any
 way affect the obligations of J&J and Holdco under the Cash Contributions Parent Guarantee.

         9.11 Modification of the Plan. To the extent permissible under section 1127 of the
 Bankruptcy Code, any proposed amendments to or modifications of the Plan under section 1127
 of the Bankruptcy Code or as otherwise permitted by law will be submitted by the Debtor, without
 additional disclosure pursuant to section 1125 of the Bankruptcy Code at any time prior to
 substantial consummation of the Plan, unless section 1127 of the Bankruptcy Code requires

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 additional disclosure. To the extent permissible under section 1127(b) of the Bankruptcy Code,
 following substantial consummation of the Plan, the Reorganized Debtor may remedy any defects
 or omissions or reconcile any inconsistencies in the Plan Documents for the purpose of
 implementing the Plan in such manner as may be necessary or appropriate to carry out the purposes
 and intent of the Plan. From and after the Effective Date, any holder of a Claim or Interest that
 has accepted the Plan shall be deemed to have accepted the Plan as amended, modified, or
 supplemented pursuant to this Section 9.11, unless the Bankruptcy Court rules otherwise.

         9.12 Revocation or Withdrawal of the Plan. The Debtor reserves the right to revoke and
 withdraw the Plan at any time before its substantial consummation. If the Debtor revokes or
 withdraws the Plan, the Plan shall be deemed null and void and nothing contained herein shall be
 deemed to constitute a waiver or release of any Claims by or against the Debtor, or any other
 Person, or to prejudice in any manner the rights of the Debtor, or such Person in any further
 proceedings involving the Debtor until the occurrence of the Effective Date. For the avoidance of
 doubt, unless and until the Plan is confirmed and the Effective Date occurs, the Plan will have no
 force or effect.

         9.13 Certain Technical Modifications. Prior to the Effective Date, the Debtor may make
 appropriate technical adjustments and modifications to the Plan without further order or approval
 of the Bankruptcy Court, to the extent permissible under section 1127 of the Bankruptcy Code;
 provided, however, that such technical adjustments and modifications do not adversely affect in a
 material way the rights or protections of the Protected Parties or the treatment of holders of Claims
 or Interests under the Plan.

                                         ARTICLE X
                                  EFFECT OF CONFIRMATION

         10.1     Preservation of Rights of Action by the Debtor and the Reorganized Debtor.

                 10.1.1     Retained Rights of Action. The Reorganized Debtor shall retain and
         may enforce, prosecute or settle, and shall have the sole right to enforce, prosecute or settle,
         the Retained Rights of Action. The Reorganized Debtor or its successors may pursue or
         resolve such Retained Rights of Action, as appropriate in accordance with the best interests
         of the Reorganized Debtor or its successors holding such Retained Rights of Action. The
         Reorganized Debtor’s rights under this Section 10.1.1 shall be preserved notwithstanding
         the occurrence of the Effective Date.

                10.1.2      Reservation of Rights. No Person may rely on the absence of a specific
         reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Retained
         Rights of Action against them as any indication that the Reorganized Debtor will not pursue
         the Retained Rights of Action. The Reorganized Debtor expressly reserves all rights to
         prosecute any and all Retained Rights of Action. Unless any of the Retained Rights of
         Action against a Person are expressly waived, relinquished, exculpated, released,
         compromised, or settled in the Plan or a Bankruptcy Court order, the Reorganized Debtor
         expressly reserves all such Retained Rights of Action for later adjudication, and, therefore,
         no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue


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         preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall
         apply to such Retained Rights of Action as a consequence of the Confirmation of the Plan.

                  10.1.3   Retained Defenses. Without limiting the generality of the foregoing,
         upon the Effective Date, except as expressly provided in Article IV with respect to Talc
         Personal Injury Trust Defenses, Imerys/Cyprus Related Rights, and Talc Insurance Assets,
         the Reorganized Debtor shall retain and enforce all defenses and counterclaims to all
         Claims that were or could have been asserted against the Debtor or its Estate, including
         setoff, recoupment, and any rights under section 502(d) of the Bankruptcy Code.

                 10.1.4     No Approval Required. On or after the Effective Date, subject to
         Article IV with respect to Talc Personal Injury Trust Defenses, Imerys/Cyprus Related
         Rights, and Talc Insurance Assets, the Reorganized Debtor may pursue, settle, or withdraw,
         without Bankruptcy Court approval, claims, rights, or causes of action as it determines in
         accordance with its best interests.

         10.2 Imerys/Cyprus Related Rights. The provisions of this Section 10.2 shall apply to
 all Persons (including the Imerys/Cyprus Parties).

                10.2.1     Preservation of Imerys/Cyprus Related Rights. All Imerys/Cyprus
         Related Rights, and all claims, causes of action, and rights in respect thereof, shall be
         preserved notwithstanding anything to the contrary contained in the Plan or the
         Confirmation Order. For the avoidance of doubt, nothing in the Plan or the Confirmation
         Order shall discharge, settle, release, enjoin, or otherwise impair any claim against any
         Imerys/Cyprus Party based on, arising out of, or in any way relating to the Imerys/Cyprus
         Related Rights.

                 10.2.2     Actions in Respect of Imerys/Cyprus Related Rights From and After the
         Effective Date.

                        (a)    Upon the transfer and assignment of the Imerys/Cyprus Related
         Rights by the Reorganized Debtor to the Talc Personal Injury Trust pursuant to
         Section 4.9.3 on the Effective Date, the Imerys/Cyprus Related Rights shall exclusively
         vest in the Talc Personal Injury Trust in accordance with section 1123(a)(5)(B) of the
         Bankruptcy Code;

                         (b)    From and after the transfer and assignment of the Imerys/Cyprus
         Related Rights by the Reorganized Debtor to the Talc Personal Injury Trust pursuant to
         Section 4.9.3 on the Effective Date, the Talc Personal Injury Trust shall retain the
         Imerys/Cyprus Related Rights, and all claims, causes of action, and rights in respect
         thereof, as the appointed estate representative in accordance with section 1123(b)(3)(B) of
         the Bankruptcy Court; and

                         (c)    From and after the transfer and assignment of the Imerys/Cyprus
         Related Rights by the Reorganized Debtor to the Talc Personal Injury Trust pursuant to
         Section 4.9.3 on the Effective Date, the Talc Personal Injury Trust shall have the exclusive
         right to pursue and resolve the Imerys/Cyprus Related Rights.

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                  10.2.3    No Impairment of Rights or Obligations of Imerys/Cyprus Parties.

                          (a)    Nothing contained in the Plan, the Plan Documents, or the
         Confirmation Order, including any provision that purports to be preemptory or
         supervening, shall in any way operate to, or have the effect of, impairing, altering,
         supplementing, changing, expanding, decreasing, or modifying the rights or obligations of
         any Imerys/Cyprus Party or the Debtor arising out of or under any Imerys/Cyprus
         Agreement. For all issues relating to indemnity rights of the Debtor, including the venue
         and choice-of-law rules for resolving disputes relating thereto, the provisions, terms,
         conditions, and limitations of the Imerys/Cyprus Agreements shall control. For the
         avoidance of doubt, nothing contained in the Plan, the Plan Documents, or the
         Confirmation Order shall operate to require any Imerys/Cyprus Party to indemnify or pay
         the liability of any other Protected Party that it would not have been required to pay in the
         absence of the Plan, or to impose any requirement for an Imerys/Cyprus Party to mount the
         defense of any claim, indemnify any claim, or otherwise undertake any action that an
         Imerys/Cyprus Party would not have been required to take in the absence of the Plan.

                        (b)     The Plan, the Plan Documents, the Confirmation Order, and all
         proceedings, determinations, and findings in, of, or by the Bankruptcy Court are neutral
         with respect to, and have no effect on, the rights, defenses, and obligations of the Debtor,
         the Imerys/Cyprus Parties, and the Talc Personal Injury Trust under the Imerys/Cyprus
         Agreements. Nothing in the Chapter 11 Case shall be construed otherwise or be used as
         evidence to support or suggest a construction to the contrary.

                10.2.4      Plan Binding on Imerys/Cyprus Parties. The Plan, the Plan Documents,
         and the Confirmation Order shall be binding on the Imerys/Cyprus Parties; provided,
         however, that, except as provided in Section 10.2.5, none of (a) the Bankruptcy Court’s
         approval of the Plan or the Plan Documents, (b) the Confirmation Order or any findings
         and conclusions entered with respect to Confirmation, nor (c) any estimation or valuation
         of Talc Personal Injury Claims, either individually or in the aggregate (including any
         agreement as to the valuation of Talc Personal Injury Claims) in the Chapter 11 Case shall,
         with respect to the Imerys/Cyprus Parties, constitute a trial or hearing on the merits or an
         adjudication, judgment, finding, conclusion, or other determination, or be used as evidence
         of or suggestion regarding the rights and obligations of any of them under any
         Imerys/Cyprus Agreement.

                 10.2.5      Issues Actually Litigated by Imerys/Cyprus Parties. Nothing in this
         Section 10.2 is intended or shall be construed to preclude otherwise applicable principles
         of res judicata or collateral estoppel from being applied against the Imerys/Cyprus Parties
         with respect to any issue that is actually litigated by any of them as part of its objections,
         if any, to Confirmation of the Plan or as part of any contested matter or adversary
         proceeding filed by any Imerys/Cyprus Party in conjunction with or related to
         Confirmation of the Plan; provided, however, that any Plan objection that an
         Imerys/Cyprus Party withdraws prior to the conclusion of the Confirmation Hearing (or a
         finding that an Imerys/Cyprus Party lacks standing to litigate or is otherwise unable to or
         chooses not to litigate at or before the Confirmation Hearing) shall be deemed not to have
         been actually litigated. The resolution of any related objection raised by other parties and

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         any related findings or determinations (other than those contemplated by Section
         8.1(e)(xix)) shall not be offered for evidentiary purposes nor be binding on any
         Imerys/Cyprus Party in any way or otherwise prejudice, impair, or affect (under principles
         of preclusion, waiver, estoppel, or otherwise) an Imerys/Cyprus Party’s legal, equitable, or
         contractual rights or obligations. No Imerys/Cyprus Party shall be bound, prejudiced,
         impaired, or affected (under principles of preclusion, waiver, estoppel, or otherwise) by the
         fact that an Imerys/Cyprus Party withdrew, chose to withdraw, or did not press any
         objection or argument before or after Confirmation.

         10.3 Talc Insurance Assets. The provisions of this Section 10.3 shall apply to all Persons
 (including all Talc Insurance Companies).

                  10.3.1      Preservation of Talc Insurance Assets. Except as otherwise provided in
         Section 11.2.1, all Talc Insurance Assets, and all claims, causes of action, and rights in
         respect thereof, shall be preserved notwithstanding anything to the contrary contained in
         the Plan or the Confirmation Order. For the avoidance of doubt, except as otherwise
         provided in Section 11.2.1, nothing in the Plan or the Confirmation Order shall discharge,
         settle, release, enjoin, or otherwise impair any claim against any Talc Insurance Company
         based on, arising out of, or in any way relating to the Talc Insurance Assets.

                 10.3.2     Actions in Respect of Talc Insurance Assets From and After the
         Effective Date.

                        (a)     Upon the transfer and assignment of the Talc Insurance Assets by
         the Reorganized Debtor to the Talc Personal Injury Trust pursuant to Section 4.9.4 on the
         Effective Date, subject to the provisions of Section 4.9.4 and the Cooperation Agreement,
         the Talc Insurance Assets shall exclusively vest in the Talc Personal Injury Trust in
         accordance with section 1123(a)(5)(B) of the Bankruptcy Code;

                         (b)     From and after the transfer and assignment of the Talc Insurance
         Assets by the Reorganized Debtor to the Talc Personal Injury Trust pursuant to
         Section 4.9.4 on the Effective Date, subject to the provisions of Section 4.9.4 and the
         Cooperation Agreement, the Talc Personal Injury Trust shall retain the Talc Insurance
         Assets, and all claims, causes of action, and rights in respect thereof, as the appointed estate
         representative in accordance with section 1123(b)(3)(B) of the Bankruptcy Court; and

                        (c)     From and after the transfer and assignment of the Talc Insurance
         Assets by the Reorganized Debtor to the Talc Personal Injury Trust pursuant to
         Section 4.9.4 on the Effective Date, pursuant to the provisions of Section 4.9.4 and the
         Cooperation Agreement, (i) the Reorganized Debtor, as the agent for and subrogee of the
         Talc Personal Injury Trust, shall have the exclusive right (A) to pursue and resolve any
         Talc In-Place Insurance Coverage, (B) to pursue and resolve any Talc Insurance Action,
         (C) to pursue and obtain any Talc Insurance Recoveries, and (D) to negotiate and enter into
         any Talc Insurance Settlement Agreement and (ii) any of the following received by the
         Talc Personal Injury Trust shall be delivered to, and retained by, the Reorganized Debtor:
         (A) all proceeds of Talc In-Place Insurance Coverage; (B) all proceeds or benefits of any
         Talc Insurance Action; and (C) all amounts payable pursuant to any Talc Insurance

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         Settlement Agreement. For the avoidance of doubt, nothing in the Plan, the Plan
         Documents, or the Confirmation Order shall impair or otherwise affect any rights that any
         LTL Corporate Party may have under any Talc Insurance Policy or Talc Insurance
         Settlement Agreement.

                  10.3.3    No Impairment of Rights or Obligations of Talc Insurance Companies.

                         (a)     Except as provided in any Talc Insurance Settlement Agreement or
         in Section 11.2.1 or Section 11.3.1, nothing contained in the Plan, the Plan Documents, or
         the Confirmation Order, including any provision that purports to be preemptory or
         supervening, shall in any way operate to, or have the effect of, impairing, altering,
         supplementing, changing, expanding, decreasing, or modifying the rights or obligations of
         any Talc Insurance Company or the Debtor arising out of or under any Talc Insurance
         Policy. For all issues relating to insurance coverage, the provisions, terms, conditions, and
         limitations of the Talc Insurance Policies or Talc Insurance Settlement Agreements shall
         control. For the avoidance of doubt, nothing contained in the Plan, the Plan Documents,
         or the Confirmation Order shall operate to require any Talc Insurance Company to
         indemnify or pay the liability of any Protected Party that it would not have been required
         to pay in the absence of the Plan.

                        (b)     The Plan, the Plan Documents, the Confirmation Order, and all
         proceedings, determinations, and findings in, of, or by the Bankruptcy Court are neutral
         with respect to, and have no effect on, the rights, defenses, and obligations of the Debtor,
         the Talc Insurance Companies, and the Talc Personal Injury Trust under the Talc Insurance
         Policies. Nothing in the Chapter 11 Case shall be construed otherwise or be used as
         evidence to support or suggest a construction to the contrary.

                 10.3.4     Plan Binding on Talc Insurance Companies. The Plan, the Plan
         Documents, and the Confirmation Order shall be binding on the Talc Insurance Companies;
         provided, however, that, except as provided in Section 10.3.6, none of (a) the Bankruptcy
         Court’s approval of the Plan or the Plan Documents, (b) the Confirmation Order or any
         findings and conclusions entered with respect to Confirmation, nor (c) any estimation or
         valuation of Talc Personal Injury Claims, either individually or in the aggregate (including
         any agreement as to the valuation of Talc Personal Injury Claims) in the Chapter 11 Case
         shall, with respect to any Talc Insurance Company, constitute a trial or hearing on the
         merits or an adjudication, judgment, finding, conclusion, or other determination, or be used
         as evidence of or suggestion regarding the rights and obligations of any Talc Insurance
         Company under any Talc Insurance Policy.

                 10.3.5      Plan Protections of Settling Talc Insurance Companies. No provision
         of the Plan, other than those provisions contained in the applicable Injunctions set forth in
         Article XI, shall be interpreted to affect or limit the protections afforded to any Settling
         Talc Insurance Company by the Channeling Injunction or the Insurance Entity Injunction.

                 10.3.6    Issues Actually Litigated by the Talc Insurance Companies. Nothing in
         this Section 10.3 is intended or shall be construed to preclude otherwise applicable
         principles of res judicata or collateral estoppel from being applied against any Talc

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         Insurance Company with respect to any issue that is actually litigated by such Talc
         Insurance Company as part of its objections, if any, to Confirmation of the Plan or as part
         of any contested matter or adversary proceeding filed by such Talc Insurance Company in
         conjunction with or related to Confirmation of the Plan; provided, however, that any Plan
         objection that a Talc Insurance Company withdraws prior to the conclusion of the
         Confirmation Hearing (or a finding that a Talc Insurance Company lacks standing to
         litigate or is otherwise unable to or chooses not to litigate at or before the Confirmation
         Hearing) shall be deemed not to have been actually litigated. The resolution of any related
         objection raised by other parties and any related findings or determinations (other than
         those contemplated by Section 8.1(e)(xx)) shall not be offered for evidentiary purposes nor
         be binding on any Talc Insurance Company in any way or otherwise prejudice, impair, or
         affect (under principles of preclusion, waiver, estoppel, or otherwise) a Talc Insurance
         Company’s legal, equitable, or contractual rights or obligations. No Talc Insurance
         Company shall be bound, prejudiced, impaired, or affected (under principles of preclusion,
         waiver, estoppel, or otherwise) by the fact that a Talc Insurance Company withdrew, chose
         to withdraw, or did not press any objection or argument before or after Confirmation.

         10.4 Preservation of Rights of Action by the Talc Personal Injury Trust. As of the
 Effective Date, the Talc Personal Injury Trust shall be empowered to initiate, prosecute, defend,
 settle, maintain, administer, preserve, pursue, and resolve all legal actions and other proceedings
 related to any asset, liability, or responsibility of the Talc Personal Injury Trust, including Talc
 Personal Injury Claims and Talc Personal Injury Trust Defenses. Without limiting the foregoing,
 on and after the Effective Date, the Talc Personal Injury Trust shall be empowered to initiate,
 prosecute, defend, settle, maintain, administer, preserve, pursue, and resolve all such actions in the
 name of either the Debtor or the Reorganized Debtor, if deemed necessary or appropriate by the
 Talc Personal Injury Trust. The Talc Personal Injury Trust shall be responsible for the payment
 of all damages, awards, judgments, settlements, expenses, costs, fees, and other charges incurred
 subsequent to the Effective Date arising out of or in any way relating to any such legal action or
 other proceeding. This Section 10.4 shall not apply to legal actions and other proceedings related
 to the Imerys/Cyprus Related Rights, which shall be pursued, resolved, and settled in accordance
 with the provisions of Section 4.9.3 and Section 10.2, or the Talc Insurance Assets, which shall be
 pursued, resolved, and settled in accordance with the provisions of Section 4.9.4, Section 10.3, and
 the Cooperation Agreement.

         10.5     Terms of Injunctions and Automatic Stay.

                 10.5.1     General. All of the injunctions and/or automatic stays provided for in
         or in connection with the Chapter 11 Case, whether pursuant to sections 105, 362, or any
         other provision of the Bankruptcy Code, Bankruptcy Rules, or other applicable law in
         existence immediately prior to the Confirmation Date, shall remain in full force and effect
         until the Injunctions become effective pursuant to a Final Order, and shall continue to
         remain in full force and effect thereafter as and to the extent provided by the Plan, the
         Confirmation Order, or by their own terms. In addition, on and after Confirmation, the
         Debtor may seek such further orders as the Debtor deems necessary or appropriate to
         preserve the status quo during the time between the Confirmation Date and the Effective
         Date.


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                 10.5.2      Effectiveness. Each of the Injunctions contained in the Plan or the
         Confirmation Order shall become effective on the Effective Date and shall continue in
         effect at all times thereafter unless otherwise provided by the Plan or the Confirmation
         Order.

         10.6     The FCR and the TCC.

                 10.6.1      General. The FCR and the TCC shall continue in their official capacities
         until the Effective Date. The Debtor shall pay the reasonable fees and expenses incurred
         by the FCR and the TCC through the Effective Date, in accordance with the Compensation
         Procedures Order, the Fee Examiner Order, and the terms of the Plan, including
         Section 2.2.

                 10.6.2      Dissolution. On the Effective Date, the TCC shall dissolve and the
         members of such committee shall be released and discharged from all duties and
         obligations arising from or related to the Chapter 11 Case. Similarly, on the Effective Date,
         the FCR shall be deemed released and discharged from all duties and obligations from or
         related to the Chapter 11 Case. The Professionals retained by the TCC and the members
         thereof or by the FCR shall not be entitled to assert any Fee Claim for any services rendered
         or expenses incurred after the Effective Date, except for services rendered and expenses
         incurred in connection with any applications for allowance of compensation and
         reimbursement of expenses pending on the Effective Date or filed and served after the
         Effective Date pursuant to Section 2.2.

         10.7 No Effect on United States Trustee. Nothing in this Section 10 shall limit or
 otherwise affect the rights of the United States Trustee under section 502 of the Bankruptcy Code
 or otherwise to object to Claims or requests for allowance of Fee Claims and other Administrative
 Claims.

        10.8 Binding Effect. Subject to Section 10.2 and Section 10.3, the Plan, the Plan
 Documents, and the Confirmation Order shall be binding on the Debtor, the Reorganized Debtor,
 the Talc Personal Injury Trust, any and all holders of Claims against or Interests in the Debtor
 (regardless of whether such Claim or Interest is Impaired and regardless of whether such holder
 voted to accept the Plan), and any and all other Persons that are affected in any manner by the
 Plan.

                             ARTICLE XI
    DISCHARGE, SETTLEMENT, RELEASES, INJUNCTIONS, AND EXCULPATION

         11.1     Discharge and Injunctions.

                11.1.1     Discharge of Claims Against the Debtor. As of the Effective Date,
         Confirmation of the Plan shall afford the Debtor a discharge to the fullest extent permitted
         by Bankruptcy Code sections 524 and 1141(d)(1).

              11.1.2    Discharge Injunction. From and after the Effective Date, to the
         maximum extent permitted under applicable law, all Persons that hold, have held, or
         may hold a Claim, demand, or other debt or liability that is discharged are
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         permanently enjoined from taking any of the following actions on account of, or on
         the basis of, such discharged Claims, demands, debts, or liabilities: (i) commencing
         or continuing any action or other proceeding of any kind against the Debtor, the
         Reorganized Debtor, or their respective property; (ii) enforcing, attaching, collecting,
         or recovering by any manner or means of any judgment, award, decree, or order
         against the Debtor, the Reorganized Debtor, or their respective property; (iii)
         creating, perfecting, or enforcing any lien or other Encumbrance of any kind against
         the Debtor, the Reorganized Debtor, or their respective property; and (iv)
         commencing or continuing any judicial or administrative proceeding, in any forum
         and in any place in the world, that does not comply with or is inconsistent with the
         provisions of the Plan or the Confirmation Order. The foregoing injunction shall
         extend to the successors of the Debtor (including the Reorganized Debtor) and their
         respective properties and interests in property. The discharge provided in this
         Section 11.1.2 shall void any judgment obtained against the Debtor at any time, to the
         extent that such judgment relates to a discharged Claim or demand.

         11.2     Settlement of Certain Estate Claims.

                  11.2.1     Settlement of Certain Claims Against Certain Released Parties.
         Pursuant to Bankruptcy Rule 9019 and in consideration for the Distributions and
         other benefits provided under the Plan, any and all claims against the Reorganized
         Debtor, the LTL Corporate Parties, and the respective Representatives of the Debtor,
         the Reorganized Debtor, and the LTL Corporate Parties that are or would have been
         property of the Estate or could have been brought by the Estate, including Recovery
         Actions and any claims based upon a legal or equitable theory of liability in the nature
         of veil piercing, alter ego, successor liability, vicarious liability, fraudulent transfer,
         malpractice, breach of fiduciary duty, waste, fraud, or conspiracy, except for
         Intercompany Claims, shall be deemed settled, released, and extinguished. The entry
         of the Confirmation Order shall constitute the Bankruptcy Court’s approval, as of
         the Effective Date, of the compromise or settlement of all such claims and the
         Bankruptcy Court’s finding that such compromise or settlement is in the best interest
         of the Debtor, the Reorganized Debtor, and the holders of Claims and Interests and
         is fair, equitable, and reasonable. For the avoidance of doubt, nothing contained in
         this Section 11.2.1 shall release or affect the obligations of any Person to be performed
         from and after the Effective Date under the Funding Agreement or the Support
         Agreement.

                11.2.2      Settlement of Certain Claims Against Holders of Talc Personal
         Injury Claims. Pursuant to Bankruptcy Rule 9019 and in consideration for the
         releases and other benefits provided under the Plan, any and all claims against the
         holders of Talc Personal Injury Claims who received payments in respect of their
         claims from the Debtor or any of its predecessors, or from any Affiliate of the Debtor
         or any of its predecessors, prior to the Petition Date, and their professionals (but only
         with respect to their representation of or work for such holders in connection with
         such payments), that are or would have been property of any of the Estate or could
         have been brought by the Estate or any Protected Party, including Recovery Actions,
         and any claims based upon a legal or equitable theory of liability, in each case arising
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         out of, based upon, or resulting from payments to holders of Talc Personal Injury
         Claims from the Debtor or any of its predecessors, or from any Affiliate of the Debtor
         or any of its predecessors, prior to the Petition Date, shall be deemed settled, released,
         and extinguished. The entry of the Confirmation Order shall constitute the
         Bankruptcy Court’s approval, as of the Effective Date, of the compromise or
         settlement of all such claims and the Bankruptcy Court’s finding that such
         compromise or settlement is in the best interest of the Debtor, the Reorganized
         Debtor, and the holders of Claims and Interests and is fair, equitable, and reasonable.

         11.3     Releases.

                 11.3.1     Releases by the Debtor and Its Estate. As of the Effective Date, for
         good and valuable consideration (including services provided before and during the
         Chapter 11 Case to facilitate the implementation of the Talc Personal Injury Trust),
         the adequacy of which is hereby confirmed, the Reorganized Debtor, the LTL
         Corporate Parties, and the respective Representatives of the Debtor, the Reorganized
         Debtor, and the LTL Corporate Parties shall be deemed conclusively, absolutely,
         unconditionally, irrevocably, and forever released, to the maximum extent permitted
         by law, as such law may be extended subsequent to the Effective Date, by the Debtor
         and the Estate from any and all claims, counterclaims, disputes, obligations, suits,
         judgments, damages, demands, debts, rights, causes of action, liens, remedies, losses,
         contributions, indemnities, costs, liabilities, fees (including attorneys’ fees) and
         expenses whatsoever, including any derivative claims, asserted or assertable on behalf
         of the Debtor or the Estate (including any Recovery Actions), whether liquidated or
         unliquidated, fixed or contingent, matured or unmatured, known or unknown,
         foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing or
         hereinafter arising, whether in law or equity, whether sounding in tort or contract,
         whether arising under federal or state statutory or common law, or any other
         applicable international, foreign, or domestic law, rule, statute, regulation, treaty,
         right, duty, requirement, or otherwise, that the Debtor or the Estate would have been
         legally entitled to assert in its own right, or on behalf of the holder of any Claim or
         Interest or other Person, based on, arising out of, or in any way relating to, in whole
         or in part, the Debtor (as it existed prior to or after the Petition Date), the 2021
         Corporate Restructuring, the 2021 Chapter 11 Case, the Prepetition Funding
         Agreement Modifications, the Estate, the Chapter 11 Case, the purchase, sale, or
         rescission of the purchase or sale of any security of the Debtor, the subject matter of,
         or the transactions or events giving rise to, any Claim or Interest that is treated in the
         Plan, the business or contractual arrangements or interactions (including the exercise
         of any common law or contractual rights of setoff or recoupment at any time on or
         prior to the Effective Date) between the Debtor, on the one hand, and the Reorganized
         Debtor, any LTL Corporate Party, or any Representative of the Debtor, the
         Reorganized Debtor, or any LTL Corporate Party, on the other hand, the
         restructuring of any Claim or Interest before or during the Chapter 11 Case, the
         Disclosure Statement, the Plan, and related agreements, instruments, and other
         documents, and the negotiation, formulation, preparation, or implementation of, the
         solicitation of votes with respect to, the Plan, or any other related act or omission.
         Notwithstanding the foregoing, claims or causes of action against the Reorganized
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         Debtor, any LTL Corporate Party, or any Representative of the Debtor, the
         Reorganized Debtor, or any LTL Corporate Party arising out of or relating to any
         act or omission of such Person prior to the Effective Date that is determined by Final
         Order of the Bankruptcy Court or any other court of competent jurisdiction to have
         constituted a criminal act, actual fraud, gross negligence, or willful misconduct,
         including findings after the Effective Date, are not released pursuant to this
         Section 11.3.1. For the avoidance of doubt, nothing contained in this Section 11.3.1
         shall release or otherwise affect the obligations of any Person to be performed from
         and after the Effective Date under the Funding Agreement, the Support Agreement,
         the Cash Contributions Parent Guarantee, or any other Plan Document to which it is
         a party. The Reorganized Debtor, and any other entity that continues the Debtor’s
         business after the Effective Date, shall be bound, to the same extent the Debtor and
         the Estate are bound, by the releases set forth in this Section 11.3.1.

                  11.3.2      Releases by Holders of Claims. As of the Effective Date, for good
         and valuable consideration, the adequacy of which is hereby confirmed, including the
         service of the Released Parties before and during the Chapter 11 Case to facilitate the
         implementation of the Talc Personal Injury Trust, the Released Parties shall be
         deemed conclusively, absolutely, unconditionally, irrevocably, and forever released,
         to the maximum extent permitted by law, as such law may be extended subsequent to
         the Effective Date, by the Releasing Claim Holders from any and all Claims,
         counterclaims, disputes, obligations, suits, judgments, damages, demands, debts,
         rights, causes of action, liens, remedies, losses, contributions, indemnities, costs,
         liabilities, fees (including attorneys’ fees), and expenses whatsoever, including any
         derivative claims, asserted or assertable on behalf of the Debtor or the Estate
         (including any Recovery Actions), whether liquidated or unliquidated, fixed or
         contingent, matured or unmatured, known or unknown, foreseen or unforeseen,
         asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, whether
         in law or equity, whether sounding in tort or contract, whether arising under federal
         or state statutory or common law, or any other applicable international, foreign, or
         domestic law, rule, statute, regulation, treaty, right, duty, requirement or otherwise,
         that such holders or their estates, Affiliates, heirs, executors, administrators,
         successors, assigns, managers, accountants, attorneys, representatives, consultants,
         agents, and any other Persons or parties claiming under or through them would have
         been legally entitled to assert in their own right (whether individually or collectively),
         or on behalf of the holder of any Claim or Interest or other Person, based on, arising
         out of, or in any way relating to, in whole or in part, the Debtor (as it existed prior to
         or after the Petition Date), the 2021 Corporate Restructuring, the 2021 Chapter 11
         Case, the Prepetition Funding Agreement Modifications, the Estate, the Chapter 11
         Case, the purchase, sale, or rescission of the purchase or sale of any security of the
         Debtor, the subject matter of, or the transactions or events giving rise to, any Claim
         or Interest that is treated in the Plan, the business or contractual arrangements or
         interactions (including the exercise of any common law or contractual rights of setoff
         or recoupment at any time on or prior to the Effective Date) between the Debtor, on
         the one hand, and any other Released Party, on the other hand, the restructuring of
         any Claim or Interest before or during the Chapter 11 Case, the Disclosure Statement,
         the Plan, and related agreements, instruments, and other documents, and the
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         negotiation, formulation, preparation, or implementation thereof, the solicitation of
         votes with respect to the Plan, or any other related act or omission. Notwithstanding
         the foregoing, claims or causes of action against a Released Party arising out of or
         relating to any act or omission of such Released Party prior to the Effective Date that
         is determined by Final Order of the Bankruptcy Court or any other court of
         competent jurisdiction to have constituted a criminal act, actual fraud, gross
         negligence, or willful misconduct, including findings after the Effective Date, are not
         released pursuant to this Section 11.3.2. For the avoidance of doubt, nothing
         contained in this Section 11.3.2 shall release or otherwise affect the obligations of any
         Person to be performed from and after the Effective Date under the Funding
         Agreement, the Support Agreement, or the Cash Contributions Parent Guarantee or
         any other Plan Document to which it is a party.

                11.3.3      Injunction Related to Releases. The Confirmation Order shall
         permanently enjoin the commencement or prosecution by any Person, whether
         directly, derivatively, or otherwise, of any claims, commitments, obligations, suits,
         judgments, damages, demands, debts, causes of action, and liabilities released
         pursuant to this Section 11.3.

       11.4 Channeling Injunction and Insurance Entity Injunction. In order to
 supplement the injunctive effect of the Discharge Injunction, and pursuant to sections 524(g)
 and 105(a) of the Bankruptcy Code, the Confirmation Order shall provide for the following
 permanent injunctions to take effect as of the Effective Date.

                  11.4.1      Channeling Injunction.

                         (a)     To preserve and promote the settlements contemplated by and
         provided for in the Plan and pursuant to the exercise of the equitable jurisdiction and
         power of the Bankruptcy Court and the District Court under sections 524(g) and
         105(a) of the Bankruptcy Code, notwithstanding anything to the contrary contained
         in the Plan, (i) the sole recourse of any holder of a Talc Personal Injury Claim against
         a Protected Party (on account of such Talc Personal Injury Claim) shall be to and
         against the Talc Personal Injury Trust pursuant to the Talc Personal Injury Trust
         Documents and (ii) such holder shall have no right whatsoever at any time to assert
         its Talc Personal Injury Claim against any Protected Party or any property or interest
         in property of any Protected Party. On and after the Effective Date, all holders of
         Talc Personal Injury Claims shall be permanently and forever stayed, restrained,
         barred, and enjoined from taking any action for the purpose of, directly or indirectly
         or derivatively, collecting, recovering, or receiving payment, satisfaction, or recovery
         of, on, or with respect to any Talc Personal Injury Claim against a Protected Party
         other than from the Talc Personal Injury Trust pursuant to the Talc Personal Injury
         Trust Documents, including:

                                  (i)      commencing, conducting, or continuing in any manner,
                           directly, indirectly, or derivatively, any suit, action, or other proceeding
                           of any kind (including a judicial, arbitration, administrative, or other
                           proceeding) in any forum in any jurisdiction around the world against

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                      or affecting any Protected Party or any property or interests in
                      property of any Protected Party;

                             (ii)     enforcing,    levying,  attaching    (including  any
                      prejudgment attachment), collecting, or otherwise recovering, by any
                      manner or means, whether directly or indirectly, any judgment, award,
                      decree, or order against any Protected Party or any property or
                      interests in property of any Protected Party;

                             (iii)  creating, perfecting, or otherwise enforcing in any
                      manner, directly or indirectly, any lien of any kind against any
                      Protected Party or any property or interests in property of any
                      Protected Party;

                             (iv)    asserting, implementing, or effectuating any setoff,
                      recoupment, right of contribution, reimbursement, subrogation, or
                      indemnification, or similar right of any kind, in any manner, directly
                      or indirectly, against any obligation due to any Protected Party or
                      against any property or interests in property of any Protected Party;
                      and

                             (v)     taking any act in any manner, and in any place
                      whatsoever, that does not conform to, or comply with, the provisions of
                      the Plan, the Plan Documents, or the Talc Personal Injury Trust
                      Documents or with regard to any matter that is within the scope of the
                      matters designated by the Plan to be subject to resolution by the Talc
                      Personal Injury Trust, except in conformity and compliance with the
                      Talc Personal Injury Trust Documents.

                       (b)   Notwithstanding anything to the contrary in Section 11.4.1(a),
         this Channeling Injunction shall not impair:

                             (i)    the rights of holders of Talc Personal Injury Claims to
                      assert such Talc Personal Injury Claims solely against the Talc
                      Personal Injury Trust in accordance with the Talc Personal Injury
                      Trust Documents;

                              (ii)    the rights of holders of Talc Personal Injury Claims to
                      assert such claims against anyone other than a Protected Party;

                             (iii)   the rights of all Persons to assert any Claim, debt,
                      obligation, cause of action, or liability for payment of Talc Personal
                      Injury Trust Expenses solely against the Talc Personal Injury Trust;
                      or

                              (iv)    the Talc Personal Injury Trust from enforcing its rights
                      explicitly provided to it under the Plan and the Talc Personal Injury
                      Trust Documents, including the Imerys/Cyrus Related Rights.
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                      (c)    There shall be no modification, dissolution, or termination of the
         Channeling Injunction, which shall be a permanent injunction.

                        (d)    Nothing in the Plan or the Talc Personal Injury Trust
         Agreement shall be construed in any way to limit the scope, enforceability, or
         effectiveness of the Channeling Injunction issued in connection with the Plan or the
         Talc Personal Injury Trust’s assumption of all liability with respect to Talc Personal
         Injury Claims.

                       (e)    The Debtor’s compliance with the formal requirements of
         Bankruptcy Rule 3016(c) shall not constitute an admission that the Plan provides for
         an injunction against conduct not otherwise enjoined under the Bankruptcy Code.

                        (f)    Any Protected Party may enforce the Channeling Injunction as
         a defense to any Claim brought against such Protected Party that is enjoined under
         the Plan as to such Protected Party and may seek to enforce such injunction in a court
         of competent jurisdiction.

                         (g)     If a non-Settling Talc Insurance Company asserts that it has
         Contribution Claims against a Settling Talc Insurance Company, (i) such
         Contribution Claims may be asserted as a defense or counterclaim against the Talc
         Personal Injury Trust in any Talc Insurance Action involving such non-Settling Talc
         Insurance Company, and the Talc Personal Injury Trust (acting through the
         Reorganized Debtor, as its agent and subrogee having the exclusive right to pursue
         and resolve any Talc Insurance Action, pursuant to the Cooperation Agreement) may
         assert the legal or equitable rights (if any) of the Settling Talc Insurance Company,
         and (ii) to the extent such Contribution Claims are determined to be valid, the liability
         (if any) of such non-Settling Talc Insurance Company to the Talc Personal Injury
         Trust shall be reduced by the amount of such Contribution Claims.

                  11.4.2   Insurance Entity Injunction.

                      (a)    In order to protect and preserve the Talc Insurance Assets,
         pursuant to the equitable jurisdiction and power of the Bankruptcy Court, the
         Bankruptcy Court shall issue the Insurance Entity Injunction; provided, however, that
         the Insurance Entity Injunction is not issued for the benefit of any Talc Insurance
         Company, and no Talc Insurance Company is a third-party beneficiary of the
         Insurance Entity Injunction, except as otherwise specifically provided in any Talc
         Insurance Settlement Agreement.

                        (b)     Subject to the provisions of Section 11.4.1 and this
         Section 11.4.2, all Persons that have held or asserted, that hold or assert, or that may
         in the future hold or assert any claim, demand, or cause of action against any Talc
         Insurance Company based on, arising out of, or in any way relating to any Talc
         Personal Injury Claim, whenever and wherever arising or asserted, whether in the
         United States of America or anywhere else in the world, whether sounding in tort,
         contract, warranty, or any other theory of law, equity, or admiralty, shall be stayed,

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         restrained, and enjoined from taking any action for the purpose of directly or
         indirectly collecting, recovering, or receiving payments, satisfaction, or recovery with
         respect to any such claim, demand, or cause of action including:

                               (i)     commencing, conducting, or continuing, in any manner,
                       directly or indirectly, any suit, action, or other proceeding of any kind
                       (including a judicial, arbitration, administrative, or other proceeding)
                       in any forum with respect to any such claim, demand, or cause of action
                       against any Talc Insurance Company, or against the property of any
                       Talc Insurance Company, with respect to any such claim, demand, or
                       cause of action;

                               (ii)   enforcing, levying, attaching, collecting, or otherwise
                       recovering, by any means or in any manner, whether directly or
                       indirectly, any judgment, award, decree, or other order against any
                       Talc Insurance Company, or against the property of any Talc
                       Insurance Company, with respect to any such claim, demand, or cause
                       of action;

                              (iii)   creating, perfecting, or enforcing in any manner,
                       directly or indirectly, any Encumbrance against any Talc Insurance
                       Company, or the property of any Talc Insurance Company, with
                       respect to any such claim, demand, or cause of action; and

                              (iv)    asserting or accomplishing any setoff, right of
                       subrogation, indemnity, contribution, or recoupment of any kind,
                       directly or indirectly, against any obligation of any Talc Insurance
                       Company, or against the property of any Talc Insurance Company,
                       with respect to any such claim, demand, or cause of action;

         provided, however, that (A) the injunction set forth in this Section 11.4.2(b) shall not
         impair in any way (I) any actions pursued by the Talc Personal Injury Trust (acting
         through the Reorganized Debtor, as its agent and subrogee, pursuant to the
         Cooperation Agreement) against any Talc Insurance Company or (II) the rights of
         any co-insured of the Debtor (x) with respect to any Talc Insurance Policy or Talc
         Insurance Settlement Agreement against any Talc Insurance Company or (y) as
         specified under any Final Order of the Bankruptcy Court approving a Talc Insurance
         Settlement Agreement; and (B) the Talc Personal Injury Trust (acting through the
         Reorganized Debtor, as its agent and subrogee, pursuant to the Cooperation
         Agreement) shall have the sole and exclusive authority at any time to terminate, or
         reduce or limit the scope of, the injunction set forth in this Section 11.4.2(b) with
         respect to any Talc Insurance Company upon express written notice to such Talc
         Insurance Company, except that the Talc Personal Injury Trust (acting through the
         Reorganized Debtor, as its agent and subrogee, pursuant to the Cooperation
         Agreement) shall not have any authority to terminate, reduce, or limit the scope of
         the injunction herein with respect to any Settling Talc Insurance Company so long


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         as, but only to the extent that, such Settling Talc Insurance Company complies fully
         with its obligations under any applicable Talc Insurance Settlement Agreement.

                       (c)    Notwithstanding anything to the contrary above, this Insurance
         Entity Injunction shall not enjoin:

                               (i)     the rights of all Persons to the treatment accorded them
                         under the Plan, as applicable, including the rights of holders of Talc
                         Personal Injury Claims to assert such Claims, as applicable, in
                         accordance with the Talc Personal Injury Trust Documents;

                                (ii)    the rights of all Persons to assert any claim, debt,
                         obligation, cause of action, or liability for payment of Talc Personal
                         Injury Trust Expenses solely against the Talc Personal Injury Trust;

                                (iii)  the rights of the Talc Personal Injury Trust (acting
                         through the Reorganized Debtor, as its agent and subrogee, pursuant
                         to the Cooperation Agreement) (A) to pursue and resolve any Talc In-
                         Place Insurance Coverage, (B) to pursue and resolve any Talc
                         Insurance Action, (C) to pursue and obtain any Talc Insurance
                         Recoveries, and (D) to negotiate and enter into any Talc Insurance
                         Settlement Agreement; or

                                (iv)    the rights of any Talc Insurance Company to assert any
                         claim, debt, obligation, cause of action, or liability for payment against
                         any other Talc Insurance Company that is not a Settling Talc Insurance
                         Company, or as otherwise specifically provided in any Talc Insurance
                         Settlement Agreement.

                      (d)    For the avoidance of doubt, nothing in the Plan, the Plan
         Documents, or the Confirmation Order shall impair or otherwise affect any rights
         that any LTL Corporate Party may have under any Talc Insurance Policy or Talc
         Insurance Settlement Agreement.

         11.5     Exculpation.

                 11.5.1     Exculpation of Certain Parties. None of the Exculpated Parties
         shall have or incur any liability to any Person for any act or omission taken or to be
         taken, whether before, on, or after the Petition Date through and including the
         Effective Date in connection with, arising out of, or in any way relating to: (a) the
         2021 Corporate Restructuring, the 2021 Chapter 11 Case, the Prepetition Funding
         Agreement Modifications, or the Chapter 11 Case; (b) the negotiation, formulation,
         and preparation of the Plan and the other Plan Documents, and any of the terms
         and/or settlements and compromises reflected in the Plan and the other Plan
         Documents, and the releases and Injunctions contained in the Plan; (c) the pursuit of
         Confirmation of the Plan; (d) the administration, consummation, and implementation
         of the Plan or the property to be distributed under the Plan or the Trust Distribution
         Procedures; or (e) the management or operation of the Debtor (except for any liability
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         that results primarily from such Person’s criminal acts, actual fraud, willful
         misconduct, or gross negligence as determined by a Final Order). In all respects, each
         and all of such Persons shall be entitled to rely upon the advice of counsel with respect
         to their duties and responsibilities under, or in connection with, the Chapter 11 Case,
         the Plan, the Plan Documents, and the administration of each of them.

                 11.5.2    Injunction Related to Exculpation. The Confirmation Order shall
         permanently enjoin all Persons from taking any action against any Exculpated Party
         for the purpose of, directly or indirectly or derivatively, receiving payment of, on, or
         with respect to any liability from which the Exculpated Parties are exculpated
         pursuant to this Section 11.5.

         11.6 Disallowed Claims. On and after the Effective Date, the Debtor and the
 Reorganized Debtor shall have no liability or obligation on a Disallowed Claim, and any order
 disallowing a Claim which is not a Final Order as of the Effective Date solely because of a Person’s
 right to move for reconsideration of such Final Order pursuant to section 502 of the Bankruptcy
 Code or Bankruptcy Rule 3008 shall, nevertheless, become and be deemed to be a Final Order on
 the Effective Date. The Confirmation Order shall constitute a Final Order: (a) disallowing all
 Claims (other than Talc Personal Injury Claims) to the extent such Claims are not allowable under
 any provision of Section 502 of the Bankruptcy Code, including time-barred Claims and Claims
 for unmatured interest, and (b) disallowing or subordinating to all other Claims, as the case may
 be, any Claims for penalties, punitive damages or any other damages not constituting
 compensatory damages.

          11.7 No Successor Liability. The Reorganized Debtor does not, pursuant to the Plan or
 otherwise, assume, agree to perform, pay, or indemnify any Person, or otherwise have any
 responsibility for any liabilities or obligations of the Debtor arising out of or in any way relating
 to the operations of or assets of the Debtor, whether arising prior to, on, or after the Effective Date.
 None of the Reorganized Debtor, the other Protected Parties, and the Talc Personal Injury Trust
 is, or shall be deemed to be, a successor to the Debtor by reason of any theory of law or equity
 (except as otherwise provided in Article IV), and none shall have any successor or transferee
 liability of any kind or character; provided, however, the Reorganized Debtor and the Talc Personal
 Injury Trust shall assume and remain liable for their respective obligations specified in the Plan
 and the Confirmation Order.

         11.8     Corporate Indemnities.

                 11.8.1      Prepetition Indemnification and Reimbursement Obligations. The
         obligations of the Debtor to indemnify and reimburse Persons who are or were managers,
         officers, or employees of the Debtor on the Petition Date or at any time thereafter through
         the Effective Date, against and for any obligations pursuant to the articles of organization
         or operating agreement of the Debtor, applicable state or non-bankruptcy law, or specific
         agreement, or any combination of the foregoing, (a) shall survive Confirmation of the Plan
         and remain unaffected thereby, (b) are assumed by the Debtor, and (c) shall not be
         discharged under Section 1141 of the Bankruptcy Code, irrespective of whether
         indemnification or reimbursement is owed in connection with any event occurring before,
         on, or after the Petition Date.

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                 11.8.2      Plan Indemnity. In addition to the matters set forth above and not by
         way of limitation thereof, the Debtor shall indemnify, defend, and hold harmless all
         Persons who are or were managers or officers of the Debtor on the Petition Date or at any
         time thereafter through the Effective Date on account of and with respect to any claim,
         cause of action, liability, judgment, settlement, cost, or expense (including attorney’s fees)
         on account of claims or causes of action threatened or asserted by any third party against
         such managers or officers that seek contribution, indemnity, equitable indemnity, or any
         similar claim, based upon or as the result of the assertion of primary claims against such
         third party by any representative of the Debtor’s Estate.

                11.8.3       Limitation on Indemnification. Notwithstanding anything to the
         contrary set forth in the Plan or elsewhere, the Debtor and the Reorganized Debtor, as
         applicable, shall not be obligated to indemnify, defend, or hold harmless any Person for
         any claim, cause of action, liability, judgment, settlement, cost, or expense that results
         primarily from (i) such Person’s bad faith, gross negligence, or willful misconduct or (ii) a
         Talc Personal Injury Claim.

         11.9 Independent Legal Significance of Individual Provisions. For the avoidance of
 doubt, each of Sections 11.1 through 11.8 is legally independent from the other such Sections and
 the validity and effect of any such Section is not dependent upon, will not be affected in any
 manner by, and will not be interpreted or construed by reference to any other such Section. By
 way of illustration and not limitation, the releases set forth in Section 11.3 are independent from,
 will not be affected in any manner by, and will not be interpreted or construed by reference to the
 Channeling Injunction set forth in Section 11.4.

                                    ARTICLE XII
                         JURISDICTION OF BANKRUPTCY COURT

         12.1 Jurisdiction. Subject to Section 12.3, the Bankruptcy Court shall retain the fullest
 and most extensive exclusive jurisdiction (and to the extent not permitted, non-exclusive
 jurisdiction) that is permissible, including the jurisdiction necessary to ensure that the purposes
 and intent of the Plan are carried out. The Bankruptcy Court shall retain exclusive jurisdiction
 (and to the extent not permitted, non-exclusive jurisdiction) to hear and determine all Claims
 against the Debtor, and to adjudicate and enforce the Talc Insurance Actions, and all other causes
 of action which may exist on behalf of the Debtor.

         12.2 Specific Purposes. Subject to Section 12.3, in furtherance to the foregoing, the
 Bankruptcy Court shall retain exclusive jurisdiction (and to the extent not permitted, non-exclusive
 jurisdiction) for each of the following specific purposes after Confirmation of the Plan:

                       (a)    to modify the Plan after Confirmation, pursuant to the provisions of
         the Bankruptcy Code and the Bankruptcy Rules;

                        (b)     to correct any defect, cure any omission, reconcile any
         inconsistency, or make any other necessary changes or modifications in or to the Plan, the
         Talc Personal Injury Trust Agreement, or the Confirmation Order as may be necessary to
         carry out the purposes and intent of the Plan;

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                      (c)      to assure the performance by the Talc Personal Injury Trust and the
         Disbursing Agent of their respective obligations under the Plan;

                         (d)    to enforce and interpret the terms and conditions of the Plan, the
         other Plan Documents, and the Talc Personal Injury Trust Agreement; to enter such orders
         or judgments, including injunctions (i) as are necessary to enforce the title, rights, and
         powers of the Reorganized Debtor and the Talc Personal Injury Trust, and (ii) as are
         necessary to enable holders of Claims to pursue their rights against any Person that may be
         liable therefor pursuant to applicable law or otherwise;

                         (e)    to hear and determine any motions or contested matters involving
         taxes, tax refunds, tax attributes, tax benefits, and similar or related matters, including
         contested matters arising on account of transactions contemplated by the Plan, or relating
         to the period of administration of the Chapter 11 Case;

                        (f)     to hear and determine all applications for compensation of
         Professionals and reimbursement of expenses under sections 327, 328, 329, 330, 331,
         503(b), or 1103 of the Bankruptcy Code;

                        (g)    to hear and determine any causes of action arising during the period
         from the Petition Date through the Effective Date, or in any way related to the Plan or the
         transactions contemplated hereby;

                         (h)    to adjudicate any Retained Rights of Action that are retained by the
         Reorganized Debtor hereunder, including any Recovery Actions and the causes of action
         listed or described on Exhibit G;

                         (i)     to resolve any matters related to the assumption, assumption and
         assignment, or rejection of any Executory Contract or Unexpired Lease to which the Debtor
         is a party or with respect to which the Debtor or the Reorganized Debtor may be liable and
         to hear, determine and, if necessary, liquidate any Claims arising therefrom, including any
         Cure Amount Claims;

                        (j)    to determine such other matters and for such other purposes as may
         be provided in the Confirmation Order;

                       (k)     to determine the allowance and/or disallowance of any Claims,
         including Administrative Claims, against the Debtor or the Estate, including any objections
         to any such Claims, and the compromise and settlement of any Claim, including
         Administrative Claims, against the Debtor or the Estate;

                        (l)     to determine all questions and disputes regarding title to the assets
         of the Debtor or the Estate, or the Talc Personal Injury Trust;

                         (m)   to issue such orders as may be necessary for the addition of any
         Settling Talc Insurance Company as a Protected Party;



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                       (n)   to hear and determine any other matters related hereto, including the
         implementation and enforcement of all orders entered by the Bankruptcy Court in the
         Chapter 11 Case;

                         (o)    to resolve any disputes concerning whether a Person had sufficient
         notice of the Chapter 11 Case, the Disclosure Statement, any solicitation conducted in
         connection with the Chapter 11 Case, any bar date established in the Chapter 11 Case, in
         each case, for the purpose of determining whether a Claim is discharged hereunder or for
         any other purpose;

                        (p)    to enter in aid of implementation of the Plan such orders as are
         necessary, including the implementation and enforcement of the releases and the
         Injunctions described herein; and

                          (q)     to enter and implement such orders as may be necessary or
         appropriate if any aspect of the Plan, the Talc Personal Injury Trust, or the Confirmation
         Order is, for any reason or in any respect, determined by a court to be inconsistent with,
         violative of, or insufficient to satisfy any of the terms, conditions, or other duties associated
         with any Talc Insurance Policy, provided, however, (i) such orders shall not impair any
         Talc Insurer Coverage Defense or the rights, claims, or defenses, if any, of any Talc
         Insurance Company that are set forth or provided for in the Plan, the Plan Documents, the
         Confirmation Order, or any other Final Orders entered in the Chapter 11 Case, (ii) this
         provision does not, in and of itself, grant the Bankruptcy Court jurisdiction to hear and
         decide disputes arising out of or relating to any Talc Insurance Policy, and (iii) all interested
         parties, including any Talc Insurance Company, reserve the right to oppose or object to any
         such motion or order seeking such relief.

 To the extent that the Bankruptcy Court is not permitted under applicable law to preside over any
 of the foregoing matters, the reference to the “Bankruptcy Court” in this Article shall be deemed
 to be replaced by the “District Court.” Notwithstanding anything to the contrary in this Article 12,
 the resolution of Talc Personal Injury Claims, and the forum in which such resolution will occur,
 shall be governed by and in accordance with the provisions of Section 3.2.4 and Article IV and the
 Talc Personal Injury Trust Documents.

         12.3 District Court Jurisdiction. The District Court shall, without regard to the amount
 in controversy, retain exclusive jurisdiction after entry of the Confirmation Order to hear and
 determine any motion to extend the Channeling Injunction, and shall be deemed to have withdrawn
 the reference to the Bankruptcy Court for such purpose.

         12.4 Reservation of Rights. Nothing contained in the Plan will (i) constitute a waiver of
 any claim, right, or cause of action that the Debtor, the Reorganized Debtor, or the Talc Personal
 Injury Trust, as the case may be, may hold against the insurer under any policy of insurance or
 insurance agreement, except to the extent the insurer is a Settling Insurance Company; or (ii) limit
 the assertion, applicability, or effect of any Talc Insurer Coverage Defense.

        12.5 Compromises of Controversies. From and after the Effective Date, the Reorganized
 Debtor and/or the Talc Personal Injury Trust, as appropriate based on assets and liabilities retained

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 or owed by each respectively, shall be authorized to compromise controversies in their discretion
 in a manner not inconsistent with the terms of the Plan, without notice to any other party or
 approval of or notice to the Bankruptcy Court.

                                      ARTICLE XIII
                                MISCELLANEOUS PROVISIONS

        13.1 Closing of Chapter 11 Case. The Reorganized Debtor shall, promptly after the full
 administration of the Chapter 11 Case, file with the Bankruptcy Court all documents required by
 Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
 Case.

         13.2 Timing of Distributions or Actions. If any payment or act under the Plan is required
 to be made or performed on a date that is not a Business Day, then the making of such payment or
 the performance of such act may be completed on the next succeeding Business Day, but shall be
 deemed to have been completed as of the required date.

         13.3 Governing Law. Unless a rule of law or procedure is supplied by federal law
 (including the Bankruptcy Code and Bankruptcy Rules), or an instrument, agreement, or other
 document executed under the Plan provides otherwise, the rights, duties, and obligations arising
 under the Plan, and the instruments, agreements, and other documents executed in connection with
 the Plan, shall be governed by, and construed and enforced in accordance with, the internal laws
 of the State of New Jersey without giving effect to the principles of conflicts of law thereof.

         13.4 Entire Agreement. The Plan Documents set forth the entire agreement and
 undertakings relating to the subject matter thereof and supersede all prior discussions, negotiations,
 understandings, and documents. No Person shall be bound by any terms, conditions, definitions,
 warranties, understandings, or representations with respect to the subject matter hereof, other than
 as expressly provided for in the Plan or the other Plan Documents or as may hereafter be agreed
 to by the affected parties in writing.

        13.5 Headings. Headings are utilized in the Plan for convenience and reference only
 and shall not constitute a part of the Plan for any other purpose.

         13.6 Notices to the Debtor and Reorganized Debtor. All notices, requests, and demands
 required or permitted to be provided to the Debtor or the Reorganized Debtor under the Plan, in
 order to be effective, shall be in writing, and unless otherwise expressly provided herein, shall be
 deemed to have been duly given or made when actually delivered or, in the case of notice by
 facsimile transmission, when received and telephonically confirmed, to the addresses set forth
 below:




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  THE DEBTOR:

  LTL MANAGEMENT LLC
  Attention: John K. Kim, Esq.
  501 George Street
  New Brunswick, New Jersey 08933
  E-mail: jkim8@its.jnj.com

  PROPOSED COUNSEL FOR THE DEBTOR:

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  E-mail: jessica.boelter@whitecase.com

          13.7 Plan Supplement. Any and all exhibits, lists, or schedules referred to herein but not
 filed with the Plan shall be contained in the Plan Supplement to be filed with the Clerk of the
 Bankruptcy Court at least fourteen (14) days prior to the deadline for objecting to Confirmation of
 the Plan, and such Plan Supplement is incorporated into and is part of the Plan as if set forth in full
 herein. The Plan Supplement will be available for inspection in the office of the Clerk of the
 Bankruptcy Court during normal court hours, at the website maintained by the Claims Agent
 (https://dm.epiq11.com/case/ltl/dockets), and at the Bankruptcy Court’s website
 (https://ecf.njb.uscourts.gov/).

          13.8 Post-Effective Date Notices by the Reorganized Debtor. After the occurrence of
 the Effective Date, the Reorganized Debtor has authority to send a notice to any Person providing
 that to continue to receive documents pursuant to the Bankruptcy Rule 2002, such Person must file
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 a renewed request to receive documents pursuant to Bankruptcy Rule 2002; provided, however,
 that the United States Trustee need not file such a renewed request and shall continue to receive
 documents without any further actions being necessary. After the occurrence of the Effective
 Date, the Reorganized Debtor is authorized to limit the list of Persons receiving documents
 pursuant to Bankruptcy Rule 2002 to the United States Trustee and those Persons that have filed
 such renewed requests.

         13.9 Inconsistencies. To the extent the Plan is inconsistent with the Disclosure
 Statement or other Plan Documents, the provisions of the Plan shall be controlling. To the extent
 the Plan is inconsistent with the Confirmation Order, the provisions of the Confirmation Order
 shall be controlling.

         13.10 Withholding of Taxes. The Disbursing Agent, the Talc Personal Injury Trust, or
 any other applicable withholding agent, as applicable, shall withhold from any assets or property
 distributed under the Plan any assets or property which must be withheld for foreign, federal, state,
 and local taxes payable with respect thereto or payable by the Person entitled to such assets to the
 extent required by applicable law.

         13.11 Transfer Taxes. Pursuant to Section 1146 of the Bankruptcy Code, and to the fullest
 extent permitted by law, no stamp tax, transfer tax, filing fee, sales or use tax, or other similar tax
 shall be imposed or assessed by any taxing authority on account of (a) the transfer of any assets or
 property pursuant to the Plan; or (b) the making or delivery of an instrument of transfer under the
 Plan. The appropriate state or local government officials or agents shall be directed to forego the
 collection of any such tax and to accept for filing or recordation of any of the foregoing instruments
 or other documents without the payment of any such tax.

         13.12 Successors and Assigns. The rights, duties, and obligations of any Person under
 the Plan, the Plan Documents, and the Confirmation Order shall be binding upon, and shall inure
 to the benefit of, the successors, assigns, heirs, executors, legal representatives, and estates of such
 Person.

         13.13 Duty to Cooperate. Nothing in the Plan, the other Plan Documents, or the
 Confirmation Order shall relieve (by way of injunction or otherwise) any Person that is or claims
 to be entitled to indemnity under a Talc Insurance Policy from any duty to cooperate that may be
 required by any such insurance policy or under applicable law with respect to the defense and/or
 settlement of any Claim for which coverage is sought under such Talc Insurance Policy.

         13.14 Effective Date Actions Simultaneous. Unless the Plan or the Confirmation Order
 provides otherwise, actions required to be taken on the Effective Date shall take place and be
 deemed to have occurred simultaneously, and no such action shall be deemed to have occurred
 prior to the taking of any other such action.




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  Dated: May 15, 2023           LTL MANAGEMENT LLC
        New Brunswick, NJ

                                /s/ John K. Kim
                                John K. Kim
                                Chief Legal Officer




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                                  EXHIBIT A

           Amended Articles of Organization of the Reorganized Debtor

                    [TO BE FILED WITH PLAN SUPPLEMENT]
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                                 EXHIBIT B

            Amended Operating Agreement of the Reorganized Debtor

                    [TO BE FILED WITH PLAN SUPPLEMENT]
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                                       Cash Contributions

         On each date specified in the table below (column (a)), the Reorganized Debtor shall
 deliver, or cause to be delivered, to the Talc Personal Injury Governmental Action Claims Sub-
 Trust and the Talc Personal Injury Tort Claims Sub-Trust contributions of Cash in the total amount
 set forth opposite such date (column (d)), with such total amount of Cash contributions to be
 allocated between the Talc Personal Injury Governmental Action Claims Sub-Trust and the Talc
 Personal Injury Tort Claims Sub-Trust as set forth opposite such date (column (b) and column (c),
 respectively).

                         Cash Contribution to                                 Total Amount of
                         Talc Personal Injury     Cash Contribution to       Cash Contributions
                         Governmental Action      Talc Personal Injury       to be Delivered by
 Delivery Date for             Claims                 Tort Claims             the Reorganized
 Cash Contribution            Sub-Trust                Sub-Trust                   Debtor
        (a)                       (b)                      (c)                       (d)
Effective Date              $400,000,000.00        $2,600,000,000.00, as    $3,000,000,000.00, as
                                                        adjusted*                 adjusted*
1st Anniversary of                                    $2,500,000,000.00       $2,500,000,000.00
                                   —
Effective Date
2nd Anniversary of                                    $1,000,000,000.00       $1,000,000,000.00
                                   —
Effective Date
7th Anniversary of                                    $1,000,000,000.00       $1,000,000,000.00
                                   —
Effective Date
12th Anniversary of                                   $1,000,000,000.00       $1,000,000,000.00
                                   —
Effective Date
17th Anniversary of                                   $1,000,000,000.00       $1,000,000,000.00
                                   —
Effective Date
22nd Anniversary of                                   $1,000,000,000.00       $1,000,000,000.00
                                   —
Effective Date
25th Anniversary of                                   $1,180,000,000.00       $1,180,000,000.00
                                   —
Effective Date
                                                  TOTAL                     $11,680,000,000.00,
                                                                            as adjusted above

 * The $2,600,000,000.00 to be delivered to the Talc Personal Injury Tort Sub-Trust on the
   Effective Date is subject to adjustment as follows:

    (a) commencing on the first Business Day after the Confirmation Date, interest shall accrue
        on such amount at the rate of 4% per annum, with interest to be calculated on the basis of
        a 365/366-day year and paid for the actual number of days elapsed; and

    (b) the such amount shall be reduced by the amount of Talc Personal Injury Trust Expenses
        paid by the Reorganized Debtor pursuant to Section 4.6.

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                                EXHIBIT D

                     Cash Contributions Parent Guarantee

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                                EXHIBIT E

                           Cooperation Agreement

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                                EXHIBIT F

                            Governmental Claims

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                                 EXHIBIT G

                           Retained Rights of Action

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                                 EXHIBIT H

                            Talc Insurance Policies

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                                  EXHIBIT I

                      Talc Insurance Settlement Agreements

                    [TO BE FILED WITH PLAN SUPPLEMENT]
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                                  EXHIBIT J

                      Talc Personal Injury Trust Agreement

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                                 EXHIBIT K

                                 Talc PI Note

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                                  EXHIBIT L

                            Talc PI Pledge Agreement

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                                  EXHIBIT M

                          Trust Distribution Procedures
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                           TRUST DISTRIBUTION PROCEDURES

       The LTL Personal Injury Trust Distribution Procedures (hereafter “TDP”) contained herein
provide the means for resolving all Talc Personal Injury Claims, including Individual Claims and
Governmental Action Claims, as provided in and required by the Plan and the Talc Personal Injury
Trust Agreement (the “Trust Agreement”).

       The Plan and the Trust Agreement establish the Talc Personal Injury Trust (the “Trust”).
The trustee(s) of the Trust (the “Trustees”) shall implement and administer these TDP in
accordance with the Trust Agreement.


                               INTRODUCTION & OVERVIEW

1.1    Purpose

        These TDP have been adopted pursuant to the Trust Agreement and are intended to provide
reasonable assurance that the Talc Personal Injury Trust will evaluate, value, and pay Talc Personal
Injury Claims that involve similar claims in substantially the same manner, and otherwise comply
with the requirements of a trust set forth in section 524(g) of the Bankruptcy Code. To achieve
this goal, these TDP set forth procedures for liquidating and paying Governmental Action Claims
and processing, evaluating, resolving, and paying (as appropriate) Individual Claims through either
the Qualification Evaluation Process or the Accelerated Evaluation Process as set forth, herein.
These procedures are designed to be consistent with characteristics known to drive valuation of
similar personal injury claims in the tort system, such as specific disease type and age at diagnosis,
and/or are tied to the scientific theories promulgated by plaintiffs’ experts in the Johnson &
Johnson Talcum Powder Products Marking, Sales Practices and Products Liability Litigation
multidistrict litigation, such as time since last talc use.

1.2    Interpretation

        Except as expressly provided below, nothing in these TDP shall be deemed to create a
substantive right for the holder of any Talc Personal Injury Claim. To the extent these TDP provide
certain rights and benefits to holders of Talc Personal Injury Claims, such rights and benefits shall
vest as of the Effective Date.

1.3    Exclusivity

       These TDP and any related procedures set forth or designated herein shall be the sole and
exclusive method by which a Person may seek allowance and distribution on a Talc Personal Injury
Claim.

1.4    General Principles

       These TDP are founded on the following principles:

       1)      The efficient resolution of all Talc Personal Injury Claims and equitable valuation
               of all similarly situated Talc Personal Injury Claims;

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       2)     Clear and objective qualification and valuation criteria;

       3)     Clear and reliable evidentiary requirements;

       4)     A rigorous review and evaluation process requiring the Trustee to determine the
              appropriate Scheduled Values for Individual Claims in accordance with these TDP
              and applicable law;

       5)     Independence of the Trust and the Trustee;

       6)     Administrative transparency; and

       7)     Fraud detection and prevention.


                           INTERPRETATION & DEFINITIONS

2.1    Interpretation

      The terms of the Plan and Confirmation Order shall prevail if there is any discrepancy
between the terms of the Plan or Confirmation Order and the terms of these TDP.

2.2    Incorporation of Plan Definitions

        Capitalized terms used but not defined in these TDP have the meanings ascribed to them
in the Plan or the Trust Agreement, and such definitions are incorporated by reference herein. To
the extent a term is defined in these TDP, as well as in the Plan and/or the Trust Agreement, the
definition contained in these TDP shall control.

2.3    Definitions

       1.     “Accelerated Evaluation Process” shall mean the claims evaluation process by
              which the Claims Administrator shall evaluate Confirmed Claims to determine
              whether they are Other Approved Claims and shall be allowed, as set forth in
              Section 4.4.5.

       2.     “Accelerated Claims Criteria” shall mean the requirements set forth in Section
              4.4.5, which a Confirmed Claim proceeding under the Accelerated Evaluation
              Process must satisfy in order to be deemed an Other Approved Claim.

       3.     “Acceptance and Release” shall have the meaning set forth in Section 7.2.1(A).

       4.     “ADR Procedures” shall mean the alternative dispute resolution procedures set
              forth in Article 6.

       5.     “Allowed Claim Amount” shall mean the actual dollar value for an Allowed
              Claim whether based on the Scheduled Value proposed and offered by the Trust for
              any such Allowed Claim, or whether based on the resolution of the Individual


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            Claim pursuant to any ADR Procedures or post-reconsideration litigation in the tort
            system pursuant to Article 6 of these TDP.

      6.    “Allowed Claim(s)” shall mean all Qualifying Claims and Other Approved
            Claims, collectively.

      7.    “Allowed Claimant(s)” shall mean Individual Claimants whose Submitted Claims
            are determined to be Allowed Claims.

      8.    “Claimant’s Jurisdiction” shall mean either (a) the jurisdiction in which the
            Individual Claim was filed against the Debtor or any of its Affiliates in the tort
            system prior to the Petition Date or, (b) if the Individual Claim was not filed against
            the Debtor or any of its Affiliates in the tort system prior to the Petition Date, then
            at the claimant’s election (i) the jurisdiction in which the Individual Claimant
            resided on the Date of Diagnosis; (ii) the jurisdiction in which the Individual
            Claimant resides at the time he/she submits her Individual Claim to the Trust; or
            (iii) a jurisdiction in which the claimant Regularly Used J&J Talc Products.

      9.    “Claim Submission” shall mean the substantially complete submission to the Trust
            of all Claims Materials required by these TDP by an Individual Claimant.

      10.   “Claim Submission Form” shall mean the form developed and adopted by the
            Trustees, in concert with the Claims Administrator and the Claims Processor, which
            Individual Claimants must to submit to the Trust pursuant to the Submission
            Procedures as set forth herein.

      11.   “Claims Materials” shall mean any evidence and other materials submitted in
            support of Individual Claims, including but not limited to the materials required
            pursuant to Section 4.3.5.

      12.   “Claims Administrator” shall mean ARCHER Systems LLC and/or any other
            Talc Trust Claims Administrator subsequently appointed pursuant to the Plan, Trust
            Agreement, and these TDP.

      13.   “Claims Processor” shall mean Pattern Data, Inc., which shall be engaged by the
            Claims Administrator to assist in the development of procedures and protocols to
            implement these TDP effectively and efficiently.

      14.   “Common Benefit Fund” shall mean the common benefit fund established
            pursuant to Case Management Order No. 7(A) entered by the United States District
            Court for the District of New Jersey in the multidistrict litigation In re: Johnson &
            Johnson Talcum Powder Products Marking, Sales Practices and Products Liability
            Litigation, Civil Action No. 3:16-md-02738.

      15.   “Common Benefit Fund Obligations” shall mean any common benefit fund
            obligations arising from that certain multidistrict litigation known as the Johnson
            & Johnson Talcum Powder Litigation, Master Docket 3:16-md-02738 in the United
            States District Court for the District of New Jersey.

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      16.   “Confirmation Order” shall mean the order of the Bankruptcy Court and the
            District Court acting jointly or the order of the District Court affirming an order
            entered separately by the Bankruptcy Court, in either case which order confirms the
            Plan pursuant to section 1129 of the Bankruptcy Code.

      17.   “Confirmed Claim” shall mean a Submitted Claim which the Claims
            Administrator determines has satisfied the Preliminary Evaluation Criteria.

      18.   “Claims Audit Program” shall mean the audit program adopted and implemented
            by the Trust pursuant to Section 3.6.2.

      19.   “Cross-Trust Audit Program” shall mean the audit program adopted and
            implemented by the Trust pursuant to Section 3.6.1.

      20.   “Date of Diagnosis” shall mean the date on which an Individual Claimant received
            the original pathologic diagnosis that is the basis of his/her Individual Claim.

      21.   “Evaluation Track(s)” shall mean the Qualification Evaluation Process and/or the
            Accelerated Evaluation Process that is elected by Individual Claimants in their
            Claim Submissions.

      22.   “Existing Claimant(s)” shall mean, collectively, all Existing Mesothelioma
            Claimants, Existing Ovarian Cancer Claimants, as well as any Individual Claimants
            who submit an Other Talc Claim to the Trust which involved a Date of Diagnosis
            prior to April 1, 2023.

      23.   “Existing Individual Claim(s)” shall mean Individual Claims held by Existing
            Ovarian Cancer Claimants and Existing Mesothelioma Claimants, collectively.

      24.   “Existing Mesothelioma Claimant(s)” shall mean Mesothelioma Claimant who
            asserts a Mesothelioma Claim involving a Date of Diagnosis before June 1, 2023,
            not otherwise barred by applicable statutes of limitations.

      25.   “Existing Ovarian Cancer Claimant(s)” shall mean any Individual Claimant who
            holds an Ovarian Cancer Claim not otherwise barred by applicable statutes of
            limitations, involving an initial date of diagnosis prior to April 1, 2023, and if
            retained by counsel, having executed a retention agreement with his/her lawyer
            prior to June 1, 2023.

      26.   “FIFO Payment Queue” shall mean the processing queue for the payment of
            Qualifying Claims and Other Approved Claims, as described in Section 7.4.

      27.   “FIFO Processing Queue” shall mean the processing queue for the evaluation of
            Submitted Claims, as described in Sections 4.3 and 4.4.

      28.   “Future Claimant(s)” shall mean, collectively, Future Mesothelioma Claimant(s)
            and Future Ovarian Cancer Claimants.


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      29.   “Future Mesothelioma Claimant(s)” shall mean any Mesothelioma Claimant
            who is not an Existing Mesothelioma Claimant.

      30.   “Future Ovarian Cancer Claimant(s)” shall mean any Ovarian Cancer Claimant
            who is not an Existing Ovarian Cancer Claimant.

      31.   “Governmental Action Trust” shall mean the Talc Personal Injury Governmental
            Action Claims Sub-Trust described in the Plan.

      32.   “Gynecologic Claim” shall mean any Individual Claim that involves allegations
            that the Individual Claimant developed a gynecologic cancer that is not an Ovarian
            Cancer Claim.

      33.   “Identifying Information” shall mean, with respect to Individual Claims, the (i)
            full legal name, (ii) date of birth, (iii) address, and (iv) social security number, of
            both the relevant injured/deceased individual and his/her legal representative, as
            well as the law firm and attorney serving as the holder’s Representative (if any) and
            such counsel’s address.

      34.   “Individual Claim” shall mean any Talc Personal Injury Claim other than a
            Governmental Action Claim.

      35.   “Individual Claimant” shall mean the holder of any unresolved Individual Claim.
            Unless otherwise specified herein, Individual Claimant also collectively refers to
            any relevant minors, decedents or other derivative claimants and the person(s)
            asserting the Individual Claim on behalf of such claimants and/or their estates in a
            representative capacity. For avoidance of doubt, Individual Claimant specifically
            excludes any person whose Individual Claim was previously filed and dismissed
            with prejudice or whose Individual Claim was adjudicated and resulted in an
            unfavorable final judgment prior to October 14, 2021.

      36.   “Initial Filing Date” shall mean the date on which the Trust first begins to accept
            claims.

      37.   “J&J” shall mean Johnson & Johnson, Johnson & Johnson Baby Products
            Company, Johnson & Johnson Consumer Companies, Inc., Johnson & Johnson
            Consumer Inc., Johnson & Johnson Consumer Products, Inc., and each of their past
            and present parents, subsidiaries and Affiliates, direct and indirect equity holders,
            and the successors and assigns of each, excluding the Debtor.

      38.   “J&J Talc Product(s)” shall mean any and all products manufactured, distributed,
            and/or sold by the Debtor and/or J&J containing talcum powder, to which
            Individual Claimants allege they were exposed, including but not limited to
            Johnson’s Baby Powder and Johnson & Johnson’s Shower to Shower. Talc
            Products also includes any product containing talcum powder manufactured,
            distributed, and/or sold by any of the Debtor and/or J&J affiliates, subsidiaries,
            divisions, parent companies, predecessors, or successors.


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      39.   “Lien Resolution Administrator” shall mean shall mean ARCHER Systems LLC
            and/or any other Talc Trust Lien Resolution Administrator subsequently appointed
            pursuant to the Plan, Trust Agreement, and these TDP.

      40.   “Maximum Value” shall be the maximum amount any Individual Claimant may
            receive in payment from the Settlement Trust and shall be defined as three times
            (3x) the Initial Point Value as defined under Article V for a given Allowed Claim
            based on the Individual Claimant’s age on the Date of Diagnosis and disease type.

      41.   “Mesothelioma” shall mean the type of cancer that develops from the mesothelium
            (i.e., the thin layer of tissue that covers certain internal organs including the pleural,
            peritoneal, and pericardial cavities). For purposes of evaluating Individual Claims
            pursuant to these TDP, this definition is limited to malignant mesothelioma that
            develops in the lining of the lungs, chest wall, abdomen, heart, and testes.

      42.   “Mesothelioma Claim” shall mean any Individual Claim involving a claim
            alleging use of J&J Talc Products and in which the relevant Individual Claimant
            developed Mesothelioma.

      43.   “Mesothelioma Claimant” shall mean any Individual Claimant who asserts a
            Mesothelioma Claim.

      44.   “Mesothelioma Qualification Criteria” shall mean the requirements set forth in
            Section 4.4.4(B), which an Individual Claim alleging Mesothelioma must satisfy in
            order to be deemed a Qualifying Claim.

      45.   “Non-J&J Talc Products” shall mean any and all talc-containing products which
            are not J&J Talc Products.

      46.   “Other Approved Claim” shall mean an Individual Claim that has satisfied the
            Accelerated Claim Criteria, as determined by the Claims Administrator pursuant to
            Section 4.4.4.

      47.   “Other Approved Claimant” shall mean an Individual Claimant who’s Individual
            Claim has been determined to be an Other Approved Claim.

      48.   “Other Talc Claim” shall mean any Individual Claim that is not an Ovarian Cancer
            Claim or Mesothelioma Claim.

      49.   “Ovarian Cancer” shall mean, collectively, epithelial cancer, that originates in the
            ovaries, fallopian tubes, and/or peritoneum (i.e., primary peritoneal cancer), with
            serous, endometrioid, clear cell, or undifferentiated subtypes (or a mixture of
            subtypes that includes one or more of these subtypes). This definition specifically
            includes tumors designated as “borderline” or of “low malignant potential.”

      50.   “Ovarian Cancer Claim” shall mean any Individual Claim involving allegations
            that the relevant Individual Claimant developed Ovarian Cancer.


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      51.   “Ovarian Cancer Claimant” shall mean any Individual Claimant who asserts an
            Ovarian Cancer Claim.

      52.   “Ovarian Cancer Qualification Criteria” shall mean the requirements set forth
            in Section 4.4.4(A) which an Ovarian Cancer Claim must satisfy in order to be
            deemed a Qualifying Claim.

      53.   “Payor” shall mean Johnson & Johnson.

      54.   “Points Valuation System” shall mean as the points-based claim valuation system
            described in Article 5 of these TDP.

      55.   “Preliminary Evaluation” shall mean the preliminary evaluation process
            described in Section 4.4.2, pursuant to which determinations shall be made as to
            whether each Submitted Claim constitutes a Confirmed Claim and should further
            evaluated via either the standard Qualification Evaluation Process or Accelerated
            Evaluation Process.

      56.   “Preliminary Evaluation Criteria” shall mean the four (4) preliminary criteria set
            forth in Section 4.4.2 which Individual Claims must satisfy in order to progress to
            either the standard Qualification Evaluation Process or Accelerated Evaluation
            Process.

      57.   “Qualification Criteria” shall collectively mean the Ovarian Cancer Qualification
            Criteria and the Mesothelioma Qualification Criteria.

      58.   “Qualifying Claim(s)” shall mean any Individual Claim that the Claims
            Administrator determines, pursuant to Sections 4.4.3 and 4.4.4, has satisfied the
            applicable Qualification Criteria.

      59.   “Qualifying Claimant” shall mean an Individual Claimant who’s Individual
            Claim has been determined to be a Qualifying Claim.

      60.   “Regular J&J Talc Use” shall mean an Individual Claimant’s regular use of J&J
            Talc Products on his/her own body, as proven by sworn testimony or affidavit.

      61.   “Regular Perineal J&J Talc Use” shall mean an Individual Claimant’s regular
            use of J&J Talc Products in her own perineal area after puberty, as proven by sworn
            testimony or affidavit.

      62.   “Scheduled Value” shall mean the final scheduled Point-Value for any Qualifying
            Claim or Other Approved Claim, as determined by the Claims Administrator
            pursuant to Section Article 5 of these TDP.

      63.   “Settlement Trust” shall mean the Talc Personal Injury Tort Claims Sub-Trust
            described in the Plan.



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       64.    “Qualification Evaluation Process” shall mean the claims-resolution method in
              which an Individual Claim is evaluated as described in Sections 4.4.3 and 4.4.4 of
              these TDP.

       65.    “Submitted Claim” shall mean an Individual Claim that has been submitted to the
              Trust pursuant to these TDP.

       66.    “Submission Procedures” shall mean the procedures developed and adopted by
              the Trustees, in conjunction with the Claims Administrator and Claims Processor,
              which

       67.    “TAC” shall mean the Trust Advisory Committee that represents (i) the interests
              Existing Individual Claimants identified and (ii) the interests of the Payor, and
              ensures that these TDP are properly implemented and the Trust properly
              administered.

       68.    “Talc Personal Injury Claimant” shall mean the holder of a Talc Personal Injury
              Claim.

       69.    “Trust” shall mean the Talc Personal Injury Trust as defined in the Plan.


                                  TDP ADMINISTRATION

3.1    General Administration

              Coordination of Trustees, Claims Administrator & Claims Processor

       The Trustees shall implement these TDP to resolve any and all existing and future
Individual Claims pursuant to the Plan and Trust Agreement, with the assistance of the Claims
Administrator and the Claims Processor. Further, the Trustees, the Claims Administrator, and the
Claims Processor shall consult and coordinate with each other to develop and implement
administrative and background processes intended to (i) provide the Trustees with all information
necessary to implement these TDP, (ii) streamline the submission procedures for Individual
Claimants, (iii) ensure maximally efficient evaluation of the Individual Claims and the
Reconsideration Requests, and (iv) promote prompt payment of Allowed Claims.

              Preparation of and Deadline for Distribution of Trust Rules and Submission
              Procedures

       Within sixty (60) days following entry of the Confirmation Order, the Trustees shall (i)
adopt and distribute detailed Submission Procedures required by these TDP to counsel for all
known Existing Individual Claimants, and (ii) make such Submission Procedures publicly
available on a website addressing the same.

      To that end, immediately upon confirmation of the Plan, the Trustees, the Claims
Administrator, and the Claims Processor shall coordinate with respect to the development and


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finalization of the comprehensive platforms, systems, procedures, rules, documents, and actions
necessary to implement these TDP.

               Consent & Consultation with the Payor, the TAC, and the FCR

       The Trustees shall administer the Trust and implement these TDP in consultation with the
Payor, TAC, and the FCR. Specifically, pursuant to the Plan, the Trust Agreement, and these TDP,
the Trustees shall (i) obtain the consent of the Payor, the TAC, and the FCR with respect to any
substantive amendment, change, or modification to these TDP, and on such other matters as are
required herein or in the Trust Agreement; and (ii) consult and coordinate with the Claims
Administrator and Claims Processor with respect to any proposed amendment, change, or
modification that could significantly impact the submission, evaluation, and processing of
Individual Claims.

       In the event that consultation with or consent of the Payor, the TAC, and the FCR is
required, the Trustees shall provide written notice to the Payor, the TAC, the FCR, the Claims
Administrator, and the Claims Processor of the specific amendment, change, modification, or other
action proposed. The Trustees shall not implement any such proposed amendment, change, or
modification, or take such other action unless and until the parties have engaged in the Consultation
Process or the Consent Process described in the Trust Agreement.

3.2    Appropriateness of Costs

       The Trustees shall seek to ensure that the costs incurred by the Trust with respect to
evaluating and investigating the validity of the Claims Materials submitted by an Individual
Claimant are necessary and reasonable in light of the expected benefit to the Trust. Nothing herein,
however, shall prevent the Trustees from either (i) contesting the validity of any Individual Claim,
whatever the costs, or (ii) declining to accept the Claims Materials from sources determined to be
deceptive, fraudulent, or otherwise unreliable.

        The Trustees shall periodically, and at least annually, review the cost of evaluating and
investigating the Submitted Claims and take steps to reduce such costs where feasible and
appropriate, while still ensuring that the Trust’s obligations pursuant to the Plan, the Trust
Agreement, and these TDP are appropriately satisfied.

3.3    Lien Resolution

        Upon completion of (i) the applicable evaluation process for each Allowed Claim, and (ii)
resolution of any Reconsideration Request of the Claim Administrator’s determinations, the
Settlement Trust shall pay the final Allowed Claim Amount to a segregated account pending the
satisfaction of liens and other administrative issues until final payment to the relevant Individual
Claimant and/or his/her respective attorneys is made. Subject to the terms of the Trust Agreement,
ARCHER Systems LLC shall serve as the Lien Resolution Administrator, which among other
things is responsible for the distribution of net proceeds for Allowed Claims to the appropriate
Approved or Qualifying Claimants.

       On or as soon as possible following the Effective Date, the Lien Resolution Administrator
shall begin working to satisfy any and all known medical liens arising from or related to the

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Ovarian Cancer Claims or the Mesothelioma Claims, with the goal of negotiating the satisfaction
of any such liens and claims as to each Allowed Claim by the time the Trustees have finalized the
relevant Allowed Claim Amount determined by the Claims Administrator. The Lien Resolution
Administrator shall be responsible for the satisfaction of any and all known medical liens arising
from or related to each Allowed Claim, and shall provide written verification of the same to the
Debtor prior to distributing any portion of the Allowed Claim Amount from the Settlement Trust
to the relevant Individual Claimant or his/her counsel. Following distribution of the net proceeds
for an Allowed Claim (i.e., the Allowed Claim Amount minus attorneys’ fees and satisfaction of
lien amounts), neither the Debtor nor any Payor shall bear any responsibility for payment of any
Individual Claimant’s liens.

3.4    Trust Disclosure of Information

        Periodically, and at least annually, the Trust shall publish a report summarizing the
Individual Claims resolved pursuant to these TDP, including breakdowns with respect to (i) the
types of Individual Claim involved; (ii) application of the standard Qualification Process,
Accelerated Evaluation Process, and/or any ADR Procedures described herein, and (iii) the
average Allowed Claim Amounts by type of Individual Claim, specific category of injury within
the Qualification Criteria and Accelerated Claim Criteria. The Trustees also shall provide the
Payor, the TAC, and the FCR with (i) a more detailed version of the above-mentioned report that
also includes breakdowns as to Claimant Jurisdiction and the law firm and/or attorneys
representing Individual Claims submitted to the Trust, and (ii) detailed monthly status reports
regarding the evaluation status of all Submitted Claims, as well as the valuation and payment status
of all Approved Claims and Qualifying Claims for which Scheduled Values have been determined.

3.5    Notice Requirements

       Following entry of the Confirmation Order, the Trustees shall coordinate with the Claims
Administrator to develop formal procedures for providing notice to Individual Claimants of
determinations made pursuant to these TDP, which shall be adopted by the Trust upon consent of
the TAC and the FCR. Such notice procedures must include both hard copy and electronic
methods of notice and incorporate the applicable notice deadlines as set forth in these TDP.

        Individual Claimants shall be provided with notice pursuant to the notice requirements
adopted by the Trust after any determination is made by either the Claims Administrator or
Trustees with respect to Individual Claims. This includes the following: (i) determinations as to
whether any Submitted Claim satisfied the Preliminary Evaluation Criteria; (ii) determinations as
to whether any Confirmed Claim satisfies the required Qualification Criteria or Accelerated Claim
Criteria, whichever is applicable; (iii) determinations as to whether or not any Individual Claim is
an Allowed Claim; (iv) determinations as to the Scheduled Value and/or Allowed Claim Amount
for an Individual Claim; and (v) determinations regarding the outcome of any Reconsideration
Request.




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3.6    Auditing

               Cross-Trust Audit Program

         The Trust, with the consent of the Payor, the TAC, and the FCR, shall develop a Cross-
Trust Claims Audit Program, which shall include methods for auditing the reliability of medical
evidence, as well as the reliability of evidence of usage of talc or talc-containing products for
which the Trust has legal responsibility and the reliability of reporting on other asbestos exposure.
This Cross-Trust Audit Program will be designed to compare Individual Claims submitted to the
Trust against claims filed with any other bankruptcy trusts at the sole discretion of the Auditor
(defined below), and is not limited in count to the number of bankruptcy trusts that are subject to
the Cross Trust Claims Audit Program. Further, as part of its coordination with other bankruptcy
trusts the Trust shall fully comply with reasonable subpoenas served against it by other bankruptcy
trusts or mass-tort trusts seeking to conduct a similar claim audit.

       By submitting an Individual Claim to the Trust, regardless of the treatment sought, an
Individual Claimant shall be deemed to have affirmatively consented to (i) any release by the Trust
of necessary and sufficient information sought either through the Cross-Trust Audit Program or in
response to any subpoena served against the Trust; (ii) any release by any other bankruptcy or
mass-tort trusts that participate in the Cross-Trust Audit Program or the Trust has served a
subpoena on, to the entity overseeing the Cross-Trust Audit Program (the “Auditor”) of all
information submitted to such other trusts by or on behalf of the relevant Individual Claimant
pursuant to the provisions of the Cross-Trust Audit Program, or subpoena, if applicable, and (ii)
disclosure by or to the Auditor of the status, amount, and date of payment made with respect to the
claim asserted or filed by the relevant Individual Claimant to the Trust or any other bankruptcy or
mass-tort trust.

         To the extent that the Trustees believe it is relevant, nothing herein shall preclude the Trust
or the Auditor, in the Trustees’ sole discretion, from reviewing or taking into consideration filed
state or federal court complaints, available discovery from any such case, or other claims filed
against other mass-tort trusts. Any Individual Claimant subject to the Cross-Trust Audit Program
shall cooperate with and provide the Trust with (i) any non-privileged information reasonably
requested by the Trust, and (ii) upon request by the Trust, authorization to obtain from other mass
tort trusts any information such claimant has provided to such other trusts.

               Claims Audit Program

        Separate from the Cross-Trust Audit Program, the Payor is authorized, but not required,
under these TDP to design and implement its own annual Claims Audit Program, and to audit up
to ten percent (10%) of the determinations by the Claims Administrator and/or Trustees with
respect to any and all Individual Claims submitted to the Trust, which may be either based on 10%
of the total universe of Submitted Claims, or be a stratified subset of claims of particular interest
to the Payor. Any Claims Audit Program pursuant to this Section shall be implemented by Barnes
& Thornburg as the Payor’s agent. Except as otherwise detailed herein, the Payor has the sole
discretion regarding whether and/or when to implement such Claims Audit Program.




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               Consequences of Audit Programs

        In the event that an audit under either the Cross-Trust Audit Program or the Claims Audit
Program reveals that deceptive or fraudulent information has been provided to the Trust, the Trust
may penalize the relevant Individual Claimant and his/her counsel by (a), disallowing the relevant
Individual Claim, (b) seeking to require the source of such deceptive or fraudulent information to
reimburse the Payor for all costs incurred in connection with the audit and any future audit or
audits, (c) reordering the priority of payment of all affected Individual Claimants, (d) placing
reasonable restrictions, limitations, or affirmative requirements on Individual Claims submitted to
the Trust in the future by Individual Claimants represented by such counsel, (e) subjecting all
Individual Claims represented by the same counsel to audit, and (f) any other appropriate action,
including seeking sanctions.

       Individual Claims determined to be subject to heightened scrutiny pursuant to any part of
these TDP shall be considered to be automatically subject to audit under either the Cross-Trust
Audit Program or the Claims Audit Program, or both.


                     INDIVIDUAL CLAIMS ALLOWANCE PROCESS

4.1    General Principles

               Recovery Only With Respect to a Single Individual Claim

        An Individual Claimant may assert no more than one Individual Claim to the Trust, and
may recover only in respect of such Individual Claim from the Trust, based on the Individual Claim
asserted at the time he/she submitted the claim to the Trust. For the avoidance of doubt, after
submitting his/her claim to the Trust, an Individual Claimant may not allege or seek to assert an
additional or different Individual Claim, with the exception that an Individual Claimant may at any
time during the pendency of his/her claim, request that his/her Individual Claim be processed
pursuant to the Accelerated Evaluation Process, as set forth in Section 4.4.4.

               Treatment of Individual Claims Previously Resolved

               A.      Individual Claims Previously Settled but Unpaid

        If, prior to October 14, 2021, (i) an Individual Claimant submitted his/her Individual Claim
to the Debtor and/or J&J for settlement consideration, and thereafter (ii) reached an agreement
with Debtor and/or J&J to settle said Individual Claim at an amount certain, but (iii) the Debtor
and/or J&J were unable to process the related transfer of settlement funds before October 14, 2021,
then such Individual Claimant may choose to either: (i) submit his/her Individual Claim to the
Trust for evaluation pursuant to the procedures set forth in these TDP; or (ii) agree to accept the
amount certain that was previously agreed upon of his/her claim up to the Maximum Value allowed
under these TDP. In the event that an Individual Claim is submitted to the Trust pursuant to this
Section, the prior settlement agreement shall be immediately deemed null and void and relevant
Individual Claimant’s right to recover pursuant to such prior agreement waived.



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               B.      Individual Claims Previously Settled and Paid

        Any Individual Claimant that previously (i) reached a settlement with the Debtor or any of
its predecessors related to an Individual Claim, (ii) settled in principle subject to a Master
Settlement Agreement, (iii) submitted a release (with the exception of Individual Claims subject
to the preceding Section 4.1.2(A)), or (iv) received payment with respect to Individual Claim
his/her may not receive any additional payment from the Settlement Trust. Further, any Individual
Claim being submitted on behalf of or derivative of a previously released Individual Claimant may
not receive any additional payment from the Settlement Trust. As part of the establishment of the
Trust, the Debtor will provide the Trust and the Trustees with a list of all Individual Claimants
subject to this Section, their Identifying Information, and basic settlement information.

               C.      Claims Previously Rejected or Dismissed

        Any individual who filed an Individual Claim in any state or federal court prior to October
14, 2021, which was thereafter dismissed with prejudice shall not be eligible to recover any
payment whatsoever from the Trust. Individual Claims which were filed before October 14, 2021,
and thereafter either (i) dismissed without prejudice or (ii) rejected as ineligible under a Master
Settlement Agreement may be submitted to the Trust for evaluation pursuant to these TDP, but
shall be subject to heightened scrutiny by the Trustees and the Claims Administrator during their
evaluation.

               D.      Claims Otherwise Subject to Final Judgment

        Any individual who filed an Individual Claim in any state or federal court, and whose
Individual Claim was adjudicated and resulted in a final unfavorable judgment (e.g., a defense
verdict) shall not be eligible to recover any payment whatsoever from the Trust.

4.2    Submission Deadlines

               Deadline to Submit Existing Individual Claims to Trust

        Existing Individual Claimants must submit their Individual Claims to the Trust within one-
hundred twenty (120) days of the Trust’s distribution of its rules and submission procedures. If an
Individual Claimant fails to submit his/her Existing Individual Claim or seek a deferral pursuant
to Section 4.3.3 within this time period, such Individual Claimant shall be deemed to have waived
the right to submit his/her Existing Individual Claim or otherwise seek compensation from the
Trust pursuant to these TDP.

               Effect of Statutes of Limitations and Repose

               A.      Existing Individual Claims Previously Filed in Tort System

        For each Individual Claim submitted to the Trust that was filed in the tort system against
the Debtor and/or a Protected Party prior to October 14, 2021, to be considered timely and therefore
eligible to pursue compensation via the procedures set forth in Sections Article 4, the Individual
Claim must have been timely filed pursuant to the applicable federal or state statutes of limitations
and/or repose that were in effect at the time the related case was filed in the tort system.

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                B.      Unfiled Existing Individual Claims

        For each Existing Individual Claim submitted to the Trust that was not filed in the tort
system against the Debtor, J&J, and/or a Protected Party prior to October 14, 2021, to be
considered timely and therefore eligible to pursue compensation via the procedures set forth in
Article 4, the Individual Claim must not be time-barred under the applicable federal or state statute
of limitations and/or repose that are in effect at the time the Individual Claimant submits his/her
Individual Claim to the Trust. The applicable federal or state statute of limitations and/or repose
shall be deemed to have begun running as of the date that J&J publicly announced the
discontinuation of the sale of J&J Talc Products, which was May 19, 2020.

                C.      Tolling and Timeliness

                        (i)     Existing Individual Claims

        The running of the applicable statute of limitations or repose shall be considered tolled as
of the earliest of: (a) October 14, 2021; (b) the actual filing of a claim against Debtor, J&J, and/or
a Protected Party in the tort system prior to the October 14, 2021; or (c) the date specified in any
tolling agreement between the relevant Individual Claimant and the Debtor and/or J&J, provided
such tolling was still in effect as of April 4, 2023. Any Existing Individual Claim that meets any
of these three tolling provisions shall be treated as timely filed so long as (i) the claim was not
barred by the applicable federal or state statute of limitations or repose at the time of the relevant
tolling event, and (ii) the Submitted Claim is submitted to the Trust within one hundred twenty
(120) days after the Initial Filing Date.

                        (ii)    Future Individual Claims

         Any Individual Claim involving a Date of Diagnosis after June 1, 2023, irrespective of the
application of any relevant federal or state statute of limitations or repose, shall be treated as timely
filed if it is submitted to the Trust within three (3) years after (i) the Initial Filing Date, or (ii) the
relevant Date of Diagnosis, whichever is later.

4.3     Submission Procedures

                FIFO Processing Queue

         The Trust shall order all claims to be reviewed for processing purposes on a FIFO basis in
the order each Claim Submission is received, except as otherwise provided herein. For all
Individual Claims submitted to the Trust on or before the date that is one hundred and twenty (120)
days after the Initial Filing Date, an Individual Claimant’s position in the FIFO Processing Queue
shall be determined based on the earliest of (i) the date prior to the Petition Date that the Individual
Claimant filed a related case against Debtor, J&J, or any other Protected Party in the tort system;
(ii) the date prior to the Petition Date that the Individual Claimant filed a related case against
another defendant in the tort system, if at the time the related claim against was subject to a tolling
agreement with Debtor or J&J; (iii) the date the Individual Claim is submitted to the Trust; (iv) the
date after the Petition Date but before the Effective Date that a Proof of Claim was filed by the
Individual Claimant against the Debtor in the Debtor’s first chapter 11 case; and (v) the date a


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ballot was submitted on behalf of the Individual Claimant for purposes of voting to accept or reject
the Plan pursuant to voting procedures approved by the Bankruptcy Court.

        For all Individual Claims involving a Claim Submission submitted more than one hundred
and twenty (120) days after the Initial Filing Date, an Individual Claimant’s position in the FIFO
Processing Queue shall be determined based on the date that the Individual Claim was properly
and completely submitted to the Trust. If any Claim Submissions are filed on the same date, an
Individual Claimant’s position in the applicable FIFO Processing Queue vis-à-vis such other same-
day Claim Submissions shall be determined based on the alleged Date of Diagnosis for each, with
the earlier Date of Diagnosis having priority over the later. In the unlikely event that two or more
Individual Claims are submitted to the Trust on the same date and also have the same Date of
Diagnosis, the Individual Claimant with the earliest date of birth shall receive priority in the FIFO
Processing Queue over one with a later date of birth.

               Withdrawal of Submitted Claims

         An Individual Claimant may, at any time after submitting his/her Individual Claim to the
Trust, withdraw his/her Submitted Claim, by providing written notice to the Trust. The related
Individual Claimant shall retain the right to file a new Individual Claim after withdrawal of the
first; however, any such subsequent Claim Submission shall be evaluated the same as a new Claim
Submission and otherwise unrelated to the first, except that (i) it shall be subject to heightened
scrutiny by Claim Administrator, Claim Processor, and Trustees, and (ii) the Individual Claimant’s
place in the FIFO Processing Queue shall be determined only based on most recent date that the
Individual Claim was submitted to the Trust (i.e., the Individual Claim is moved to the end of the
queue).

               Deferral of Submitted Claims

       An Individual Claimant also may request that the Trust defer processing the his/her
Submitted Claim (a “Deferral Request”) so long as the Deferral Request (i) is made in writing
pursuant to any procedures adopted by the Trust for such requests, and (ii) is made before the date
the Trustees provides notice to the Individual Claimant either that his/her Submitted Claim is being
disallowed, or that the Submitted Claim is an Allowed Claim and of the Scheduled Value proposed
by the Claims Administrator.

        The Trust may not defer any Submitted Claim for longer than two (2) years from the date
the Individual Claim was submitted to the Trust, without such deferral affecting the status of the
Submitted Claim for statute of limitations or repose purposes. Any Individual Claimant who
makes a Deferral Request shall retain his/her original place in the applicable FIFO Processing
Queue until the earliest of (i) his/her written request that the Trust end the deferral and proceed
with processing the relevant Individual Claim, (ii) the expiration of the deferral, or (iii) two years
after the date the deferred Individual Claim was originally submitted to the Trust.

               Non-Responsive Individual Claimants

       Except for those Individual Claimants who (i) hold Submitted Claims as a representative
on behalf of a deceased or incompetent individual, and (ii) are required to obtain court approval
before accepting any Scheduled Value proposed by Trust, Allowed Claimants shall have one
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hundred eighty (180) days from the date an offer is made by the Trust to either accept, reject, or
request reconsideration of the offer pursuant to the terms of Section 6.1. In the event that an
Allowed Claimant fails to properly submit a Reconsideration Request or to provide written notice
to the Trust of his/her acceptance or rejection of the Trust’s offer, the Individual Claim shall be
deemed rejected, and the Individual Claimant shall not retain any right to re-submit his/her
Individual Claim or any other new Individual Claim to the Trust pursuant to these TDP or
otherwise.

               Submission Requirements

       Any Individual Claimants who wishes to submit his/her respective Individual Claim to the
Trust must satisfy the following applicable requirements with respect to the information and
documentation required to prove that the Individual Claim should be allowed pursuant to these
TDP. Regardless of the type of treatment sought, every Individual Claimant seeking compensation
from the Trust must include the following at the time of submission:

                1)   Citizenship/Residency: Proof that the Individual Claimant (and, to any extent
                     applicable, the minor, deceased, or incapacitated individual represented by
                     such Individual Claimant) is a United States citizen, a lawful permanent
                     resident of the United States, or a Canadian citizen;

                2)   Claimant Information: All claimant information required under the
                     Submission Procedures adopted by the Trust (the “Claimant Information”),
                     including but not limited to the Individual Claimant’s Identifying
                     Information.

                3)   Proof of Claim: A properly completed Form 410 (i.e., Proof of Claim form)

                4)   Claim Submission Form: A properly completed Claim Submission Form (the
                     template for which shall be attached to the Claim Submission Procedures
                     adopted by the Trust);

                5)   Retention Agreement: To the extent the Individual Claimant is represented by
                     counsel, a copy of the related retention agreement;

                6)   Talc Use Evidence: A sworn affidavit or other testimony establishing the
                     Individual Claimant’s use of any and all talc and talc-containing products
                     (including J&J Talc Products) that the Individual Claimant reasonably
                     believes is sufficient to satisfy the applicable Qualification Criteria or
                     Accelerated Claim Criteria pursuant to these TDP;

                7)   Lack of Asbestos Exposure: In the case of a Mesothelioma Claim a sworn
                     affidavit asserting the Mesothelioma Claimant does not allege any asbestos
                     exposure unrelated to use of talc-based products; and

                8)   Medical Evidence: Medical records that the Individual Claimant reasonably
                     believes is sufficient to (i) satisfy the applicable Qualification Criteria or
                     Accelerated Claim Criteria pursuant to these TDP, and (ii) provide the Claims

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                     Administrator with all information necessary to accurately determine the
                     appropriate Scheduled Value and Allowed Claim Amount.

        While the precise extent of medical records required by the above Submission
Requirements may vary from claim to claim, as well as generally, depending on the particular
types of Individual Claims involved, diseases alleged, and other factors relevant to the valuation
of Individual Claims pursuant to these TDP, in general, production of all pathology reports and
contemporaneous treatment records, along with records sufficient to establish an Individual
Claimant’s medical history, would be satisfactory for any Individual Claimant regardless of the
type of Individual Claim asserted or Evaluation Track elected. However, medical evidence that
does not include either a pathology report related to the Individual Claimant’s alleged disease or
treating physician’s detailed report as to the Individual Claimant’s pathologic diagnosis shall not
be deemed satisfactory evidence to establish a Qualifying Claim. Individual Claimants who are
unable to satisfy these requirements may, however, still be eligible to proceed under the
Accelerated Evaluation Process.

      Individual Claims that are substantially complete at the time of submission shall be deemed
Submitted Claims and be subjected to the Preliminary Evaluation Process set forth below.

               Disallowed Claims

        In the event that an Individual Claimant submits materials that are clearly insufficient (as
determined by the Claims Administrator) to satisfy the Submission Requirements, the Trustees
shall provide notice of each deficiency to such Individual Claimant and automatically defer the
related Submitted Claim for sixty (60) days (the “Deficiency Cure Period”), to ensure the
Individual Claimant a fair opportunity to cure any such deficiencies. If the Individual Claimant
fails to either supplement his/her Submitted Claim with materials sufficient to resolve any
deficiencies identified, or respond to the deficiency notice requesting further relief, the Submitted
Claim at issue shall be disallowed (the “Disallowed Claim”) and the Trustees shall provide notice
to the Individual Claimant of the same (the “Disallowed Claims Notice”).

       If the Trustees find that a Submitted Claim is a Disallowed Claim, the Trustees will not
perform the analysis pursuant to the Qualification Evaluation Process described below in Section
4.4.4. Individual Claimants shall have the ability to seek reconsideration of the Trustees’
determination set forth in the Disallowed Claim Notice as described in Article 6 herein.

4.4    Claim Evaluation Procedures

        To determine whether each Individual Claim submitted to the Trust is either (i) legally
valid and therefore should be allowed, or (ii) legally invalid and therefore should be disallowed,
the Claims Administrator, in conjunction with the Claims Processor, shall act according to the
following uniform procedures and guidelines to thoroughly and individually evaluate all related
Claim Submissions.

               FIFO Processing

       Individual Claims shall be processed based on their place or places in the applicable FIFO
Processing Queues based upon the election of an Evaluation Track. The Trust shall take all

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reasonable steps to resolve Individual Claims as efficiently and expeditiously as possible at each
stage of claims processing, including with respect to any Reconsideration Requests and/or ADR
Procedures, which steps may include, in the Trust’s sole discretion, conducting settlement
discussions with Representatives with respect to more than one Individual Claim at a time,
provided that the relevant Individual Claimants’ respective positions in the applicable FIFO
Processing Queues are maintained, and each Individual Claim is individually evaluated pursuant
to the valuation factors set forth in Article 7.

               Preliminary Evaluation of Claim Submissions

        Within sixty (60) days of each Individual Claim being submitted to the Trust and thereby
becoming a Submitted Claim, the Claims Administrator shall conduct a Preliminary Evaluation of
the related Claim Submission to determine whether:

               a)      the Submitted Claim was timely submitted to the Trust pursuant to Section
                       4.2;

               b)      the Submitted Claim has not previously been submitted to the Trust
                       pursuant to these TDP or otherwise (except for Individual Claims that were
                       submitted and later formally withdrawn pursuant to Section 4.3.2);

               c)      the Submitted Claim had not previously been resolved through litigation
                       and/or settlement involving a Protected Party; and

               d)      the Individual Claimant’s Proof of Claim and Claim Submission are
                       substantially and substantively completed and signed under penalty of
                       perjury.

        Submitted Claims that satisfy these four (4) preliminary criteria (the “Preliminary
Evaluation Criteria”) shall be deemed Confirmed Claims and thereafter routed to either the
standard Qualification Evaluation Process or the Accelerated Evaluation Process, as elected by the
Individual Claimant in his/her Claim Submission. Submitted Claims that fail to satisfy one or
more of the Preliminary Evaluation Criteria shall be disallowed and the Trust shall give notice to
the Individual Claimant of the disallowance.

        In the event that a Submitted Claim is disallowed because it was previously submitted to
the Trust with different independent counsel, the Trust shall provide notice to the related Individual
Claimant regarding the duplicative submission and such Claimant shall have thirty (30) days to
submit to the Trust a certification signed by himself/herself, and both independent counsel who
purported to represent the Individual Claimant for one of his/her Individual Submissions
confirming which counsel shall be representing the Individual Claimant with respect to the original
Submitted Claim and withdrawing any later Submitted Claim. If the Individual Claimant satisfies
this option, he/she may retain his/her place in the FIFO Processing Queue and the Individual Claim
may proceed through the evaluation processes set forth in these TDP. Failure to submit such
certification shall result in (i) the original Submitted Claim being indefinitely deferred pending
clarification from the Individual Claimant and his/her counsel as to who represents the Individual
Claimant and (ii) any later Submitted Claim being deemed withdrawn.


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               General Principles for Evaluation of Confirmed Claims

       For each Confirmed Claim, the Claims Administrator shall, in conjunction with the Claims
Processor, individually evaluate the related Claim Submission pursuant to the Individual
Claimant’s selected Evaluation Track to determine whether the Individual Claim should be
allowed. Regardless of the Evaluation Track selected, this process shall involve (i) a thorough
review and consideration of all the submitted Claims Materials, (ii) a full evaluation and
determination as to the credibility of such evidence, and (iii) determination as to whether such
evidence satisfies the substantive criteria for the applicable Evaluation Track.

        If the Claims Administrator verifies that a Confirmed Claim (i) satisfies the applicable
substantive criteria as set forth in this Section and (ii) the related Claim Materials are not deceptive
or fraudulent, then the Confirmed Claim shall be deemed an Allowed Claim. If, on the other hand,
the Claims Administrator verifies that (i) the relevant Claim Materials are not deceptive or
fraudulent, but (ii) the Confirmed Claim does not satisfy the applicable substantive criteria, then
the Claims Administrator has the discretion to either (i) disallow the claim, or, (ii) alternatively,
request supplemental evidence sufficient to resolve the deficiency from the Individual Claimant in
question.

        In the event, however, that the Claims Administrator determines that any portion of the
Claims Materials are deceptive or include fraudulent information, then such Individual Claim shall
be disallowed, and the Trustees shall provide the required notice of such disallowance to the related
Individual Claimant. Further, once any such disallowance becomes a final determination pursuant
to these TDP, the Trust may subject counsel for that Individual Claimant, to the extent such counsel
represents additional Individual Claimants that have submitted, or in the future submit, their
Individual Claims to the Trust, to heightened scrutiny, limitations, and/or any other penalties the
Trust determines are appropriate.

               Standard Qualification Evaluation Process

       For each Confirmed Claim electing to proceed under the standard Qualification Evaluation
Process, the Claims Administrator shall, in conjunction with the Claims Processor, thoroughly
review and evaluate the related Claim Submission to determine whether either the Ovarian Cancer
Qualification Criteria or the Mesothelioma Qualification Criteria, as applicable, are satisfied. If,
in undertaking this Qualification Evaluation Process, the Claims Administrator determines that a
Confirmed Claim satisfies the applicable Qualification Criteria, then such claim shall be deemed
a Qualifying Claim and may proceed to the valuation processes set forth in these TDP. Individual
Claimants who do not satisfy the applicable Qualification Criteria are non-qualifying claims under
these TDP and shall be disallowed.

               A.      Ovarian Cancer Qualification Criteria

       Individual Claimants who submit to the Trust an Ovarian Cancer Claim and satisfy the
following three (3) Ovarian Cancer Qualification Criteria shall be deemed Qualifying Ovarian
Cancer Claimants. Ovarian Cancer Claims that fail to satisfy these criteria are non-qualifying
claims under these TDP and shall be disallowed.



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                      1) Proof of Regular Perineal Use of J&J Talc Products: the Individual
                         Claimant consistently used J&J Talc Products in her perineal area after
                         puberty for a minimum of four (4) consecutive years (i.e., “Regular
                         Perineal Use”), and proves as much via sworn testimony or affidavit,
                         including the alleged dates of first and last use;

                      2) Proof of Injury: the Individual Claimant was newly diagnosed with a
                         Ovarian Cancer at least ten (10) years following her first post-pubertal
                         perineal use of J&J Talc Products; and

                      3) Timeliness: the Individual Claim was timely filed pursuant to the
                         submission deadlines set forth in Section 4.2.

               B.     Mesothelioma Qualification Criteria

       Individual Claimants who submit to the Trust a Mesothelioma Claim and satisfy the
following three (3) Mesothelioma Qualification Criteria shall be deemed Qualifying Mesothelioma
Claimants. Mesothelioma Claims that fail to satisfy these criteria are non-qualifying claims under
these TDP and shall be disallowed.

                      1) Proof of Use of J&J Talc Products: the Individual Claimant was
                         consistently used J&J Talc Products for a minimum of four (4)
                         consecutive years (i.e., “Regular Use”), and proves as much via sworn
                         testimony or affidavit;

                      2) Lack of Asbestos Exposure: the Individual Claimant has no known
                         history of exposure to asbestos and does not allege any asbestos
                         exposure unrelated to use of talc-based products;

                      3) Proof of Injury: the Individual Claimant was newly diagnosed with
                         malignant Mesothelioma (either pleural [except WDPM], peritoneal,
                         pericardial or testicular) at least ten years following his/her first use of
                         J&J Talc Products; and

                      4) Timeliness: the Individual Claim was timely filed pursuant to the
                         submission deadlines set forth in Section 4.2.

               Accelerated Evaluation Process

               A.     In General

        For each Confirmed Claim electing to proceed under the Accelerated Evaluation Process,
the Claims Administrator shall, in conjunction with the Claims Processor and with a focus on
efficiency, review and evaluate the related Claim Submission to determine whether the
Accelerated Evaluation Criteria are satisfied. If in doing so the Claims Administrator determines
that a Confirmed Claim satisfies the Accelerated Criteria, then such claim shall be deemed an
Approved Claim.


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               B.      Accelerated Claims Criteria

        Individual Claimants who submit to the Trust an Other Talc Claim and satisfy the following
three (3) Accelerated Claims Criteria shall be deemed Other Approved Claimants:

                       1) Proof of Use of J&J Talc Products: the Individual Claimant was
                          consistently exposed to J&J Talc Products for a minimum of four (4)
                          consecutive years (i.e., “Regular Use”), and proves as much via sworn
                          testimony or affidavit;

                       2) Lack of Asbestos Exposure: the Individual Claimant has no known
                          history of exposure to asbestos and does not allege any asbestos
                          exposure unrelated to use of talc-based products;

                       3) Proof of Injury: the Individual Claimant was newly diagnosed with a
                          Gynecological Cancer, Ovarian Cancer, or Mesothelioma at least ten
                          years following his/her first use of J&J Talc Products; and

                       4) Timeliness: the Individual Claim was timely filed pursuant to the
                          submission deadlines set forth in Section 4.2.


                           VALUATION OF ALLOWED CLAIMS

5.1    In General

         The Claims Administrator, in conjunction with the Claims Processor, shall identify and
utilize the appropriate multi-stage valuation process, as described in this Article, to determine the
Scheduled Value for every Allowed Claim under these TDP. These valuation processes
specifically are intended to be a direct continuation of the resolution process for Individual
Claimants, immediately upon determination of allowance pursuant to the standard Qualification
Evaluation Process or the Accelerated Evaluation Process. Promptly after determination of each
Allowed Claim’s Scheduled Value, the Trustees shall notify the related Individual Claimant of (i)
the determination that his/her Individual Claim is either a Qualifying Claim or Other Approved
Claim and (ii) the Scheduled Value determined as to the same pursuant to Sections 5.2 and 5.3,
below.

5.2    Determination of Scheduled Values for Qualifying Claims

               Qualifying Ovarian Cancer Claims

       Upon determination that an Ovarian Cancer Claim submitted to the Trust is a Qualifying
Claim, the Claims Administrator, in conjunction with the Claims Processor, shall undertake the
following seven (7) stage valuation process for any such Ovarian Cancer Claim that elected
evaluation under the Qualification Evaluation Process. This process requires the Claims
Administrator:



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                1)     To identify the initial Point Value based on the Individual Claimant’s age
                       at diagnosis and specific category of injury; then

                2)     To adjust that initial Point Value based on diagnostic disease subtypes; then

                3)     To further adjust that Point Value based on the length of use of J&J Talc
                       Products, if applicable; then

                4)     To reduce that Point Value based on the length of time between the end of
                       the Individual Claimant’s Regular Use and the relevant date of diagnosis, if
                       applicable; then

                5)     To further adjust that Point Value based on the frequency of use of J&J Talc
                       Products, if applicable; then

                6)     To further adjust that Point Value by a certain percentage discount based on
                       the existence of certain risk factors, if applicable; and finally

                7)     To further adjust the resulting Point Value based on the extent of the
                       Individual Claimant’s use of non-J&J Talc Products, if applicable

       Gynecologic Claims other than Ovarian Cancer claims shall only be eligible to receive a
Point Value based on the Accelerated Evaluation Process.

                A.     Initial Point Values

       The Initial Point Value for Qualifying Ovarian Cancer Claims, prior to the application of
any of the listed adjustments will be determined based on the Individual Claimant’s age at
diagnosis and stage of cancer as detailed below:

     Age at      Stage IV OR       Stage III (with         Stage III (no    Stage II   Stage I
   Diagnosis     Related Death      recurrence)          recurrence) OR
   (in years)                                            Stage I-II (with
                                                           recurrence)
   Under 45          260,000          230,000                150,000        90,000     25,000
   45-49             230,000          200,000                140,000        80,000     20,000
   50-54             200,000          180,000                130,000        75,000     17,500
   55-59             180,000          150,000                120,000        65,000     12,500
   60-64             140,000          115,000                 80,000        50,000     10,000
   65-69             100,000          80,000                  50,000        40,000      7,500
   70+                65,000          50,000                  40,000        25,000      5,000

                B.     Point Value Adjustment Factors

       Each Individual Claimant’s initial Point Value will then be adjusted by a series of
multiplicative factors to determine the Claim-specific Point Value.



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       The standard Point Value for all claims is the value of a qualifying serous carcinoma (i.e.,
“100%”), and claims of other types are treated as being worth a percentage of whatever that
standard Point Value is.
                                                                                                          Point Value
                  Ovarian Cancer Diagnostic Subtypes                                                 (as a percentage of a
                                                                                                 qualifying serous carcinoma)
    Serous Carcinoma                                                                                         100%
    Endometrioid Carcinoma                                                                                    90%
    Clear Cell Carcinoma                                                                                      75%
    Mixed Epithelial Carcinoma                                                                             See below
        − Each subtype identified is a qualifying subtype                                                    100%
             (e.g., serous with clear cell)
        − Primary subtype is a qualifying subtype (i.e.,
             serous, endometrioid, clear cell) but other                                                             65%
             subtypes are non-qualifying
             (e.g., serous with mucinous)
    Undifferentiated Epithelial Carcinoma                                                                           100%
    Ovarian Carcinoma with Epithelial Component of
    Unknown or Unidentified Subtype                                                                                  50%
    (e.g., “ovarian adenocarcinoma”)
    Borderline Ovarian Tumors with Serous, Endometrioid,                                                             30%
    or Clear Cell Subtypes

                      C.          Talc Use and Risk Factor Reductions

                                  (i)        Step I Reductions: Length of J&J Talc Use

        The Claim-specific Point Value established by the above process shall be adjusted based
on the length of time an Individual Claimant regularly used J&J Talc Products. Specifically, the
Claim-specific Point Value shall be reduced proportional to the Years of Regular Perineal J&J
Talc Use relative to the Maximum Years of Regular Perineal J&J Talc Use. For purposes of this
valuation process, “Years of Regular Perineal J&J Talc Use” shall be defined as the lesser of (i)
the number of full years of Regular Perineal J&J Talc Use after the Individual Claimant reached
puberty 1, or (ii) 40 years. Similarly, the Maximum Years of Regular Perineal J&J Talc Use is
defined as the lesser of (i) 40 years or (ii) the number of years elapsed between puberty and the
Individual Claimant’s Date of Diagnosis.

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This reduction factor shall be referred to as the “Length of Use Factor” and, as defined, cannot be
less than 0.0 or exceed 1.0.


1
 For purposes of evaluating claims pursuant to these TDP, an Individual Claimant shall be assumed to have reached
puberty on her thirteenth birthday.

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                          (ii)     Step II Reductions: Time Since Last Use

      Next, the Claim-specific Point Value shall be further adjusted based on the length of time
between the Individual Claimant’s last daily perineal use of J&J Talc Products and Date of
Diagnosis, as set forth in the following table:

     Time Since Last Regular Use                                        Reduction of Point Value
     0 to <5 years since last daily use                                           0%
     5 to <30 years since last daily use                                     2% per year 2
     30+ years since last daily use                                              55%

This reduction factor shall be referred to as the “Time Since Last Use Factor” and, as defined,
cannot be less than 0.0 or exceed 1.0.

                          (iii)    Step III Reductions: Less than Regular Use

        Next, the Claim-specific Point Value as established by the other factors shall be further
reduced by the Less Than Daily Use Factor if Individual Claimant’s use of J&J Talc Products is
less frequent than daily. The Less Than Daily Use Factor is based on the relative frequency with
which the Individual Claimant used J&J Talc Products through his/her years of use and will be
calculated based on the table below:

                      Frequency of Regular Use             Reduction of Point Value
                      Daily Use                                      0%
                      Weekly Use                                    50%
                      Monthly Use                                   95%

This reduction factor shall be referred to as the “Less Than Daily Use Factor” and, as defined,
cannot be less than 0.0 or exceed 1.0.

                          (iv)     Step IV Reductions: Medical Risk Factors

        Next, the Pre-Risk Point Value as established by above process shall be further reduced
based on the Individual Claimant’s family history and genetic predisposition to Ovarian Cancer,
based on the table below. Only the greatest of the reductions for applicable Step IV risk factors
shall apply. For avoidance of doubt, discounts within this factor itself are not cumulative (i.e., if
a claimant has BRCA 1 as well as a family history of ovarian cancer, the total reduction is 45%,
not 80%).

               Risk Factor                                         Reduction of Point Value
               BRCA 1 or BRCA 2                                             45%
               Family Hx of ovarian cancer                                  35%
               (in 1st degree relative)


2
 For avoidance of doubt, an Individual Claimant who was diagnosed with a qualifying disease 11 years after her last
Regular Use of J&J Talc Products would be subject to a discount of (11 – 5) x 2% = 12%.

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             Personal or family history (in 1st degree                                              20%
             relative) of colon or breast cancer

This reduction factor shall be referred to as the “Medical Risk Factor” and, as defined, cannot be
less than 0.0 or exceed 1.0.

                           (v)          Step V Reductions: Non-J&J Talc Use

        Next, the Point Value established by the above process shall be further reduced based on
an Individual Claimant’s Regular Perineal Use of Non-J&J Talc Products (if applicable and
established by affidavit or legal pleadings).

     Discounts                                                                          Reduction of Point Value
     Other Talc Use                                                                                25%
     (applies only if Individual Claimant regularly used                            (increasing to the total percentage
     a non-J&J Talc Product in her perineal area for a                              of other non-J&J Talc Product use
     period of greater than 4 years)                                                     in pleadings or affidavit)

This reduction factor shall be referred to as the “Non-J&J Talc Use Factor” and, as defined, cannot
be less than 0.0 or exceed 1.0.

               D.          Scheduled Value

        Each Individual Claimant’s Scheduled Value shall be determined based on his/her Claim-
specific Point Value as adjusted by each of the reduction factors described in Steps I–V, as follows:
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                                       × (1 − 𝐽𝐽&𝐽𝐽 𝑇𝑇𝑇𝑇𝑇𝑇𝑇𝑇 𝑈𝑈𝑈𝑈𝑈𝑈 𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹 𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅)
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                                       × (1 − 𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀 𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅 𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹 𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅)
                                       × (1 − 𝑁𝑁𝑁𝑁𝑁𝑁 𝐽𝐽&𝐽𝐽 𝑇𝑇𝑇𝑇𝑇𝑇𝑐𝑐 𝑈𝑈𝑈𝑈𝑈𝑈 𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹 𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅)
         The Scheduled Value shall not exceed the Maximum Value, and shall not be less than 1,000
points. In the event that this valuation process results in an amount above the Maximum Value,
the Scheduled Value for the Individual Claimant shall be equal to the Maximum Value. Likewise,
if this valuation process results in an amount below 1,000 points, then the Scheduled Value shall
be equal to 1,000 points.

               Qualifying Mesothelioma Claims

        Upon determination that an Individual Claim submitted to the Trust is a Qualifying
Mesothelioma Claim, the Claims Administrator, in conjunction with the Claims Processor, shall
undertake the following five (5) stage valuation process for any such Mesothelioma Claim that
elected evaluation under the Qualification Evaluation Process. This process requires the Claims
Administrator:



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                     1) To identify the initial Point Value based on the Individual Claimant’s
                        age at diagnosis; then

                     2) To adjust that initial Point Value based on diagnostic disease subtypes;
                        then

                     3) To further adjust that Point Value based on length of use of J&J Talc
                        Products, if applicable; then

                     4) To reduce that Point Value based on the frequency of use of J&J Talc
                        Products, if applicable; and finally

                     5) To further adjust the resulting Point Value based on the extent of the
                        Individual Claimant’s use of non-J&J Talc Products, if applicable.

              A.     Initial Point Value

       The initial Point Value for Qualifying Mesothelioma Claims, prior to the application of
any of the listed adjustments will be determined based on the Individual Claimant’s age at
diagnosis as detailed below:

                                  Age at         Mesothelioma
                                Diagnosis
                             Under 45                500,000
                             45-49                   450,000
                             50-54                   400,000
                             55-59                   350,000
                             60-64                   300,000
                             65-69                   200,000
                             70+                     100,000

              B.     Point Value Adjustment Factors

       Each Qualifying Mesothelioma Claimant’s Point Value will then be adjusted by a series of
multiplicative factors to determine the appropriate Claim-specific Point Value.
        The standard Point Value for all Qualifying Mesothelioma Claims is the value of a
qualifying pleural mesothelioma (i.e., “100%”), and claims of other types are treated as being
worth a percentage of whatever that standard Point Value is.

                                                             Point Value
                        Diagnostic Subtypes             (as a percentage of a
                                                         qualifying Pleural
                                                           Mesothelioma)
                Pleural Mesothelioma (non-WDPM)                 100%
                Peritoneal Mesothelioma                          75%
                Pericardial Mesothelioma                         10%
                Testicular Mesothelioma                          10%

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                 C.          Talc Use & Risk Factor Reductions

                             (i)         Step I Reductions: J&J Talc Use

        The Claim-specific Point Value established by the above process shall be adjusted based
on the length of time an Individual Claimant regularly used J&J Talc Products. Specifically, the
Claim-specific Point Value shall be reduced proportional to the Years of Regular J&J Talc Use
relative to the Maximum Years of Regular J&J Talc Use. For purposes of this valuation process,
“Years of Regular J&J Talc Use” shall be defined as the lesser of (i) the number of full years of
Regular J&J Talc Use after the Individual Claimant reached puberty 3, or (ii) 40 years. Similarly,
the Maximum Years of Regular J&J Talc Use is defined as the lesser of (i) 40 years or (ii) the
number of years elapsed between puberty and the Individual Claimant’s Date of Diagnosis.

                                                                      (𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌 𝑜𝑜𝑜𝑜 𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑙𝑙𝑙𝑙𝑙𝑙 𝐽𝐽&𝐽𝐽 𝑇𝑇𝑇𝑇𝑇𝑇𝑇𝑇 𝑈𝑈𝑈𝑈𝑈𝑈)
               𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅 𝑜𝑜𝑜𝑜 𝑃𝑃𝑃𝑃𝑃𝑃𝑃𝑃𝑃𝑃 𝑉𝑉𝑉𝑉𝑉𝑉𝑉𝑉𝑉𝑉 = 1 −
                                                                     (𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀 𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌 𝑜𝑜𝑜𝑜 𝐽𝐽&𝐽𝐽 𝑇𝑇𝑇𝑇𝑇𝑇𝑇𝑇 𝑈𝑈𝑈𝑈𝑈𝑈)

The J&J Talc Use Reduction of Point Value factor shall not exceed 1.0, and shall not be less than
0.0.

                             (ii)        Step II Reductions: Less than Regular Use

        Next, the Claim-specific Point Value as established by the other factors shall be further
reduced if the Individual Claimant’s use of J&J Talc Products is less frequent than daily based on
the relative frequency with which the Individual Claimant used J&J Talc Products through his/her
years of use and will be calculated based on the table below:

                        Frequency of Regular Use                          Reduction of Point Value
                        Daily Use                                                   0%
                        Weekly Use                                                 50%
                        Monthly Use                                                95%

This reduction factor shall be referred to as the “Less Than Daily Use Factor” and, as defined,
cannot be less than 0.0 or exceed 1.0.

                             (iii)       Step III Reductions: Non-J&J Talc Use

        Next, the Point Value established by the above process shall be further reduced based on
an Individual Claimant’s Regular Use of Non-J&J Talc Products (if applicable and established by
affidavit or legal pleadings).

                  Discounts                                   Reduction of Point Value
                  Other Talc Use                                          25%
                                                      (increasing to the total percentage of other
                                                     talcum powder use in pleadings or affidavit)

3
 For purposes of evaluating claims pursuant to these TDP, an Individual Claimant shall be assumed to have reached
puberty on her thirteenth birthday.

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This reduction factor shall be referred to as the “Non-J&J Talc Use Factor” and, as defined, cannot
be less than 0.0 or exceed 1.0.

               D.          Scheduled Value

        Each Individual Claimant’s Scheduled Value shall be determined based on his/her Claim-
specific Point Value as adjusted by each of the reduction factors described in Steps I–III, as
follows:
              𝑆𝑆𝑆𝑆ℎ𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒 𝑉𝑉𝑉𝑉𝑉𝑉𝑉𝑉𝑉𝑉
                                       = (𝐼𝐼𝐼𝐼𝐼𝐼𝐼𝐼𝐼𝐼𝐼𝐼𝐼𝐼 𝑃𝑃𝑃𝑃𝑃𝑃𝑃𝑃𝑃𝑃 𝑉𝑉𝑉𝑉𝑉𝑉𝑉𝑉𝑉𝑉) × (𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷 𝐴𝐴𝐴𝐴𝐴𝐴𝐴𝐴𝐴𝐴𝐴𝐴𝐴𝐴𝐴𝐴𝐴𝐴𝐴𝐴)
                                       × (1 − 𝐽𝐽&𝐽𝐽 𝑇𝑇𝑇𝑇𝑇𝑇𝑇𝑇 𝑈𝑈𝑈𝑈𝑈𝑈 𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹 𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅)
                                       × (1 − 𝐿𝐿𝐿𝐿𝐿𝐿𝐿𝐿 𝑇𝑇ℎ𝑎𝑎𝑎𝑎 𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷 𝑈𝑈𝑈𝑈𝑈𝑈 𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹 𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅)
                                       × (1 − 𝑁𝑁𝑁𝑁𝑁𝑁 𝐽𝐽&𝐽𝐽 𝑇𝑇𝑇𝑇𝑇𝑇𝑇𝑇 𝑈𝑈𝑈𝑈𝑈𝑈 𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹 𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅)
         The Scheduled Value shall not exceed the Maximum Value, and shall not be less than 1,000
points. In the event that this valuation process results in an amount above the Maximum Value,
the Scheduled Value for the Individual Claimant shall be equal to the Maximum Value. Likewise,
if this valuation process results in an amount below 1,000 points, then the Scheduled Value shall
be equal to 1,000 points.

5.3    Scheduled Values for Approved Accelerated Claims

       Upon determination that an Individual Claim submitted to the Trust is an Other Approved
Claim, the Claims Administrator, in conjunction with the Claims Processor, shall determine the
Scheduled Value for any such Other Approved Claim, as follows:

               Individual Claims Which Could Have Appropriately Elected to Proceed
               Under the Qualification Evaluation Process

       If an Individual Claimant could have appropriately elected to submit his/her Individual
Claim to the Trust pursuant to the standard Qualification Evaluation Process, but for whatever
reason chose to instead to elect the Accelerated Evaluation Process, the resulting Other Approved
Claim shall have a Scheduled Value of 1,000 points.

               Canadian Claims

        Other Approved Claims that involve an Individual Claimant who is not a citizen or legal
permanent resident of the United States, but who is a citizen or legal permanent resident of Canada,
shall have a Scheduled Value of 500 points.

               Other Allegedly Talc-Related Diseases

       Other Approved Claims that involve an Individual Claimant who was diagnosed with
Mesothelioma or Ovarian Cancer but nonetheless elected to proceed via the Accelerated
Evaluation Process shall have a Scheduled Value of 500 points.



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                   RECONSIDERATION REQUESTS & ADR PROCEDURES

6.1      Reconsideration of Determination

                  Requirements for Reconsideration Requests

         An Individual Claimant may submit a request to the Trust that the Trustees reconsider any
initial determination (a “Reconsideration Request”) (i) that the Individual Claimant’s Submitted
Claim is a Disallowed Claim (regardless of the stage of the resolution process pursuant to these
TDP that this determination occurred), or (ii) of the applicable Scheduled Value for the relevant
Allowed Claim. Each Reconsideration Request must include:

                  a)       A completed Reconsideration Form, the template for which shall be
                           designed and adopted by the Trustees and included as an Exhibit to the
                           Submission Procedures;

                  b)       Payment of five hundred dollars ($500) as an administrative reconsideration
                           fee, in the form of either check, money order, or via any electronic payment
                           process deemed acceptable by the Trustees; and

                  c)       At the requesting Individual Claimant’s discretion, further evidence in
                           support of the relevant Submitted Claim.

                  Forfeiture of Right to Request Reconsideration

        Individual Claimants found to have submitted deceptive or fraudulent information or
documents to the Trust shall be deemed to have forfeit their right to request reconsideration
pursuant to these TDP. Similarly, where the Trust has determined that deceptive or fraudulent
information was submitted in support of an Individual Claim, counsel for that Individual Claimant
at the time of such submission shall be deemed to have forfeit the right for other Individual
Claimants also represented by the same counsel to request reconsideration pursuant to these TDP. 4

                  Failure to Request Reconsideration Deemed Acceptance

         The deadline to submit a Reconsideration Request shall be fifteen (15) days after written
notice of the determination at issue is given pursuant to these TDP. Any Individual Claimant who
fails to properly submit a Reconsideration Request to the Trust within this fifteen (15) deadline
shall be deemed to accept the original determination of the Claims Administrator, which
determination shall become final and non-appealable.



4
  As an exception to this provision, where an Individual Claimant’s counsel was unaware that information or
documents later determined to be deceptive or fraudulent were included in the Individual Claimant’s submissions to
the Trust, and is the party responsible for discovering the deception or fraudulent nature of the submissions, brings
the deception or fraudulent information to the attention of the Trust, and withdraws representation of said Individual
Claimant, the counsel at issue shall not be deemed to have forfeit future rights to request reconsideration for other
Individual Claimants.

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               Reconsideration Request Procedures

        Upon receipt of a properly submitted Reconsideration Request, the Trustees shall proceed
with an independent evaluation of the Individual Claim and specific determination in question.
Within fifteen (15) days of receiving a Reconsideration Request, the Trustees shall provide written
notice to the requesting Individual Claimant as to the outcome of the Trustees’ independent
evaluation, which may either be to maintain or revise the Claims Administrator’s original
determination or, alternatively to request supplemental information and/or materials necessary to
reach a final conclusion.

        The Trustees’ decision to affirm or revise the Claims Administrator’s original
determination shall be binding and non-appealable. To the extent that the Trustees determine that
a Submitted Claim is, upon reconsideration, an Allowed Claim or should receive a higher proposed
Scheduled Value, the Trustees shall return the administrative fee to the relevant Individual
Claimant. If, however, the Trustees decide that no change to the Claims Administrator’s original
determination is warranted, that the Allowed Claim should receive a lower proposed Scheduled
Value, or that insufficient information was provided by the Individual Claimant to reach a different
conclusion at the time, then the administrative fee shall not be returned. Only in the event that the
Trustees affirm the original determination at issue shall the requesting Individual Claimant pursue
any further remedy pursuant to the ADR Procedures set forth below.

6.2    Post-Reconsideration Litigation

        Individual Claimants who have exhausted their Reconsideration Request rights pursuant to
Section 6.1 shall retain the right to institute a lawsuit in the tort system against the Trust in the
Claimant’s Jurisdiction, as defined by these TDP. Such lawsuit may not name the Debtor, Payor,
or any Protected Party and must only be filed against the Trust as defendant. Any such lawsuit
must be filed by the Individual Claimant in his/her own right and name and not as a member or
representative of a class, and no such lawsuit may be consolidated with any other lawsuit. Both
the Individual Claimant and the Trust shall have all appropriate defenses available to them
(including, with respect to the Trust, all defenses which could have been asserted by any Protected
Party). Further, the Trust may use any and all information and/or materials submitted to the Trust
by the Individual Claimant in its defense of any lawsuit in the tort system, including evidence of
deceptive or fraudulent behavior. In the event that the Individual Claimant does not prevail at trial
or prevails but is awarded a judgment less than the Allowed Claim amount offered by the Trust,
the Individual Claimant shall be responsible for reimbursing the Trust for all attorney fees and
costs the Trust incurred in defending against the Individual Claimant’s lawsuit.

        In the event an Individual Claimant elects to pursue a lawsuit pursuant to this Section which
results, after waiver and/or exhaustion of any party’s rights of appeal, in a final judgment for
monetary damages, then such Individual Claimant shall be eligible for payment of the portion of
such judgment that constitutes compensatory damages through the Trust, up to the Maximum
Amount for such Individual Claim pursuant to these TDP. Payment of such judgment shall be
processed in the same manner as payments made to Individual Claimants who accepted the Claims
Administrator’s original Scheduled Value determined and proposed for their Allowed Claims,
pursuant to Section Article 5, except that upon reaching the front of the FIFO Processing Queue,
the Settlement Trust shall distribute to the Individual Claimant only an initial payment equal to

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Trust’s last offer, if any, to the Individual Claimant (provided, however, that in no event shall such
payment amount exceed the amount of the judgment obtained in the tort system). The balance of
the judgment, up to the Maximum Value for the Individual Claim, if any, shall be paid to the
Individual Claimant in five (5) equal installments in years six (6) through ten (10) following the
year of the initial payment. Under no circumstances shall any non-compensatory monetary
damages or any interest be paid under any statute on any judgments obtained in the tort system.


                        INDIVIDUAL CLAIMS PAYMENT PROCESS

7.1    Points-Based Monetary Values

               Uncertainty of Debtor’s Talc Liabilities

         Litigation arising from the use of talc or talc-containing products is a relatively new mass
tort and there is inherent uncertainty regarding the aggregate value of the Debtor’s total talc-related
liabilities. As a result of this uncertainty, in undertaking to ensure substantially equitable treatment
of all similar Existing and Future Claims, the Trustees must from time to time determine the per-
point dollar value of the points used to value Individual Claims under these TDP (the “Point
Value”).

               Description & Application of Points Valuation System

               A.      In General

        Promptly after the Trust is established, the Trustees, with the consent of the Payor, the
TAC, and the FCR, shall establish an initial Point Value for Individual Claims (the “Initial Point
Value”). This Initial Point Value shall be calculated on the basis of the initial trust claim
submissions, an estimate of future submissions, and the claim valuation procedures outlined in
these TDP. The Trust was established with the goal of achieving a Point Value of one dollar ($1)
per point and the Debtors believe the Initial Point Value will be between fifty cents ($0.50) and
two dollars ($2) per point. Given the uncertainty associated with Individual Claims, and in
recognition of the fact that the Trust may increase the Point Value in the future, the Trust shall
take a conservative posture in setting the Initial Point Value, and may set a separate Point Value
for Mesothelioma and Ovarian Cancer claims.

        The totality of the Individual Claims to be paid over time pursuant to these TDP is not
certain. In particular, the number and type of Existing Claims, as well as the stage, age, and other
key characteristics, are still unknown at this time. The Claim Submissions will provide
information on these factors for Existing Claims which will allow the Trust to better assess the
Point Value that can be paid for each awarded point. Further, there is also some uncertainty
surrounding the value of the Trust’s assets in the future. If the value of the Trust’s future assets
increases materially and/or if the value or volume of Individual Claims actually filed with the Trust
is materially lower than originally estimated, the Trust shall use the increase in Trust assets
available first to maintain the Point Value then in effect.




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               B.      Supplemental Payments Owed Due to Increases to the Point Value

        If the Trustees, after consultation with the TAC and the Payor, and with the consent of the
FCR, determines that an increase to the Point Value is warranted due to a material change in the
estimates of the Trust’s future assets and/or liabilities, the Trustees shall also make supplemental
payments to Individual Claimants and Indirect Claimants who previously liquidated their Allowed
Claims against the Trust and received payments based on a lower Point Value; provided, however,
that no additional supplemental payments will be made to any Individual Claimant who previously
has already received one such supplemental payment. The amount of any supplemental payment
shall be the liquidated value of the Allowed Claim in question multiplied by the newly adjusted
Point Value, less all amounts previously paid by the Settlement Trust with respect to that Allowed
Claim.

        The Settlement Trust’s obligation to make a supplemental payment to any Individual
Claimant shall be suspended in the event the payment in question would be less than one hundred
dollars and zero cents ($100.00), and the amount of the suspended payment shall be added to the
amount of any prior supplemental payment(s) also suspended because they would have been less
than one hundred dollars and zero cents ($100.00). The Settlement Trust’s obligation to make a
previously suspended supplemental payment shall resume when the payment in question is equal
to or greater than one hundred dollars and zero cents ($100.00).

               C.      Determination of Value

        The Trustees shall base its determination of the Point Value on (i) current estimates as to
the number, types, and Scheduled Values determined for Existing Claims and Future Claims, (ii)
the value of the assets available to the Trust for payment of Allowed Claims, (iii) all anticipated
administrative and legal expenses, and any other matters that are reasonably likely to affect the
sufficiency of funds to pay on an equal application of the TDP methodology to all Existing
Claimants and Future Claimants based on the points awarded to each Individual Claimant. When
making these determinations, the Trustees shall evaluate all relevant factors to determine a
conservative Point Value with the goal of assuring that the Trust will be able to treat all similar
Existing and Future Claims in a similar manner.

         The Point Value shall be subject to change pursuant to the terms of these TDP and the Talc
Personal Injury Trust Agreement. The Trustees shall review the then-applicable Point Value as it
deems necessary to assure that it is based on accurate, current information, and shall compare the
liability forecast on which the then-applicable Point Value was based with the actual claims
submission and payment experience of the Trust to date, and the projected assets of the Trust on
which the then-applicable Point Value was based with the current assets, and any updated
projections of asset values, of the Trust and Future Claims. If the results of the comparisons call
into question the ability of the Trust to rely upon the current liability and asset forecasts, the
Trustees may, if necessary, propose a change in the Point Value. Any change is the Point Value
must be approved by the TAC, the FCR, and the Payor.




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7.2    General Guidelines for Liquidating & Paying Allowed Claims

               Documentation Requirements

               A.        Acceptance & Release

        Individual Claimants who decide to accept an offer of payment from the Trust based on
the proposed Scheduled Values for their Allowed Claims shall complete and execute the applicable
acceptance and release form to be adopted by the Trust with the consent of the TAC and FCR (the
“Acceptance and Release”). The standard Acceptance and Release form provided to Qualifying
Claimants and Other Approved Claimants shall include a release of all claims against Debtor,
which is discharged, the Payor, and the Protected Parties, to the extent any such claims arise from
or are related to the accepting Individual Claimant’s alleged use of J&J Talc Products and resulting
injury. The Acceptance and Release form shall be filed as a supplemental exhibit to these TDP
prior to the Initial Filing Date and included with in the distribution of the Submission Procedures,
As an exception, however, the Acceptance and Release form provided to Individual Claimants
seeking payment of a judgment obtained in the tort system pursuant to the procedures described in
Section 6.2 of these TDP shall explicitly provide that the Individual Claimant is releasing the
Trust’s liability in respect of other Protected Parties. The applicable Acceptance and Release shall
be available for completion electronically and may be executed by the accepting Individual
Claimant or his/her legal Representative via Adobe Sign or DocuSign, or a similar authorized
electronic signature program, or such other simplified and expedient means that the Trust, with the
consent of the TAC and FCR, may adopt.

               B.        Documents Establishing Legal Representation

        Individual Claimants asserting an Individual Claim on behalf of a minor, incapacitated, or
deceased person, must, before any funds related to such Allowed Claim may be distributed from
the Settlement Trust, submit to the Trust appropriate documentation confirming the Allowed
Claimant’s legal authority to resolve the Individual Claim on behalf of the minor, incapacitated,
or the deceased person and his/her estate.

               Offsets

        The Trust shall have the right to offset or reduce payment of an Allowed Claim Amount,
on a dollar for dollar basis based on any amounts paid, agreed upon, or reasonably likely to be paid
to the relevant Individual Claimant on account of his/her Individual Claim as against a Protected
Party (or that reduces the liability thereof under applicable law) from any source other than the
Trust.

7.3    Payment of Claims

               Allowed Claim Amounts Held in Escrow

        Promptly upon receipt of an Individual Claimant’s properly executed Acceptance and
Release, the final Allowed Claim Amount for the released Allowed Claim shall be set aside and
held in escrow within the Settlement Trust pending the final resolution of various administrative
issues involving the resolution of the Individual Claim including, but not limited to issues related

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to probate, guardianship, personal bankruptcy filings, lien resolution issues, and duplicate sign-up
issues.

               Payment of Allowed Claims

        Once all applicable administrative issues related to an Individual Claimant’s acceptance of
his/her Allowed Claim Amount are resolved, the Trustees shall transfer to the Individual Claimant
his/her Net Award Amount (i.e., the total Allowed Claim Amount, less amounts required to satisfy
liens and less any attorney’s fees and litigation expenses born by the Individual Claimant’s
counsel.

               Payment of Legal Fees

       Pursuant to these TDP, for any Individual Claimants represented by independent counsel,
payment of contingency fees to such independent counsel shall be 25% of the Allowed Claim
Amount, unless the Individual Claimant or his/her counsel submits materials to the Trust
documenting a contingency fee arrangement of less than 25%, in which case attorney’s fees paid
to counsel shall be the documented percent of the Allowed Claim Amount. The remainder of the
Allowed Claim Amount (generally 75%), less any amount required for payment of the Individual
Claimant’s liens, shall be paid directly to the Individual Claimant. The intent of allowing
attorney’s fees at 25% is to maximize the amount of funds available to pay Individual Claimants.
For any Individual Claimants representing themselves on a pro-se basis who accept an Allowed
Claim Amount offered by the Trust, 100% of the Allowed Claim Amount, less any funds required
for payment of liens, shall be paid directly to the Individual Claimant.

        The Trust, however, recognizes that Existing Claimants with a Date of Diagnosis prior to
the Petition Date may have contracted with their counsel for contingency fee payments in excess
of 25%. Accordingly, in the event that counsel for such Existing Claimants produces a valid
contingency fee agreement entered into with the relevant Individual Claimant prior to the Petition
Date with a contracted upon contingency rate above 25%, the Trust shall honor the such prior fee
arrangement. Under no circumstances, however, shall any counsel for an Individual Claim
involving a Date of Diagnosis postdating the Petition Date be paid a contingency fee in excess of
25% of the Liquidated Value of the claim.

        Attorneys seeking to represent Individual Claimants are or should be aware of this cap
when agreeing to represent such Individual Claimants. Notably, in light of these TDP procedures
and the proposed trust funding, the representation of Future Claims is subject to different (lesser)
risk than the representation of Existing Claims.

        For those Individual Claimants represented by counsel with respect to their Allowed
Claims, the Settlement Trust shall only pay attorneys’ fees or expenses to the attorneys and/or law
firms named in the Individual Claimants’ client retention agreements with their counsel. For
avoidance of doubt, no payments may be made to any attorney not specifically identified on such
agreement. Further, this Plan and these TDP do not contemplate any common benefit fund
obligations for Allowed Claim Amounts paid by the Settlement Trust. As such, no common
benefit fees or costs shall be deducted from Allowed Claim Amounts or paid by the Settlement



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Trust, regardless of whether the Allowed Claim Amount was awarded via the procedures set forth
in the TDP or outside of the bankruptcy, via the tort system.

7.4    Payment Processing

               FIFO Payment Processing

        Individual Claims that have been liquidated in accordance with the terms herein shall be
paid from the Settlement Trust in FIFO order based on the date that they accepted an offer from
the Trust and their liquidation became final, all such payments being subject to the applicable, the
applicable Maximum Payment, and sequencing adjustment provided for in below, and as otherwise
provided herein (the “FIFO Payment Queue”).

        For those Individual Claimants who (i) hold Qualifying Claims or Other Approved Claims
as a representative on behalf of a deceased or incompetent individual, and (ii) are required to obtain
court or other probate approval before accepting any Scheduled Value proposed by Trust, the
Individual Claim shall retain its position in the FIFO Payment Queue so long as the as proceedings
to obtain such approval remain pending, and provided that the Individual Claimant has provided
the Trust with evidence that the proposed Allowed Claim Amount has been submitted to such court
or in that probate process for approval. If the Individual Claimant ultimately obtains the required
court or probate approval and a properly completed Acceptance and Release is submitted to the
Trust, the Settlement Trust shall pay the Allowed Claim Amount offered, accepted, and approved.

        In the event that any Allowed Claims are liquidated on the same date, each Individual
Claimant’s position in the applicable FIFO Payment Queue shall be determined by his/her relevant
Date of Diagnosis, with the earlier diagnosis having priority over the later diagnosis. In the
unlikely event that any Allowed Claims are liquidated on the same date and also have the same
relevant Date of Diagnosis, those Individual Claimants’ positions in the FIFO Payment Queue
shall be determined by the Trust based on the such Individual Claimants’ dates of births, with older
claimants given priority over younger claimants.

               Discretion to Vary the Order & Amounts of Payments in Event of Limited
               Liquidity

       Consistent with the provisions hereof and subject to the FIFO Processing Queue, FIFO
Payment Queue, and applicable Maximum Payments, the Trustees shall proceed as quickly as
possible to liquidate Allowed Claims and shall promptly make payments to relevant Individual
Claimants in accordance with these TDP on an ongoing basis, as funds become available and as
Individual Claims are liquidated, while maintaining sufficient resources to pay Future Claimants
who submit Individual Claims that are determined to be Allowed Claims in substantially the same
manner.

        Because the Trust’s assets and liabilities over time remain uncertain, and decisions about
payments must be based on estimates that cannot be made precisely, such decisions may have to
be revised in light of experiences over time, and there can be no guarantee of any specific level of
payment to Individual Claimants. The Trustees shall, however, use their best efforts to treat similar
Individual Claims in substantially the same manner, consistent with their duties as Trustees, the


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purposes of the Trust, and the practical limitations imposed by the inability to predict the future
with precision.

       In the event that the Trust faces issues with respect to liquidity, the Trustees may, with the
consent of the Payor, the TAC, and the FCR, (a) suspend the normal order of payment, or (b)
temporarily limit or suspend payments altogether.

7.5    Punitive Damages

       In determining the value of any liquidated or unliquidated Individual Claim, punitive or
exemplary damages (i.e., damages other than compensatory damages) shall not be considered or
allowed, notwithstanding their availability in the tort system. Similarly, no punitive or exemplary
damages shall be payable with respect to any claim litigated against the Trust in the tort system
pursuant to Article 6 herein.


                 RESOLUTION OF GOVERNMENTAL ACTION CLAIMS

8.1    Governmental Action Claims Are Subject to These TDP

        Each holder of a Governmental Action Claim which (a) prior to the Petition Date, filed a
lawsuit against the Debtor or its predecessor asserting a Governmental Action Claim or (ii) filed a
Proof of Claim asserting a Governmental Action Claim by the Claims Bar Date (each
a "Governmental Holder" and collectively, the "Governmental Holders") shall participate in these
TDP. The Claims Administrator shall have the right at any time to request additional information
from any Governmental Holder regarding its Governmental Action Claims. Notwithstanding the
foregoing, the Governmental Action Claims of the State of New Mexico or the State of Mississippi
shall receive the treatment the applicable State agrees to with the Debtor prior to the entry of the
Confirmation Order. If no such agreement is reached in respect of such State’s Governmental
Action Claim, the Governmental Action Claim shall be liquidated and paid pursuant to these TDP.

8.2    Settlement Offer and Negotiations

        The Claims Administrator shall make a written or oral offer to settle the Governmental
Holder’s Governmental Action Claim (a "Settlement Offer"). The offer shall be made to counsel
for the Governmental Holder or, if no counsel has been identified, the Governmental Holder.

        After a Governmental Holder has received a Settlement Offer, the Governmental Holder
shall contact the Claims Administrator and provide a written or oral response to the Settlement
Offer (the "Response"). The Governmental Holder may accept or reject the Settlement Offer or
make a counteroffer. In the event the Governmental Holder declines to accept the Settlement
Offer, the Governmental Holder and the Claims Administrator shall engage in good faith
negotiations regarding the Governmental Action Claim.

       If the Governmental Holder accepts the Settlement Offer or the Claims Administrator and
the Governmental Holder otherwise reach agreement on the amount of the Governmental Holder’s
Governmental Action Claim (in either case, the "Settlement Amount"), the Governmental Action


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Claim shall be fixed at the Settlement Amount and the Talc Personal Injury Governmental Action
Claims Sub-Trust shall pay the Settlement Amount in full to the Governmental Holder.

       If the parties are unable to reach agreement pursuant to the procedures in this Section 8.2,
the Governmental Holder 's Governmental Action Claim shall be referred to mediation.

8.3    Mediation

        A Governmental Holder 's Governmental Action Claim shall be referred to mediation if
the Claims Administrator and the Governmental Holder are unable to reach agreement pursuant to
the procedures set forth in Section 8.2 of these TDP.

        A mediator (the "Mediator") shall be jointly chosen by the Claims Administrator and the
Governmental Holder. If the parties are unable to reach agreement regarding the Mediator, the
Governmental Holder 's Governmental Action Claim shall either, at the option of the
Governmental Holder, (i) be referred to arbitration as provided in Section 8.4 of these TDP or
(ii) proceed to litigation as provided in Section 8.5 of these TDP.

       The Mediator will work with the Claims Administrator and the Governmental Holder to
reach a settlement of the Governmental Action Claim that is mutually acceptable to both parties.
The Mediator shall not have the authority to unilaterally impose a settlement upon the parties. The
Governmental Holder and the Claims Administrator shall each pay one half of the fees and
expenses, including legal fees, incurred by the Mediator. The parties shall otherwise bear their
own costs, including legal fees.

        If the mediation results in a settlement agreement, the Talc Personal Injury Governmental
Action Claims Sub-Trust shall pay the Settlement Amount in full to the Governmental Holder. If
the mediation concludes with no settlement, the Governmental Holder shall elect to either (i)
participate in binding arbitration pursuant to Section 8.4 of these TDP or (ii) proceed to litigation
pursuant to Section 8.5 of these TDP.

8.4    Arbitration

       A Governmental Action Claim may be referred to binding arbitration as provided in
Section 8.3 of these TDP and at the option of the Governmental Holder.

        If a Governmental Holder’s Governmental Action Claim is referred to arbitration, an
arbitrator (the “Arbitrator”) shall be jointly chosen by the Claims Administrator and the
Governmental Holder. If the parties are unable to reach agreement regarding the Arbitrator, the a
Governmental Holder’s Governmental Action Claim shall proceed to litigation as provided in
Section 8.5 of these TDP.

       The arbitration shall be governed by the Federal Arbitration Act, Title 9, United States
Code. The Arbitrator shall determine the amount of the Government Holder’s Governmental
Action Claim. Unless otherwise agreed by the parties, the arbitration shall be conducted pursuant
to the dispute resolution procedures for commercial claims of the American Arbitration
Association, as currently in effect and appropriate. The Governmental Holder and the Claims


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Administrator shall each pay one-half of the fees and expenses, including legal fees incurred by
the Arbitrator. The parties shall otherwise bear their own costs, including legal fees.

        The amount of the Governmental Holder’s Governmental Action Claim awarded by the
Arbitrator (the "Arbitration Award") shall be binding and determined by the Arbitrator, in their
discretion. In no event shall the Arbitration Award include any punitive or exemplary damages.
Neither party shall have the right to appeal the Arbitration Award except on the grounds set forth
in the Federal Arbitration Act. There will be no right to a trial de novo. Once the Arbitration
Award is final and non-appealable, the Talc Personal Injury Governmental Action Claims Sub-
Trust shall pay the Arbitration Award in full to the Governmental Holder.

8.5    Litigation

        Any Governmental Holder that elects to litigate their Governmental Action Claims
pursuant to the procedures in this Section 8.5 of these TDP, or is otherwise required to litigate its
Governmental Action Claim pursuant to Section 8.4 of these TDP, shall have the right to institute
a lawsuit against the Trust in: (i) the District Court for the District of New Jersey (the "District
Court"); or (ii) if Governmental Holder commenced litigation against the Debtor prior to the
Petition Date and that litigation remains pending on the Effective Date, at the option of the
Governmental Holder, in the District Court or the United States District Court in the jurisdiction
in which the pre-petition litigation is pending. All defenses, which include all defenses that could
have been asserted by the Debtor, shall be available to the Talc Personal Injury Trust at trial.

         The court adjudicating the Governmental Action Claims shall determine the Debtor's
liability for the Governmental Action Claims and shall not consider or allow punitive or exemplary
damages. Once any Governmental Action Claims is litigated to a final, non-appealable judgment
in accordance with this Section 8.5, the Talc Personal Injury Governmental Action Claims Sub-
Trust shall pay the judgment in full to the Governmental Holder. The Governmental Holder shall
be responsible for its fees and costs, including legal fees. The Governmental Holder shall also be
responsible for the fees and costs, including legal fees, incurred in the litigation by the Claims
Administrator if the amount of the final non-appealable judgment is less than the last Settlement
Offer made to Governmental Holder by the Claims Administrator.

8.6    Statute of Limitations & Repose

        To be eligible for payment pursuant to these TDP, a Governmental Holder must have either
(i) prior to the Petition Date, filed a lawsuit against the Debtor or its predecessor asserting a
Governmental Action Claim or (ii) submitted a Proof of Claim asserting a Governmental Action
Claim by the Bar Date, in either case prior to the expiration of any applicable statute of limitations
or repose as such statute may have been tolled pursuant to section 108 of the Bankruptcy Code.
At any time during the administration of these TDP, including during arbitration or litigation, the
Claims Administrator may agree to a settlement with a Governmental Holder.




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                                       MISCELLANEOUS

9.1    Non-Binding Effect of Trust and/or Litigation Outcome

        Notwithstanding any other provision of these TDP, the Trust’s determination to pay or
not to pay any claim shall not be binding in, or have any res judicata, collateral estoppel, or other
preclusive effect in any lawsuit or other proceeding against the Debtor, the Protected Parties, or
any other entity other than the Trust. Nor shall the outcome of litigation against the Debtor by
the holder of an Indemnified Claim be used in, admissible as evidence in, binding in, or have any
other preclusive effect in connection with the Trust’s resolution or valuation of an Indemnified
Claim.

9.2    Independence of Trust

       Except as otherwise specifically stated herein, neither the Debtor nor the Payor shall have
any rights or involvement whatsoever in the Trust. Neither the Debtor nor the Payor are a third-
party beneficiary of the Trust or these TDP, and nothing herein creates any rights or obligations
that may give rise to a claim or cause of action by the Debtor or the Payor against the Trust or
any Talc Personal Injury Claimant.

9.3    Amendments

        Except as otherwise provided herein, the Trustees may not amend, modify, delete, or add
to any provisions of these TDP, without the written consent of the Payor, the TAC, and the FCR.
Nothing herein is intended to preclude the Payor, the TAC, or the FCR from proposing to the
Trustees, in writing, amendments to these TDP. For the avoidance of doubt, these TDP may not
be amended to alter the allocation of the assets of the Trust between or among Funds.

9.4    Severability

        Should any provision contained in these TDP be determined to be unenforceable, such
determination shall in no way limit or affect the enforceability and operative effect of any and
all other provisions of these TDP.

9.5    Governing Law

       Except for purposes of determining the liquidated value of any Talc Personal Injury
Claim, administration of these TDP shall be governed by, and construed in accordance with, the
laws of the State of New Jersey. The review and evaluation of Individual Claims under these
TDP and the law governing mediation, arbitration, or litigation in the tort system shall be the law
of the jurisdiction in which the Individual Claimant could have filed a lawsuit alleging an
Individual Claim under applicable law.




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                                   EXHIBIT N

              Executory Contracts and Unexpired Leases to Be Rejected

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                                   EXHIBIT O

                  Officers and Managers of the Reorganized Debtor

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                                 SCHEDULE 1

                             Imerys/Cyprus Parties

                            Imerys Corporate Parties

CURRENT AFFILIATES

•   000 CALDERYS
•   AFRICA REFRACTORY CONSULTANTS (PTY) LTD
•   AKROTIRIO THAHILAS DYO S.A.
•   ALMATECH MINERAL INTERNATIONAL LTD
•   ALMERIA, SA DE CV
•   ALUMICA CANADA INC.
•   AMERICARB, INC.
•   AMMIN HOLDINGS, INC.
•   ANGANG STOLLBERG & SAMIL CO., LTD
•   ARDOISIERES D’ANGERS
•   AUSTRALIAN VERMICULITE INDUSTRIES (PTY) LTD
•   CALDERYS ALGERIE SPA
•   CALDERYS AUSTRALIA PTY LTD
•   CALDERYS CHINA CO., LTD
•   CALDERYS DANMARK A/S
•   CALDERYS DEUTSCHLAND GMBH
•   CALDERYS FINLAND OY
•   CALDERYS FRANCE
•   CALDERYS IBERICA REFRACTARIOS, SA
•   CALDERYS INDIA REFRACTORIES LIMITED
•   CALDERYS ITALIA SRL
•   CALDERYS JAPAN CO., LTD
•   CALDERYS KOREA CO. LTD
•   CALDERYS MAGYARORSZAG K.F.T. (HUNGARY)
•   CALDERYS NGJ LIMITED
•   CALDERYS NORDIC AB
•   CALDERYS POLSKA SP. Z.O.O.
•   CALDERYS REFRACTARIOS VENEZOLANOS SA
•   CALDERYS REFRAKTER
•   CALDERYS SOUTH AFRICA (PTY) LTD
•   CALDERYS TAÏWAN CO LTD
•   CALDERYS THE NETHERLANDS B.V.
•   CALDERYS UK LTD
•   CALDERYS UKRAINE LTD
•   CALDERYS USA, INC.
•   CEBO HOLLAND B.V.
•   CEBO INTERNATIONAL B.V.
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•   CEBO MARINE B.V.
•   CEBO UK LIMITED
•   DONBASSKERAMIKA
•   DONKAOLIN
•   ECCA HOLDINGS (PTY) LTD
•   ECCA MINERALS (PTY) LTD
•   ECO-BOS DEVELOPMENT LIMITED
•   FAGERSTA ELDFASTA AB
•   FOKIS MINING PARK
•   GIMPEX-IMERYS INDIA PRIVATE LTD
•   GUIYANG JIANAI SPECIAL ALUMINATES
•   HARBORLITE AEGEAN ENDUSTRI MINERALLERI SANAYI A.S.
•   HAZNEDAR DURER DI? T?CARET A.? (f.k.a. VENDER ENDÜSTRIYEL
    MALZEMELERI TICARET A.S.)
•   HAZNEDAR DURER REFRAKTER MALZEMELERI SANAYI VE TICARET A.S.
•   HAZNEDAR GMBH
•   IMERTECH
•   IMERYS KILN FURNITURE HUNGARY KFT.
•   IMERYS (SHANGHAI) INVESTMENT MANAGEMENT CO., LTD
•   IMERYS ADMINISTRATIVE GERMANY GMBH
•   IMERYS AL ZAYANI FUSED MINERALS CO. W.L.L.
•   IMERYS ALUMINATES ASIA PACIFIC PTE LTD
•   IMERYS ALUMINATES CORPORATE (f.k.a. KERNEOS CORPORATE SAS)
•   IMERYS ALUMINATES GROUPE (f.k.a. KERNEOS GROUP SAS)
•   IMERYS ALUMINATES LIMITED
•   IMERYS ALUMINATES SA
•   IMERYS ASIA PACIFIC PTE LTD
•   IMERYS BAUXITE SA (f.k.a. ELMIN BAUXITES SA)
•   IMERYS BELGIUM SA
•   IMERYS BENTONITE GEORGIA LTD
•   IMERYS BENTONITE HUNGARY KFT
•   IMERYS BENTONITE ITALY S.P.A.
•   IMERYS CANADA INC.
•   IMERYS CARBONATES (THAILAND), LTD
•   IMERYS CARBONATES AUSTRIA GMBH
•   IMERYS CARBONATES INDIA LIMITED
•   IMERYS CARBONATES USA, INC.
•   IMERYS CERAMICS (INDIA) PRIVATE LIMITED
•   IMERYS CERAMICS (THAILAND) LTD
•   IMERYS CERAMICS BRASIL MINERAIS PARA CERAMICAS LTDA
•   IMERYS CERAMICS EGYPT
•   IMERYS CERAMICS FRANCE
•   IMERYS CERAMICS ITALY S.R.L.
•   IMERYS CERAMICS MEXICO SA DE CV
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•   IMERYS CERAMICS NEW ZEALAND
•   IMERYS CERAMICS PORTUGAL, SA
•   IMERYS CLAYS, INC.
•   IMERYS CSI SWITZERLAND SAGL
•   IMERYS DIATOMITA ALICANTE, S.A.
•   IMERYS DIATOMITA MEXICO, SA DE CV
•   IMERYS DO BRASIL COMERCIO DE EXTRAÇAO DE MINÉRIOS
•   IMERYS FILTRATION FRANCE
•   IMERYS FILTRATION MINERALS, INC.
•   IMERYS FUSED MINERALS (YINGKOU) CO., LTD
•   IMERYS FUSED MINERALS BEYREDE SAS
•   IMERYS FUSED MINERALS DOMODOSSOLA S.P.A.
•   IMERYS FUSED MINERALS FRANCE SARL
•   IMERYS FUSED MINERALS GREENEVILLE, INC.
•   IMERYS FUSED MINERALS GUIZHOU CO. LTD
•   IMERYS FUSED MINERALS LAUFENBURG GMBH
•   IMERYS FUSED MINERALS MURG GMBH
•   IMERYS FUSED MINERALS NIAGARA FALLS, INC.
•   IMERYS FUSED MINERALS RUSE D.O.O.
•   IMERYS FUSED MINERALS SALTO LTDA
•   IMERYS FUSED MINERALS TEUTSCHENTHAL GMBH
•   IMERYS FUSED MINERALS VILLACH GMBH
•   IMERYS FUSED MINERALS ZSCHORNEWITZ GMBH
•   IMERYS GECKO GRAPHITE (NAMIBIA) (PTY) LTD
•   IMERYS GECKO HOLDING (NAMIBIA) (PTY) LTD
•   IMERYS GECKO OKANJANDE MINING (PTY) LTD
•   IMERYS GRAPHITE & CARBON BELGIUM SA
•   IMERYS GRAPHITE & CARBON CANADA INC.
•   IMERYS GRAPHITE & CARBON JAPAN KK
•   IMERYS GRAPHITE & CARBON KOREA
•   IMERYS GRAPHITE & CARBON SWITZERLAND SA
•   IMERYS HIGH RESISTANCE MINERALS JAPAN KK
•   IMERYS INDUSTRIAL MINERALS DENMARK A/S
•   IMERYS INDUSTRIAL MINERALS GREECE S.A.
•   IMERYS ITATEX SOLUCOES MINERAIS LTDA
•   IMERYS KAOLIN, INC.
•   IMERYS KILN FURNITURE (THAILAND) CO. LTD
•   IMERYS KILN FURNITURE ESPAÑA, SA
•   IMERYS METALCASTING FRANCE SARL
•   IMERYS METALCASTING GERMANY GMBH
•   IMERYS MICA KINGS MOUTAIN, INC.
•   IMERYS MIDDLE EAST HOLDING COMPANY W.L.L.
•   IMERYS MINERAL AB
•   IMERYS MINERAL ARABIA LLC
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•   IMERYS MINERALES ARGENTINA S.A.
•   IMERYS MINERALES CHILE SPA
•   IMERYS MINERALES PERU SAC
•   IMERYS MINERALI CORSICO SRL
•   IMERYS MINERALI SPA
•   IMERYS MINERALS (INDIA) PRIVATE LIMITED
•   IMERYS MINERALS (TAIWAN) LTD
•   IMERYS MINERALS (THAILAND) LTD
•   IMERYS MINERALS BULGARIA AD
•   IMERYS MINERALS CHINA, INC.
•   IMERYS MINERALS GMBH
•   IMERYS MINERALS HOLDING LIMITED
•   IMERYS MINERALS INTERNATIONAL SALES S.A.
•   IMERYS MINERALS JAPAN KK
•   IMERYS MINERALS KOREA LTD
•   IMERYS MINERALS LTD
•   IMERYS MINERALS MALAYSIA SDN. BHD.
•   IMERYS MINERALS NETHERLANDS B.V.
•   IMERYS MINERALS OY
•   IMERYS MINERALS USA, INC.
•   IMERYS MINERALS VIETNAM LIMITED
•   IMERYS MINERAUX BELGIQUE SA
•   IMERYS MINÉRAUX FRANCE
•   IMERYS NEWQUEST (INDIA) PRIVATE LIMITED
•   IMERYS OILFIELD MINERALS, INC.
•   IMERYS PACIFIC LTD
•   IMERYS PCC FRANCE
•   IMERYS PCC UK
•   IMERYS PERFORMANCE AND FILTRATION MINERALS PRIVATE LIMITED
•   IMERYS PERFORMANCE MINERALS AMERICAS, INC. (f.k.a. IMERTECH USA,
    INC.)
•   IMERYS PERLITA BARCELONA, S.A.
•   IMERYS PERLITE SARDINIA S.R.L.
•   IMERYS PERLITE USA, INC.
•   IMERYS PIGMENTS (QINGYANG) CO., LTD
•   IMERYS PIGMENTS (WUHU) CO., LTD
•   IMERYS RE
•   IMERYS REFRACTORY MINERALS CLERAC
•   IMERYS REFRACTORY MINERALS GLOMEL
•   IMERYS REFRACTORY MINERALS INTERNATIONAL SALES
•   IMERYS REFRACTORY MINERALS SOUTH AFRICA (PTY) LTD
•   IMERYS REFRACTORY MINERALS USA, INC.
•   IMERYS RIO CAPIM CAULIM S.A.
•   IMERYS ROCA RODANDO CONCESIONES HMO, S.A. de C.V.
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•   IMERYS SERAMIK HAMMADDELERI SANAYI VE TICARET LIMITED SIRKETI
•   IMERYS SERVICES
•   IMERYS SERVICES GERMANY GMBH & CO. KG
•   IMERYS SERVICES GREECE
•   IMERYS SOUTH AFRICA (PTY) LTD
•   IMERYS SOUTH EUROPE, S.L.
•   IMERYS SPECIALITIES JAPAN CO., LTD
•   IMERYS STEELCASTING DO BRASIL LTDA
•   IMERYS STEELCASTING INDIA PRIVATE LIMITED
•   IMERYS STEELCASTING USA, INC.
•   IMERYS TABLEWARE CR S.R.O.
•   IMERYS TABLEWARE DEUTSCHLAND GMBH
•   IMERYS TABLEWARE FRANCE
•   IMERYS TALC AUSTRALIA PTY LTD
•   IMERYS TALC AUSTRIA GMBH
•   IMERYS TALC BELGIUM
•   IMERYS TALC EUROPE
•   IMERYS TALC FINLAND OY
•   IMERYS TALC GERMANY GMBH
•   IMERYS TALC ITALY S.P.A. 1
•   IMERYS TALC LUZENAC FRANCE
•   IMERYS TALC MEXICO, SA DE CV
•   IMERYS TALC UK HOLDING LTD
•   IMERYS TCSI SWITZERLAND SAGL
•   IMERYS TRADING MINERALS EGYPT
•   IMERYS TRUSTEES LTD
•   IMERYS UK FINANCE LIMITED
•   IMERYS UK LTD
•   IMERYS UK PENSION FUND TRUSTEES LTD
•   IMERYS USA, INC.
•   IMERYS WOLLASTONITE USA, LLC
•   IMERYS ZHEJIANG ZIRCONIA CO., LTD
•   INDUSTRIA MACINAZIONE MINERALI PER L’INDUSTRIA CERAMICA S.P.A
•   INDUSTRIAL MINERALS OF GREECE
•   ISOCON S.A.
•   KENTUCKY-TENNESSEE CLAY COMPANY
•   KERNEOS (CHINA) ALUMINATE TECHNOLOGIES CO., LTD
•   KERNEOS AUSTRALIA PTY LTD
•   KERNEOS DO BRASIL COMERCIAL LTDA
•   KERNEOS INC.
•   KERNEOS INDIA ALUMINATE PRIVATE LIMITED
•   KERNEOS INDIA ALUMINATE TECHNOLOGIES PRIVATE LIMITED
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    Imerys Talc Italy S.p.A. is only an Imerys/Cyprus Party to the extent it does not commence a bankruptcy case.

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•   KERNEOS SOUTHERN AFRICA PTY LTD
•   KINTA POWDERTEC SDN. BHD
•   LATOMIA N. KORAKAS SA
•   LAVIOSA CHIMICA MINERARIA SPA
•   LAVIOSA PROMASA S.A.
•   LINJIANG IMERYS DIATOMITE CO., LTD
•   LIQUID QUIMICA MEXICANA, SA DE CV
•   LLC IMERYS ALUMINATES
•   METALLEION METALLEYMATON
•   MICRON-ITA MINERACAO LTDA
•   MIKRO MINERAL ENDUSTRIYEL MINERALLER SANAYI VE TICARET A.S.
•   MILOS INITIATIVE
•   MILOS MINING MUSEUM
•   MINERA ROCA RODANDO S.DE R.L. DE C.V.
•   MINERAL RESOURCES DEVELOPMENT (M.R.D.) CO. LTD
•   MINVEN - (C-E MINERALES DE VENEZUELA)
•   MIRCAL
•   MIRCAL BRESIL
•   MIRCAL DE MEXICO SA DE CV
•   MIRCAL ITALIA SPA
•   MONREFCO GMBH
•   MRD-ECC CO. LTD
•   MSL MINERAIS S.A.
•   NIIGATA GCC LTD
•   NIPPON POWER GRAPHITE CO., LTD
•   NORTH AFRICAN INDUSTRIAL MINERAL EXPLORATION SARL - NAIMEX
•   NYCO MINERALS, LLC
•   ORGANIK MADENCILIK AS
•   PARIMETAL
•   PARNASSE TRENTE DEUX
•   PERAMIN AB
•   PERGEM MINERAL MADENCILIK SANAYI VE TICARET AS
•   PLIBRICO INSTALLACIONES REFRACTARIAS
•   PPSA
•   PT BINAH SURINDAH CEMERLANG
•   PT ESENSINDO CIPTA CEMERLANG
•   PT IMERYS CERAMICS INDONESIA
•   PT INDOPORLEN
•   PT INDOPORLEN SAKTI
•   PT STOLLBERG - SAMIL INDONESIA
•   PYRAMAX CERAMICS SOUTHEAST, LLC
•   QA REFRACTORIES (PTY) LTD
•   QINGDAO STOLLBERG & SAMIL CO., LTD
•   QUARTZ CORP (SHANGHAÏ) CO., LTD
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•   RECLAYM LIMITED
•   REFRACTORY MINERALS (PTY) LTD
•   RUMICO FEUERFESTE BAUSTOFFE GMBH
•   S&B BENTONITE CHAOYANG CO., LTD
•   S&B ENDUSTRIYEL MINERALLER A.S.
•   S&B HOLDING GMBH
•   S&B INDUSTRIAL MINERALS (HENAN) CO., LTD
•   S&B INDUSTRIAL MINERALS MOROCCO S.A.R.L.
•   S&B INDUSTRIAL MINERALS SPAIN S.L.U.
•   S&B MINERALS FINANCE SARL
•   S&B MINERALS PARTICIPATIONS SARL
•   SAMREC (PTY) LTD
•   SERVICIOS PIEDRA TUMBANTE S.DE R.L. DE C.V.
•   SHANDONG IMERYS MOUNT TAI CO., LTD
•   SIBIMIN OVERSEAS LTD
•   SPRINDEALS SIX PTY LTD
•   STOLLBERG & SAMI CO., LTD
•   SUNWARD REFRACTORIES CO., Ltd
•   THE QUARTZ CORP AS
•   THE QUARTZ CORP SAS
•   THE QUARTZ CORP USA
•   TYGERKLOOF MINING (PTY) LTD
•   US CERAMICS LLC
•   VATUTINSKY KOMBINAT VOGNETRYVIV
•   VERMICULITA Y DERIVADOS, SL
•   VOUGIOUKLI QUARRIES AVEE
•   XINYANG ATHENIAN MINING CO., LTD
•   YBB CALCIUM PRODUCTS CO. LTD
•   YUEYANG IMERYS ANTAI MINERALS CO., LTD
•   ZHENGZHOU JIANAI SPECIAL ALUMINATES CO., LTD

FORMER AFFILIATES

•   11656490 CANADA INC.
•   ADVANCED MINERALS CORPORATION
•   AKROTIRIO TRAHILAS TRIA S.A.
•   AMERICAN TRIPOLI, INC.
•   ANADOLU PERLIT MEDENCILIK SANAYI
•   ARC FUSED ALUMINA
•   ARDOISE ET JARDIN
•   AREFCON B.V.
•   AREFCON HISMA B.V.
•   ASSOS MERMER SANAYI VE TICARET LTD SIRKETI
•   B & B REFRACTORY SERVICES PTY LTD
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•   BAOTOU JINGYUAN GRAPHITE CO., LTD
•   BLX TRADING SAS
•   CALDERYS ALGERIE SERVICES SPA
•   CALDERYS BELGIUM
•   CALDERYS CHINA
•   CALDERYS CZECH S.R.O
•   CALDERYS DE MEXICO SA DE CV
•   CALDERYS NORWAY AS
•   CAPTELIA
•   CARBONATOS ANDINOS SA
•   C-E NEWELL, INC.
•   CELITE MEXICANA, SA DE CV
•   CHANGBAI CELITE DIATOMITE CO., LTD
•   CHARGES MINERALES DU PERIGORD - CMP
•   CHOICEWISE LIMITED
•   CONDIMENTUM OY
•   COVEO
•   DALIAN JINSHENG FINE CHEMICAL INDUSTRY CO., LTD
•   DAMOLIN ETRECHY
•   DAMOLIN GMBH
•   DAMOLIN INVESTMENT A/S
•   DOLPHIN FELDSPAR PRIVATE LIMITED
•   DOYET TERRE CUITE
•   ECC OVERSEAS INVESTMENTS LTD
•   ECC PACIFIC (AUSTRALIA) PTY LTD
•   ECCA CALCIUM PRODUCTS, INC.
•   EDWIN H. BRADLEY HOLDINGS LTD
•   ELMIN BAUXITES S.R.L.
•   ENGLISH CHINA CLAYS LTD
•   EUROARGILLE
•   EUROPE COMMERCE REFRACTORY
•   FEL-MAC COMPANY LLC
•   FIBERLEAN TECNOLOGIA E SOLUCOES EIRELI
•   FIBERLEAN TECHNOLOGIE LIMITED
•   FIBERLEAN TECHNOLOGIE NA INC.
•   GOONAMARRIS LIMITED
•   GRAN BIANCO CARRARA SRL
•   GUIZHOU S&B NEW-TYPE MATERIALS CO., LTD
•   GUIZHOU STAR MINERALS CO., LTD
•   GUNUNG IMBANGAN SDN. BHD
•   HARBORLITE (UK) LTD
•   HJM INDUSTRIES SDN. BHD
•   IGM FOR FIBRE GLASS
•   IMERPLAST UK LIMITED
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•   IMERYS (SHANGHAÏ) FILTRATION MINERALS TRADING CO., LTD
•   IMERYS ADVANCED MATERIALS (YINGKOU) CO., LTD
•   IMERYS ALÜMINÄT DIS TICARET
•   IMERYS ALUMINATES GMBH
•   IMERYS ALUMINATES ITALIA S.R.L.
•   IMERYS ALUMINATES NORDIC AB
•   IMERYS ARGENTINA SRL
•   IMERYS BENTONITE USA, LLC
•   IMERYS CALCIUM SOLUTIONS AUSTRIA GMBH
•   IMERYS CANADA 2004, INC.
•   IMERYS CANADA LP
•   IMERYS CARBONATES LLC
•   IMERYS CERAMICS ESPAÑA
•   IMERYS CERAMICS ITALIA
•   IMERYS FINE CHEMICAL (CHANGSHU) CO., LTD
•   IMERYS FUSED MINERALS (TAICANG) CO., LTD
•   IMERYS FUSED MINERALS (ZIBO) CO., LTD
•   IMERYS FUSED MINERALS HULL LIMITED
•   IMERYS GRAPHITE & CARBON (CHANGZHOU) CO., LTD
•   IMERYS GRAPHITE & CARBON GERMANY GMBH
•   IMERYS GRAPHITE & CARBON USA, INC.
•   IMERYS KAOLIN BELGIUM
•   IMERYS KILN FURNITURE FRANCE
•   IMERYS MICA SUZORITE INC.
•   IMERYS MINERALES ESPANA, S.L.
•   IMERYS MINERALES PERU S.A.C.
•   IMERYS MINERALES SANTIAGO LIMITADA
•   IMERYS MINERALI GAMALERO SRL
•   IMERYS MINERALS (HEZHOU) CO., LTD
•   IMERYS MINERALS AUSTRALIA PTY LTD
•   IMERYS MINERALS CALIFORNIA, INC.
•   IMERYS MINERALS HONG KONG LIMITED
•   IMERYS MINERAUX DE TUNISIE “IMT”
•   IMERYS MINING DEVELOPMENT (QINGYANG) CO., LTD
•   IMERYS PAPER CARBONATES LLC
•   IMERYS PARTICIPACOES LTDA
•   IMERYS PERLITA PAULINIA MINERAIS LTDA
•   IMERYS PIGMENTS TRADING (SHANGHAI) CO., LTD
•   IMERYS PIGMENTS, INC.
•   IMERYS REFRACTARIOS PARTICIPACOES MONTE DOURADO LTDA
•   IMERYS REFRACTORY MINERALS JAPAN KK
•   IMERYS TABLEWARE BALKANS SRL
•   IMERYS TABLEWARE GUANGZHOU CO., LTD
•   IMERYS TABLEWARE NEW ZEALAND LTD
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•   IMERYS TALC CALIFORNIA, INC.
•   IMERYS TALC DELAWARE, INC.
•   IMERYS TALC OHIO, INC.
•   IMERYS TALC SPAIN, S.A.
•   IMERYS TC
•   IMERYS TECHNOLOGY CENTER AUSTRIA GMBH
•   IMERYS TOITURE BELGIE N.V.
•   IMERYS VOSTOK
•   IMERYS WINDFARM PROJECT LTD
•   IMERYS YILONG ANDALUSITE (XINJIANG) CO, LTD
•   IMPALA ADMINCO LTD
•   INDUSTRIALMIN
•   ITACA S.R.L.
•   KAOLIN AUSTRALIA PTY LTD
•   KAOLINS DE NOZAY (SOCIÉTÉ ANONYME DES)
•   KAOPOLITE, INC.
•   KERAPLAN GMBH
•   KERN TECH 1
•   KERN TECH 2
•   KERN TECH 3
•   KERNEOS DE MEXICO SA DE CV
•   KERNEOS ESPANA SL
•   KERNEOS HOLDING GROUP SAS
•   KERNEOS HOLDING NORTH AMERICA, INC.
•   KERNEOS HOLDING NORTHERN EUROPE LIMITED
•   KERNEOS POLSKA SP. Z.O.O.
•   KERNEOS SERVICIOS SA DE CV
•   KILITEAM V
•   KORUND D.O.O.
•   KPCL K.V.S.
•   LA FRANCAISE DES TUILES ET BRIQUES
•   L-IMERYS INDUSTRIA E COMERCIO DE CAL LTDA
•   LUXOL PHOTOVOLTAICS SN
•   LUZENAC MICRO MILLING LIMITED
•   MAGEMO SCI
•   MASSA MINERALI SRL
•   MATISCO DEVELOPPEMENT
•   METRAMCO (PTY) LTD
•   MICRON-ITA INDUSTRIA E COMERCIO DE MINERAIS LTDA
•   MINERAL HOLDINGS, INC.
•   MINERALIEN SCHIFFAHRT SPEDITION UND TRANSPORT GMBH - MST
•   MINERALS MILLING TUNISIA
•   MINERALS TRADING, INC.
•   MIRCAL ARGENTINA SRL
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•   MIRCAL ASIA
•   MIRCAL AUSTRALIA PTY LTD
•   MIRCAL CHILI
•   MIRCAL EUROPE
•   MIRCAL TALC HOLDING
•   MSL OVERSEAS LTD
•   MULLITE COMPANY OF AMERICA - MULCOA
•   N.G. JOHNSON (NORTHERN) HOLDINGS LIMITED
•   N.G. JOHNSON LIMITED
•   NIZEROLLES
•   NYCO MINERALS CANADA, INC.
•   PABALK MADEN SANAYI VE TICARET A.S.
•   PANSHI HUANYU WOLLASTONITE CO., LTD
•   PARNASSE TRENTE ET UN
•   PARNASSE TRENTE TROIS
•   PARNASSE VINGT DEUX
•   PERU MINERALS CORPORATION
•   PERUCO, INC.
•   PGB SA
•   PLIBRICO LTD
•   PLR REFRACTAIRES SAS U
•   PPSA OVERSEAS LTD
•   PROFIMO
•   PROPERTY COMPANY ONE
•   PROPERTY COMPANY TWO
•   PYRAMAX CERAMICS ARKANSAS, LLC
•   PYRAMAX CERAMICS, LLC
•   QS ABRASIVI MARENGO SRL
•   QUARTZ DE MAURITANIE SA
•   RECURSOS MINERALES DEL NORTE, SA DE CV
•   RT 043 MINERACAO LTDA
•   S&B INDUSTRIAL MINERALS (SHANGHAI) CO., LTD
•   S&B INDUSTRIAL MINERALS (TIANJIN) CO., LTD
•   S&B MINERALS LIMITED
•   S&B MINERALS PARTICIPATIONS 2 SARL
•   S&B MINERALS PARTICIPATIONS LLC
•   S&B MINERALS US HOLDING GMBH
•   S&B MINERALS VERWALTUNG GMBH
•   S&B WINES S.A.
•   SAMREC VERMICULITE (ZIMBABWE) ( PRIVATE) LTD
•   SCEA STE COLOMBE
•   SCOVER PLUS
•   SEG
•   SET LININGS GMBH
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•   SIDEX MONOLITHIQUES SRL
•   SILLA DE PAITA S.A.C.
•   SLS BAUSTOFFE GESELLSCHAFT MBH
•   SOCIEDAD MINERA CELITE DEL PERU SA
•   SOCIETE DE VALORISATION DES MINERAUX INDUSTRIELS SAS
•   SOTRIVAL
•   TALIMMO
•   TENNESSEE ELECTRO MINERALS, INC. - TECO
•   TERMORAK AB
•   TERMORAK OY
•   TERMORAK (THAILAND) CO LTD
•   TOKAI CERAMICS CO., LTD
•   TREIBACHER SCHLEIFMITTEL ABRASIVES KAILI CO., LTD
•   TREIBACHER SCHLEIFMITTEL ASIA LTD
•   TREIBACHER SCHLEIFMITTEL INTERNATIONALE VERTRIEBS MBH
•   TREIBACHER SCHLEIFMITTEL ITALIA P. MAROZZI & CO SAS
•   UCM GROUP LTD
•   UCM MAGNESIA, INC.
•   UNITEC CERAMICS LIMITED
•   VERMICULITE INTERNATIONAL SALES
•   WORLD MINERALS AMERICA LATINA, SA
•   WORLD MINERALS USD LLC
•   WORLD MINERALS USD SARL
•   ZHENGZHOU TREIBACHER SCHLEIFMITTEL TENGDA ABRASIVES CO., LTD




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                               Rio Tinto Corporate Parties

•   10029734 Canada Inc.
•   1043802 Ontario Ltd
•   10676276 Canada Inc.
•   10676284 Canada Inc.
•   11091905 Canada Inc.
•   1109723 B.C. Ltd.
•   201 Logistics Center, LLC
•   46106 YUKON INC.
•   46117 YUKON INC.
•   535630 YUKON INC.
•   7600 West Center, LLC
•   7999674 CANADA INC.
•   AGM Holding Company Pte. Ltd.
•   Alcan Alumina Ltda.
•   Alcan Asia Limited
•   Alcan Betriebs- und Verwaltungsgesellschaft GmbH
•   Alcan Chemicals Limited
•   Alcan Composites Brasil Ltda
•   Alcan Corporation
•   Alcan Farms Limited
•   Alcan Finances USA LLC
•   Alcan Gove Development Pty Limited
•   Alcan Holdings Australia Pty Limited
•   Alcan Holdings Europe B.V.
•   Alcan Holdings Nederland B.V.
•   Alcan Holdings Switzerland AG (SA/Ltd.)
•   Alcan International Network U.S.A. Inc.
•   Alcan Lebensmittelverpackungen GmbH
•   Alcan Management Services (Shanghai) Co., Ltd.
•   Alcan Management Services Canada Limited / Societe de Services de Gestion Alcan Canada
    Limitee
•   Alcan Northern Territory Alumina Pty Limited
•   Alcan Packaging Mühltal Gmbh & Co. KG
•   Alcan Primary Metal Australia Pty Ltd
•   Alcan Primary Products Company LLC
•   Alcan Primary Products Corporation
•   Alcan Realty Limited / Societe Immobiliere Alcan Limitee
•   Alcan South Pacific Pty Ltd
•   Alcan Trading AG (SA/Ltd.)
•   Alufluor AB
•   Aluminerie Alouette Inc.
•   Aluminerie De Bécancour, Inc.

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•   Aluminium & Chemie Rotterdam B.V.
•   Aluminium Pechiney
•   Aluminum Company of Canada Limited / Aluminium du Canada Limitee
•   AML Properties Pty Ltd
•   Anglesey Aluminium Metal Limited
•   AP Service
•   Argyle Diamond Mines Pty Limited
•   Argyle Diamonds Limited
•   Ashton Mining Pty Ltd
•   Ashton Nominees Pty Limited
•   Asia Gold Mongolia LLC
•   Asia Naran Bulag LLC
•   Asia Now Resources Corp
•   Australian Coal Holdings Pty. Limited
•   Australian Mining & Smelting Pty Ltd
•   Balkhash Saryshagan LLP
•   Bao-HI Ranges Joint Venture
•   Beasley River Joint Venture
•   Beasley River Management Pty Limited
•   Beasley River Marketing Pty Ltd
•   Beasley River Mining Pty Limited
•   Beijing Iron Ore Trading Centre Corporation
•   Bektau B.V.
•   Boké Investment Company
•   Boke Personnel Limited
•   Boké Services Company SA
•   Boké Services Management, Inc.
•   Boké Trading Inc.
•   Borax España, S.A.
•   Borax Europe Limited
•   Borax Francais
•   Borax Malaysia Sdn Bhd
•   Borax Rotterdam N.V.
•   Boyne Smelters Limited
•   British Alcan Aluminium Limited
•   C.V.G. Bauxilum C.A.
•   Canning Resources Pty Limited
•   CanPacific Potash Inc.
•   Cape Bougainville Joint Venture
•   Capricorn Diamonds Investments Pty Limited
•   Carol Lake Company Ltd.
•   Cathjoh Holdings Pty Limited
•   Champlain Reinsurance Company Ltd.
•   Channar Management Services Pty Limited
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•   Channar Mining Joint Venture
•   Channar Mining Pty Ltd
•   Chinalco Rio Tinto Exploration Co. Ltd
•   Chlor Alkali Unit Pte Ltd
•   CIA. Inmobiliaria e Inversiones Cosmos S.A.C.
•   Compagnie des Bauxites de Guinée
•   Compania de Transmision Sierraoriente S.A.C.
•   Consórcio de Alumínio do Maranhão
•   CRA Investments Pty. Limited
•   CRA Pty Ltd
•   Dampier Salt Limited
•   Daybreak Development LLC
•   Daybreak Property Holdings LLC
•   Daybreak Secondary Water Distribution Company
•   Daybreak Water Holding LLC
•   DB Medical I LLC
•   DBVC1 LLC
•   Diamond Producers Association Limited
•   Diavik Diamond Mines (2012) Inc.
•   Diavik Joint Venture
•   Donkerpoort Iron Ltd
•   East Kalimantan Coal Pte. Ltd
•   Eastland Management Inc.
•   Electric Power Generation Limited
•   Elysis Limited Partnership / Elysis Societe en Commandite
•   Empresa de Mineracao Finesa Ltda.
•   Enarotali Gold Project Limited
•   Endurvinnslan Ltd.
•   Energy Resources of Australia Ltd
•   Entrée Resources Ltd.
•   Exeltium
•   EXELTIUM 2
•   Fabrica De Plasticos Mycsa, S.A.
•   Falcon Insurance Ltd.
•   Flambeau Mining Company
•   Fondation Rio Tinto
•   Foundation for Australia-Japan Studies
•   France Aluminium Recyclage Sa
•   Fundsprops Pty. Limited
•   Gladstone Infrastructure Pty Ltd
•   Gladstone Power Station Joint Venture
•   Global Coal Limited
•   Global Hubco BV
•   Globalore Pte. Ltd.
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•   Gove Aluminium Ltd
•   GPS Energy Pty Limited
•   GPS Nominee Pty Limited
•   GPS Power Pty. Limited
•   Green Mountain Mining Venture
•   Groupement pour la Gestion de Pensions Complementaires
•   Gulf Power Company / La Compagnie Gulf Power
•   Halco (Mining) Inc.
•   Hamersley Exploration Pty Limited
•   Hamersley HMS Pty Ltd
•   Hamersley Holdings Limited
•   Hamersley Iron - Yandi Pty Limited
•   Hamersley Iron Pty. Limited
•   Hamersley Resources Limited
•   Hamersley WA Pty Ltd
•   Henlopen Manufacturing Co., Inc.
•   Heruga Exploration LLC
•   High Purity Iron Inc.
•   HIsmelt Corporation Pty Limited
•   Hope Downs Joint Venture
•   Hope Downs Marketing Company Pty Ltd
•   Hunter Valley Resources Pty Ltd
•   IAL Holdings Singapore Pte. Ltd.
•   IEA Coal Research Limited
•   IEA Environmental Projects Limited
•   Industrias Metalicas Castello S.A.
•   Integrity Land and Cattle LLC
•   InterEmballage
•   IOC Sales Limited
•   Iron Ore Company of Canada
•   Itallumina Srl
•   Johcath Holdings Pty Limited
•   Juna Station Pty Ltd
•   Kalimantan Gold Pty Limited
•   Kelian Pty. Limited
•   Kembla Coal & Coke Pty. Limited
•   Kennecott Barneys Canyon Mining Company
•   Kennecott Exploration Company
•   Kennecott Exploration Mexico, S.A. de C.V.
•   Kennecott Holdings Corporation
•   Kennecott Land Company
•   Kennecott Land Investment Company LLC
•   Kennecott Molybdenum Company
•   Kennecott Nevada Copper Company
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•   Kennecott Ridgeway Mining Company
•   Kennecott Royalty Company
•   Kennecott Services Company
•   Kennecott Uranium Company
•   Kennecott Utah Copper LLC
•   Kennecott Water Distribution LLC
•   Korgantas LLP
•   Kutaibar Holdings Pty Ltd
•   Lao Sanxai Minerals Company Limited
•   Lawson Mardon Flexible Limited
•   Lawson Mardon Smith Brothers Ltd.
•   Magma Arizona Railroad Company
•   Metallwerke Refonda AG
•   Metals & Minerals Insurance Pte. Limited
•   Minera Escondida Ltda
•   Minera IRL Limited
•   Minera Kennecott, S.A. de C.V.
•   Mineração Rio do Norte S.A.
•   Mineracao Tabuleiro Ltda
•   Minmetals Rio Tinto Exploration Company Limited
•   Mitchell Plateau Bauxite Co. Pty. Limited
•   Mitchell Plateau Joint Venture
•   Mount Bruce Mining Pty Limited
•   Mount Pleasant Pty Ltd
•   Movele
•   Mutamba Mineral Sands S.A.
•   NBH Pty Ltd
•   New Zealand Aluminium Smelters Ltd
•   Nhulunbuy Corporation Limited
•   Norgold Pty Limited
•   North Gold (W.A.) Pty Ltd
•   North Insurances Pty. Ltd.
•   North IOC (Bermuda) Holdings Limited
•   North IOC (Bermuda) Limited
•   North IOC Holdings Pty Ltd
•   North Limited
•   North Mining Limited
•   Northern Land Company Ltd
•   Nozalela Mineral Sands (Pty) Ltd
•   NZAS Retirement Fund Trustee Limited
•   Oyu Tolgoi LLC
•   Oyu Tolgoi Netherlands BV
•   Pacific Aluminium (New Zealand) Limited
•   Pacific Aluminium Pty. Limited
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•   Pacific Coast Mines, Inc.
•   Pechiney Aviatube Limited
•   Pechiney Bâtiment
•   Pechiney Bécancour, Inc.
•   Pechiney Cast Plate, Inc.
•   Pechiney Consolidated Australia Pty Limited
•   Pechiney Holdings, Inc.
•   Pechiney Metals LLC
•   Pechiney Philippines Inc.
•   Pechiney Plastic Packaging, Inc.
•   Pechiney Reynolds Quebec, Inc.
•   Pechiney Sales Corporation
•   Peko Exploration Pty Ltd.
•   Peko-Wallsend Pty Ltd
•   Pilbara Iron Company (Services) Pty Ltd
•   Pilbara Iron Pty Ltd
•   Port d’Ehoala S.A.
•   Procivis Savoie
•   Project Generation Group Pty Ltd
•   PT Hutan Lindung Kelian Lestari
•   PT Kelian Equatorial Mining
•   PT Rio Tinto Consultants
•   QIT Madagascar Minerals Ltd
•   QIT Madagascar Minerals SA
•   Quebec North Shore and Labrador Railway Company / Compagnie de Chemin de Fer du
    Littoral Nord de Quebec et du Labrador Inc.
•   Queensland Alumina Limited
•   Queensland Coal Pty. Limited
•   Química e Metalúrgica Mequital Ltda.
•   Ranges Management Company Pty Ltd
•   Ranges Mining Pty Ltd
•   Resolution Copper Company
•   Resolution Copper Mining LLC
•   Rhodes Ridge Joint Venture
•   Richards Bay Mining (Proprietary) Limited
•   Richards Bay Mining Holdings (Proprietary) Limited
•   Richards Bay Prefco (Pty) Ltd
•   Richards Bay Titanium (Proprietary) Limited
•   Richards Bay Titanium Holdings (Proprietary) Limited
•   Rightship Pty Ltd
•   Rio de Contas Desenvolvimentos Minerais Ltda
•   Rio Santa Rita Empreenimentos e-Particiacoes Ltda
•   Rio Sava Exploration DOO
•   Rio Tinto (Commercial Paper) Limited
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•   Rio Tinto (Hong Kong) Ltd
•   Rio Tinto Advisory Services Pty Limited
•   Rio Tinto Alcan Fund Inc.
•   Rio Tinto Alcan Inc.
•   Rio Tinto Alcan International Ltd. / Rio Tinto Alcan International Ltee
•   Rio Tinto Alcan Middle East DMCC
•   Rio Tinto Alcan Technology Pty Ltd
•   Rio Tinto Aluminium (Bell Bay) Limited
•   Rio Tinto Aluminium (Holdings) Limited
•   Rio Tinto Aluminium Bell Bay Sales Pty Limited
•   Rio Tinto Aluminium Limited
•   Rio Tinto Aluminium Pechiney
•   Rio Tinto Aluminium Services Pty Limited
•   Rio Tinto America Holdings Inc.
•   Rio Tinto America Inc.
•   Rio Tinto Asia Ltd
•   Rio Tinto Asia Pty. Limited.
•   Rio Tinto AuM Company
•   Rio Tinto Australian Holdings Limited
•   Rio Tinto Bahia Holdings Limited
•   Rio Tinto Base Metals Pty. Limited
•   Rio Tinto Brazilian Holdings Limited
•   Rio Tinto Brazilian Investments Limited
•   Rio Tinto Canada Diamond Operation Management Inc.
•   Rio Tinto Canada Inc
•   Rio Tinto Canada Management Inc./ Rio Tinto Gestion Canada Inc.
•   Rio Tinto Canada Uranium Corporation
•   Rio Tinto Chile S.A.S.
•   Rio Tinto Coal (Clermont) Pty Ltd
•   Rio Tinto Coal Australia Pty Limited
•   Rio Tinto Coal Investments Pty Limited
•   Rio Tinto Coal NSW Holdings Limited
•   Rio Tinto Commercial Americas Inc.
•   Rio Tinto Commercial GmbH
•   Rio Tinto Commercial Pte. Ltd.
•   Rio Tinto Desenvolvimentos Minerais LTDA.
•   Rio Tinto Diamonds and Minerals Canada Holding Inc.
•   Rio Tinto Diamonds Limited
•   Rio Tinto Diamonds Netherlands B.V.
•   Rio Tinto Diamonds NV
•   Rio Tinto Eastern Investments B.V.
•   Rio Tinto Energy America Inc.
•   Rio Tinto Energy Limited
•   Rio Tinto Escondida Limited
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•   Rio Tinto European Holdings Limited
•   Rio Tinto Exploration (Asia) Holdings Pte. Ltd.
•   Rio Tinto Exploration (PNG) Limited
•   Rio Tinto Exploration and Mining (India) Private Limited
•   Rio Tinto Exploration Canada Inc.
•   Rio Tinto Exploration Dunav d.o.o. Beograd-Vracar
•   Rio Tinto Exploration Finland OY
•   Rio Tinto Exploration India Private Limited
•   Rio Tinto Exploration Kazakhstan LLP
•   Rio Tinto Exploration Pty Limited
•   Rio Tinto Exploration Zambia Limited
•   Rio Tinto FalCon Diamonds Inc.
•   Rio Tinto Fer et Titane inc.
•   Rio Tinto Finance (USA) Inc.
•   Rio Tinto Finance (USA) Limited
•   Rio Tinto Finance (USA) plc
•   Rio Tinto Finance Limited
•   Rio Tinto Finance plc
•   Rio Tinto France S.A.S.
•   Rio Tinto Global Employment Company Pte. Ltd.
•   Rio Tinto Guinée S.A.
•   Rio Tinto Holdings LLC
•   Rio Tinto Hydrogen Energy LLC
•   Rio Tinto Iceland Ltd.
•   Rio Tinto India Private Limited
•   Rio Tinto Indonesian Holdings Limited
•   Rio Tinto International Holdings Limited
•   Rio Tinto Investments One Pty Limited
•   Rio Tinto Investments Two Pty Limited
•   Rio Tinto Iron & Titanium (Suzhou) Co., Ltd
•   Rio Tinto Iron & Titanium GmbH
•   Rio Tinto Iron & Titanium Holdings GmbH
•   Rio Tinto Iron & Titanium Limited
•   Rio Tinto Iron and Titanium Canada Inc. / Rio Tinto Fer et Titane Canada Inc.
•   Rio Tinto Iron Ore Atlantic Limited
•   Rio Tinto Iron Ore Europe S.A.S.
•   Rio Tinto Iron Ore Trading China Limited
•   Rio Tinto Japan Ltd
•   Rio Tinto Jersey Holdings 2010 Limited
•   Rio Tinto Korea Ltd
•   Rio Tinto Limited
•   Rio Tinto London Limited
•   Rio Tinto Management Services South Africa (Proprietary) Ltd
•   Rio Tinto Marketing Pte. Ltd.
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•   Rio Tinto Marketing Services Limited
•   Rio Tinto Medical Plan Trustees Limited
•   Rio Tinto Metals Limited
•   Rio Tinto Minera Peru Limitada SAC
•   Rio Tinto Mineracao do Brasil Ltda
•   Rio Tinto Minerals Asia Pte Ltd
•   Rio Tinto Minerals Development Limited
•   Rio Tinto Minerals Exploration (Beijing) Co., Ltd
•   Rio Tinto Minerals Inc.
•   Rio Tinto Mining and Exploration Inc.
•   Rio Tinto Mining and Exploration Limited
•   Rio Tinto Mining and Exploration S.A.C.
•   Rio Tinto Mining Commercial (Shanghai) Co., Ltd.
•   Rio Tinto Mongolia LLC
•   Rio Tinto Nominees Limited
•   Rio Tinto Orissa Mining Private Ltd
•   Rio Tinto OT Management Limited
•   Rio Tinto Overseas Holdings Limited
•   Rio Tinto PACE Australia Pty Limited
•   Rio Tinto PACE Canada Inc. / Gestion Rio Tinto PACE Canada Inc.
•   Rio Tinto Pension 2009 Trustees Limited
•   Rio Tinto Pension Fund Trustees Limited
•   Rio Tinto Pension Investments Limited
•   Rio Tinto Peru Limited
•   Rio Tinto plc
•   Rio Tinto Potash Management Inc. / Rio Tinto Potasse Management Inc.
•   Rio Tinto Procurement (Singapore) Pte Ltd
•   Rio Tinto Pte Ltd
•   Rio Tinto Saskatchewan Management Inc.
•   Rio Tinto Saskatchewan Potash Holdings General Partner Inc.
•   Rio Tinto Saskatchewan Potash Holdings Limited Partnership
•   Rio Tinto Secretariat Limited
•   Rio Tinto Services Inc.
•   Rio Tinto Services Limited
•   Rio Tinto Shared Services Pty Limited
•   Rio Tinto Shipping (Asia) Pte. Ltd.
•   Rio Tinto Shipping Pty. Limited.
•   Rio Tinto Simfer UK Limited
•   Rio Tinto Singapore Holdings Pte Ltd
•   Rio Tinto Sohar Logistics LLC
•   Rio Tinto South East Asia Limited
•   Rio Tinto Staff Fund (Retired) Pty Limited
•   Rio Tinto Sulawesi Holdings Limited
•   Rio Tinto Technological Resources Inc.
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•   Rio Tinto Technological Resources UK Limited
•   Rio Tinto Trading (Shanghai) Co., Ltd.
•   Rio Tinto Uranium Limited
•   Rio Tinto Western Holdings Limited
•   Rio Tinto Winu Pty Limited
•   Riversdale Connections (Proprietary) Ltd
•   Robe River Iron Associates Joint Venture
•   Robe River Limited
•   Robe River Mining Co. Pty. Ltd.
•   Robe River Ore Sales Pty. Ltd.
•   Rocklea Station Pty Ltd
•   RTA AAL Australia Limited
•   RTA Boyne Limited
•   RTA Gove Pty Limited
•   RTA Holdco 1 Limited
•   RTA Holdco 4 Limited
•   RTA Holdco 7 Limited
•   RTA Holdco 8 Limited
•   RTA Holdco Australia 1 Pty Ltd
•   RTA Holdco Australia 3 Pty Ltd
•   RTA Holdco Australia 5 Pty Ltd
•   RTA Holdco Australia 6 Pty Ltd
•   RTA HOLDCO FRANCE 1 S.A.S.
•   RTA HOLDCO FRANCE 2 S.A.S.
•   RTA Pacific Pty Limited
•   RTA Sales Pty Ltd
•   RTA Smelter Development Pty Limited
•   RTA Weipa Pty Ltd
•   RTA Yarwun Pty Ltd
•   RTAlcan 1 LLC
•   RTAlcan 2 LLC
•   RTAlcan 3 LLC
•   RTLDS Aus Pty. Ltd
•   RTLDS UK Limited
•   RTPDS Aus Pty Ltd
•   Saryarka B.V.
•   Scheuch Unterstuetzungskasse GmbH
•   SGLS LLC
•   Sharp Strategic Funding Pte. Ltd.
•   Simfer Jersey Finance 1 Ltd
•   Simfer Jersey Finance 2 Ltd
•   Simfer Jersey Limited
•   Simfer Jersey Nominee Limited
•   SIMFER S.A.
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•   Singapore Metals Pte. Ltd.
•   Skymont Corporation
•   Société De Financement Des Risques Industriels
•   Société Départementale De Développement 65
•   Société Minière Et De Participations Guinée-Alusuisse
•   Sohar Aluminium Co. L.L.C.
•   Sohio Western Mining Company
•   Solutions Strategiques Funding LLC
•   Southern Copper Pty. Limited
•   Swift Current Land & Cattle LLC
•   Swiss Aluminium Australia Limited
•   TBAC Limited
•   Technological Resources Pty. Limited
•   The Barrier Corporation (Vic.) Pty. Limited
•   The Kelian Community and Forest Protection Trust
•   The Pyrites Company, Inc.
•   The Roberval and Saguenay Railway Company/ La Compagnie du Chemin de Fer Roberval
    Saguenay
•   The Zinc Corporation Pty Ltd
•   Thos. W. Ward Limited
•   THR Aruba Holdings LLC A.V.V.
•   THR Delaware Holdings, LLC
•   THR Kharmagtai Pte. Ltd.
•   THR MINES (BC) LTD.
•   THR Mines Services Co. Ltd.
•   THR OYU TOLGOI LTD.
•   THR Ulaan Pte. Ltd.
•   Three Crowns Insurance Company, formerly known as Three Crowns Insurance Company
    Limited
•   Tinto Holdings Australia Pty. Limited
•   Tisand (Proprietary) Limited
•   Tomago Aluminium Company Pty Limited
•   Tomago Aluminium Joint Venture
•   Trans Territory Pipeline Pty Limited
•   TRQ Australia Pty. Ltd.
•   Turquoise Hill (Beijing) Services Company Ltd
•   Turquoise Hill Netherlands Cooperatief U.A.
•   Turquoise Hill Resources Ltd.
•   Turquoise Hill Resources Philippines Inc.
•   Turquoise Hill Resources Singapore Pte Ltd.
•   Twin Falls Power Corporation Ltd
•   U.S. Borax Inc.
•   Victoria Technology Inc.
•   Waste Solutions and Recycling LLC
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•   West Kutai Foundation Limited
•   Wimmera Industrial Minerals Pty. Limited
•   Winchester South Development Company Proprietary Limited
•   Winter Road Joint Venture
•   Wright Mgmt Services Pte. Ltd.
•   Wyoming Coal Resources Company
•   Yalleen Pastoral Co. Pty. Ltd.
•   Yarraloola Pastoral Co
•   Zululand Titanium (Pty) Ltd




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                                  Cyprus Corporate Parties

•   Ajo Improvement Company [AZ]
•   Amax Arizona, Inc. [NV]
•   Amax Energy Inc. [DE]
•   Amax Exploration, Inc. [DE]
•   Amax Metals Recovery Inc. [DE]
•   Amax Nickel Overseas Ventures, Inc. [DE]
•   Amax Research & Development, Inc. [DE]
•   Amax Specialty Coppers Corporation [DE]
•   Amax Specialty Metals (Driver), Inc. [DE]
•   Amax Zinc (Newfoundland) Limited [DE]
•   American Metal Climax, Inc. [DE]
•   Ametalco Limited [UK]
•   Ametalco, Inc. [DE]
•   Apache Nitrogen Products, Incorporated [AZ]
•   Arguello Inc. [DE]
•   Arroyo Grande Land Company LLC [DE]
•   Asarel-Exploration AD [Bulgaria]
•   Atlantic Copper, S.L.U. [Spain]
•   AZ Big Sandy, LLC [NV]
•   Bagdad Fire and Rescue, Inc. [DE]
•   Balkan Metals and Minerals EOOD [Bulgaria]
•   Bisbee Queen Mining Co. [DE]
•   Blackwell Zinc Company, Inc. [DE]
•   Byner Cattle Company [NV]
•   Cane River Development LLC [DE]
•   Capital Gestao de Negocios LTDA. [Brazil]
•   Carollite Holdings B.V. [The Netherlands]
•   Cattierite Holdings Coöperatief U.A. [The Netherlands]
•   Chino Acquisition LLC [DE]
•   Climax Canada LTD. [DE]
•   Climax Engineered Materials, LLC [CO]
•   Climax Molybdenum Asia Corporation [DE]
•   Climax Molybdenum B.V. [The Netherlands]
•   Climax Molybdenum China Corporation [DE]
•   Climax Molybdenum Company [DE]
•   Climax Molybdenum GMBH [Germany]
•   Climax Molybdenum Marketing Corporation [DE]
•   Climax Molybdenum U.K. Limited [UK]
•   Cobaltite Holdings Limited [Bermuda]
•   Compania Exploradora De La Isla, S.A. [Cuba]
•   Copper Market Inc. [AZ]
•   Copper Overseas Service Company [DE]

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•   CuAu International Holdings (BVI) LTD. [BVI]
•   Cukaru Peki B.V. [The Netherlands]
•   Cyprus Amax Indonesia Corporation [DE]
•   Cyprus Amax Minerals Company [DE]
•   Cyprus Climax Metals Company [DE]
•   Cyprus Copper Marketing Corporation [DE]
•   Cyprus Copperstone Gold Corporation [DE]
•   Cyprus El Abra Corporation [DE]
•   Cyprus Exploration and Development Corporation [DE]
•   Cyprus Gold Company [DE]
•   Cyprus Gold Exploration Corporation [DE]
•   Cyprus Metals Company [DE]
•   Cyprus Mines Corporation [DE]
•   Cyprus Pinos Altos Corporation [DE]
•   Cyprus Specialty Metals Company [DE]
•   Cyprus Tohono Corporation [DE]
•   Discovery Metals Kazakhstan LLP [Kazakhstan]
•   Drum Mountains Mineral Properties LLC [DE]
•   Eastern Mining Company, Inc. [DE]
•   Enarotali Gold Project Limited [Isle of Jersey]
•   Exploraciones Antakana S.A.C. [Peru]
•   FCX Investment LLC [DE]
•   FCX Investment LTD [Cayman Islands]
•   FCX Oil & Gas LLC [DE]
•   Flobarco S.A. de C.V. [Mexico]
•   FM Chile Holdings Inc. [DE]
•   FM Myanmar Holding LTD. [Bermuda]
•   FM O&G Mexico Holdings B.V. [The Netherlands]
•   FM O&G Mexico Intermediate Holdings B.V. [The Netherlands]
•   FM Services Company [DE]
•   FNS Holdings, LLC [AZ]
•   Freeport Asia Holdings PTE. LTD. [Singapore]
•   Freeport Azufre Limitada [Chile]
•   Freeport Canadian Exploration Company [DE]
•   Freeport Cobalt Americas LLC [DE]
•   Freeport Cobalt Asia LTD. [Taiwan]
•   Freeport Cobalt Europe GMBH [Germany]
•   Freeport Cobalt Japan Inc. [Japan]
•   Freeport Cobalt OY [Finland]
•   Freeport Cobalt Trading (Shanghai) Co., LTD. [China]
•   Freeport Copper Company [DE]
•   Freeport Finance Company B.V. [Netherlands]
•   Freeport International, Inc. [DE]
•   Freeport Minerals Corporation [DE]
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•   Freeport Overseas Service Company [DE]
•   Freeport Research and Engineering Company [DE]
•   Freeport Sulphur Company [DE]
•   Freeport Warim Inc. [DE]
•   Freeport-McMoRan Inc. [DE]
•   Freeport-McMoRan Australasia Inc. [DE]
•   Freeport-McMoRan Bagdad Inc. [DE]
•   Freeport-McMoRan Bulgaria B.V. [The Netherlands]
•   Freeport-McMoRan Chino Inc. [DE]
•   Freeport-McMoRan Chino Mines Company [NM]
•   Freeport-McMoRan Cobalt Holdings Limited [Bermuda]
•   Freeport-McMoRan Copper & Gold China Corporation [Cayman Islands]
•   Freeport-McMoRan Copper & Gold Energy Services LLC [DE]
•   Freeport-McMoRan Copper & Gold Investment Co., S.A. [Cayman Islands]
•   Freeport-McMoRan do Brasil Mineração LTDA. [Brazil]
•   Freeport-McMoRan Energy LLC [DE]
•   Freeport-McMoRan Exploration & Production LLC [DE]
•   Freeport-McMoRan Exploration Australia PTY LTD [Australia]
•   Freeport-McMoRan Exploration Corporation [DE]
•   Freeport-McMoRan Mercantile Company Inc. [DE]
•   Freeport-McMoRan Miami Inc. [DE]
•   Freeport-McMoRan Mineral Properties Canada Inc. [Canada]
•   Freeport-McMoRan Mineral Properties Inc. [DE]
•   Freeport-McMoRan Morenci Inc. [DE]
•   Freeport-McMoRan Nevada LLC [DE]
•   Freeport-McMoRan of Canada Limited [DE]
•   Freeport-McMoRan Oil & Gas Inc. [DE]
•   Freeport-McMoRan Oil & Gas LLC [DE]
•   Freeport-McMoRan Safford Inc. [DE]
•   Freeport-McMoRan Sales Company Inc. [DE]
•   Freeport-McMoRan Shelf Properties LLC [DE]
•   Freeport-McMoRan Sierrita Inc. [DE]
•   Freeport-McMoRan Spain Inc. [DE]
•   Freeport-McMoRan Tyrone Inc. [DE]
•   Freeport-McMoRan Tyrone Mining LLC [NM]
•   Fundacion Freeport-McMoRan Chile [Chile]
•   Gaviota Gas Plant Company [CA]
•   Grand Ecaille Land Company, Inc. [LA]
•   Gulf Coast Ultra Deep Royalty Trust [DE]
•   Habirshaw Cable and Wire Corporation [DE]
•   Hidalgo Mining, LLC [NM]
•   International Administrative Services Company [DE]
•   International Air Capital Inc. [DE]
•   International Asaz LLC [DE]
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•   International Mining Investments, LLC [DE]
•   International Purveyors Inc. [DE]
•   International Support LLC [DE]
•   James Douglas Insurance Company, LTD. [Bermuda]
•   Jenny East Holdings LTD. [Bermuda]
•   JRTW Holdings Inc. [DE]
•   Kameni Potok Coöperatief U.A. [The Netherlands]
•   Kisanfu Holdings LTD. [Bermuda]
•   K-Mc Venture I LLC [DE]
•   Koboltti Chemicals Holdings Limited [Bermuda]
•   Las Quintas Serenas Water Co. [AZ]
•   LHD Ventures, LLC [DE]
•   Lompoc Land Company LLC [DE]
•   Main Pass Energy Hub LLC [DE]
•   McMoRan Exploration LLC [DE]
•   Mcmoran Oil & Gas LLC [DE]
•   Midwest Land Acquisition Company LLC [DE]
•   Minera Cuicuilco S.A. de C.V. [Mexico]
•   Minera Freeport-McMoRan South America Limitada [Chile]
•   Minera Freeport-McMoRan South America S.A.C. [Peru]
•   Missouri Lead Smelting Company [DE]
•   Molinos Corporation [AZ]
•   Montebello Land Company LLC [DE]
•   MSS Properties, LLC [DE]
•   Mt. Emmons Mining Company [DE]
•   Nabire Bakti LLC [DE]
•   Nicaro Nickel Company [DE]
•   Nuevo Energy Company [DE]
•   Overseas Service Company [DE]
•   Pacific Western Land Company [CA]
•   PD Peru, Inc. [DE]
•   PD Receivables, LLC [DE]
•   PDM Energy, LLC [AZ]
•   PDRC Laurel Hill 9, LLC [DE]
•   PDRC Laurel Hill Development, LLC [DE]
•   Phelps Dodge Ajo, Inc. [DE]
•   Phelps Dodge Congo S.A.R.L. [DRC]
•   Phelps Dodge Development Corporation [DE]
•   Phelps Dodge Hidalgo, Inc. [DE]
•   Phelps Dodge High Performance Conductors of NJ, Inc. [NJ]
•   Phelps Dodge Holdings Mexico, S.A. de C.V. [Mexico]
•   Phelps Dodge Industries, Inc. [DE]
•   Phelps Dodge Katanga Corporation [DE]
•   Phelps Dodge Mining (Zambia) Limited [Zambia]
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•   Phelps Dodge Molybdenum Corporation [DE]
•   Phelps Dodge of Africa, LTD. [DE]
•   Phelps Dodge Refining Corporation [DE]
•   Plains Acquisition Corporation [DE]
•   Plains Offshore LLC [DE]
•   Plains Offshore Operations Inc. [DE]
•   Plains Vietnam LTD. [Cayman Islands]
•   Pogo Partners, Inc. [TX]
•   Point Arguello Natural Gas Line Company [CA]
•   Point Arguello Pipeline Company [CA]
•   PT Airfast Aviation Facilities Company [Indonesia]
•   PT Eksplorasi Nusa Jaya [Indonesia]
•   PT Freeport Indonesia [Indonesia]
•   PT Freeport Management Indonesia [Indonesia]
•   PT IRJA Eastern Minerals [Indonesia]
•   PT Kencana Infra Nusakarya [Indonesia]
•   PT Kencana Wisata Nusakarya [Indonesia]
•   PT Manyar Maju Refinery [Indonesia]
•   PT Mineserve International [Indonesia]
•   PT Mitradaya Vulkanisindo [Indonesia]
•   PT Nabire Bakti Mining [Indonesia]
•   PT Papua Utama Mitra [Indonesia]
•   PT Puncakjaya Power [Indonesia]
•   PT Rio Tinto Indonesia [Indonesia]
•   PT Smelting [Indonesia]
•   PXP Aircraft LLC [DE]
•   PXP Gulf Coast LLC [DE]
•   PXP Louisiana LLC [DE]
•   PXP Louisiana Operations LLC [DE]
•   PXP Luxembourg S.A.R.L. [Luxembourg]
•   PXP Morocco B.V. [The Netherlands]
•   PXP Oil & Gas Inc. [DE]
•   PXP Producing Company LLC [DE]
•   PXP Resources LLC [DE]
•   Rakita Exploraton DOO BOR [Serbia]
•   Red Metal Limited [Australia]
•   Servicios Especiales Nacionales, SA de CV a.k.a. “PD SENSA” [El Salvador]
•   Silver Springs Ranch, Inc. [CO]
•   Sociedad Contractual Minera El Abra [Chile]
•   Sociedad Minera Cerro Verde S.A.A. [Peru]
•   Southern Bayou Holdings, LLC [DE]
•   Southern Discovery Metals LTD. [BVI]
•   Southern Pearl Holdings, LLC [DE]
•   Suva Reka (BVI) LTD. [BVI]
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•   Tank Barge LLC [DE]
•   The Morenci Water & Electric Company [AZ]
•   Timok JVSA (BVI) LTD. [BVI]
•   Timok Metals D.O.O. BOR [Serbia]
•   Tucson, Cornelia and Gila Bend Railroad Company [AZ]
•   United States Metals Refining Company [DE]
•   Warren Company [AZ]
•   Western Nuclear, Inc. [DE]




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                                       SCHEDULE 2

                                  LTL Corporate Parties


3Dintegrated ApS
ABD Holding Company, Inc.
ABIOMED R&D, Inc.
ABIOMED, Inc.
Acclarent, Inc.
Actelion Ltd
Actelion Pharmaceuticals Ltd
Actelion Pharmaceuticals Trading (Shanghai) Co., Ltd.
Actelion Pharmaceuticals US, Inc.
Actelion Treasury Unlimited Company
Albany Street LLC
ALZA Corporation
Alza Land Management, Inc.
AMO (Hangzhou) Co., Ltd.
AMO (Shanghai) Medical Devices Trading Co., Ltd.
AMO ASIA LIMITED
AMO Australia Pty Limited
AMO Canada Company
AMO Denmark ApS
AMO Development, LLC
AMO France
AMO Germany GmbH
AMO Groningen B.V.
AMO International Holdings Unlimited Company
AMO Ireland
AMO Italy SRL
AMO Japan K.K.
AMO Manufacturing USA, LLC
AMO Netherlands BV
AMO Nominee Holdings, LLC
AMO Norway AS
AMO Puerto Rico Manufacturing, Inc.
AMO Sales and Service, Inc.
AMO Singapore Pte. Ltd.
AMO Spain Holdings, LLC
AMO Switzerland GmbH
AMO United Kingdom, Ltd.
AMO Uppsala AB
Anakuria Therapeutics, Inc.
AorTx, Inc.
Apsis SAS
Aragon Pharmaceuticals, Inc.
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Asia Pacific Holdings, LLC
Atrionix, Inc.
AUB Holdings LLC
Auris Health, Inc.
Backsvalan 6 Handelsbolag
Beijing Dabao Cosmetics Co., Ltd.
BeneVir BioPharm, Inc.
Berna Rhein B.V.
BioMedical Enterprises, Inc.
Biosense Webster (Israel) Ltd.
Biosense Webster, Inc.
Breethe, Inc.
C Consumer Products Denmark ApS, n/k/a Coloplast Konsumerntvarer A/S
Carlo Erba OTC S.r.l.
Centocor Biologics, LLC
Centocor Research & Development, Inc.
Cerenovus, Inc.
ChromaGenics B.V.
Ci:z. Labo Co., Ltd.
Cilag AG
Cilag GmbH International
Cilag Holding AG
Cilag Holding Treasury Unlimited Company
Cilag-Biotech, S.L.
Coherex Medical, Inc.
ColBar LifeScience Ltd.
Consumer Test Entity
Cordis de Mexico, S.A. de C.V.
Corimmun GmbH
CoTherix Inc.
CRES Holdings, Inc.
CrossRoads Extremity Systems, LLC
CSATS, Inc.
Debs-Vogue Corporation (Proprietary) Limited
DePuy Hellas SA
DePuy International Limited
DePuy Ireland Unlimited Company
DePuy Mexico, S.A. de C.V.
DePuy Mitek, LLC
DePuy Orthopaedics, Inc.
DePuy Products, Inc.
DePuy Spine, LLC
DePuy Synthes Institute, LLC
DePuy Synthes Products, Inc.
DePuy Synthes Sales, Inc.
DePuy Synthes, Inc.

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Dutch Holding LLC
ECL7, LLC
EES Holdings de Mexico, S. de R.L. de C.V.
EES, S.A. de C.V.
EIT Emerging Implant Technologies GmbH
Ethicon Endo-Surgery (Europe) GmbH
Ethicon Endo-Surgery, Inc.
Ethicon Endo-Surgery, LLC
Ethicon LLC
Ethicon Sarl
Ethicon US, LLC
Ethicon Women’s Health & Urology Sarl
Ethicon, Inc.
Ethnor (Proprietary) Limited
Ethnor del Istmo S.A.
Ethnor Farmaceutica, S.A.
Finsbury (Development) Limited
Finsbury (Instruments) Limited
Finsbury Medical Limited
Finsbury Orthopaedics International Limited
Finsbury Orthopaedics Limited
FMS Future Medical System SA
GATT Technologies B.V.
GH Biotech Holdings Limited
Global Investment Participation B.V.
GMED Healthcare BV
Guangzhou Bioseal Biotech Co., Ltd.
Hansen Medical Deutschland GmbH
Hansen Medical International, Inc.
Hansen Medical UK Limited
Hansen Medical, Inc.
Healthcare Services (Shanghai) Ltd.
I.D. Acquisition Corp.
Innomedic Gesellschaft für innovative Medizintechnik und Informatik mbH
J & J Company West Africa Limited
J&J Argentina S.A.
J&J Pension Trustees Limited
J&J Productos Medicos & Farmaceuticos del Peru S.A.
J.C. General Services BV
Janssen Biologics (Ireland) Limited
Janssen Biologics B.V.
Janssen BioPharma, LLC
Janssen Biotech, Inc.
Janssen Cilag Farmaceutica S.A.
Janssen Cilag S.p.A.
Janssen Cilag SPA

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Janssen Cilag, C.A.
Janssen Development Finance Unlimited Company
Janssen Egypt LLC
Janssen Farmaceutica Portugal Lda
Janssen France Treasury Unlimited Company
Janssen Global Services, LLC
Janssen Holding GmbH
Janssen Inc.
Janssen Irish Finance Unlimited Company
Janssen Japan Treasury Unlimited Company
Janssen Korea Ltd.
Janssen Mexico Treasury Unlimited Company
Janssen Oncology, Inc.
Janssen Ortho LLC
Janssen Pharmaceutica (Proprietary) Limited
Janssen Pharmaceutica NV
Janssen Pharmaceutica S.A.
Janssen Pharmaceutical K.K.
Janssen Pharmaceutical Sciences Unlimited Company
Janssen Pharmaceutical Unlimited Company
Janssen Pharmaceuticals, Inc.
Janssen Products, LP
Janssen R&D Ireland Unlimited Company
Janssen Research & Development, LLC
Janssen Sciences Ireland Unlimited Company
Janssen Scientific Affairs, LLC
Janssen Supply Group, LLC
Janssen Vaccines & Prevention B.V.
Janssen Vaccines Corp.
Janssen-Cilag
Janssen-Cilag (New Zealand) Limited
Janssen-Cilag A/S
Janssen-Cilag AG
Janssen-Cilag Aktiebolag
Janssen-Cilag AS
Janssen-Cilag B.V.
Janssen-Cilag d.o.o. Beograd
Janssen-Cilag de Mexico S. de R.L. de C.V.
Janssen-Cilag Farmaceutica Lda.
Janssen-Cilag Farmaceutica Ltda.
Janssen-Cilag GmbH
Janssen-Cilag International NV
Janssen-Cilag Kft.
Janssen-Cilag Limited
Janssen-Cilag Manufacturing, LLC
Janssen-Cilag NV

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Janssen-Cilag OY
Janssen-Cilag Pharma GmbH
Janssen-Cilag Pharmaceutical S.A.C.I.
Janssen-Cilag Polska, Sp. z o.o.
Janssen-Cilag Pty Ltd
Janssen-Cilag S.A.
Janssen-Cilag s.r.o.
Janssen-Cilag, S.A.
Janssen-Cilag, S.A. de C.V.
Janssen-Pharma, S.L.
J-C Health Care Ltd.
Jevco Holding, Inc.
JJ Surgical Vision Spain, S.L.
JJC Acquisition Company B.V.
JJHC, LLC
JJSV Belgium BV
JJSV Manufacturing Malaysia SDN. BHD.
JJSV Norden AB
JJSV Produtos Oticos Ltda.
JNJ Global Business Services s.r.o.
JNJ Holding EMEA B.V.
JNJ International Investment LLC
JNTL (APAC) HoldCo 2 LLC
JNTL (APAC) HoldCo 3 Pte. Ltd.
JNTL (APAC) HoldCo LLC
JNTL (APAC) HoldCo Pte. Ltd.
JNTL (Japan) HoldCo Inc.
JNTL (Malaysia) Sdn. Bhd.
JNTL (Middle East) HoldCo LLC
JNTL (Puerto Rico) HoldCo GmbH
JNTL (Shanghai) Investment Co., Ltd.
JNTL (Switzerland) HoldCo GmbH
JNTL (Thailand) HoldCo LLC
JNTL (UK) HoldCo Limited
JNTL Consumer Health (Belgium) BV
JNTL Consumer Health (Brazil) Ltda.
JNTL Consumer Health (Czech Republic) s.r.o.
JNTL Consumer Health (Dominican Republic), S.A.S.
JNTL Consumer Health (Finland) Oy
JNTL Consumer Health (France) SAS
JNTL Consumer Health (Hungary) Kft
JNTL Consumer Health (India) Private Limited
JNTL Consumer Health (New Zealand) Limited
JNTL Consumer Health (Norway) AS
JNTL Consumer Health (Philippines) Inc.
JNTL Consumer Health (Poland) sp. z o.o.

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JNTL Consumer Health (Portugal) Limitada
JNTL Consumer Health (Services) LLC
JNTL Consumer Health (Slovakia), s.r.o.
JNTL Consumer Health (Spain), S.L.
JNTL Consumer Health (Taiwan) Limited
JNTL Consumer Health (Vietnam) Co. Ltd.
JNTL Consumer Health General Services BV
JNTL Consumer Health I (Ireland) Limited
JNTL Consumer Health I (Switzerland) GmbH
JNTL Consumer Health II (Switzerland) GmbH
JNTL Consumer Health LLC
JNTL Consumer Health Mexico, S. de R.L. de C.V.
JNTL Consumer Health Middle East FZ-LLC
JNTL HoldCo 2 LLC
JNTL HoldCo 3 LLC
JNTL HoldCo 4 LLC
JNTL HoldCo 5 LLC
JNTL HoldCo 6 LLC
JNTL HoldCo 7 LLC
JNTL HoldCo 8 LLC
JNTL HoldCo LLC
JNTL Holdings 2, Inc.
JNTL Holdings 3, Inc.
JNTL Holdings B.V.
JNTL Holdings, Inc.
JNTL Ireland HoldCo 2 B.V.
JNTL Netherlands HoldCo B.V.
JNTL Turkey Tüketici Sağlığı Limited Şirketi
Johnson & Johnson
Johnson & Johnson - Societa’ Per Azioni
Johnson & Johnson (Angola), Limitada
Johnson & Johnson (Australia) Pty Ltd
Johnson & Johnson (Canada) Inc.
Johnson & Johnson (China) Investment Ltd.
Johnson & Johnson (Ecuador) S.A.
Johnson & Johnson (Egypt) S.A.E.
Johnson & Johnson (Hong Kong) Limited
Johnson & Johnson (Ireland) Limited
Johnson & Johnson (Jamaica) Limited
Johnson & Johnson (Kenya) Limited
Johnson & Johnson (Middle East) Inc.
Johnson & Johnson (Mozambique), Limitada
Johnson & Johnson (Namibia) (Proprietary) Limited
Johnson & Johnson (New Zealand) Limited
Johnson & Johnson (Philippines), Inc.
Johnson & Johnson (Private) Limited

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Johnson & Johnson (Singapore) Holdco LLC
Johnson & Johnson (Thailand) Ltd.
Johnson & Johnson (Trinidad) Limited
Johnson & Johnson (Vietnam) Co., Ltd
Johnson & Johnson AB
Johnson & Johnson AG
Johnson & Johnson Bulgaria EOOD
Johnson & Johnson China Ltd.
Johnson & Johnson Consumer (Hong Kong) Limited
Johnson & Johnson Consumer (Thailand) Limited
Johnson & Johnson Consumer B.V.
Johnson & Johnson Consumer Holdings France
Johnson & Johnson Consumer Inc.
Johnson & Johnson Consumer NV
Johnson & Johnson Consumer Saudi Arabia Limited
Johnson & Johnson Consumer Services EAME Ltd.
Johnson & Johnson d.o.o.
Johnson & Johnson de Argentina S.A.C. e. I.
Johnson & Johnson de Chile S.A.
Johnson & Johnson de Colombia S.A.
Johnson & Johnson de Mexico, S.A. de C.V.
Johnson & Johnson de Uruguay S.A.
Johnson & Johnson de Venezuela, S.A.
Johnson & Johnson del Ecuador, S.A.
Johnson & Johnson Del Paraguay, S.A.
Johnson & Johnson del Peru S.A.
Johnson & Johnson do Brasil Industria E Comercio de Produtos Para Saude Ltda.
Johnson & Johnson Dominicana, S.A.S.
Johnson & Johnson Enterprise Innovation Inc.
Johnson & Johnson European Treasury Unlimited Company
Johnson & Johnson Finance Corporation
Johnson & Johnson Finance Limited
Johnson & Johnson Financial Services GmbH
Johnson & Johnson for Export and Import LLC
Johnson & Johnson Gateway, LLC
Johnson & Johnson Gesellschaft m.b.H.
Johnson & Johnson GmbH
Johnson & Johnson GT, Sociedad Anónima
Johnson & Johnson Guatemala, S.A.
Johnson & Johnson Health and Wellness Solutions, Inc.
Johnson & Johnson Health Care Systems Inc.
Johnson & Johnson Hellas Commercial and Industrial S.A.
Johnson & Johnson Hellas Consumer Products Commercial Societe Anonyme
Johnson & Johnson Hemisferica S.A.
Johnson & Johnson Holdco (NA) Inc.
Johnson & Johnson Holdco (NA) Inc.

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Johnson & Johnson Holding GmbH
Johnson & Johnson Holdings (Austria) GmbH
Johnson & Johnson Inc.
Johnson & Johnson Industrial Ltda.
Johnson & Johnson Innovation - JJDC, Inc.
Johnson & Johnson Innovation Limited
Johnson & Johnson Innovation LLC
Johnson & Johnson International
Johnson & Johnson International (Singapore) Pte. Ltd.
Johnson & Johnson International Financial Services Unlimited Company
Johnson & Johnson Irish Finance Company Limited
Johnson & Johnson K.K.
Johnson & Johnson Kft.
Johnson & Johnson Korea Selling & Distribution LLC
Johnson & Johnson Korea, Ltd.
Johnson & Johnson Limited
Johnson & Johnson LLC
Johnson & Johnson Luxembourg Finance Company Sarl
Johnson & Johnson Management Limited
Johnson & Johnson Medical (China) Ltd.
Johnson & Johnson Medical (Proprietary) Ltd
Johnson & Johnson Medical (Shanghai) Ltd.
Johnson & Johnson Medical (Suzhou) Ltd.
Johnson & Johnson Medical B.V.
Johnson & Johnson Medical Devices & Diagnostics Group - Latin America, L.L.C.
Johnson & Johnson Medical GmbH
Johnson & Johnson Medical Greece Single Member S.A.
Johnson & Johnson Medical Korea Ltd.
Johnson & Johnson Medical Limited
Johnson & Johnson Medical Mexico, S.A. de C.V.
Johnson & Johnson Medical NV
Johnson & Johnson Medical Products GmbH
Johnson & Johnson Medical Pty Ltd
Johnson & Johnson Medical S.A.
Johnson & Johnson Medical S.p.A.
Johnson & Johnson Medical SAS
Johnson & Johnson Medical Saudi Arabia Limited
Johnson & Johnson Medical Taiwan Ltd.
Johnson & Johnson Medical, S.C.S.
Johnson & Johnson Medikal Sanayi ve Ticaret Limited Sirketi
Johnson & Johnson MedTech (Thailand) Ltd.
Johnson & Johnson Medtech Colombia S.A.S.
Johnson & Johnson Middle East FZ-LLC
Johnson & Johnson Morocco Societe Anonyme
Johnson & Johnson Nordic AB
Johnson & Johnson Pacific Pty Limited

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Johnson & Johnson Pakistan (Private) Limited
Johnson & Johnson Panama, S.A.
Johnson & Johnson Personal Care (Chile) S.A.
Johnson & Johnson Pharmaceutical Ltd.
Johnson & Johnson Poland Sp. z o.o.
Johnson & Johnson Private Limited
Johnson & Johnson Pte. Ltd.
Johnson & Johnson Pty. Limited
Johnson & Johnson Romania S.R.L.
Johnson & Johnson S.E. d.o.o.
Johnson & Johnson S.E., Inc.
Johnson & Johnson Sante Beaute France
Johnson & Johnson SDN. BHD.
Johnson & Johnson Services, Inc.
Johnson & Johnson Surgical Vision India Private Limited
Johnson & Johnson Surgical Vision, Inc.
Johnson & Johnson Taiwan Ltd.
Johnson & Johnson UK Treasury Company Limited
Johnson & Johnson Ukraine LLC
Johnson & Johnson Urban Renewal Associates
Johnson & Johnson Vision Care (Australia) Pty Ltd
Johnson & Johnson Vision Care (Shanghai) Ltd.
Johnson & Johnson Vision Care Ireland Unlimited Company
Johnson & Johnson Vision Care, Inc.
Johnson & Johnson Vision Korea, Ltd.
Johnson & Johnson, Lda
Johnson & Johnson, S.A.
Johnson & Johnson, S.A. de C.V.
Johnson & Johnson, s.r.o.
Johnson & Johnson, s.r.o.
Johnson and Johnson (Proprietary) Limited
Johnson and Johnson Sihhi Malzeme Sanayi Ve Ticaret Limited Sirketi
Johnson Y Johnson de Costa Rica, S.A.
JOM Pharmaceutical Services, Inc.
Kenvue Inc.
La Concha Land Investment Corporation
McNeil AB
McNeil Consumer Pharmaceuticals Co.
McNeil Denmark ApS
McNeil Healthcare (Ireland) Limited
McNeil Healthcare (UK) Limited
McNeil Healthcare LLC
McNeil Iberica S.L.U.
McNeil LA LLC
McNEIL MMP, LLC
McNeil Nutritionals, LLC

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McNeil Panama, LLC
McNeil Products Limited
McNeil Sweden AB
Medical Device Business Services, Inc.
Medical Devices & Diagnostics Global Services, LLC
Medical Devices International LLC
Medos International Sarl
Medos Sarl
MegaDyne Medical Products, Inc.
Menlo Care De Mexico, S.A. de C.V.
Mentor B.V.
Mentor Deutschland GmbH
Mentor Medical Systems B.V.
Mentor Partnership Holding Company I, LLC
Mentor Texas GP LLC
Mentor Texas L.P.
Mentor Worldwide LLC
Middlesex Assurance Company Limited
Momenta Ireland Limited
Momenta Pharmaceuticals, Inc.
NeoStrata Company, Inc.
NeoStrata UG (haftungsbeschränkt)
Netherlands Holding Company
Neuravi Limited
NeuWave Medical, Inc.
Novira Therapeutics, LLC
NuVera Medical, Inc.
Obtech Medical Mexico, S.A. de C.V.
OBTECH Medical Sarl
OGX Beauty Limited
OMJ Holding GmbH
OMJ Pharmaceuticals, Inc.
Omrix Biopharmaceuticals Ltd.
Omrix Biopharmaceuticals NV
Omrix Biopharmaceuticals, Inc.
Ortho Biologics LLC
Ortho Biotech Holding LLC
Orthospin Ltd.
Orthotaxy SAS
Patriot Pharmaceuticals, LLC
Peninsula Pharmaceuticals, LLC
Percivia LLC
Pharmadirect Ltd.
Pharmedica Laboratories (Proprietary) Limited
preCARDIA, Inc.
Princeton Laboratories, Inc.

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Productos de Cuidado Personal y de La Salud de Bolivia S.R.L.
Proleader S.A.
Prosidyan, Inc.
PT Integrated Healthcare Indonesia
PT Johnson & Johnson Indonesia
PT Johnson and Johnson Indonesia Two
Pulsar Vascular, Inc.
Regency Urban Renewal Associates
RespiVert Ltd.
Review Manager Test Entity 2
Royalty A&M LLC
Royalty A&M LLC
Rutan Realty LLC
Scios LLC
Serhum S.A. de C.V.
Shanghai Elsker Mother & Baby Co., Ltd
Shanghai Johnson & Johnson Ltd.
Shanghai Johnson & Johnson Pharmaceuticals Ltd.
Sodiac ESV
Spectrum Vision Limited Liability Company
Spectrum Vision Limited Liability Partnership
SterilMed, Inc.
Surgical Process Institute Deutschland GmbH
Synthes Costa Rica S.C.R., Limitada
SYNTHES GmbH
Synthes GmbH
Synthes Holding AG
Synthes Holding Limited
SYNTHES Medical Immobilien GmbH
Synthes Medical Surgical Equipment & Instruments Trading LLC
Synthes Produktions GmbH
Synthes Proprietary Limited
Synthes S.M.P., S. de R.L. de C.V.
Synthes Tuttlingen GmbH
Synthes USA Products, LLC
Synthes USA, LLC
Synthes, Inc.
TARIS Biomedical LLC
TearScience, Inc.
The Anspach Effort, LLC
The Vision Care Institute, LLC
Tibotec, LLC
Torax Medical, Inc.
UAB “Johnson & Johnson”
Vania Expansion
Verb Surgical Inc.

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Vision Care Finance Unlimited Company
Vogue International LLC
WH4110 Development Company, L.L.C.
Xian Janssen Pharmaceutical Ltd.
XO1 Limited
Zarbee’s, Inc.




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                                        SCHEDULE 3

                              Retailers and Indemnified Parties

7-Eleven
7-Eleven, Inc.
Acme Markets, Inc.
Ahold Delhaize USA, Inc.
Albertsons Companies, Inc.
Alpha Beta Company
Associated Wholesaler Grocers, Inc.
Bartell Drug Company
Bashas’, Inc.
Bausch Health US, LLC
Bausch Health Americas, Inc.
Bausch Health Companies Inc.
BCW LLC
Best Market of Astoria, Inc.
BI-LO, LLC
Bi-Mart Corporation
C&S Wholesale Grocers
C&S Wholesale Grocers, Inc.
Classic Pharmacy, Inc.
Cosentino Enterprises, Inc.
Cosentino Group, Inc.
Cosentino Price Chopper
Cosentino’s Food Stores
Costco Wholesale Corporation
CVS Health Corporation
CVS Pharmacy, Inc.
Demoulas Super Markets, Inc.
Dierbergs Markets, Inc.
Discount Drug Mart, Inc.
Dollar Tree Stores, Inc.
DRI I, Inc.
Duane Reade, Inc.
Eckerd Corporation of Florida, Inc.
Family Dollar Stores
Fleming Companies, Inc.
Food 4 Less of California
Food 4 Less of Southern California, Inc.
Foodland
Foodland Super Market, LTD
Foot Locker Specialties, Inc., individually and as successor-in-interest to F.W. Woolworth Co.
Foot Locker Specialty, Inc.
Foot Locker, Inc./Woolworth Corporation
Four B Corporation d/b/a Balls Food Stores
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Fred Meyer Stores, Inc.
Fruth Pharmacy, Inc.
Gerlands Food Fair, LLC
Gerlands, LLC
Gerlands, LLC/Lewis Food Town, Inc.
Giant Eagle, Inc.
Giant Food of Maryland, LLC
Giant Food Stores, LLC
Grocery Outlet Holding Corporation
Grocery Outlet Inc.
Grocery Outlet, Inc.
HAC, Inc.
H-E-B, LP
Hughes Markets, Inc.
Hy-Vee, Inc.
Jewel Food Stores
Jewel Osco
Jewel Osco Southwest
K&B Corporation
K&B Louisiana Corporation
Kings Park Slope, Inc.
Kings Pharmacy
Kings Pharmacy Holdings, LLC
Kings Third Ave. Pharmacy, Inc.
Knorr Street ShopRite, Inc.
La Luz Market, LTD. Co.
Lewis Food Town, Inc.
Longs Drug Stores California, L.L.C
Longs Drug Stores of Southern California, L.L.C.
Longs Drug Stores, L.L.C.
Lucky Stores, Inc.
Marc Glassman Inc.
Marc Glassman, Inc. d/b/a Marc’s Store & Pharmacy
MBF Healthcare Holdings, Inc.
MBF Healthcare Management, LLC
Meijer, Inc.
MMG Equity Partners
Navarro Discount Pharmacies No. 5, LLC
Navarro Discount Pharmacies, LLC
Owens & Minor Distribution, Inc.
Owens & Minor, Inc.
Piggly Wiggly Carolina Co.
Piggly Wiggly Carolina Co., Inc.
Piggly Wiggly Companies, Inc.
Piggly Wiggly, LLC
Piggly Wiggly, LLC (subsidiary of C&S Wholesale Grocers)

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Port Jervis Laboratories, Inc., f/k/a Kolmar Laboratories, Inc.
PTI
PTI Royston LLC, a Georgia Limited Liability Co., d/b/a Pharma Tech Industries
PTI Union, LLC d/b/a Pharma Tech Industries
Publix Super Markets, Inc.
Raley’s
Ralphs Grocery Company
Randall’s Food & Drug LP
Randall’s Food Markets, Inc.
Rite Aid
Rite Aid Corporation
Rite Aid Hdqtrs. Corp.
Rite Aid of New York City, Inc.
Rite Aid of New York, Inc.
Rite Aid of Pennsylvania, Inc.
Rite Aid of South Carolina, Inc.
Rouse’s Enterprises, L.L.C.
Rouse’s Enterprises, L.L.C. d/b/a Rouses Market
Safeway Inc.
Save Mart Supermarkets, Inc.
Save Mart Supermarkets, Inc./Lucky Stores
Schnuck Markets
Schnuck Markets, Inc.
Sedano’s Market, Inc.
Shanti Pharmacy Corp.
Shaw’s Supermarkets, Inc.
Shop-Rite Supermarkets, Inc. a/k/a Shop Rite of Knorr Street
Smith Food and Drug Center, Inc.
Southeastern Grocers, Inc.
Star Markets Company, Inc.
Stater Bros. Markets
Super Center Concepts, Inc. d/b/a Superior Grocers
Superior Grocers
SuperValu, Inc.
T. Levy Associates, d/b/a Beauty Land Enterprises
T. Levy Associates, Inc. d/b/a Beauty Land Enterprises/Beautyland
Target Corporation
The Bartell Drug Company
The Kroger Company
The Stop & Shop Supermarket Company LLC
The Vons Companies, Inc.
Thrifty Payless, Inc.
Thrifty White Drug
Tops Holding, LLC
Valeant Pharmaceuticals International
Valeant Pharmaceuticals International, Inc.

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Valeant Pharmaceuticals North America LLC
Wakefern Food Corp.
Walgreen Co.
Walgreen Eastern Co., Inc.
Walgreen Pharmacy Strategies, LLC
Walgreens Boots Alliance, Inc.
Walmart Inc.
Wegmans Food Markets, Inc.
Winn-Dixie Stores, Inc.
Woolworth Corporation




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